USCA Case #23-1309       Document #2025765          Filed: 11/06/2023   Page 1 of 78



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

 SERVICE EMPLOYEES
 INTERNATIONAL UNION,

       Petitioner,

 v.                                         Case No. 23-1309

 NATIONAL LABOR RELATIONS
 BOARD,

       Respondent.


                           PETITION FOR REVIEW

      Pursuant to § 10(f) of the National Labor Relations Act, 29 U.S.C. § 160(f),

and Federal Rule of Appellate Procedure 15, the Service Employees International

Union (“SEIU”) hereby petitions the Court for review of the Standard for

Determining Joint Employer Status issued by the National Labor Relations Board

(NLRB) and published in the Federal Register on October 27, 2023, at Volume 88,

pages 73,946 through 74,018. A copy of the Standard for Determining Joint

Employer Status is attached to this Petition as Exhibit A.
USCA Case #23-1309   Document #2025765        Filed: 11/06/2023    Page 2 of 78



                         Respectfully submitted,

                                 s/ Adam Bellotti
                                 Leon Dayan (ldayan@bredhoff.com)
                                 Adam Bellotti (abellotti@bredhoff.com)
                                 BREDHOFF & KAISER PLLC
                                 805 15th St. NW, Suite 1000
                                 Washington, DC 20005
                                 202-842-2600

                                 Steven Ury* (steven.ury@seiu.org)
                                 Claire Prestel (claire.prestel@seiu.org)
                                 John D’Elia* (john.d'elia@seiu.org)
                                 Service Employees International Union
                                 1800 Massachusetts Ave. NW
                                 Washington, DC 20036

                                 Counsel to the Petitioner

                                 * Petitions for admission to be filed




                                   2
USCA Case #23-1309       Document #2025765         Filed: 11/06/2023   Page 3 of 78



                         CERTIFICATE OF SERVICE


      On November 6, 2023, I caused a copy of this Petition to be filed on the

following via email and first-class email:


Ruth E. Burdick (Ruth.Burdick@nlrb.gov)
Deputy Associate General Counsel
Appellate and Supreme Court Litigation Branch
National Labor Relations Board
1015 Half Street SE, Washington, DC 20570–0001

Dawn Goldstein (Dawn.Goldstein@nlrb.gov)
Assistant General Counsel
Contempt, Compliance, and Special Litigation Branch
National Labor Relations Board
1015 Half Street SE, Washington, DC 20570–0001



                                       s/ Adam Bellotti
                                       Adam Bellotti
USCA Case #23-1309        Document #2025765        Filed: 11/06/2023   Page 4 of 78



                          DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioner Service Employees International Union (“SEIU”) hereby makes the

following disclosures:

      The SEIU is an unincorporated labor organization as defined by the National

Labor Relations Act, 29 U.S.C. § 152. It has no parent corporation and no publicly-

traded corporation has an ownership interest in it. The SEIU represents over 1.8

million workers throughout the United States and Canada, including many workers

whose terms and conditions of employment are determined by more than one

employer. The SEIU seeks to safeguard and advance workers’ welfare and

security, and elevate its members and their families by improving wages, benefits,

and working conditions.

                                      s/ Adam Bellotti
                                      Adam Bellotti
USCA Case #23-1309   Document #2025765   Filed: 11/06/2023   Page 5 of 78




                 EXHIBIT A
                                                         USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 6 of 78
                                                 73946             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 NATIONAL LABOR RELATIONS                                of an employer, directly or indirectly.’’             in Greyhound, the Board regarded the
                                                 BOARD                                                   29 U.S.C. 152(2) (emphasis added). In                 right to control employees’ work and
                                                                                                         turn, the Act provides that the ‘‘term                their terms and conditions of
                                                 29 CFR Part 103                                         ‘employee’ shall include any employee,                employment as determinative in
                                                 RIN 3142–AA21                                           and shall not be limited to the                       analyzing whether entities were joint
                                                                                                         employees of a particular employer,                   employers of particular employees.
                                                 Standard for Determining Joint                          unless [the Act] explicitly states                    Board precedent from this time period
                                                 Employer Status                                         otherwise . . . .’’ Id. 152(3). Section 7             generally did not require a showing that
                                                                                                         of the Act provides that employees shall              both putative joint employers actually
                                                 AGENCY: National Labor Relations                        have the right                                        or directly exercised control.2 The
                                                 Board.
                                                                                                         to self-organization, to form, join, or assist
                                                 ACTION: Final rule.                                     labor organizations, to bargain collectively
                                                                                                                                                                  2 See, e.g., Globe Discount City, 209 NLRB 213,

                                                                                                         through representatives of their own                  213–214 & fn. 3 (1974) (finding joint employer
                                                 SUMMARY: The National Labor Relations                   choosing, and to engage in other concerted            based on license agreements, without reference to
                                                 Board has decided to issue this final                                                                         any exercise of authority); Lowery Trucking Co., 177
                                                                                                         activities for the purpose of collective              NLRB 13, 15 (1969) (finding joint employer based
                                                 rule for the purpose of carrying out the                bargaining or other mutual aid or protection          in part on unexercised right to reject other
                                                 National Labor Relations Act (NLRA or                   and to refrain from any or all such activities.       employer’s employee), enfd. sub nom. Ace-Alkire
                                                 Act) by rescinding and replacing the                    Id. 157. Section 9(c) of the Act                      Freight Lines v. NLRB, 431 F.2d 280 (8th Cir. 1970)
                                                 final rule entitled ‘‘Joint Employer                                                                          (observing that ‘‘[w]hile [putative joint employer]
                                                                                                         authorizes the Board to process a                     never rejected a driver hired by [supplier], it had
                                                 Status Under the National Labor                         representation petition when employees                the right to do so’’); United Mercantile, Inc., 171
                                                 Relations Act,’’ which was published on                 wish to be represented for collective                 NLRB 830, 831–832 (1968) (finding joint employer
                                                 February 26, 2020, and took effect on                   bargaining. Id. 159(c). And Section                   based on license agreements, without reference to
                                                 April 27, 2020. The final rule                                                                                any exercise of authority); Floyd Epperson, 202
                                                                                                         8(a)(5) makes it an unfair labor practice             NLRB 23, 23 (1973) (finding joint employer based
                                                 establishes a new standard for                          for an employer to refuse to bargain                  in part on indirect control over wages and
                                                 determining whether two employers, as                   collectively with the representatives of              discipline), enfd. 491 F.2d 1390 (6th Cir. 1974);
                                                 defined in the Act, are joint employers                                                                       Buckeye Mart, 165 NLRB 87, 88 (1967) (finding
                                                                                                         its employees. Id. 158(a)(5).                         Buckeye joint employer of employees of Fir Shoe
                                                 of particular employees within the                         The Act does not specifically address              based solely on contractually reserved authority
                                                 meaning of the Act. The Board believes                  situations in which statutory employees               over, inter alia, discharge decisions and rules and
                                                 that this rule will more explicitly                     are employed jointly by two or more                   regulations governing employee conduct), enfd. 405
                                                 ground the joint-employer standard in                                                                         F.2d 1211 (6th Cir. 1969); Jewel Tea Co., 162 NLRB
                                                                                                         statutory employers (i.e., it is silent as            508, 510 (1966) (finding joint employer based on
                                                 established common-law agency                           to the definition of ‘‘joint employer’’),             contractually reserved, unexercised power to
                                                 principles and provide guidance to                      but, as discussed below, the Board, with              effectively control hire, discharge, wages, hours,
                                                 parties covered by the Act regarding                    court approval, has long applied                      terms, ‘‘and other conditions of employment’’ and
                                                 their rights and responsibilities when                                                                        observing: ‘‘That the licensor has not exercised such
                                                                                                         common-law agency principles to                       power is not material, for an operative legal
                                                 more than one statutory employer                        determine when one or more entities                   predicated for establishing a joint-employer
                                                 possesses the authority to control or                   share or codetermine the essential terms              relationship is a reserved right in the licensor to
                                                 exercises the power to control particular               and conditions of employment of a                     exercise such control’’); Value Village, 161 NLRB
                                                 employees’ essential terms and                                                                                603, 607 (1966) (finding joint employer based on
                                                                                                         particular group of employees.                        operating agreement and observing ‘‘[s]ince the
                                                 conditions of employment. Under the                                                                           power to control is present by virtue of the
                                                 final rule, an entity may be considered                 B. The Development of Joint-                          operating agreement, whether or not exercised, we
                                                 a joint employer of another employer’s                  Employment Law Under the National                     find it unnecessary to consider the actual practice
                                                 employees if the two share or                           Labor Relations Act                                   of the parties regarding these matters as evidenced
                                                                                                                                                               by the record.’’); Spartan Department Stores, 140
                                                 codetermine the employees’ essential                       As set forth more fully in the Board’s             NLRB 608, 608–610 & fn. 1, 4 (1963) (finding joint
                                                 terms and conditions of employment.                     September 4, 2022 notice of proposed                  employer based solely on uniform license
                                                 DATES: Effective December 26, 2023.                     rulemaking (the NPRM), in Boire v.                    agreements); Taylor’s Oak Ridge Corp., 74 NLRB
                                                                                                                                                               930, 938 (1947) (finding joint employer based solely
                                                 This rule has been classified as a major                Greyhound Corp., 376 U.S. 473, 481                    on contractually reserved authority over numerous
                                                 rule subject to Congressional review.                   (1964), a representation case involving               essential terms and conditions of employment, and
                                                 However, at the conclusion of the                       the relationship between a company                    observing: ‘‘That the Employer’s power of control
                                                                                                         operating a bus terminal and its                      may not in fact have been exercised is immaterial,
                                                 congressional review, if the effective                                                                        since the right to control, rather than the actual
                                                 date has been changed, the National                     cleaning contractor, the Supreme Court                exercise of that right, is the touchstone of the
                                                 Labor Relations Board will publish a                    explained that the question of whether                employer-employee relationship.’’); General Motors
                                                 document in the Federal Register to                     Greyhound ‘‘possessed sufficient                      Corp. (Baltimore, MD), 60 NLRB 81 (1945) (finding
                                                                                                         control over the work of the employees                joint employer based on contractually reserved
                                                 establish the new effective date or to                                                                        authority, despite testimony that entity exercised no
                                                 withdraw the rule.                                      to qualify as a joint employer’’ was                  control in practice); Anderson Boarding & Supply
                                                 FOR FURTHER INFORMATION CONTACT:                        ‘‘essentially a factual question’’ for the            Co., 56 NLRB 1204, 1206 (1944) (finding joint
                                                 Roxanne L. Rothschild, Executive                        Board to determine.1 On remand, the                   employer based on unexercised contractual
                                                                                                         Board held that Greyhound and the                     authority); Bethlehem-Fairfield Shipyard, Inc., 53
                                                 Secretary, National Labor Relations                                                                           NLRB 1428, 1431 (1943) (finding joint employer
                                                 Board, 1015 Half Street SE, Washington,                 cleaning contractor were joint                        based on reserved rights to dismiss employees and
                                                 DC 20570–0001, (202) 273–1940 (this is                  employers of the employees at issue                   set wage scales, despite crediting testimony entity
                                                 not a toll-free number), 1–866–315–6572                 because they ‘‘share[d], or                           actually exercised no control).
                                                                                                         codetermine[d], those matters governing                  Our colleague observes that a number of these
                                                 (TTY/TDD).                                                                                                    cases involve department store licensing
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                                                 SUPPLEMENTARY INFORMATION:
                                                                                                         essential terms and conditions of                     relationships. He argues that the Board did not
                                                                                                         employment.’’ Greyhound Corp., 153                    purport to apply general common-law agency
                                                 I. Background                                           NLRB 1488, 1495 (1965), enfd. 368 F.2d                principles in these cases but instead applied a
                                                                                                         776 (5th Cir. 1966). For nearly two                   distinctive analysis focused on ‘‘whether the
                                                 A. Statutory Background                                                                                       department store was in a position to influence the
                                                                                                         decades following the Board’s decision                licensee’s labor relations policies.’’ We disagree.
                                                   Section 2(2) of the National Labor                                                                          The cases we cite above, including the department
                                                 Relations Act defines an ‘‘employer’’ to                  1 See Standard for Determining Joint-Employer       store cases, ultimately rest on early post-Taft-
                                                 include ‘‘any person acting as an agent                 Status, 87 FR 54641 (Sept. 7, 2022).                  Hartley Board decisions that are consistent with the



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                         USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023                 Page 7 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                  73947

                                                 Board’s reliance on reserved or indirect                     In NLRB v. Browning-Ferris Industries             Board’s determination that both
                                                 control in joint-employer cases during                    of Pennsylvania, Inc., 691 F.2d 1117,                reserved authority to control and
                                                 this period was well within the                           1123 (3d Cir. 1982), enfg. 259 NLRB 148              indirect control can be relevant factors
                                                 mainstream of both Board and judicial                     (1981), the United States Court of                   in the joint-employer analysis,’’ and
                                                 treatment of such control in the                          Appeals for the Third Circuit endorsed               remanding the case to the Board to
                                                 independent contractor context,                           the Board’s ‘‘share or codetermine’’                 refine the new standard.5
                                                 including in non-labor-law settings, and                  formulation of the joint-employer
                                                                                                                                                                   Thereafter, on February 26, 2020, the
                                                 reviewing courts broadly endorsed the                     standard. While later Board decisions
                                                                                                                                                                Board promulgated a final rule that
                                                 Board’s consideration of forms of                         continued to adhere to this formulation,
                                                                                                                                                                again introduced control-based
                                                 reserved and indirect control as                          they also began imposing new
                                                 probative in the joint-employer                           requirements that the Board now                      restrictions that narrowed the joint-
                                                 analysis.3                                                believes lacked a clear basis in                     employer standard.6 In light of the
                                                                                                           established common-law agency                        District of Columbia Circuit’s decision
                                                 final rule’s approach. For example, in one early          principles or prior Board or judicial                in BFI v. NLRB, the Board modified the
                                                 case, the Board held that ‘‘an employer-employee          decisions. See TLI, Inc., 271 NLRB 798               proposed rule to ‘‘factor in’’ evidence of
                                                 relationship is established where the [entity] for
                                                                                                           (1984); Laerco Transportation, 269                   indirect and reserved control over
                                                 whom services are rendered possesses the right of                                                              essential terms and conditions of
                                                 control over such fundamental matters as the              NLRB 324 (1984). In particular, these
                                                 employees’ day-to-day operations and their basic          decisions began requiring (1) that a                 employment, but only to the extent such
                                                 working conditions.’’ Franklin Simon & Co., 94            putative joint employer ‘‘actually’’                 indirect and/or reserved control
                                                 NLRB 576, 579 (1951). In that case, the Board found                                                            ‘‘supplements and reinforces’’ evidence
                                                 that a department store and its licensee were joint       exercise control, (2) that such control be
                                                 employers because ‘‘a substantial right of control        ‘‘direct and immediate,’’ and (3) that               that the entity also possesses or
                                                 over matters fundamental to the employment                such control not be ‘‘limited and                    exercises direct and immediate control
                                                 relationship is retained and exercised by both            routine.’’ See, e.g., AM Property Holding            over essential terms and conditions of
                                                 [entities].’’ Id. (emphasis in original). We find these                                                        employment.7 The final rule also
                                                 statements instructive and see no indication that         Corp., 350 NLRB 998, 999–1003 (2007),
                                                 the Board intended such statements to apply solely        enfd. in relevant part sub nom. Service              explained that establishing that an
                                                 in the department store context, as our colleague         Employees International Union, Local                 entity ‘‘shares or codetermines the
                                                 implies. As for Buckeye Mart, supra, which our            32BJ v. NLRB, 647 F.3d 435 (2d Cir.                  essential terms and conditions of
                                                 colleague suggests is at odds with the broader                                                                 another employer’s employees’’ requires
                                                 principles we argue animated the Board’s early            2011); Airborne Express, 338 NLRB 597,
                                                 decisions, we note that in that case the Board found      597 (2002); Flagstaff Medical Center,                showing that the entity ‘‘possess[es] and
                                                 a department store to jointly employ the employees        357 NLRB 659, 666–667 (2011).                        exercise[s] such substantial direct and
                                                 of one of its licensees but not the other. At most,          In 2015, the Board restored and                   immediate control over one or more
                                                 this case shows that the Board applied the relevant
                                                 standard to find one joint-employment relationship
                                                                                                           clarified its traditional, common-law                essential terms or conditions of their
                                                 but not another based on the particular language of       based standard for determining whether               employment as would warrant finding
                                                 the license agreements at issue. It does not call the     two employers, as defined in Section                 that the entity meaningfully affects
                                                 relevant standard or its underlying principles into       2(2) of the Act, are joint employers of              matters relating to the employment
                                                 question.
                                                    3 See, e.g., Carrier Corp. v. NLRB, 768 F.2d 778,
                                                                                                           particular employees within the
                                                 781 (6th Cir. 1985) (finding joint employer based in      meaning of Section 2(3) of the Act. See                 5 The court specifically required that on remand

                                                 part on entity’s consulting about wages and benefits      Browning-Ferris Industries of California,            the Board clarify its ‘‘articulation and application
                                                 with direct employer and reserved authority to            Inc., d/b/a BFI Newby Island Recyclery,              of the indirect-control element’’ of the BFI joint-
                                                 request removal or dismissal of employees);                                                                    employer standard to the extent that the Board had
                                                                                                           362 NLRB 1599 (2015) (BFI). Consistent               not ‘‘distinguish[ed] between indirect control that
                                                 International Chemical Workers Union Local 483 v.
                                                 NLRB, 561 F.2d 253, 255 (D.C. Cir. 1977) (‘‘Whether       with established common-law agency                   the common law of agency considers intrinsic to
                                                 Cabot and P & K were joint employers depends              principles, and rejecting the control-               ordinary third-party contracting relationships, and
                                                 upon the amount of actual and potential control           based restrictions that the Board had                indirect control over the essential terms and
                                                 that Cabot had over the replacement employees.                                                                 conditions of employment.’’ 911 F.3d at 1222–1223.
                                                                                                           previously established without                       The court further instructed the Board on remand
                                                 This in turn, to a certain extent, is dependent upon
                                                 the amount and nature of control that Cabot               explanation, the Board announced that                to more explicitly apply the second part of the BFI
                                                 exercised and was authorized to exercise under the        it would consider evidence of reserved               standard (‘‘whether the putative joint employer
                                                 contract.’’) (emphasis added); Vaughn Bros., 94           and indirect control over employees’                 possesses sufficient control over employees’
                                                 NLRB 382, 383 (1951) (‘‘Under this [common-law]                                                                essential terms and conditions of employment to
                                                                                                           essential terms and conditions of                    permit meaningful collective bargaining’’), and
                                                 test an employment relationship exists where the
                                                 person for whom the services are performed                employment when analyzing joint-                     specifically, to clarify ‘‘which terms and conditions
                                                 reserves the right, even though not exercised, to         employer status.                                     are ‘essential’ to permit ‘meaningful collective
                                                 control the manner and means by which the result             While BFI was pending on review                   bargaining,’ ’’ and what such bargaining ‘‘entails
                                                 is accomplished.’’); Alaska Salmon Industry, Inc.                                                              and how it works in this setting.’’ Id. at 1221–1222
                                                                                                           before the United States Court of                    (quoting 362 NLRB at 1600). After accepting the
                                                 (Seattle Wash), 81 NLRB 1335, 1338 (1949) (‘‘[A]n
                                                 employee relationship . . . is found to exist where       Appeals for the District of Columbia                 court’s remand, a newly constituted Board declined
                                                 the person for whom the services are performed            Circuit, and following a change in the               to clarify the BFI standard in any respect, instead
                                                 reserves the right (even if not exercised) to control     Board’s composition, a divided Board                 finding that ‘‘retroactive application of any clarified
                                                 the manner and means by which the result is                                                                    variant of [that standard] in this case would be
                                                                                                           issued a notice of proposed rulemaking               manifestly unjust.’’ Browning-Ferris Industries of
                                                 accomplished.’’); San Marcos Telephone Co., 81
                                                 NLRB 314, 317 (1949) (‘‘Under [common-law]                with the goal of establishing a joint-               California, Inc., 369 NLRB No. 139, slip op. 1
                                                 doctrine, an employee relationship, rather than that      employer standard that departed in                   (2020), vacated and remanded, 45 F.4th 38 (D.C.
                                                 of an independent contractor, exists where the            significant respects from BFI.4 During               Cir. 2022). As discussed below, and contrary to the
                                                 person for whom the services are performed                                                                     view of our dissenting colleague, the instant rule
                                                                                                           the comment period, the District of                  fully explicates the indirect-control element in
                                                 reserves the right (even if not exercised) to control
                                                 the manner and means by which the result is               Columbia Circuit issued its decision in              Section IV and V.
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                                                 accomplished.’’); Steinberg and Co., 78 NLRB 211,         Browning-Ferris Industries of California,               6 See Joint Employer Status Under the National

                                                 220–221, 223 (1948) (‘‘Under [common-law]                 Inc. v. NLRB, 911 F.3d 1195, 1222 (D.C.              Labor Relations Act, 85 FR 11184 (Feb. 26, 2020).
                                                 doctrine it has been generally recognized that an                                                                 7 Id. at 11185–11186, 11194–11198 & 11236. The
                                                                                                           Cir. 2018), upholding ‘‘as fully
                                                 employer-employee relationship exists where the                                                                final rule defined ‘‘indirect control’’ as ‘‘indirect
                                                 person for whom the services are performed                consistent with the common law the                   control over essential terms and conditions of
                                                 reserves the right to control the manner and means                                                             employment of another employer’s employees but
                                                 by which the result is accomplished.’’), enf. denied        4 See The Standard for Determining Joint           not control or influence over setting the objectives,
                                                 182 F.2d 850 (5th Cir. 1950). See also judicial           Employer Status, 83 FR 46681 (Sept. 14, 2018).       basic ground rules, or expectations for another
                                                 decisions discussed in Sec. I.D., below.                  Then-Member McFerran dissented.                      entity’s performance under a contract.’’ Id. at 11236.



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                                                         USCA Case #23-1309                              Document #2025765                               Filed: 11/06/2023                   Page 8 of 78
                                                 73948                Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 relationship with those employees.’’ 8 In                  law agency principles incorporated into                     After consideration of relevant
                                                 turn, the final rule defined ‘‘substantial                 the Act when it was adopted and,                          comments, the Board has concluded
                                                 direct and immediate control’’ to mean                     accordingly, is not a permissible                         that the actual-exercise requirement
                                                 ‘‘direct and immediate control that has                    interpretation of the Act.12 Although we                  reflected in the 2020 rule is (as
                                                 a regular or continuous consequential                      believe that the Board is required to                     described in relevant detail below) is
                                                 effect on an essential term or condition                   rescind the 2020 rule, we would do so                     contrary to the common-law agency
                                                 of employment of another employer’s                        even if that rule were valid because it                   principles that must govern the joint-
                                                 employees’’ and ‘‘substantial’’ to                         fails to fully promote the policies of the                employer standard under the Act and
                                                 exclude control that is ‘‘only exercised                   Act, as explained below.                                  that the Board has no statutory authority
                                                 on a sporadic, isolated, or de minimis                        First, it is well established—and our                  to adopt such a requirement. The Board
                                                 basis.’’ 9 The final rule set forth an                     dissenting colleague agrees—that the                      has further concluded that the policies
                                                 ‘‘exhaustive’’ list of essential terms and                 statutory terms ‘‘employer’’ and                          of the Act, consistent with the common-
                                                 conditions of employment comprised of                      ‘‘employee’’ have their common-law                        law principles governing the Act’s
                                                 ‘‘wages, benefits, hours of work, hiring,                  meaning, and that the common law                          interpretation, make it appropriate for
                                                 discharge, discipline, supervision, and                    accordingly governs the Board’s joint-                    the Board to give determinative weight
                                                 direction’’ and discussed some                             employer analysis. See, e.g., BFI v.                      to the existence of a putative joint
                                                 examples of conduct that would or                          NLRB, 911 F.3d at 1207–1208. In the                       employer’s authority to control essential
                                                 would not rise to the level of direct and                  preamble to the proposed rule, the                        terms and conditions of employment,
                                                 immediate control of each term or                          Board (quoting the District of Columbia                   whether or not such control is
                                                 condition on the list.10                                   Circuit, id. at 1208–1209) acknowledged                   exercised, and without regard to
                                                                                                            that ‘‘Congress has tasked the courts,                    whether any such exercise of control is
                                                 C. The Notice of Proposed Rulemaking                       and not the Board, with defining the                      direct or indirect, such as through an
                                                    On September 7, 2022, the Board                         common-law scope of ‘employer’ ’’ and                     intermediary.14
                                                 issued a new joint-employer NPRM. 87                       that ‘‘the common-law lines identified
                                                 FR 54641, 54663 (September 7, 2022). In                    by the judiciary’’ thus delineate the                     1. Reserved Control
                                                 the NPRM, the Board detailed recent                        boundaries of the ‘‘policy expertise that                    First, as previously set forth in the
                                                 developments in its joint-employer law.                    the Board brings to bear’’ on the                         NPRM,15 long before the 1935
                                                 The Board noted that the Board’s 2020                      question of whether a business entity is                  enactment of the Act, the Supreme
                                                 final rule (2020 rule) marked the first                    a joint employer of another employer’s                    Court recognized and applied a
                                                 occasion when the Board addressed                          employees under the Act. 87 FR at                         common-law rule that ‘‘the relation of
                                                 joint-employer doctrine through                            54648. Accordingly, in defining the                       master and servant exists whenever the
                                                 rulemaking. The NPRM stated the                            types of control that will be sufficient to               employer retains the right to direct the
                                                 Board’s preliminary view, subject to                       establish joint-employer status under                     manner in which the business shall be
                                                 comments, that the 2020 rule’s embrace                     the Act, the Board looks for guidance                     done, as well as the result to be
                                                 of control-based restrictions                              from the judiciary, including primary                     accomplished, or, in other words, ‘not
                                                 unnecessarily narrowed the common                          articulations of relevant principles by                   only what shall be done, but how it
                                                 law and threatened to undermine the                        judges applying the common law, as                        shall be done.’ ’’ Singer Mfg. Co. v.
                                                 goals of Federal labor law. The NPRM                       well as secondary compendiums,                            Rahn, 132 U.S. 518, 523 (1889)
                                                 invited comments on these issues and                       reports, and restatements of these                        (emphasis added) (quoting Railroad Co.
                                                 on all aspects of the proposed rule,                       common law decisions, focusing ‘‘first                    v. Hanning, 82 U.S. 649, 657 (1872)).
                                                 seeking input from employees,                              and foremost [on] the ‘established’                       The Court in Singer affirmed the
                                                 employers, and unions regarding their                      common-law definitions at the time                        holding below that a worker was an
                                                 experience in workplaces where                             Congress enacted the National Labor                       employee 16 of a company because the
                                                 multiple entities have authority over the                  Relations Act in 1935 and the Taft-                       Court concluded that the company had
                                                 workplace.                                                 Hartley Amendments in 1947.’’ Id. at                      contractually reserved such control over
                                                    The Board set an initial comment                        1209 (citations omitted).13
                                                 period of 60 days with 14 additional                                                                                 from time periods that shed light on the meaning
                                                 days allotted for reply comments.                            12 Our dissenting colleague suggests that the 2020      of those terms when Congress used them.
                                                                                                                                                                         14 Contrary to our dissenting colleague, apart from
                                                 Thereafter, the Board extended these                       rule is defensible, as a discretionary choice, to
                                                                                                            decline to exert joint-employer jurisdiction over         recognizing that the Board must follow common-
                                                 deadlines to allow interested parties to                   entities who might be statutory employers by virtue       law agency principles in determining who is an
                                                 comment for an additional 30 days.11                       of reserved but unexercised control, but who have         ‘‘employer’’ and an ‘‘employee’’ under Sec. 2 of the
                                                                                                            not actually exercised their authority to control         Act, we do not conclude that the common law
                                                 D. Relevant Common Law Principles                          terms and conditions of employment of another             dictates the specific details of the joint-employer
                                                                                                            entity’s employees. Assuming arguendo that the            standard we articulate herein. Rather, as discussed
                                                   As discussed in more detail below,                                                                                 in more detail above and below, the final rule
                                                                                                            Board could exercise its discretion to decline
                                                 the Board has concluded, after careful                     jurisdiction in this manner, the 2020 rule nowhere        reflects our policy choices, within the bounds of the
                                                 consideration of relevant comments,                        presents that rationale as underlying its actual-         common law, in furtherance of the policy of the
                                                 that the 2020 rule must be rescinded                       exercise requirement. Moreover, any such claim is         United States, as set forth in Sec. 1 of the Act, to
                                                                                                            inconsistent with our dissenting colleague’s              encourage the practice and procedure of collective
                                                 because it is contrary to the common-                                                                                bargaining, including by providing a mechanism by
                                                                                                            additional assertion, discussed further below, that
                                                                                                            the current final rule goes ‘‘beyond the boundaries       which an entity’s rights and obligations under the
                                                   8 Id. at 11235.
                                                                                                            of the common law’’ by eliminating the 2020 rule’s        Act may be accurately aligned with its authority to
                                                   9 Id. at 11236.                                                                                                    control employees’ essential terms and conditions
                                                                                                            actual-exercise requirement.
                                                   10 Id. at 11235–11236.                                      13 Our dissenting colleague implicitly criticizes us   of employment.
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                                                   11 The NPRM set the deadline for initial                                                                              15 87 FR at 54648–54650.
                                                                                                            for citing ‘‘a plethora of decisions (including state
                                                 comments as November 7, 2022, and comments                 law cases more than a hundred years old), the                16 As we explained more fully in the NPRM, a

                                                 replying to comments submitted during the initial          majority of which focus on independent contractor,        ‘‘servant’’ is an employee. 87 FR at 54645 fn. 28.
                                                 comment period were due November 21, 2022. 87              workers’ compensation, and tort liability matters.’’      See, e.g., 30 C.J.S. Employer—Employee sec. 1
                                                 FR at 54641. On October 14, 2022, the Board                We find it entirely appropriate, however, to seek         (2022) (‘‘The terms ‘servant’ and ‘employee’ are
                                                 extended the deadlines for submitting initial and          guidance on the meaning of common-law terms in            interchangeable.’’); Horace Gray Wood, A Treatise
                                                 reply comments for 30 days, to December 7, 2022,           the Act in judicial opinions where common-law             on the Law of Master and Servant; Covering the
                                                 and December 21, 2022, respectively. 87 FR 63465           issues most frequently arise, written by state judges     Relation, Duties and Liabilities of Employers and
                                                 (October 19, 2022).                                        primarily responsible for applying the common law,        Employees (1877).



                                            VerDate Sep<11>2014      18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                         USCA Case #23-1309                            Document #2025765                                Filed: 11/06/2023                    Page 9 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                       73949

                                                 the performance of the work that it                       1945, the Court of Appeals for the                          Unsurprisingly, early twentieth
                                                 ‘‘might, if it saw fit, instruct [the                     District of Columbia Circuit explained                    century secondary authority similarly
                                                 worker] what route to take, or even what                  that, in distinguishing employees from                    distills from the cases a common-law
                                                 speed to drive.’’ Id. at 523. In reaching                 independent contractors, ‘‘it is the right                rule under which the right of control
                                                 this conclusion, the Court relied solely                  to control, not control or supervision                    establishes the existence of the
                                                 on the parties’ contract and did not                      itself, which is most important.’’ 19                     common-law employer-employee
                                                 discuss whether or in what manner the                                                                               relationship, without regard to whether
                                                 company had ever actually exercised                       much more skilled than the master that actual             or how such control is exercised. For
                                                 any control over the terms and                            direction and control would be folly, for it is the       example, in 1922, an American Law
                                                                                                           right to control, rather than the exercise of it that
                                                 conditions under which the worker                         is the test.’’); Larson v. Independent School Dist No.
                                                                                                                                                                     Report (A.L.R.) annotation states as
                                                 performed his work. In other words, the                   11J of King Hill, 22 P.2d 299, 301 (Idaho 1933) (‘‘It     black-letter law that:
                                                 Court found a common-law employer-                        is not necessary that control be exercised, if the          In every case which turns upon the nature
                                                 employee relationship based on                            right of control exists.’’); Gordon v. S.M. Byers
                                                                                                           Motor Car Co., 164 A. 334, 335–336 (Pa. 1932)
                                                                                                                                                                     of the relationship between the employer and
                                                 contractually reserved control without                    (‘‘The control of the work reserved in the employer       the person employed, the essential question
                                                 reference to whether or how that control                  which makes the employee a mere servant . . .             to be determined is not whether the former
                                                 was exercised.17                                          means a power of control, not necessarily the             actually exercised control over the details of
                                                   Between the Court’s decision in                         exercise of the power.’’) (internal quotation and         the work, but whether he had a right to
                                                                                                           citation omitted); Brothers v. State Industrial           exercise that control.20
                                                 Singer and the relevant congressional                     Accident Commission, 12 P.2d 302, 304 (Or. 1932)
                                                 enactments of the NLRA in 1935 and the                    (‘‘[T]he true test of the relationship of employer and
                                                 Taft-Hartley amendments in 1947,                          employee is not the actual exercise of control, but       claimed to be an employer had a right to control
                                                                                                           the right to exercise control.’’) (internal quotation     the manner in which the work was done. It has
                                                 Federal courts of appeals and State high                                                                            been pointed out many times that this means not
                                                                                                           and citation omitted); Murrays Case, 154 A. 352,
                                                 courts consistently followed the                          354 (Me. 1931) (‘‘Authorities are numerous and            actually the exercise of control, but does mean the
                                                 Supreme Court in emphasizing the                          uniform that the vital test is to be found in the fact    right to control.’’); Ross v. Schneider, 27 SE 2d 154,
                                                 primacy of the right of control over                      that the employer has or not retained power of            157 (Va. 1943) (quoting Murray’s Case, 154 A. 352,
                                                                                                           control or superintendence over the employee or           354 (Me. 1931)) (‘‘Authorities are numerous and
                                                 whether or how it was exercised in                                                                                  uniform that the vital test is to be found in the fact
                                                                                                           contractor. The test of the relationship is the right
                                                 decisions that turned on the existence of                 to control. It is not the fact of actual interference     that the employer has or not retained power of
                                                 a common-law employer-employee                            with the control, but the right to interfere that         control or superintendence over the employee or
                                                                                                                                                                     contractor. ‘The test of the relationship is the right
                                                 relationship, including in contexts                       makes the difference between an independent
                                                                                                                                                                     to control. It is not the fact of actual interference
                                                 involving more than one potential                         contractor and a servant or agent. There is no
                                                                                                           conflict as to this general rule’’) (internal quotation   with the control, but the right to interfere that
                                                 employer. For example, in 1934, the                       and citation omitted); Van Watermeullen v.                makes the difference between an independent
                                                 Supreme Court of Missouri examined                        Industrial Commission, 174 NE 846, 847–848 (Ill.          contractor and a servant or agent.’ Tuttle v. Embury-
                                                                                                                                                                     Martin Lumber Co., [158 NW 875, 879 (Mich.
                                                 whether a worker was an ‘‘employee’’ of                   1931) (‘‘One of the principal factors which
                                                                                                                                                                     1916)].’’); Jones v. Goodson, 121 F.2d 176, 179 (10th
                                                 two companies under a State workers’                      determine whether a worker is an employee or an
                                                                                                           independent worker is the matter of the right to          Cir. 1941) (‘‘[T]he legal relationship of employer
                                                 compensation statute—the terms of                         control the manner of doing the work, not the actual      and employee . . . exists when the person for
                                                 which the court construed ‘‘in the sense                  exercise of that right.’’); Norwood Hospital v.           whom services are performed has the right to
                                                                                                                                                                     control and direct . . . the details and means by
                                                 in which they were understood at                          Brown, 122 So. 411, 413 (Ala. 1929) (‘‘[T]he
                                                                                                                                                                     which [the service] is accomplished. . . . it is not
                                                 common law’’—and affirmed that ‘‘the                      ultimate question . . . is not whether the employer
                                                                                                           actually exercised control, but whether it had a          necessary that the employer actually direct or
                                                 essential question is not what the                        right to control.’’).                                     control the manner in which the services are
                                                 companies did when the work was                              19 Grace v. Magruder, 148 F.2d 679, 681 (D.C. Cir.     performed; it is sufficient if he has the right to do
                                                 being done, but whether they had a right                                                                            so.’’); S.A. Gerrard Co. v. Industrial Accident
                                                                                                           1945). See also Industrial Commission v. Meddock,
                                                                                                                                                                     Comm’n, 110 P.2d 377 (Cal. 1941) (‘‘[T]he right to
                                                 to assert or exercise control.’’ 18 And, in               180 P.2d 580, 584 (Ariz. 1947) (‘‘It is the right to
                                                                                                                                                                     control, rather than the amount of control which
                                                                                                           control rather than the fact that the employer does
                                                                                                                                                                     was exercised, is the determinative factor.’’).
                                                    17 See also Chicago Rock Island & Pac. Ry. Co. v.
                                                                                                           control that determines the status of the parties, and       20 General discussion of the nature of the
                                                                                                           this right to control is, in turn, tested by those
                                                 Bond, 240 U.S. 449, 456 (1916) (worker was not            standards applicable to the facts at hand.’’); D.M.       relationship of employer and independent
                                                 employee of railroad company where contract               Rose & Co. v. Snyder, 206 SW 2d 897, 904 (Tenn.           contractor, 19 A.L.R. 226 at sec. 7 & fn. 1 (1922)
                                                 provided ‘‘company reserves and holds no control          1947) (internal quotations and citations omitted)         (emphasis added) (citations omitted). A 1931 A.L.R.
                                                 over [worker] in the doing of such work other than        (‘‘[The] right of control is the distinguishing mark      annotation similarly reports that ‘‘[i]t is not the fact
                                                 as to the results to be accomplished,’’ and Court         which differentiates the relation of master and           of actual interference or exercise of control by the
                                                 found company ‘‘did not retain the right to direct        servant from that of employer and independent             employer which renders one a servant rather than
                                                 the manner in which the business should be done,          contractor . . . . Wherever the defendant has had         an independent contractor, but the existence of the
                                                 as well as the results to be accomplished, or, in         such right of control, irrespective of whether he         right or authority to interfere or control.’’ Tests in
                                                 other words, did not retain control not only of what      exercised it or not, he has been held to be the           determining whether one is an independent
                                                 should be done, but how it should be done.’’)             responsible principal or master.’’); Green Valley         contractor, 75 A.L.R. 725 (1931).
                                                 (emphasis added); Little v. Hackett, 116 U.S. 366,        Coop. Dairy Co. v. Industrial Comm’n, 27 NW 2d               Other, earlier secondary authority was also
                                                 376 (1886) (‘‘[I]t is this right to control the conduct   454, 457 (Wis. 1947) (citation omitted) (‘‘It is quite    consistent with this view. For example, the second
                                                 of the agent which is the foundation of the doctrine      immaterial whether the right to control is exercised      edition of The American & English Encyclopedia of
                                                 that the master is to be affected by the acts of his      by the master so long as he has the right to exercise     Law, published over several years spanning the turn
                                                 servant.’’) (emphasis added) (quoting Bennet v. New       such control.’’); Bobik v. Industrial Comm’n, 64 NE       of the century, explains that ‘‘[t]he relation of
                                                 Jersey R.R. & Transp. Co., 36 N.J.L. 225 (N.J. 1873)).    2d, 829, (Ohio 1946) (‘‘[I]t is not, however, the         master and servant exists where the employer has
                                                    We are puzzled by our colleague’s suggestion that      actual exercise of the right by interfering with the      the right to select the employee; the power to
                                                 Singer somehow fails to support the proposition           work but rather the right to control which                remove and discharge him; and the right to direct
                                                 that contractual authority to control can establish a     constitutes the test.’’); Cimorelli v. New York Cent.     both what work shall be done and the way and
                                                 joint-employer relationship because the company           R. Co., 148 F.2d 575, 578 (6th Cir. 1945) (‘‘The fact     manner in which it shall be done.’’ 20 The
                                                 engaged the worker and compensated him for his            of actual interference or exercise of control by the      American & English Encyclopedia of Law 12 Master
                                                 work. As discussed further below, ordinary contract       employer is not material. If the existence of the         and Servant (2d ed. 1902) (emphasis added)
                                                 terms providing generally for engaging workers and        right or authority to interfere or control appears, the   (citations omitted). Likewise, in 1907, the
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                                                 setting general price terms are common features of        contractor cannot be independent.’’); Dunmire v.          Cyclopedia of Law and Procedure defines ‘‘master,’’
                                                 any independent-contractor arrangement, and are,          Fitzgerald, 37 A.2d 596, 599 (Pa. 1944) (in               inter alia, as ‘‘[o]ne who not only prescribes the
                                                 accordingly, not relevant to either the joint-            determining ‘‘who was the controlling master of the       end, but directs, or at any time may direct, the
                                                 employer analysis or the common-law employer-             borrowed employe[e], . . . . The criterion is not         means and methods of doing the work.’’ 26
                                                 employee analysis.                                        whether the borrowing employer in fact exercised          Cyclopedia of Law and Procedure 966 fn. 2 Master
                                                    18 Maltz v. Jackoway-Katz Cap Co., 82 SW2d 909,        control, but whether he had the right to exercise         and Servant (1907) (emphasis added) (citations
                                                 912, 918 (Mo. 1934). See also McDermott’s Case,           it.’’); Bush v. Wilson & Co., 138 P.2d 457, 461 (Kan.     omitted). The 1925 first edition of Corpus Juris
                                                 186 NE 231, 232–233 (Mass. 1933) (‘‘One may be            1943) (‘‘[W]hether a person is an employee of             echoes the same definitions set forth in the
                                                 a servant though far away from the master, or so          another depends upon whether the person who is                                                          Continued




                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00005   Fmt 4701    Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                 Filed: 11/06/2023                     Page 10 of 78
                                                 73950              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                   And, the first Restatement of Agency,                 what manner that control has been                            noted above, the Restatement (Second)
                                                 published in 1933, defines ‘‘master,’’                  exercised. For example, in 2014, the                         of Agency relevantly echoes the First
                                                 and ‘‘servant,’’ thus:                                  Supreme Court of California affirmed                         Restatement’s emphasis on the right of
                                                   (1) A master is a principal who employs               that ‘‘what matters under the common                         control.24 Corpus Juris Secundum
                                                 another to perform service in his affairs and           law is not how much control a hirer                          provides that ‘‘[a]n employee/servant is
                                                 who controls or has the right to control the            exercises, but how much control the                          a type of agent whose physical conduct
                                                 physical conduct of the other in the                    hirer retains the right to exercise.’’ 23 As                 is controlled or is subject to the right to
                                                 performance of the service.                                                                                          control by the master; the servant’s
                                                   (2) A servant is a person employed by a                  23 Ayala v. Antelope Valley Newspapers, Inc., 327         principal, who controls or has the right
                                                 master to perform service in his affairs whose          P.3d 165, 169, 172 (Cal. 2014); see also, e.g., Garcia-      to control the physical conduct of the
                                                 physical conduct in the performance of the              Celestino v. Ruiz Harvesting, Inc., 898 F.3d 1110,
                                                 service is controlled or is subject to the right        1121 (11th Cir. 2018) (‘‘We emphasize that ‘it is the
                                                                                                                                                                      servant, is called the master.’’ 25 And,
                                                 of control by the master.21                             right to control, not the actual exercise of control         the second edition of American
                                                                                                         that is significant.’ ’’); Mallory v. Brigham Young          Jurisprudence provides that ‘‘the
                                                   Finally, the first edition of American                Univ., 332 P.3d 922, 928–929 (Utah 2014) (‘‘If the           principal test of an employment
                                                 Jurisprudence, published between 1936                   principal has the right to control the agent’s method
                                                                                                                                                                      relationship is whether the alleged
                                                 and 1948, states that ‘‘the really                      and manner of performance, that agent is a servant
                                                                                                         whether or not the right is specifically exercised.’’);      employer has the right to control the
                                                 essential element of the [employer-                     Shatto v. McLeod Regional Medical Center, 753                manner and means of accomplishing the
                                                 employee] relationship is the right of                  SE2d 416, 419, 420 (S.C. 2013) (‘‘While evidence of          result desired.’’ 26 Based on its
                                                 control—the right of one person, the                    actual control exerted by a putative employer is
                                                                                                                                                                      examination of this and other judicial
                                                 master, to order and control another, the               evidence of an employment relationship, the
                                                                                                         critical inquiry is whether there exists the right and       and secondary authority, the Board
                                                 servant, in the performance of work by                  authority to control and direct the particular work          agrees with the District of Columbia
                                                 the latter, and the right to direct the                 or undertaking.’’); Anthony v. Okie Dokie Inc., 976          Circuit that ‘‘for what it is worth [the
                                                 manner in which the work shall be                       A.2d 901, 906 (D.C. 2009) (quoting Safeway Stores
                                                                                                                                                                      common-law rule in 1935 and 1947] is
                                                 done,’’ and ‘‘[t]he test of the employer-               Inc. v. Kelly, 448 A.2d 856, 860 (D.C. 1982)) (‘‘The
                                                                                                         determinative factor ‘is whether the employer has            still the common-law rule today.’’ 27 The
                                                 employee relation is the right of the                   the right to control and direct the servant in the           Board also notes that, as set forth in
                                                 employer to exercise control of the                     performance of his work and the manner in which              greater detail above, this view is in
                                                 details and method of performing the                    the work is to be done . . . and not the actual
                                                                                                                                                                      keeping with the Board’s prior treatment
                                                                                                         exercise of control or supervision.’ ’’); Universal
                                                 work.’’ 22                                              Am-Can Ltd. V. WCAB, 762 A.2d 328, 332–333 (Pa.              of reserved control in the period
                                                   The Board believes, after careful                     2000) (‘‘[I]t is the existence of the right to control       following the Greyhound decision and
                                                 consideration of relevant comments as                   that is significant, irrespective of whether the             before the Board began imposing
                                                 discussed further below, and based on                   control is actually exercised.’’); Reed v. Glyn, 724
                                                                                                                                                                      additional control-related restrictions in
                                                 consultation of this and other judicial                 A.2d 464, 466 (Vt. 1998) (‘‘It is to be observed that
                                                                                                         actual interference with the work is unnecessary—            TLI/Laerco and their progeny.
                                                 authority, that when Congress enacted                   it is the right to interfere that determines.’’); JFC           Finally, because the facts of many
                                                 the NLRA in 1935 and the Taft-Hartley                   Temps, Inc. v. W.C.A.B. (Lindsay), 620 A.2d 862,             cases do not require distinguishing
                                                 Amendments in 1947, the existence of                    864–865 (Pa. 1996) (‘‘The law governing the
                                                                                                         ‘‘borrowed’’ employee is well-established. . . . The
                                                                                                                                                                      between contractually reserved and
                                                 a putative employer’s reserved authority                entity possessing the right to control the manner of         actually exercised control, many
                                                 to control the details of the terms and                 the performance of the servant’s work is the                 judicial decisions and other authorities
                                                 conditions under which work was                         employer, irrespective of whether the control is             spanning the last century have
                                                 performed sufficed to establish a                       actually exercised.’’); Harris v. Miller, 438 SE 2d
                                                                                                         731, 735 (N.C. 1994) (‘‘The traditional test of
                                                                                                                                                                      articulated versions of the common-law
                                                 common-law employer-employee                            liability under the borrowed servant rule [provides          test that do not expressly include this
                                                 relationship without regard to whether                  that] a servant is the employe (sic) of the person           distinction. But the Board is not aware
                                                 or in what manner such control was                      who has the right of controlling the manner of his           of any common-law judicial decision or
                                                 exercised.                                              performance of the work, irrespective of whether he
                                                                                                         actually exercises that control or not.’’) (internal
                                                                                                                                                                      other common-law authority directly
                                                   From 1947 to today, innumerable                       quotation and citation omitted); Beddia v. Goodin,           supporting the proposition that, given
                                                 judicial decisions and secondary                        957 F.2d 254, 257 (6th Cir. 1992) (‘‘The test is             the existence of a putative employer’s
                                                 authorities examining the common-law                    whether the employer retained control, or the right
                                                 employer-employee relationship have                     to control, the modes and manner of doing the work
                                                                                                                                                                      the manner that [putative employee] operated his
                                                                                                         contracted for. It is not necessary that the control
                                                 continued to emphasize the primacy of                   ever be exercised.’’); Ex parte Curry, 607 S.2d 230,
                                                                                                                                                                      vehicle and not whether such control was in fact
                                                 the putative employer’s authority to                                                                                 exercised.’’); NLRB v. Deaton Inc., 502 F.2d 1221,
                                                                                                         232 (Ala. 1992) (‘‘In the last analysis, it is the
                                                                                                                                                                      1225 (5th Cir. 1974) (‘‘It is the right and not the
                                                 control, without regard to whether or in                reserved right of control rather than its actual
                                                                                                                                                                      exercise of control which is the determining
                                                                                                         exercise that provides the answer.’’); ARA Leisure
                                                                                                                                                                      element’’); Dovell v. Arundel Supply Corp., 361
                                                                                                         Services, Inc. v NLRB, 782 F.2d 456, 460 (4th Cir.
                                                 Cyclopedia, and additionally notes state high court                                                                  F.2d 543, 545 (D.C. Cir. 1966) (quoting Grace v.
                                                                                                         1986) (‘‘It is the right to control, rather than the
                                                 common-law authority holding that ‘‘where the                                                                        Magruder, 148 F.2d 679, 681 (D.C. Cir. 1945)) (‘‘[I]t
                                                                                                         actual exercise of control, that is significant.’’);
                                                 master has the right of control, it is not necessary                                                                 is the right to control, not control or supervision
                                                                                                         NLRB v. Associated Diamond Cabs, Inc., 702 F.2d
                                                 that he actually exercise such control.’’ 39 C.J.                                                                    itself, which is most important.’’); United Ins. Co.
                                                                                                         912, 920 (11th Cir. 1983) (‘‘[I]t is the right to control,
                                                 Master and Servant sec. 1 Definitions 33 fn. 8 (1st                                                                  of America v. NLRB, 304 F.2d 86, 89 (7th Cir. 1962)
                                                                                                         not the actual exercise of control, that is
                                                 ed. 1925) (emphasis added) (quoting Tucker v.                                                                        (‘‘[I]t is the right and not the exercise of control
                                                                                                         significant.’’); Glenmar Cinestate Inc. v. Farrell, 292
                                                 Cooper, 158 P. 181 (Cal. 1916)).                                                                                     which is the determining element.’’); Cohen v. Best
                                                                                                         SE2d 366, 369 (Va. 1982) (‘‘It is not the fact of
                                                    21 Restatement (First) of Agency sec. 2 (Am. Law                                                                  Made Mfg. Co., 169 A.2d 10, 11–12 (R.I. 1961) (‘‘The
                                                                                                         actual interference with the control, but the right to
                                                 Inst. 1933) (emphasis added). See also id. at sec.                                                                   final test is the right of the employer to exercise
                                                                                                         interfere, that makes the difference between an
                                                 220 (‘‘A servant is a person employed to perform                                                                     power of control rather than the actual exercise of
                                                                                                         independent contractor and a servant or agent.’’);
                                                 a service for another in his affairs and who, with                                                                   such power.’’); Fardig v. Reynolds, 348 P.2d 661,
                                                                                                         Baird v. Sickler, 433 NE 2d 593, 594–595 (Ohio
                                                 respect to his physical conduct in the performance                                                                   663 (Wash. 1960) (‘‘It is well settled in this state
                                                                                                         1982) (‘‘For the relationship to exist, it is
                                                 of the service, is subject to the other’s control or                                                                 that . . . [it] is not the actual exercise of the right
                                                                                                         unnecessary that such right of control be exercised;
ddrumheller on DSK120RN23PROD with RULES2




                                                 right to control.’’) (emphasis added). As noted                                                                      of interference with the work, but the right to
                                                                                                         it is sufficient that the right merely exists.’’);
                                                 above, the District of Columbia Circuit observed in                                                                  control, which constitutes the test.’’).
                                                                                                         Seafarers Local 777 (Yellow Cab) v. NLRB, 603 F.2d              24 See Restatement (Second) of Agency secs. 2,
                                                 BFI v. NLRB, 911 F.3d at 1211, that ‘‘the ‘right to     862, 874 (D.C. Cir. 1978) (quoting Williams v. U.S.,
                                                 control’ runs like a leitmotif through the              126 F.2d 129, 132 (7th Cir. 1942)) (‘‘[I]t is the right      220 (Am. Law Inst. 1958).
                                                                                                                                                                         25 30 C.J.S. Employer—Employee sec. 1 (2022)
                                                 Restatement (Second) of Agency,’’ which, though         and not the exercise of control which is the
                                                 published in 1958, is relevantly similar to the first   determining element.’’); Combined Insurance Co. of           (emphasis added) (citations omitted).
                                                 Restatement.                                                                                                            26 27 Am. Jur. 2d. Employment Relationship sec.
                                                                                                         America v. Sinclair, 584 P.2d 1034, 1042 (Wyo.
                                                    22 35 Am. Jur. Master and Servant sec. 3 (1st ed.    1978) (‘‘The base determining factor is whether              1 (2022) (emphasis added) (citations omitted).
                                                 1941) (emphasis added).                                 [putative employer] retained [t]he right of control of          27 BFI v. NLRB, 911 F.3d at 1210 & fn. 6.




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                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                    Page 11 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                     73951

                                                 contractually reserved authority to                     particular employees.30 Once the party                   materially similar to the NLRA.33 As a
                                                 control, further evidence of direct and                 seeking to demonstrate joint-employer                    threshold matter, because many of the
                                                 immediate exercise of that control is                   status establishes the existence of a                    decisions our colleague cites take
                                                 necessary to establish a common-law                     threshold common-law employment                          independent-contractor authority as the
                                                 employer-employee relationship.                         relationship, the final rule appropriately               starting point for their analysis of joint-
                                                    For these reasons, the Board believes                provides for an examination, under                       employer questions, these cases support
                                                 that in light of controlling common-law                 Section 103.40(c), of whether the                        the Board’s similar examination of
                                                 agency principles, it does not have the                 character and objects of such control.                   articulations of common-law principles
                                                 statutory authority to require a showing                i.e., who may exercise it, when, and                     in independent-contractor authority for
                                                 of actual exercise of direct and                        how, extends to essential terms and                      guidance on the joint-employer analysis
                                                 immediate control in order to establish                 conditions of employment that are the                    under the NLRA.34
                                                 that an entity is a joint employer of                   central concern of the joint-employer
                                                 another entity’s employees. We would                    analysis within the specific context of                     33 We need not decide whether the statutes our

                                                 not choose to do so, as a matter of                                                                              colleague refers to are ‘‘materially similar’’ to the
                                                                                                         the NLRA.31                                              NLRA, because, as discussed below, courts’
                                                 policy, in any case.
                                                    Our dissenting colleague faults us, in                  Our dissenting colleague faults us for                discussion and application of common-law
                                                                                                         failing to pay sufficient heed to judicial               principles in the cases cited by our colleague fully
                                                 turn, both for seeking authority on                                                                              support the Board’s position. We note, however,
                                                 relevant common-law principles in                       decisions examining joint-employer                       that these statutes define ‘‘employer’’ and
                                                 sources examining the distinction                       questions under other statutes,                          ‘‘employee’’ differently from the Act and examine
                                                 between employees and independent                       especially Title VII of the Civil Rights                 the relationship in different contexts. For instance,
                                                                                                         Act of 1964,32 that he claims are                        Title VII excludes entities that would clearly be
                                                 contractors and for failing to pay                                                                               statutory employers under the NLRA by defining
                                                 sufficient attention to judicial decisions                                                                       ‘‘employer’’ as ‘‘a person engaged in an industry
                                                                                                            30 Our dissenting colleague argues that judicial      affecting commerce who has fifteen or more
                                                 examining joint-employer issues under                   precedent distinguishing between independent             employees for each working day in each of twenty
                                                 other federal statutes in light of                      contractors and employees is ‘‘ill-suited to fully       or more calendar weeks in the current or preceding
                                                 common-law principles derived from                      resolve joint-employer issues’’ in part because, he      calendar year, and any agent of such a person,’’
                                                 independent-contractor authority. In                    contends, the principal in an independent-               subject to exclusions that also differ from the
                                                                                                         contractor relationship ‘‘necessarily exercises direct   exclusions provided under Sec. 2 of the Act.
                                                 support of the first criticism, our                     control of at least two things that . . . constitute     Compare 42 U.S.C. 2000e(b) with 29 U.S.C. 152.
                                                 colleague quotes selectively from BFI v.                essential terms and conditions,’’ by engaging the        Moreover, joint-employer questions under Title VII
                                                 NLRB, in which the court rejected a                     worker and deciding upon the compensation to be          and similar statutes primarily arise in the context
                                                 party’s contention that the joint-                      paid for the work. This argument proves too much,        of assigning liability for workplace discrimination
                                                                                                         because an entity that actually determined which         in violation of employees’ individual rights. Under
                                                 employer and independent-contractor                     particular employees would be hired and actually         the NLRA, by contrast, such questions arise in an
                                                 tests were ‘‘virtually identical.’’ 911                 determined the wage rates of another entity’s            additional forward-looking context: in order to
                                                 F.3d at 1213–1215. We recognize, as did                 employees would be a joint employer of those             correctly allocate prospective bargaining rights and
                                                 the court there, that several of the                    employees for the purposes of the Act under any          obligations in support of employees’ collective right
                                                                                                         joint-employer standard, including the 2020 rule.        to bargain. Assuming that Title VII and similar
                                                 factors that guide the employee-or-                     See 85 FR at 11235–11236. Because every contract         statutes, like the Act, require reference to the
                                                 independent-contractor determination,                   for the performance of work includes price terms         content of the common-law terms ‘‘employer’’ and
                                                 as articulated in primary judicial                      and provides for engaging at least one worker, if        ‘‘employee,’’ the necessity under the Act of
                                                 authority like Darden 28 and Reid 29 and                such provisions alone were, as our colleague             prospectively defining bargaining obligations may
                                                                                                         asserts, the equivalent of exercising direct control     tend to focus the common-law inquiry on questions
                                                 in secondary compendiums, reports,                      over hiring and wages—essential terms and                involving reserved or indirect control more
                                                 and restatements of the common law of                   conditions of employment under the Act—then no           frequently than is likely under primarily backward-
                                                 agency bearing on independent-                          joint-employer standard could distinguish between        looking individual-rights-protecting statutes.
                                                 contractor determinations will ‘‘shed no                control sufficient to establish a joint-employer            34 See, e.g., Felder v. U.S. Tennis Assn., 27 F.4th
                                                                                                         relationship and control insufficient to establish a     834, 843 (2d Cir. 2022) (relying, inter alia, on Reid
                                                 meaningful light’’ on joint-employer                    common-law employment relationship when                  and Restatement (Second) of Agency § 220); Garcia-
                                                 questions, which involve workers who                    considering only a single principal and a single         Celestino v. Ruiz Harvesting, Inc., 843 F.3d 1276,
                                                 are clearly some entity’s employees. 911                worker. From this it is clear that, contrary to our      1286–1287 (11th Cir. 2016) (relying on Darden and
                                                 F.3d at 1214–1215. Nevertheless, we                     colleague’s assertion, ordinary contract terms           Reid); Al-Saffy v. Vilsack, 827 F.3d 85 (D.C. Cir.
                                                                                                         providing generally for engaging workers and             2016) (relying, inter alia, on ‘‘traditional agency law
                                                 agree with the court that ‘‘both tests                  setting general price terms do not constitute an         principles’’ citing Darden); Faush v. Tuesday
                                                 ultimately probe the existence of a                     exercise of direct control over the essential terms      Morning, Inc., 808 F.3d 208 (3d Cir. 2015) (‘‘the
                                                 common-law master-servant                               and conditions of employment of hiring and wages.        common-law test outlined in Darden governs’’);
                                                 relationship, [a]nd central to                          As discussed further below, Sec. 103.40(f) expressly     Plaso v. IJKG, LLC, 553 Fed. Appx. 199, 203–204 (3d
                                                                                                         incorporates this distinction by providing that          Cir. 2015) (considering Darden factors).
                                                 establishing a master-servant                           evidence of an entity’s control over matters that are       Some of the decisions our colleague cites are less
                                                 relationship—whether for purposes of                    immaterial to the existence of a common-law              clearly relevant, because they employ an ‘‘economic
                                                 the independent-contractor inquiry or                   employment relationship and that do not bear on          realities’’ test, or a hybrid test that incorporates
                                                 the joint-employer inquiry—is the                       the employees’ essential terms and conditions of         elements of both a common-law control test and an
                                                                                                         employment is not relevant to the determination of       economic-realities test. See, e.g., Perry v. VHS San
                                                 nature and extent of a putative master’s                whether an entity is a joint employer. Recognizing       Antonio, LLC, 990 F.3d 918, 928–929 (5th Cir. 2021)
                                                 control.’’ Id. at 1214. The final rule is               this commonsense distinction in no way                   (applying ‘‘hybrid economic realities/common law
                                                 thus consistent with NLRB v. BFI in                     undermines our examination of independent-               control test’’); Frey v. Hotel Coleman, 903 F.3d 671,
                                                 seeking guidance from common law                        contractor authority for guidance on the common-         676 (7th Cir. 2018) (applying ‘‘an ‘economic
                                                                                                         law employment relationship.                             realities’ test which is, in essence, an application of
                                                 material bearing on the independent-                       31 See BFI v. NLRB, 911 F.3d at 1195
                                                                                                                                                                  general principles of agency law to the facts of the
                                                 contractor determination to examine, as                 (‘‘[E]mployee-or-independent-contractor cases can        case’’); Al-Saffy v. Vilsack, 827 F.3d at 96 (noting
                                                 a threshold matter under Section                        . . . be instructive in the joint-employer inquiry to    one of two recognized ‘‘articulations of the test for
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                                                 103.40(a), whether a common-law                         the extent that they elaborate on the nature and         identifying joint-employer status. . . . speaks in
                                                 employer-employee relationship exists                   extent of control necessary to establish a common-       terms of the ‘economic realities’ of the work
                                                                                                         law employment relationship. Beyond that, a rigid        relationship’’). Of course, as we note elsewhere, the
                                                 between a putative joint employer and                   focus on independent-contractor analysis omits the       Board is precluded by Supreme Court decisions
                                                                                                         vital second step in joint-employer cases, which         interpreting the Taft-Hartley amendments from
                                                   28 Nationwide Mutual Insurance Co. v. Darden,         asks, once control over workers is found, who is         applying an economic-realities test. See, e.g., NLRB
                                                 503 U.S. 318, 322–324 (1992).                           exercising that control, when, and how.’’) (emphasis     v. United Insurance Co. of America, 390 U.S. 254,
                                                   29 Community for Creative Non-Violence v. Reid,       in original).                                            256 (1968). Given that our colleague elsewhere
                                                 490 U.S. 730, 751 (1989).                                  32 42 U.S.C. 2000e et seq.                                                                         Continued




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                            Document #2025765                               Filed: 11/06/2023                    Page 12 of 78
                                                 73952               Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                    Moreover, far from supporting our                      joint-employer analysis that provides                    colleague further asserts that Felder
                                                 colleague’s claim that the Board has                      that an entity is a common-law                           ‘‘quoted with approval cases from other
                                                 ‘‘gone beyond the boundaries of the                       employer if it ‘‘exercises significant                   circuits requiring proof that the putative
                                                 common law’’ by eliminating the 2020                      control’’ over certain terms and                         joint employer ‘exercise[d] significant
                                                 rule’s actual-exercise requirement, none                  conditions of workers’ employment.36                     control.’ ’’ However, a closer
                                                 of the decisions he cites articulates a                   We agree that an entity’s actual exercise                examination of the cases cited by Felder
                                                 common-law principle that would                           of control may be sufficient to establish                reveals that they similarly support only
                                                 preclude finding a joint-employer                         an employment relationship, but                          the proposition that the exercise of
                                                 relationship based on evidence of                         nothing about this formulation entails or                control is sufficient to establish the
                                                 reserved unexercised control or                           supports our colleague’s further                         relationship, not that the exercise of
                                                 indirectly exercised control. To the                      contention that the actual exercise of                   control is necessary to establish the
                                                 contrary, several of the cited cases                      control is necessary. As discussed                       relationship.38 As we have explained,
                                                 affirmatively support the Board’s                         above, the facts of many cases do not                    the final rule is entirely consistent with
                                                 conclusion that the common law                            require distinguishing between reserved                  the proposition that, as these cases hold,
                                                 permits the finding of a joint-employer                   control and actually exercised control,                  a joint-employment relationship exists
                                                 relationship based solely upon reserved,                  or between control that is exercised                     when two entities exercise significant
                                                 unexercised control or upon control                       directly or indirectly. Where no                         control over the same employees.39
                                                 exercised indirectly, such as through an                  question of reserved or indirect control                 Moreover, each of the cases cited in
                                                 intermediary.35                                           is presented, it is unsurprising that                    Felder that our colleague relies upon—
                                                    To begin, several of the cases our                     judges articulate the test in a manner                   and many others—also discussed the
                                                 colleague cites articulate a version of the               that does not make such distinctions,                    requisite control in terms of the putative
                                                                                                           and such articulations, absent a specific                joint-employer’s ‘‘right,’’ ‘‘ability,’’
                                                 expresses his agreement with our view that the            claim that actual exercise of control is                 ‘‘power,’’ or ‘‘authority’’ to control terms
                                                 Board must apply common-law agency principles             a necessary component of the analysis,
                                                 in making joint-employer determinations under the
                                                                                                                                                                    and conditions of employment,
                                                 Act, we find his observation that NLRB v. Hearst          have little to say to the specific                       consistent with the common-law
                                                 Publications, 322 U.S. 111 (1944), involved a             disagreement between the Board and                       principle consistently articulated in the
                                                 question of employee-or-independent-contractor            our dissenting colleague.                                primary judicial authority discussed
                                                 status rather than a question of joint-employer              Relatedly, our colleague cites Felder
                                                 status to be something of a non sequitur.
                                                    Finally, some of the cases our colleague relies
                                                                                                           v. U.S. Tennis Association for its                       appropriate circumstances. Id. at 845. The court
                                                 upon are at best attenuated sources of authority on       statement that, under a common-law                       concluded that the court below had not erred in
                                                 the content of the common law to the extent that          analysis drawn from the Supreme                          dismissing the discriminatee’s Title VII claims with
                                                 they articulate a joint-employer standard ultimately                                                               respect to the putative joint employer because the
                                                                                                           Court’s decision in Reid, ‘‘the exercise                 alleged discriminatee failed to allege that the
                                                 derived from Board decisions—including Board
                                                 decisions imposing an actual-exercise requirement         of control is the guiding indicator.’’ But               putative joint employer ‘‘would have significantly
                                                 without reference to any common-law authority.            he fails to acknowledge the Felder                       controlled the manner and means’’ of his work so
                                                 See, e.g., Nethery v. Quality Care Investors, L.P., 814   court’s explanation that sharing                         as to establish an employment relationship.
                                                 Fed. Appx. 97 (6th Cir. 2020) (applying ‘‘share-or-                                                                   38 See Knitter, above, 758 F.3d at 1226 (quoting

                                                 codetermine’’ standard derived from NLRB v.
                                                                                                           significant control under common-law
                                                                                                                                                                    Bristol, above, 312 F.3d at 1218 (‘‘Under the joint
                                                 Browning-Ferris Industries of Pennsylvania, Inc.          principles ‘‘means that an entity other                  employer test, two entities are considered joint
                                                 (NLRB v. BFI of Pennsylvania), 691 F.2d 1117, 1124        than the employee’s formal employer                      employer . . . if they both ‘exercise significant
                                                 (3d Cir. 1982), via Carrier Corp. v. NLRB, 768 F.2d       has power to pay an employee’s salary,                   control over the same employees.’ ’’)), and Plaso,
                                                 778, 781 (6th Cir. 1985)); Al-Saffy v. Vilsack, 827                                                                above, 553 Fed. Appx. at 204 (quoting Graves,
                                                 F.3d at 96 (noting one of two recognized                  hire, fire, or otherwise control the
                                                                                                                                                                    above, 117 F.3d at 727 (‘‘[A] joint employment
                                                 ‘‘articulations of the test for identifying joint-        employee’s daily employment activities,                  relationship exists when ‘two entities exercise
                                                 employer status. . . . borrows language from’’            such that we may properly conclude                       significant control over the same employees.’ ’’)).
                                                 NLRB v. BFI of Pennsylvania, above); Plaso v. IJKG,       that a constructive employer-employee                       39 As we have noted above, courts focused on
                                                 LLC, 553 Fed. Appx. at 204 (relying in part on NLRB                                                                particular factual records that do not turn on the
                                                 v. BFI of Pennsylvania for ‘‘significant control’’        relationship exists.’’ 27 F.4th 834, 844
                                                                                                                                                                    precise role of reserved or indirect control have
                                                 formulation); Whitaker v. Milwaukee County, 772           (2d Cir. 2022) (emphasis added).37 Our                   frequently and reasonably refrained from
                                                 F.3d 802, 810 (7th Cir. 2014) (discussed further
                                                                                                                                                                    articulating versions of a common-law employer-
                                                 below, noting ‘‘joint employer concept derives from         36 See Adams v. C3 Pipeline Constr. Inc., 30 F.4th
                                                                                                                                                                    employee or joint-employer standard that expressly
                                                 labor law,’’ and citing post-TLI/Laerco NLRA              943, 961 (10th Cir. 2021) (quoting Knitter v. Corvias
                                                 precedent); Graves v. Lowery, 117 F.3d 723, 727 (3d                                                                address whether such control can suffice alone to
                                                                                                           Mil. Living, LLC, 758 F.3d 1214, 1226 (10th Cir.         establish the relationship. See, e.g., BFI v. NLRB,
                                                 Cir. 1997) (drawing guidance from Board ‘‘cases
                                                                                                           2014) (‘‘Both entities are employers if they both        above, 911 F.3d at 1213 (‘‘[B]ecause the Board
                                                 which have found joint employment status when
                                                                                                           exercise significant control over the same               relied on evidence that Browning-Ferris both had a
                                                 two entities exercise significant control over the
                                                                                                           employees.’’) (internal quotation and citation           right to control and had exercised that control, this
                                                 same employees’’) (citing NLRB v. BFI of
                                                 Pennsylvania and post-TLI/Laerco NLRA                     omitted); Plaso v. IJKG, LLC, 553 Fed. Appx. at 204      case does not present the question whether the
                                                 precedent).                                               (3d Cir. 2015) (‘‘a joint employment relationship        reserved right to control, divorced from any actual
                                                    35 In Garcia-Celestino v. Ruiz Harvesting, Inc., for   exists when ‘two entities exercise significant           exercise of authority, could alone establish a joint-
                                                                                                           control over the same employees.’ ’’) (quoting           employer relationship.’’). In crafting a Final Rule of
                                                 example, the court concluded that, under the
                                                                                                           Graves, above); Bristol v. Bd. of Cnty. Comm’rs of       general prospective applicability, however, our task
                                                 common-law standard applicable to the joint-
                                                 employer question before it—which it derived from         Cnty. of Clear Creek, 312 F.3d 1213, 1218 (10th Cir.     is different. We must, accordingly, seek guidance
                                                 Supreme Court independent-contractor precedent—           2002) (‘‘Courts applying the joint-employer test . . .   from those judicial articulations of common-law
                                                 ‘‘the proper focus is on the hiring entity’s right to     look to whether both entities ‘exercise significant      standards that have expressly addressed the
                                                 control the manner and means by which the                 control over the same employees.’ ’’) (quoting           question of whether or how authority to control
                                                 product is accomplished.’’ 843 F.3d at 1292–1293          Graves, above).                                          must be exercised in order to establish the relevant
                                                                                                             37 Significantly, because Felder involved a Title      relationship. No number of cases holding only that
                                                 (quotation omitted) (emphasis added). After remand
                                                 to a district court to apply the common-law               VII claim of discriminatory denial of credentials        the direct exercise of control is sufficient can
                                                                                                           necessary to perform certain work, the alleged           rationally establish that the direct exercise of
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                                                 analysis, the court later emphasized that under the
                                                 applicable common-law control test ‘‘it is the right      discriminatee never performed work for the               control is necessary. Conversely, though, the large
                                                 to control, not the actual exercise of control, that      putative joint employer, and the court’s analysis        body of authority expressly stating that the direct
                                                 is significant.’’ 898 F.3d 1110, 1121 (11th Cir. 2018)    necessarily examined whether the putative joint          exercise of control is not necessary, and, in many
                                                 (quoting NLRB v. Associated Diamond Cabs, 702             employer ‘‘would have exerted control over the           cases finding the relevant relationship without any
                                                 F.2d 912, 919–920 (11th Cir. 1983)) (emphasis in          terms and conditions of [the employee’s]                 direct exercise of control, weighs heavily in favor
                                                 original). See also discussion of Butler v. Drive         anticipated employment, by, for example, training,       of our conclusion that the Board may not,
                                                 Automotive Industries of Am., 793 F.3d 404 (4th           supervising, and disciplining [the employee]’’—in        consistent with controlling common-law agency
                                                 Cir. 2015) and EEOC v. Global Horizons, Inc., 915         other words, whether it had the power, though            principles, impose such a requirement as part of a
                                                 F.3d 631 (9th Cir. 2019), infra.                          never exercised, to exert the requisite control under    joint-employer standard.



                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                            Document #2025765                                 Filed: 11/06/2023               Page 13 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                              73953

                                                 above, that it is the authority to control                Whitaker’s statement of the joint-                         to do with any question involving
                                                 that matters, without respect to whether                  employer standard has little to say                        reserved, unexercised control, but rather
                                                 or how such control is exercised.40                       regarding the common-law principles                        with the question of whether, despite
                                                    The single case cited by our colleague                 applicable to the final rule.43                            the appearance that the agency was
                                                 that arguably articulates a standard                         Our dissenting colleague further seeks                  responsible for the discharge, the
                                                 under which the exercise of control                       support from the court’s statement in                      manufacturer had actually, though
                                                 would be necessary to find a joint-                       Butler v. Drive Automotive Industries of                   indirectly, brought it about. The court
                                                 employer relationship, Whitaker v.                        America that ‘‘the [joint-employer]                        observed that the joint-employer test
                                                 Milwaukee County, does not purport to                     doctrine’s emphasis on determining                         ‘‘specifically aims to pierce the legal
                                                 draw this principle from the common                       which entities actually exercise control                   formalities of an employment
                                                 law, but rather applies a standard                        over an employee is consistent with                        relationship to determine the loci of
                                                 derived from decisions under the NLRA                     Supreme Court precedent interpreting                       effective control over an
                                                 at a time that the Board had, as we have                  Title VII’s definitions.’’ 793 F.3d 404,                   employee . . . . Otherwise, an
                                                 explained above, adopted an actual-                       409 (4th Cir. 2015) (emphasis added). In                   employer who exercises actual control
                                                 exercise requirement that was                             context, though, it is clear that the                      could avoid Title VII liability by hiding
                                                 unsupported by and insupportable                          Butler court’s discussion of which entity                  behind another entity.’’ 793 F.3d at 415.
                                                 under the common law.41 Thus,                             ‘‘actually exercised’’ control meant                       In other words, far from suggesting that
                                                 Whitaker drew its articulation of the                     something entirely different from what                     reserved, unexercised control can never
                                                 standard from G. Heileman Brewing Co.                     our colleague means by the phrase. At                      suffice to establish a joint-employment
                                                 v. NLRB, which enforced a Board                           issue in Butler was whether a                              relationship under the common law,
                                                 Decision and Order that had adopted,                      manufacturer was a joint employer of a                     Butler tends rather to support the final
                                                 without relevant comment, an                              worker supplied to it by a temporary                       rule’s treatment of indirect control,
                                                 administrative law judge’s finding that                   employment agency. The court found                         discussed further below.
                                                 two entities were joint employers under                   that the agency discharged the employee                       Our colleague further claims that
                                                 Laerco based on their direct negotiation                  after the manufacturer requested that                      ‘‘[n]ot a single circuit has held or even
                                                 of a contract that set the overall                        she be replaced. An agency manager                         suggested that an entity can be found to
                                                 framework of terms and conditions of                      also testified that he could not recall an                 be the joint employer of another entity’s
                                                 employment of the employees.42                            instance when the manufacturer                             employees based solely on a never-
                                                 Because the Board is not a primary                        requested that an agency employee be                       exercised contractual reservation of
                                                 source of authority for the common-law                    disciplined or discharged and it was not                   right to affect essential terms . . . i.e.,
                                                 of agency, and did not, in any case                       done. Based primarily on this evidence                     conduct other than actually determining
                                                 purport to draw the control-based                         that the manufacturer thus exercised                       (alone or in collaboration with the
                                                 restrictions imposed by Laerco and                        indirect control over discipline and                       undisputed employer) employees’
                                                 related decisions from the common law,                    tenure of employment of the agency’s                       essential terms and conditions of
                                                                                                           employees, the court held, as a matter                     employment.’’ But the Court of Appeals
                                                    40 See Knitter, 758 F.3d at 1226 (considering          of law, that the manufacturer was a                        for the Ninth Circuit did just that in
                                                 ‘‘right to terminate’’ employment, and ‘‘ability to       joint-employer of the discharged                           EEOC v. Global Horizons, Inc., 915 F.3d
                                                 promulgate work rules and assignments, and set
                                                 conditions of employment including compensation,
                                                                                                           employee.44 The court’s observation, in                    631 (9th Cir. 2019).
                                                 benefits, and hours’’) (emphasis added) (quotations       this context, that the joint-employer                         Global Horizons involved an EEOC
                                                 and citations omitted); Bristol, 312 F.3d at 1215         doctrine emphasizes ‘‘which entities                       Title VII enforcement action against two
                                                 (holding putative joint employer ‘‘lack[ed] the           actually exercise control’’ had nothing                    agricultural employers (the Growers)
                                                 power to control the hiring, termination, or
                                                 supervision of [undisputed employer’s] employees,
                                                                                                                                                                      alleged to be joint employers of certain
                                                 or otherwise control the terms and conditions of             43 In any case, the court in Whitaker concluded,        foreign workers (the Thai workers)
                                                 their employment) (emphasis added); Plaso, 553            relying in part on an EEOC Compliance Manual,              supplied to the Growers by a labor
                                                 Fed. Appx. at 204 (considering, inter alia, putative      that the ultimate question of liability at issue in that   contractor, Global Horizons, under the
                                                 joint employer’s ‘‘authority to hire and fire             case did not turn on the ‘‘technical outcome of the
                                                 employees promulgate work rules and assignments,          joint employer inquiry,’’ but on whether the               H–2A guest worker program. Global
                                                 and set conditions of employment, including               putative joint employer had ‘‘participated in the          Horizons and the Growers contracted for
                                                 compensation, benefits and hours’’) (emphasis             alleged discriminatory conduct or failed to take           Global Horizons to pay the workers and
                                                 added); Graves, 117 F.3d at 728 (‘‘when an                corrective measures within its control’’ which the         provide certain nonwage benefits
                                                 employer has the right to control the means and           court found it had not. 772 F.3d at 811–812. The
                                                 manner of an individual’s performance . . . an            court’s suggestion that liability might have been          required under Department of Labor
                                                 employer-employee relationship is likely to exist.’’)     found based on the putative joint employer’s failure       regulations governing the H–2A
                                                 (emphasis added) (citation omitted); see also, e.g.,      to take corrective measures within its control             program in exchange for the Growers’
                                                 Adams, 30 F.4th at 961, (considering ‘‘right to           supports the final rule’s treatment of reserved            agreement to compensate Global
                                                 terminate’’ employment relationship, and ‘‘ability to     control. For example, under the final rule, but not
                                                 promulgate work rules and assignments, and set            under the 2020 rule, an entity that had
                                                                                                                                                                      Horizons for the workers’ wages and
                                                 conditions of employment, including                       contractually reserved but never exercised a right to      benefits and pay Global Horizons an
                                                 compensation, benefits, and hours’’) (quoting             veto another entity’s disciplinary actions could           additional fee for its services. 915 F.3d
                                                 Knitter, above); Perry, 990 F.3d at 929 (‘‘The right      plausibly be held jointly responsible if it failed to      at 634–635. The workers sought to hold
                                                 to control the employee’s conduct is the most             prevent the second entity’s issuance of unlawful
                                                 important component of determining a joint                discriminatory discipline to discourage conduct
                                                                                                                                                                      the Growers responsible as joint
                                                 employer. . . . [including a] focus on the right to       protected by the Act. Cf. EEOC v. Global Horizons,         employers for alleged unlawful
                                                 hire and fire, the right to supervise, and the right      Inc., 915 F.3d 631, 640–641 (9th Cir. 2019)                discrimination in Global Horizons’
                                                 to set the employees’ work schedule.’’) (citations        (discussed further below, holding two fruit growers        provision of nonwage benefits,
                                                 omitted).                                                 could be liable for discrimination in labor
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                                                    41 See Whitaker v. Milwaukee County, 772 F.3d          supplier’s provision to workers of certain non-wage
                                                                                                                                                                      including housing, meals, and
                                                 802, 810 (7th Cir. 2014) (‘‘An entity other than the      benefits based on growers’ never-exercised                 transportation. Id. at 636.
                                                 actual employer may be considered a ‘joint                authority to control the manner in which benefits             The court analyzed the joint-employer
                                                 employer’ ‘only if it exerted significant control over’   were provided).                                            question under a common-law agency
                                                 the employee.’’) (emphasis added) (quoting G.                44 As discussed further below, we disagree with
                                                                                                                                                                      test derived from Darden and
                                                 Heileman Brewing Co. v. NLRB, 879 F.2d 1526,              our colleague and the 2020 rule’s characterization
                                                 1530 (7th Cir. 1989), enfg. 290 NLRB 991 (1988)).         of control exercised through an intermediary as
                                                                                                                                                                      Clackamas Gastroenterology Associates,
                                                    42 See G. Heileman Brewing Co., 290 NLRB 991,          direct and immediate rather than as indirect or            P.C. v. Wells, 538 U.S. 440, 448–449
                                                 999 (1988), enfd. 879 F.2d 1256 (7th Cir. 1989).          mediated.                                                  (2003). 915 F.3d at 638–639. The court


                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00009    Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023                Page 14 of 78
                                                 73954               Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 concluded that, while most of the                         is thus consistent with the large body of            relationship.’’ 47 Similarly, as discussed
                                                 factors it would typically consider in                    common-law authority discussed above                 in more detail above, the Fourth Circuit
                                                 applying the common-law agency test                       in strongly supporting the Board’s                   has held that an entity was a joint
                                                 under Darden did not apply on the                         conclusion that the 2020 rule’s actual-              employer of another employer’s
                                                 specific facts before it, ‘‘the common                    exercise requirement is inconsistent                 employees based primarily on the
                                                 law’s ‘principal guidepost’—the element                   with the common law governing the                    entity’s exercise of indirect control over
                                                 of control—[was] determinative.’’ 915                     Board’s joint-employer standard.                     the employees’ discipline and discharge
                                                 F.3d at 640–641. Because the Growers                                                                           by recommending discipline and
                                                 were legally obligated, under H–2A                        2. Indirect Control, Including Control
                                                                                                           Exercised Through an Intermediary                    discharge decisions which were
                                                 regulations, to provide the workers with                                                                       implemented by the employees’ direct
                                                 wages and the nonwage benefits at                            After careful consideration of relevant           employer. Butler, above, 793 F.3d at
                                                 issue, the court concluded that the                       comments, as discussed in more detail                415.48
                                                 Growers ‘‘possessed ultimate authority                    below, the Board has concluded that
                                                 over those matters,’’ and their ‘‘power to                evidence that an employer has actually                  Consistent with these longstanding
                                                 control the manner in which housing,                      exercised control over essential terms               common-law principles, the Board has
                                                 meals, transportation, and wages were                     and conditions of employment of                      concluded, after careful consideration of
                                                 provided to the Thai workers, even if                     another employer’s employees, whether                comments as discussed further below,
                                                 never exercised, [was] sufficient to                      directly or indirectly, such as through              that evidence showing that a putative
                                                 render the Growers joint employers’’ of                   an intermediary, also suffices to                    joint employer wields indirect control
                                                 those workers. Id. at 641 (emphasis                       establish the existence of a joint-                  over one or more of the essential terms
                                                 added) (citing BFI v. NLRB, 911 F.3d                      employer relationship. As the District of            and conditions of employment of
                                                 1195 (D.C. Cir. 2018)).45 Global Horizons                 Columbia Circuit has recognized, ‘‘[t]he             another employer’s employees can
                                                                                                           common law . . . permits consideration               establish a joint-employer relationship.
                                                    45 Contrary to our dissenting colleague’s
                                                                                                           of those forms of indirect control that              Ignoring relevant evidence of indirect
                                                 suggestion, the court in Global Horizons expressly                                                             control over essential terms and
                                                 applied a common-law agency test, not a test
                                                                                                           play a relevant part in determining the
                                                 derived from the definition of ‘‘employer’’ in the H–     essential terms and conditions of                    conditions of employment would, in the
                                                 2A regulation, to the Title VII joint-employer issue.     employment.’’ BFI v. NLRB, 911 F.3d at               words of the District of Columbia
                                                 See 915 F.3d at 639. The fact that the Growers’           1199–1200. In addition, the District of              Circuit, ‘‘allow manipulated form to
                                                 authority derived from regulation, not contract,
                                                 does not undermine the impact of the court’s
                                                                                                           Columbia Circuit has explained that the              flout reality,’’ 49 contrary to the
                                                 conclusion that the existence of that authority, even     definition of ‘‘employer’’ set forth in              teachings of the common law. Under the
                                                 if never exercised, sufficed to render the Growers        Section 2(2) of the Act ‘‘textually                  final rule, for example, evidence that a
                                                 joint employers. In any case, Global Horizons is far      indicates that the statute looks at all              putative joint employer communicates
                                                 from unique: in fact, numerous federal and state
                                                 high courts have long concluded, in non-NLRA              probative indicia of employer status,                work assignments and directives to
                                                 contexts, that an entity was or could be a common-        whether exercised ‘directly or                       another entity’s managers or exercises
                                                 law employer of another employer’s employees              indirectly’ ’’ and therefore that the Act            detailed ongoing oversight of the
                                                 based solely on the entity’s reserved right of control    ‘‘expressly recognizes that agents acting
                                                 over those employees. See, e.g., Mallory v. Brigham
                                                                                                                                                                specific manner and means of
                                                 Young University, 332 P.3d 922, 928–929 (Utah             ‘indirectly’ on behalf of an employer                employees’ performance of the
                                                 2014) (city was common-law employer of                    could also count as employers.’’ Id. at              individual work tasks may demonstrate
                                                 university’s employee performing traffic control,         1216.                                                the type of indirect control over
                                                 despite absence of evidence of actual exercise of
                                                 control by city, where city retained right to control
                                                                                                              Judicial decisions and secondary                  essential terms and conditions of
                                                 the manner in which workers performed city’s              authorities addressing the common-law                employment that is sufficient to
                                                 ‘‘nondelegable duty of traffic control’’ because ‘‘[i]f   employer-employee relationship
                                                 the principal has the right to control the agent’s        confirm that indirect control, including                47 911 F.3d at 1217 (citing Nicholson v. Atchison,
                                                 method and manner of performance, the agent is a
                                                 servant whether or not the right is specifically
                                                                                                           control exercised through an                         T. & S. F. Ry. Co., 147 P. 1123, 1126 (Kan. 1915)
                                                 exercised’’) (citation omitted); Rouse v. Pitt County     intermediary, can establish the                      (use of a ‘‘branch company’’ as a ‘‘mere
                                                 Memorial Hosp., Inc., 470 SE 2d 44, 52–53 (N.C.           existence of an employment                           instrumentality’’ ‘‘did not break the relation of
                                                 1996) (attending physicians could be found                                                                     master and servant existing between the plaintiff
                                                                                                           relationship. The Restatement (Second)               and the [putative master]’’). The 2020 Rule, and our
                                                 employers of resident physicians employed by
                                                 hospital based on evidence that hospital                  of Agency explicitly recognized the                  dissenting colleague, seek to avoid the District of
                                                 contractually delegated to attending physicians its       significance of indirect control, both in            Columbia Circuit’s endorsement of considering
                                                 responsibility to supervise and control resident          providing that ‘‘the control or right to             indirect control exercised through an intermediary
                                                 physicians’ performance of duties, despite absence                                                             as probative of joint-employer status by
                                                                                                           control needed to establish the relation             recharacterizing such control as direct and
                                                 of evidence of specific instances of attending
                                                 physicians’ control of resident physicians’               of master and servant may be very                    immediate. But an action taken through an
                                                 performance because ‘‘[w]here the parties have            attenuated’’ and in discussing the                   intermediary is, by definition, mediated, that is, not
                                                 made an explicit agreement regarding the right of         subservant doctrine, which deals with                immediate or direct. We accordingly join the
                                                 control, this agreement will be dispositive;’’)                                                                District of Columbia Circuit in characterizing such
                                                                                                           cases in which one employer’s control                control as indirect. See 911 F.3d at 1216–1217
                                                 (citation omitted); Dunn v. Conemaugh & Black
                                                 Lick RR, 267 F.2d 571, 577 (3d Cir. 1959) (railroad       may be exercised indirectly, while a                 (‘‘[C]ommon-law decisions have repeatedly
                                                 was employer of manufacturer’s employee based on          second entity directly controls                      recognized that indirect control over matters
                                                 railroad’s right to command employee’s                    employees.46 As the District of                      commonly determined by an employer can, at a
                                                 performance without reference to any instance of                                                               minimum, be weighed in determining one’s status
                                                                                                           Columbia Circuit explained in BFI v.                 as an employer or joint employer, especially insofar
                                                 exercise of that right because ‘‘the person is the
                                                 servant of him who has the right to control the           NLRB, ‘‘the common law has never                     as indirect control means control exercised through
                                                 manner of performance of the work, regardless of          countenanced the use of intermediaries               an intermediary.’’) (internal quotation and citation
ddrumheller on DSK120RN23PROD with RULES2




                                                 whether or not he actually exercises that right;’’)       or controlled third parties to avoid the             omitted).
                                                                                                                                                                   48 See also Al-Saffy, above, 827 F.3d 85, 97
                                                 (citation omitted); S.A. Gerrard Co. v. Industrial        creation of a master-servant
                                                 Accident Comm’n, 110 P.2d 377, 378 (Cal. 1941)                                                                 (District of Columbia Circuit in Title VII context
                                                 (landowner was joint employer of farmer’s                                                                      relying in part on evidence that officials working for
                                                 employee based on contract provision that picking         amount of control which was exercised, is the        putative joint-employer had recommended
                                                 should be done under the supervisions of and in           determinative factor.’’) (citation omitted).         employee’s dismissal as evidence supporting
                                                 accordance with landowner’s direction without               46 Restatement (Second) of Agency sections 5(2),   reversal of summary judgment on the joint-
                                                 reference to whether such direction was ever given        comments e, f, and illustration 6; 220(1), comment   employer issue).
                                                 because ‘‘the right to control, rather than the           d; 226, comment a (1958).                               49 NLRB v. BFI, 911 F.3d at 1219.




                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                   Page 15 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                     73955

                                                 establish a joint-employer                               If, on the other hand, such evidence                       Finally, our colleague claims that
                                                 relationship.50                                          shows that a putative joint employer is                 courts which have examined the
                                                    Our dissenting colleague contends                     actually exercising (or has reserved to                 common-law employer-employee
                                                 that the final rule fails adequately to                  itself) a kind of control that the common               relationship in a joint-employer context
                                                 ‘‘distinguish evidence of indirect                       law takes to be indicative of an                        in decisions under Title VII and similar
                                                 control that bears on workers’ essential                 employer-employee relationship, the                     statutes, discussed above, have applied
                                                 terms and conditions of employment                       Board will consider such evidence in                    a significantly more demanding
                                                 from evidence that simply documents                      the course of its joint-employer                        standard than the final rule articulates.
                                                 the routine parameters of company-to-                    analysis.53                                             We disagree. Thus far, our discussion
                                                 company contracting,’’ as required by                       Our colleague also criticizes us for                 has primarily been concerned with what
                                                 the D.C. Circuit in BFI v. NLRB.51 To the                failing exhaustively to define, ex ante,                common-law principles have to say to
                                                 contrary, Section 103.40(f) of the final                 what factual circumstances will                         the role of reserved or indirect control
                                                 rule expressly provides that evidence of                 evidence indirect control that is relevant              in the joint-employer test. Of course,
                                                 an entity’s control over matters that are                to the joint-employer analysis. But, as                 however, the common-law cases are also
                                                 immaterial to the existence of an                        discussed above, the joint-employer                     concerned with, and provide authority
                                                 employment relationship under                            inquiry is essentially factual and                      about, the objects of that control. We
                                                 common-law agency principles and that                    requires examining all of the incidents                 recognize that ‘‘whether [an entity]
                                                 do not bear on the employees’ essential                  of a particular relationship on a                       possess[es] sufficient indicia of control
                                                 terms and conditions of employment is                    particular record. Small differences in                 to be an ‘employer’ is essentially a
                                                 not relevant to the determination of                     how control has been indirectly                         factual issue,’’ 56 that ‘‘factors indicating
                                                 whether the entity is a joint employer.                  exercised, when, and over what will                     a joint-employment relationship may
                                                 Pursuant to this provision, the Board                    predictably determine whether the                       vary depending on the case,’’ and that
                                                 will, in individual cases arising under                  exercise of such control in individual                  ‘‘any relevant factor[ ] may . . . be
                                                 the rule, examine any proffered                          cases counts, under the common law, as                  considered so long as [it is] drawn from
                                                 evidence of indirect control and                         an ordinary incident of a company-to-                   the common law of agency.’’ 57 Where
                                                 determine, as necessary, whether that                    company or true independent-contractor                  courts articulating relevant common-law
                                                 evidence is indicative of a kind of                      relationship or as evidence of the                      principles have identified an entity’s
                                                 control that is an ordinary incident of                  existence of a common-law employer-                     authority to control specific elements of
                                                 company-to-company contracting or is                     employee relationship. Because of the                   the working relationship as relevant to
                                                 rather indicative of a common-law                        innumerable variations in the ways that                 the analysis, such articulations are
                                                 employment relationship. If the former,                  companies interact with each other, and                 primary authority to which the Board
                                                 the rule provides that the Board will not                with each other’s employees, it would                   will look in deciding, in individual
                                                 consider that evidence as probative of                   be impossible for the Board to provide                  cases, whether ‘‘all of the incidents of
                                                 the existence of a joint-employer                        a usefully comprehensive and detailed                   the relationship’’ 58 indicate that the
                                                 relationship. Specifically, pursuant to                  set of examples of when an entity’s                     entity is a common-law employer of
                                                 Section 103.40(f) and consistent with                    exercise of indirect control over another               particular employees.59 Furthermore,
                                                 the court’s instruction in BFI v. NLRB,                  company’s employees will count as                       the final rule requires the Board to
                                                 the Board will not consider any                          evidence of a common-law employment                     inquire specifically into whether a
                                                 evidence of indirect control that the                    relationship. We decline to try to do so                putative joint employer possesses the
                                                 common law would see as part of an                       as part of this rulemaking.54 Instead, we               authority to control or exercises the
                                                 ordinary true independent-contractor                     expect the contours of the Board’s                      power to control one or more of the
                                                 relationship as evidence of a common-                    application of this rule in particular                  employees’ essential terms and
                                                 law employer-employee relationship.52                    scenarios to be defined through the                     conditions of employment implicated
                                                                                                          future application of the final rule to                 by the Act’s protection of employees’
                                                    50 Cf. Cognizant Technology Solutions U.S. Corp.      specific factual records.55                             forward-looking collective right to
                                                 & Google LLC, 372 NLRB No. 108, slip op. at 1                                                                    bargain with each employer that can
                                                 (2023) (finding joint-employer relationship based in     direct or indirect, exercised or reserved—must bear
                                                 part on Google’s exercise of authority over              on the essential terms and conditions of
                                                                                                                                                                  control their terms and conditions of
                                                 supervision through intermediary employees of            employment and not on the routine components of         employment. Thus, the final rule both
                                                 Cognizant, treated as direct and immediate control       a company-to-company contract.’’) (internal             incorporates the common law’s broad
                                                 under the terms of the 2020 rule).                       quotation and citation omitted).                        focus on all of the incidents of the
                                                    51 Id. at 1226. The court’s discussion and its           53 Cf. Butler, above, 793 F.3d at 415 (considering

                                                 instruction to the Board to draw this distinction on     testimony from temporary employment agency
                                                                                                                                                                  relationship in examining whether an
                                                 remand suggests, as we conclude, that it will be         manager that he could not recall an instance when       entity is a common-law employer of
                                                 possible to determine, in future adjudications on        manufacturer requested an agency employee to be         particular employees and narrows the
                                                 specific factual records, that an entity’s exercise of   disciplined or terminated and it was not done as        focus of the Board’s inquiry to essential
                                                 certain kinds of indirect control, such a through an     evidence that manufacturer was joint employer of
                                                 intermediary, would be independently probative of        agency’s employees).
                                                 its joint-employer status. See id. at 1219 (‘‘If . . .      54 Cf. 85 FR at 11187 (2020 rule omitting            formula as a comprehensive answer.’’) (internal
                                                 a company entered into a contract . . . under which      previously proposed hypothetical scenarios              quotation and citation omitted)).
                                                                                                                                                                     56 Boire v. Greyhound, 376 U.S. at 481.
                                                 that company made all of the decisions about work        illustrating specific applications of the Board’s
                                                                                                                                                                     57 Felder, above, 27 F.4th at 844 (alternations in
                                                 and working conditions, day in and day out, with         joint-employer standard). For similar reasons, we
                                                 [the workers’ direct employer’s] supervisors             decline to speculate about the application of the       original) (internal quotation omitted). See also
                                                 reduced to ferrying orders from the company’s            final rule to the various hypothetical scenarios        NLRB v. United Insurance Co., above, 390 U.S. at
                                                 supervisors to the workers, the Board could              proposed by our dissenting colleague.                   258 (‘‘What is important is that the total factual
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                                                 sensibly conclude that the company is a joint               55 See BFI v. NLRB, 911 F.3d at 1221 (‘‘In           context is assessed in light of the pertinent
                                                 employer.’’).                                            principle, there is nothing wrong with the Board        common-law agency principles.’’).
                                                    52 See BFI v. NLRB, above, 911 F.3d at 1221 (The                                                                 58 NLRB v. United Insurance Co., above, 390 U.S.
                                                                                                          fleshing out the operation of a legal test that
                                                 Board’s fleshing out the operation of the joint-         Congress has delegated to the Board to administer       at 258.
                                                 employer standard through case-by-case                   through case-by-case adjudication.’’) (citing Eastex,      59 See, e.g., Felder, above 27 F.4th at 838

                                                 adjudication ‘‘depends on the Board’s starting with      Inc. v. NLRB, 437 U.S. 556, 574–575 (1978) (‘‘[T]he     (‘‘[F]actors drawn from the common law of agency,
                                                 a correct articulation of the governing common-law       nature of the problem, as revealed by unfolding         including control over an employee’s hiring, firing,
                                                 test. Here, that legal standard is the common-law        variant situations, requires an evolutionary process    training, promotion, discipline, [and] supervision
                                                 principle that a joint employer’s control—whether        for its rational response, not a quick definitive       . . . are relevant to [the joint-employer] inquiry.’’).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 16 of 78
                                                 73956              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 terms and conditions of employment in                   below and in response to comments, to                 E. Bargaining Obligations of Joint
                                                 the context of the specific rights and                  provide an exhaustive list of seven                   Employers
                                                 obligations provided by the plain                       categories of terms or conditions of                     The proposed rule did not specifically
                                                 language of Section 8(a)(5) and 8(d) of                 employment that will be considered                    address or delineate the bargaining
                                                 the Act.60                                              ‘‘essential’’ for the purposes of the joint-          obligations of joint employers in the
                                                 II. Summary of Changes to the                           employer inquiry. These are: (1) wages,               proposed regulatory text.61 For the
                                                 Proposed Rule                                           benefits, and other compensation; (2)                 reasons discussed below and in
                                                                                                         hours of work and scheduling; (3) the                 response to comments, the Board has
                                                    In this section, we provide a summary
                                                                                                         assignment of duties to be performed;                 modified the final rule to provide that
                                                 overview of changes to the proposed
                                                                                                         (4) the supervision of the performance                a joint employer of particular employees
                                                 rule.
                                                                                                         of duties; (5) work rules and directions              must bargain collectively with the
                                                 A. Overview                                             governing the manner, means, and                      representative of those employees with
                                                    The final rule, like the proposed rule,              methods of the performance of duties                  respect to any term or condition of
                                                 recognizes that common-law agency                       and the grounds for discipline; (6) the               employment that it possesses the
                                                 principles define the statutory                         tenure of employment, including hiring                authority to control or exercises the
                                                 employer-employee relationship under                    and discharge; and (7) working                        power to control (regardless of whether
                                                 the Act and affirms the Board’s                                                                               that term or condition is deemed to be
                                                                                                         conditions related to the safety and
                                                 traditional definition of joint employers                                                                     an essential term or condition of
                                                                                                         health of employees.
                                                 as two or more common-law employers                                                                           employment under the rule). However,
                                                 of the same employees who share or                      C. Type of Control Sufficient To                      such entity is not required to bargain
                                                 codetermine those matters governing                     Establish Joint-Employer Status                       with respect to any term or condition of
                                                 those employees’ essential terms and                                                                          employment that it does not possess the
                                                 conditions of employment. Consistent                       The proposed rule provided that a                  authority to control or exercise the
                                                 with primary judicial statements and                    common-law employer’s possession of                   power to control.
                                                 secondary authority describing the                      unexercised authority to control or
                                                                                                                                                               III. Justification for Using Rulemaking,
                                                 common-law employer-employee                            exercise of the power to control                      Rather Than Adjudication, To Revise
                                                 relationship, the final rule, like the                  indirectly, such as through an                        the Joint-Employer Standard
                                                 proposed rule, provides that a common-                  intermediary, one or more terms or
                                                 law employer of particular employees                    conditions of employment would be                     A. Authority To Engage in Rulemaking
                                                 shares or codetermines those matters                    sufficient to establish status as a joint                Section 6 of the Act provides that
                                                 governing employees’ essential terms                    employer. For the reasons discussed                   ‘‘[t]he Board shall have authority from
                                                 and conditions of employment if the                     below and in response to comments, the                time to time to make, amend, and
                                                 employer possesses the authority to                     Board has modified this provision to                  rescind, in the manner prescribed by the
                                                 control (whether directly, indirectly, or               clarify that, in each instance, the                   Administrative Procedure Act, such
                                                 both) or exercises the power to control                 relevant object of control must be an                 rules and regulations as may be
                                                 (whether directly, indirectly, or both)                 essential term or condition of                        necessary to carry out the provisions of
                                                 one or more of the employees’ essential                 employment as defined by the rule. The                this Act.’’ 29 U.S.C. 156. See also NLRB
                                                 terms and conditions of employment,                     Board has also reformatted and                        v. Bell Aerospace Co., 416 U.S. 267, 294
                                                 regardless of whether the employer                      streamlined this portion of the proposed              (1974) (‘‘[T]he choice between
                                                 exercises such control or the manner in                                                                       rulemaking and adjudication lies in the
                                                                                                         rule to avoid surplusage.
                                                 which such control is exercised.                                                                              first instance within the Board’s
                                                    However, as described below and in                   D. Type of Control Not Relevant to Joint-             discretion.’’); NLRB v. Wyman-Gordon
                                                 response to comments, the Board has                     Employer Status                                       Co., 394 U.S. 759 (1969). In the past, the
                                                 modified the proposed rule (1) to clarify                                                                     Board has exercised its discretion to use
                                                 the definition of ‘‘essential terms and                    The proposed rule provided that                    the authority delegated by Congress to
                                                 conditions of employment,’’ (2) to                      evidence of an employer’s control over                engage in substantive rulemaking. See
                                                 identify the types of control that are                  matters that are immaterial to the                    American Hospital Assn. v. NLRB, 499
                                                 necessary to establish joint-employer                   existence of a common-law employment                  U.S. 606 (1991).
                                                 status and the types that are irrelevant                relationship or control over matters not                 Section 6 authorizes the final rule as
                                                 to the joint-employer inquiry, and (3) to               bearing on employees’ essential terms                 necessary to carry out Sections 2, 7, 8,
                                                 describe the bargaining obligations of                  and conditions of employment is not                   9, and 10 of the Act, 29 U.S.C. 152, 157,
                                                 joint employers.                                        relevant to the joint-employer inquiry.               158, 159, and 160, respectively.
                                                                                                         For the reasons discussed below and in                Specifically, as set forth above, Section
                                                 B. Definition of ‘‘Essential Terms and
                                                                                                         response to comments, the Board has                   2(2) of the Act defines ‘‘employer,’’ and
                                                 Conditions of Employment’’
                                                                                                         modified this provision to make it clear              Section 2(3) defines ‘‘employee.’’
                                                    The proposed rule provided an                                                                              Section 7 sets forth employees’ rights
                                                 illustrative, rather than exclusive, list of            that the provision excludes only
                                                 essential terms and conditions of                       evidence that is immaterial to both the                 61 The NPRM stated the Board’s initial views in

                                                 employment. The Board has modified                      common-law employment relationship                    supplementary information, subject to comments,
                                                 this definition, for the reasons discussed              and an employer’s control over                        that (1) the proposed rule would only require a
                                                                                                                                                               putative joint employer to bargain over those
                                                                                                         employees’ essential terms and
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                                                                                                                                                               essential terms and conditions of employment it
                                                   60 See 29 U.S.C. 158(a)(5) (‘‘It shall be an unfair   conditions of employment, and that the                possesses the authority to control or over which it
                                                 labor practice for an employer—to refuse to bargain     Board does not presuppose the                         exercises the power to control, and (2) the Act’s
                                                 collectively with the representatives of his                                                                  purposes are best served when two or more
                                                 employees.’’); 29 U.S.C. 158(d) (‘‘[T]o bargain
                                                                                                         ‘‘employer’’ status of an entity—such as
                                                                                                                                                               statutory employers that each possess some
                                                 collectively is the performance of the mutual           the principal in a true independent-                  authority to control or exercise the power to control
                                                 obligation of the employer and the representative of    contractor relationship—that possesses                employees’ essential terms and conditions of
                                                 the employees to meet at reasonable times and           or exercises only such immaterial forms               employment are parties to bargaining over those
                                                 confer in good faith with respect to wages, hours,                                                            employees’ working conditions. 87 FR at 54645 &
                                                 and other terms and conditions of employment.’’).       of control.                                           fn. 26.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                 Page 17 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                  73957

                                                 under the Act, including the right to                   labor law. Accordingly, we rescind the                   common law of agency is the primary
                                                 bargain collectively through                            2020 rule in its entirety.63 Although we                 guiding principle in its joint-employer
                                                 representatives of employees’ own                       believe that the Board is required to                    analysis.64 These commenters argue that
                                                 choosing, the right to engage in                        rescind the 2020 rule, we would do so                    because the Taft-Hartley amendments
                                                 concerted activities for the purpose of                 even if that rule were valid because it                  did not specify that the common law
                                                 mutual aid or protection, and the right                 fails to fully promote the policies of the               limits the joint-employer standard,
                                                 to refrain from these activities. Section               Act.                                                     Congress did not intend such a
                                                 8 of the Act defines unfair labor                          The Board also believes that setting                  constraint, and the Board may establish
                                                 practices under the Act, and Section                    forth a revised joint-employer standard                  a joint-employer standard guided solely
                                                 8(a)(5) makes it an unfair labor practice               through rulemaking is desirable. The                     by the policies of the Act. Contrary to
                                                 for an employer to refuse to bargain                    NPRM offered a proposal to restore the                   these comments, authoritative or
                                                 collectively with employees’ bargaining                 Board’s focus on whether a putative                      relevant judicial decisions establish that
                                                 representative. Section 9 of the Act                    joint employer possesses the authority                   common-law agency principles must
                                                 describes the Board’s responsibilities                  to control or exercises the power to                     guide the Board’s joint-employer
                                                 when conducting representation                          control particular employees’ essential                  inquiry. See, e.g., NLRB v. Town &
                                                 elections. Section 10 of the Act                        terms and conditions of employment,                      Country Electric, Inc., 516 U.S. 85, 92–
                                                 authorizes the Board to investigate,                    consistent with the common law and                       95 (1995) (where Congress uses the term
                                                 prevent, and remedy unfair labor                        relevant judicial decisions. The Board                   ‘‘employee’’ in a statute without clearly
                                                 practices. The Board’s joint-employer                   received many helpful comments from                      defining it, the Court assumes that
                                                 doctrine bears on each of these                         individuals and entities with                            Congress ‘‘intended to describe the
                                                 provisions of the Act, and Section 6                    considerable legal expertise and                         conventional master-servant
                                                 permits the Board to promulgate rules                   relevant experience. Having considered                   relationship as understood by common-
                                                 carrying out these provisions.                          those comments, the Board has refined                    law agency doctrine’’); BFI v. NLRB, 911
                                                                                                         the proposed rule in several ways, as                    F.3d at 1206 (‘‘[U]nder Supreme Court
                                                 B. The Preference for Rulemaking Over
                                                                                                         outlined above in Section II and                         and circuit precedent, the National
                                                 Adjudication
                                                                                                         discussed more fully below in Sections                   Labor Relations Act’s test for joint-
                                                    In the NPRM, we expressed our                        IV and V. We believe the proposed rule,                  employer status is determined by the
                                                 preliminary belief that rulemaking in                   as modified, appropriately defines the                   common law of agency.’’).65
                                                 this area of the law is desirable for                   essential elements of a joint-employer                      Most commenters confirm that it is
                                                 several reasons. First, the NPRM set                    relationship and will reduce uncertainty                 appropriate and desirable for the Board
                                                 forth the Board’s preliminary view that                 and litigation over the basic parameters                 to rely on common-law agency
                                                 the 2020 rule departed from common-                     of joint-employer status.                                principles in defining the terms
                                                 law agency principles and threatened to                                                                          ‘‘employer’’ and ‘‘joint employer’’ under
                                                 undermine the goals of Federal labor                    IV. Response to Comments                                 the Act.66 Certain of these commenters
                                                 law. Second, the NPRM stated that, in                     The Board received almost 13,000                       note that by acting to overrule the
                                                 the Board’s preliminary view,                           comments from interested                                 Supreme Court’s decision in NLRB v.
                                                 establishing a definite, readily available              organizations, labor unions, trade                       Hearst Publishing, 322 U.S. 111 (1944),
                                                 standard would assist employers and                     associations, business owners, United                    Congress evinced its intention to make
                                                 labor organizations in complying with                   States Senators and Members of
                                                 the Act. Finally, the NPRM expressed                    Congress, State Attorneys General,                         64 Comments of Los Angeles County Federation of

                                                 the Board’s view that because the joint-                academics, and other individuals. The                    Labor AFL–CIO & Locals 396 and 848 of the
                                                 employer standard has changed several                                                                            International Brotherhood of Teamsters; Professors
                                                                                                         Board has carefully reviewed and                         Sachin S. Pandya, Andrew Elmore, and Kati
                                                 times in the past decade, there was a                   considered these comments, as                            Griffith.
                                                 heightened need to seek public                          discussed below.                                           65 See also Clackamas Gastroenterology

                                                 comment and input from a wide variety                                                                            Associates, P.C. v. Wells, 538 U.S. 440, 448–449
                                                 of interested stakeholders.62                           A. Comments Regarding the Definitions                    (2003); Nationwide Mutual Insurance Co. v.
                                                    After carefully considering nearly                   of ‘‘Employer’’ and ‘‘Joint Employer’’                   Darden, 503 U.S. 318, 322–324 (1992); Community
                                                                                                         and Basing These Definitions on                          for Creative Non-Violence v. Reid, 490 U.S. 730,
                                                 13,000 comments, the Board believes                                                                              740, 752 fn. 31 (1989); Kelley v. Southern Pacific
                                                 that it is necessary and appropriate to                 Common-Law Agency Principles                             Co., 419 U.S. 318, 323–324 (1974); NLRB v. United
                                                 rescind the 2020 rule, which was                          The Board received numerous                            Insurance Co. of America, 390 U.S. 254, 256–258
                                                                                                                                                                  (1968).
                                                 contrary to the Act insofar as it was                   comments regarding the role of                             66 Comments of American Federation of Labor
                                                 inconsistent with the common law of                     common-law agency principles in the                      and Congress of Industrial Organizations (AFL–
                                                 agency. The 2020 rule’s approach to                     Board’s joint-employer analysis and on                   CIO); Americans for Prosperity Foundation;
                                                 defining joint-employer status again                    the development of joint-employer                        American Federation of State, County & Municipal
                                                 incorporated the control-based                                                                                   Employees (AFSCME); American Hotel & Lodging
                                                                                                         doctrine under the Act. In general, the                  Association; Center for Law and Social Policy;
                                                 restrictions that deviated from common-                 comments acknowledge the accuracy of                     Communications Workers of America, AFL–CIO
                                                 law agency principles between the                       the Board’s description of the role                      (CWA); Congressman Robert C. ‘‘Bobby’’ Scott,
                                                 1980s and the Board’s 2015 decision in                  common-law agency principles have                        Chairman of the House of Representatives
                                                                                                                                                                  Committee on Education and Labor, and 52 other
                                                 Browning-Ferris. Not only was this                      played in determining joint-employer                     Members of Congress (Congressman Scott et al.);
                                                 approach inconsistent with relevant                     status, as briefly summarized above in                   Economic Policy Institute (EPI); General Counsel
                                                 court decisions, including the District of              Section I.                                               Abruzzo; Independent Bakers Association; Nicholas
                                                                                                                                                                  Crawford; McGann, Ketterman & Rioux; National
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                                                 Columbia Circuit’s 2018 decision in                       Some commenters criticize the
                                                                                                                                                                  Federation of Independent Business (NFIB);
                                                 Browning-Ferris Industries of California,               Board’s preliminary view that the                        National Partnership for Women & Families; North
                                                 Inc. v. NLRB (BFI v. NLRB), 911 F.3d                                                                             Carolina Justice Center; Public Justice Center;
                                                 1195 (D.C. Cir. 2018), as many                            63 As discussed at greater length below, we note       Restaurant Law Center and National Restaurant
                                                 commenters have persuasively argued,                    that even if we had not decided to promulgate a          Association; Southern Poverty Law Center (SPLC);
                                                                                                         new standard through rulemaking, we would                TechEquity Collaborative; The Washington Center
                                                 it also undermines the goals of Federal                 nevertheless have chosen to rescind the 2020 rule        for Equitable Growth; United States Chamber of
                                                                                                         in its entirety because of these infirmities. See Sec.   Commerce; Washington Legal Foundation; William
                                                   62 87 FR at 54644–54645.                              IV.C., J., K., and V, below.                             E. Morris Institute for Justice.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                   Page 18 of 78
                                                 73958             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 common-law agency principles the                           As we preliminarily indicated in the                 commenters’ premise. Many early
                                                 cornerstone of the definition of                        proposed rule, relevant sources of                      common-law decisions that helped
                                                 ‘‘employee’’ under the Act.67 These                     common-law agency principles are not                    define the common-law relationship in
                                                 commenters also emphasized post-Taft-                   difficult to find. We respond to                        The Restatement (Second) of Agency
                                                 Hartley judicial decisions interpreting                 commenters seeking more definitive                      emerged in cases involving rights and
                                                 the term ‘‘employee’’ in statutes that do               guidance that some relevant sources of                  duties under state workers’
                                                 not provide more specific definitions                   common-law agency principles include                    compensation laws.81 More importantly,
                                                 using common-law agency principles.68                   articulations of these principles by                    all common-law cases, whether
                                                 Some commenters note that common-                       common-law judges, compendiums,                         involving tort or contract liability or
                                                 law agency principles play an important                 reports, and restatements of common-                    statutory rights and obligations, focus
                                                 functional role in the Board’s definition               law decisions, and early court decisions                on whether a common-law agency
                                                 of the terms ‘‘employer’’ and                           addressing ‘‘master-servant relations.’’ 76             relationship exists, and control is the
                                                 ‘‘employee,’’ observing that making an                  Contrary to those commenters who                        touchstone of that inquiry under the
                                                 agency relationship the first step of the               suggest the common law is too vast or                   common law.
                                                 joint-employer analysis ensures that the                amorphous to give effect to the terms                      Some commenters argue that by
                                                 appropriate entities are included while                 ‘‘employer’’ and ‘‘employee’’ in the final              assessing whether an entity possesses
                                                 properly excluding entities who neither                 rule, we find it persuasive that the                    the authority to control or indirectly
                                                 possess nor exercise sufficient control                 Supreme Court has viewed common-law                     controls essential terms and conditions
                                                 over employees’ essential terms and                     agency principles as sufficiently                       of employment, the Board’s proposed
                                                 conditions of employment.69 These                       familiar and tractable to assist parties in             definition of ‘‘employer’’ exceeds
                                                 commenters generally agree with the                     interpreting and complying with other                   common-law boundaries.82 While we
                                                 proposed rule’s view that appropriate                   labor and employment statutes that use                  will address commenters’ arguments
                                                 sources of common-law agency                            these terms.77                                          regarding the role reserved and indirect
                                                 principles include the Restatement                         Contrary to some commenters, we                      control play in the proposed rule’s
                                                 (Second) of Agency and other                            adhere to the view preliminarily set                    definition of ‘‘joint employer’’ at length
                                                 compendiums, reports, and                               forth in the NPRM that the Restatement                  below, at the outset we simply note our
                                                 restatements, along with judicial                       (Second) of Agency (1958) is a                          agreement with the District of Columbia
                                                 decisions applying the common law.70                    particularly persuasive source of                       Circuit’s view that these forms of
                                                    Some commenters urge the Board to                    common-law agency principles. As we                     control bear on the common-law
                                                 clarify what common-law sources it will                 explained in the NPRM, the Supreme                      employer-employee inquiry, BFI v.
                                                 consult in the final rule. Others ask the               Court has acknowledged the                              NLRB, 911 F.3d at 1216.83 Accordingly,
                                                 Board to limit its consideration to                     persuasiveness of the Restatement                       we respectfully disagree with those
                                                 particular sources, arguing that because                (Second) of Agency when construing the                  commenters who suggest the proposed
                                                 the common law is vast, amorphous, or                   common-law definition of                                rule’s definition of ‘‘employer’’ exceeds
                                                 vague, failing to impose such a                         ‘‘employer.’’ 78 So, too, has the District              common-law boundaries.
                                                 limitation prevents the rule from                       of Columbia Circuit, acknowledging this                    Finally, some of these commenters
                                                 functioning as self-contained                           controlling Supreme Court precedent.79                  argue that the proposed rule’s definition
                                                 guidance.71 Other commenters dispute                    Finally, we follow the District of                      of ‘‘employer’’ is inappropriate because
                                                 the enduring relevance of the                           Columbia Circuit in rejecting the view                  direct supervision over an employee is
                                                 Restatement (Second) of Agency.72 In                    set forth by some commenters that the
                                                                                                                                                                 a necessary prerequisite to a finding of
                                                 particular, some of these commenters                    Restatement was developed to address
                                                                                                                                                                 an employment relationship for
                                                 take the position that because the                      issues of liability for tort matters and
                                                                                                                                                                 purposes of the Act, citing the Supreme
                                                 Restatement (Second) of Agency                          breaches of contract and is therefore
                                                                                                                                                                 Court’s decision in Allied Chemical &
                                                 primarily focuses on assigning liability                inapposite.80 Further, we dispute these
                                                                                                                                                                 Alkali Workers of America, Local Union
                                                 in tort or contract matters, it is
                                                                                                                                                                 No. 1 v. Pittsburgh Plate Glass Co., 404
                                                 inapposite or poorly adapted to                            76 As we explained more fully in the NPRM, the

                                                                                                         employer-employee relationship under the Act is         U.S. 157, 167–168 (1971).84
                                                 resolving questions related to the
                                                                                                         the common-law employer-employee relationship.          Respectfully, we find Allied Chemical,
                                                 employment relationship.73 Some                         Beginning in the late 19th century, American legal      which concluded that retired workers
                                                 commenters propose instead that the                     commentators began using the terms ‘‘master-
                                                 Board solely consult judicial decisions                 servant’’ and ‘‘employer-employee’’
                                                                                                                                                                 were not ‘‘employees’’ because the Act’s
                                                 applying common-law principles,74 or                    interchangeably. See, e.g., Horace Gray Wood, A         legislative history and policies
                                                                                                         Treatise on the Law of Master and Servant; Covering
                                                 the Restatement of Employment Law.75                    the Relation, Duties and Liabilities of Employers          81 See, e.g., Maltz v. Jackoway-Katz Cap Co., 82
                                                                                                         and Employees (1877). The Restatement (Second) of       SW2d 909, 912, 918 (Mo. 1934).
                                                   67 See, e.g., comments of American Hotel &            Agency uses both sets of terms synonymously. We            82 Comments of American Hotel & Lodging
                                                 Lodging Association.                                    therefore refer elsewhere in the NPRM to                Association; Bicameral Congressional Signatories;
                                                   68 Comments of NFIB; Washington Legal                 ‘‘employer-employee’’ relations and the ‘‘employer-     Council on Labor Law Equality (COLLE);
                                                 Foundation.                                             employee relationship.’’                                Independent Bakers Association; National Lumber
                                                   69 See, e.g., comments of AFSCME.                        77 See, e.g., Clackamas Gastroenterology
                                                                                                                                                                 & Building Material Dealers Association; National
                                                   70 See, e.g., comments of General Counsel             Associates, 538 U.S. at 448–449 (Americans with         Waste & Recycling Association; North American
                                                 Abruzzo; Michigan Regional Council of Carpenters        Disabilities Act); Darden, 503 U.S. at 322–324          Meat Institute; Restaurant Law Center and National
                                                 and Millwrights.                                        (Employee Retirement Income Security Act of             Restaurant Association; U.S. Chamber of
                                                   71 Comments of Americans for Tax Reform;              1974); Kelley, 419 U.S. at 323–324 (Federal             Commerce.
                                                 Coalition for a Democratic Workplace (CDW);             Employers’ Liability Act).                                 83 The court also stated that Sec. 2(2) of the Act
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                                                 Freedom Foundation; International Franchise                78 See, e.g., Clackamas Gastroenterology
                                                                                                                                                                 ‘‘textually indicates that the statute looks at all
                                                 Association (IFA); McDonald’s USA, LLC;                 Associates, 538 U.S. at 448; Kelley, 419 U.S. at 323–   probative indicia of employer status’’ because it
                                                 Promotional Products Association International          324.                                                    ‘‘expressly recognizes that agents acting ‘indirectly’
                                                 (PPAI); Texas Public Policy Foundation.                    79 See BFI v. NLRB, 911 F.3d at 1213                 on behalf of an employer could also count as
                                                   72 Comments of Washington Legal Foundation;
                                                                                                         (‘‘[C]ontrolling precedent makes the Restatement        employers.’’ 911 F.3d at 1216 (quoting 29 U.S.C.
                                                 IFA; U.S. Chamber of Commerce.                          (Second) of Agency a relevant source of traditional     152(2)).
                                                   73 Comments of IFA; U.S. Chamber of Commerce.
                                                                                                         common-law agency standards in the National                84 Comments of Restaurant Law Center and
                                                   74 Comments of Washington Legal Foundation.           Labor Relations Act context.’’).                        National Restaurant Association; Retail Industry
                                                   75 Comments of U.S. Chamber of Commerce.                 80 See id.                                           Leaders Association (RILA).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 19 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                73959

                                                 contemplate individuals who are                         seeking to define ‘‘joint employer’’ in               definition of ‘‘joint employer’’ stands in
                                                 currently ‘‘active’’ in the workplace,                  the manner set forth in the proposed                  tension with how other sections of the
                                                 inapposite. Nothing in the Court’s                      rule, the Board is effectively legislating            Act treat building and construction
                                                 decision in Allied Chemical or                          and thereby usurping the role of                      industry employers and unions and how
                                                 subsequent cases applying it suggests                   Congress.88 This commenter also                       the Supreme Court has interpreted those
                                                 that the Court thereby attempted to                     mentions that the broader definition of               provisions.93 Specifically, these
                                                 modify ordinary common-law agency                       ‘‘joint employer’’ set forth in the                   commenters urge that the Court’s
                                                 principles or engraft additional ‘‘direct               Protecting the Right to Organize Act of               decision in NLRB v. Denver Building &
                                                 supervision’’ requirements onto the                     2021 (PRO Act), H.R. 842, failed to                   Construction Trades Council, 341 U.S.
                                                 statutory meaning of ‘‘employer.’’                      secure Senate approval.89 With respect,               675, 689–690 (1951), stands for the
                                                 B. Comments Regarding the Definition                    the standard set forth in the proposed                proposition that general contractors and
                                                 of ‘‘Joint Employer’’                                   rule and the final rule we announce                   subcontractors in the construction
                                                                                                         today represents a faithful attempt to                industry have separate status and
                                                    The proposed rule set forth a                        exercise the authority Congress has                   identities that, from the outset, preclude
                                                 definition of ‘‘joint employer’’ that, like             delegated to the Board in Section 6 of                the Board from treating them as joint
                                                 the definition provided in the 2020 rule,               the Act. Further, as discussed                        employers.94
                                                 would apply in all contexts under the                   previously, we are guided by Supreme                     We do not read Denver Building so
                                                 Act, including both the representation-                 Court decisions instructing the Board to              broadly. Instead, Denver Building held
                                                 case and unfair-labor-practice case                     consult the common law of agency                      that a construction industry general
                                                 context. No commenter has suggested                     when interpreting the term ‘‘employer’’               contractor’s overall responsibility for a
                                                 that any joint-employer standard the                    in Section 2(2) of the Act. We do not see             project or worksite does not itself create
                                                 Board adopts should only apply in one                   the definition of ‘‘joint employer’’ in the           an employment relationship between
                                                 context or the other. We therefore find                 PRO Act as relevant to our task, which                the general contractor and the
                                                 it appropriate to apply the new standard                is to interpret the term ‘‘employer’’ that            employees of subcontractors working on
                                                 set forth in the final rule in both the                 appears in the current version of the                 the jobsite. See id. The proposed
                                                 representation-case and unfair-labor-                   National Labor Relations Act, consistent              definition of ‘‘joint employer,’’ which
                                                 practice case contexts.                                 with the guidance of relevant judicial                we include in the final rule, requires not
                                                    Our dissenting colleague and several                                                                       only a showing that the putative joint
                                                                                                         decisions.
                                                 commenters argue that, although the                        Some commenters specifically argue                 employer has a common-law
                                                 Board is properly guided by common-                     that the proposed definition of ‘‘joint               employment relationship with
                                                 law agency principles when                                                                                    particular employees, but also a further
                                                                                                         employer’’ is insufficiently responsive
                                                 determining joint-employer status, the                                                                        showing that a putative joint employer
                                                                                                         to the District of Columbia Circuit’s
                                                 proposed rule’s definition of ‘‘joint
                                                                                                         request that the Board ‘‘erect some legal             ‘‘share or codetermine those matters
                                                 employer’’ exceeds the boundaries of
                                                                                                         scaffolding’’ 90 to remain within the                 governing employees’ essential terms
                                                 the common law of agency.85 These
                                                                                                         boundaries of the common law.91 Other                 and conditions of employment.’’ As a
                                                 commenters generally contend that
                                                                                                         commenters take the view that the                     result, the proposed rule, which focuses
                                                 defining ‘‘joint employer’’ to include
                                                                                                         proposed definitions of ‘‘employer’’ and              on the particular control an entity
                                                 entities who possess but do not exercise
                                                                                                         ‘‘joint employer’’ are consistent with the            wields over terms and conditions of
                                                 control over essential terms and
                                                                                                         District of Columbia Circuit’s view of                employment, is consistent with Denver
                                                 conditions of employment or entities
                                                                                                         common-law agency principles and that                 Building, which cautions the Board not
                                                 who do not exercise direct control over
                                                                                                         the proposed rule establishes adequate                to categorically treat all employees of a
                                                 essential terms and conditions of
                                                 employment is beyond the permissible                    guideposts to satisfy the court’s                     subcontractor as the employees of a
                                                 scope of the common law.86 As these                     request.92 Again, because commenters                  general contractor without more specific
                                                 arguments primarily relate to the                       espousing both views of this issue                    evidence of control. We further note that
                                                 treatment of reserved and indirect                      anchor their rationale in matters that                nothing in the relevant provisions of the
                                                 control in proposed paragraphs (c), (e),                principally relate to paragraphs (c), (e),            Act, including Sections 2(2), 8(a)(5),
                                                 and (f), we discuss them in greater detail              and (f) of the proposed rule, we deal                 8(d), and 9(a), suggests that the Board is
                                                 below. However, as noted above, we                      with these contentions at greater length              required—or permitted—to adopt a
                                                 agree with the District of Columbia                     below.                                                joint-employer standard in the
                                                 Circuit’s view that the common law                         Other commenters raise industry-                   construction industry that differs from
                                                 requires the Board to evaluate ‘‘all                    specific concerns regarding the                       the generally applicable definition. Nor
                                                 probative indicia of employer status’’ in               proposed definition of ‘‘joint employer.’’            is there any historical precedent for the
                                                 determining whether entities are                        Some commenters contend that the                      Board treating the construction industry
                                                 ‘‘employers’’ or ‘‘joint employers’’ under              proposed, generally applicable                        differently than other industries for
                                                 the Act, including forms of indirect and                                                                      joint-employer purposes.95
                                                                                                           88 See comments of Bicameral Congressional
                                                 reserved control.87                                     Signatories.                                            93 Comments of ABC; Associated General
                                                    A group of United States Senators and                  89 See id.; see also comments of RILA.
                                                                                                                                                               Contractors of America (AGC); COLLE; U.S.
                                                 Members of Congress suggests that by                      90 BFI v. NLRB, 911 F.3d at 1220.                   Chamber of Commerce.
                                                                                                           91 Comments of ABC; Center for Workplace              94 Comments of ABC; AGC; American Road &
                                                   85 Comments of Americans for Prosperity               Compliance; IFA; National Association of              Transportation Builders Association (ARTBA);
                                                 Foundation; Associated Builders and Contractors         Convenience Stores; NFIB; National Retail             National Roofing Contractors Association; U.S.
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                                                 (ABC); Contractor Management Services, LLC;             Federation.                                           Chamber of Commerce.
                                                 Independent Bakers Association; Independent               92 Comments of AFL–CIO; Center for American           95 Instead, the Board historically treated
                                                 Lubricant Manufacturers Association; LeadingAge;        Progress (CAP); General Counsel Abruzzo; National     employers in the construction industry in the same
                                                 The Mackinac Center for Public Policy; National         Employment Law Project (NELP); Professors             manner as other employers for joint-employer
                                                 Retail Federation; Taxpayers Protection Alliance.       Pandya, Elmore, and Griffith; United Brotherhood      purposes. See, e.g., Tradesmen International, Inc.,
                                                   86 Comments of Americans for Prosperity
                                                                                                         of Carpenters & Joiners of America (UBC); U.S.        351 NLRB 399, 403 & fn. 11 (2007) (adopting
                                                 Foundation; National Retail Federation;                 Senate HELP Committee Chair Patty Murray & 21         administrative law judge’s finding that two
                                                 Washington Legal Foundation.                            of her Senate Democratic colleagues (Senator          construction-industry entities were joint
                                                   87 See BFI v. NLRB, 911 F.3d at 1216.                 Murray et al.).                                                                                  Continued




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                   Page 20 of 78
                                                 73960              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                    Some commenters state that, since the                keeping with the preliminary view we                      employment statutes exempt employers
                                                 1974 Health Care amendments extended                    expressed in the NPRM, we are of the                      who have less than a minimum number
                                                 the coverage of the Act to include                      mind that the common-law agency                           of employees and suggests that this
                                                 nonprofit hospitals, the Board has                      principles that we apply in defining                      provides support for a similar
                                                 treated hospitals differently than other                ‘‘employer’’ apply uniformly to all                       exemption from the final rule. However,
                                                 employers.96 They urge the Board to do                  entities that otherwise fall within the                   we find further support for our view
                                                 so again in the final rule.97 In support                Board’s jurisdiction. We see no clear                     that the Act requires the Board to apply
                                                 of the view that hospitals should be                    basis in the text or structure of the Act                 its joint-employer standard uniformly to
                                                 entirely excluded from the ambit of the                 for exempting particular groups or types                  all entities otherwise covered by the
                                                 joint-employer rule, these commenters                   of employers from the final rule, nor do                  Board’s jurisdiction in the fact that the
                                                 point to the Board’s 1989 health care                   we believe that the Act’s policies are                    Act contains no similar minimum-
                                                 rule, which established eight                           best served by such an exemption. That                    employee threshold to those present in
                                                 appropriate bargaining units for acute-                 said, we share these commenters’                          other labor and employment statutes.
                                                 care hospitals.98 The commenters argue                  general views that the proper                             Instead, we observe that the Board has
                                                 that by broadening the definition of                    application of the final rule in particular               statutory jurisdiction over those private-
                                                 ‘‘joint employer,’’ the Board risks                     cases will require the Board to consider                  sector employers whose activity in
                                                 authorizing a proliferation of bargaining               all relevant evidence regarding the                       interstate commerce exceeds a minimal
                                                 units, contrary to the stated aims of the               surrounding context.100 Finally, we                       level.106
                                                 health care rule.                                       reject the suggestion, raised by                             Finally, one commenter asks the
                                                    While we acknowledge the specific                    commenters and our dissenting                             Board to clarify that the proposed rule’s
                                                 concerns raised by these commenters,                    colleague, that the final rule’s definition               definition of ‘‘joint employer’’ does not
                                                 we are not persuaded to create a                        of ‘‘joint employer’’ will cause the                      preclude the Board from adopting
                                                 hospital-specific exclusion from the                    proliferation of bargaining units or                      rebuttable presumptions to guide it in
                                                 joint-employer standard. First, we note                 disrupt the application of the 1989                       applying the joint-employer standard in
                                                 that no pre-2020 Board decision                         health care rule, which deals with the                    the future.107 For example, this
                                                 involving the joint-employer standard                   unrelated question of which                               commenter suggests, the Board could
                                                 ever created such an exclusion.99 In                    classifications of employees constitute                   treat an entity’s possession or exercise
                                                                                                         appropriate bargaining units for                          of certain forms of control over essential
                                                 employers); Ref-Chem Co., 169 NLRB 376 (1968)           purposes of filing a representation                       terms and conditions of employment as
                                                 (finding that two entities were joint employers of a    petition pursuant to Section 9 of the
                                                 craft unit of construction employees performing                                                                   giving rise to a presumption of joint-
                                                 insulation maintenance work), enf. denied on other      Act.                                                      employer status.108 In light of our
                                                 grounds 418 F.2d 127 (5th Cir. 1969). See also             We similarly decline other                             extensive discussions and guidance
                                                 Adams & Associates, Inc. v. NLRB, 871 F.3d 358,         commenters’ invitation to exempt other                    below regarding whether particular
                                                 378–379 (5th Cir. 2017) (upholding joint-employer       kinds of businesses, including
                                                 finding where prime contractor and subcontractor                                                                  forms of control are material to the
                                                 jointly developed employees’ wage structure,            cooperative businesses,101 franchise                      existence of an employment
                                                 consulted with each other on human resources            businesses,102 and firms and                              relationship under common-law agency
                                                 matters, and coordinated on hiring decisions and        independent contractors operating in                      principles, we decline the invitation to
                                                 on-site operations).                                    the insurance and financial advice
                                                    96 See, e.g., comments of American Hospital                                                                    make this proposed clarification.
                                                 Association (AHA).
                                                                                                         industry,103 from the joint-employer
                                                    97 See, e.g., comments of AHA; Federation of         standard we adopt in this final rule.104                  C. Comments About Definition of
                                                 American Hospitals; U.S. Chamber of Commerce;           As discussed at greater length in Section                 ‘‘Share or Codetermine’’
                                                 Virginia Hospital & Healthcare Association.             VI below, we also decline some                               As set forth above, the proposed rule
                                                    Certain of these commenters suggest that the         commenters’ invitation to create an                       sought to codify the Board’s holding,
                                                 Board’s failure to conduct a ‘‘hospital-specific        across-the-board exemption for small
                                                 analysis’’ violates the APA and is grounds for                                                                    endorsed by the Third Circuit in NLRB
                                                 withdrawing the proposed rule. They also raise          businesses.105 One commenter observes                     v. Browning-Ferris Industries of
                                                 concerns regarding the interaction of the proposed      that many Federal labor and                               Pennsylvania, Inc., 691 F.2d 1117, 1124
                                                 rule with Federal healthcare reimbursement                                                                        (3d Cir. 1982), enfg. 259 NLRB 148
                                                 formulas or calculations. See, e.g., comments of           100 Our dissenting colleague also forecasts that the
                                                 AHA. Given our discussion of the distinctive                                                                      (1981), that entities are ‘‘joint
                                                                                                         final rule will negatively affect hospitals and the
                                                 concerns of hospitals above, we respectfully            healthcare sector. In particular, he anticipates that     employers’’ if they ‘‘share or
                                                 disagree with these commenters’ view that the           the final rule will make it more difficult for            codetermine those matters governing
                                                 Board has not sufficiently considered the effect of     hospitals to rely on firms that supply travel nurses      essential terms and conditions of
                                                 the proposed rule on hospitals.                         to fill staffing gaps without risking a joint-employer
                                                    98 Comments of AHA; U.S. Chamber of                  finding. We reject our colleague’s characterization
                                                                                                                                                                   employment.’’ Nearly all commenters
                                                 Commerce; Virginia Hospital & Healthcare                of the final rule and emphasize that in determining
                                                                                                                                                                      106 See 29 U.S.C. 152(6) & (7); NLRB v. Fainblatt,
                                                 Association (citing 29 CFR 103.30). A few               whether a joint-employer finding is appropriate in
                                                 commenters also observe that Sec. 8(d) and 8(g) of      any given context, the Board will consider all            306 U.S. 601, 606–607 (1939). The Board also uses
                                                 the Act set forth distinctive notice requirements       relevant evidence regarding whether a putative joint      its discretion to decline to exercise its statutory
                                                 before the termination or modification of collective-   employer possesses or exercises the requisite             jurisdiction over a subset of smaller employers. See,
                                                 bargaining agreements and before work stoppages at      control over one or more essential terms and              e.g., Siemons Mailing Service, 122 NLRB 81 (1959)
                                                 hospitals. See comments of AHA; U.S. Chamber of         conditions of particular employees’ employment.           (describing Board’s discretionary commerce
                                                 Commerce; 29 U.S.C. 158 (d) & (g). These                   101 Comments of National Grocers Association.          standard). The Board has historically combined the
                                                 commenters likewise argue that the Board has at            102 Comments of American Association of                gross revenues of joint employers when applying its
                                                 times adapted other generally applicable doctrines      Franchisees and Dealers; IFA; Restaurant Law              discretionary standard. See, e.g., Central Taxi
                                                 for the hospital setting, including solicitation and    Center and National Restaurant Association.               Service, 173 NLRB 826, 827 (1968); Checker Cab
ddrumheller on DSK120RN23PROD with RULES2




                                                 distribution law. See comments of AHA; U.S.                103 Comments of National Association of                Co., 141 NLRB 583, 586–587 (1963), enfd. 367 F.2d
                                                 Chamber of Commerce.                                    Insurance and Financial Advisors.                         692 (6th Cir. 1966); see also CID–SAM Management
                                                    99 Instead, pre-2020 Board decisions applied the        104 Relatedly, we also decline the request of one      Corp., 315 NLRB 1256, 1256 (1995). The scope of
                                                 same standard when one putative joint employer of       commenter to explicitly state that the final rule         this rulemaking does not encompass any changes to
                                                 particular employees was a hospital. See, e.g.,         covers the relationship between local unions and          the Board’s precedent governing application of its
                                                 Flagstaff Medical Center, 357 NLRB 659, 666–667         national or international unions. See comments of         discretionary commerce standard.
                                                                                                         IFA.                                                         107 Comments of Professors Pandya, Elmore, and
                                                 (2011) (applying the TLI/Laerco test and finding
                                                 that a hospital contractor was not a joint employer        105 Comments of Independent Bakers Association;        Griffith.
                                                 of a hospital’s housekeeping employees).                National Association of Home Builders (NAHB).                108 See id.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 21 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 73961

                                                 agree that the basic ‘‘share or                         more essential terms and conditions of                 reserved control impedes contracting
                                                 codetermine’’ formulation is the                        employment can ever serve as evidence                  parties’ ability to reliably determine
                                                 appropriate starting point for the                      of joint-employer status.113 Some of                   ahead of time whether or not they will
                                                 Board’s joint-employer analysis.109 As                  these commenters, especially those                     have obligations under the Act related
                                                 discussed at length below, however,                     writing on behalf of small businesses,                 to employees of another employer. This
                                                 commenters’ views regarding what                        suggest that forms of reserved control                 distinction may be particularly
                                                 forms of control suffice to establish that              that amount to ‘‘contractual fine print’’              important, for example, in
                                                 entities ‘‘share or codetermine’’ matters               that are never put into action should not              successorship situations involving an
                                                 governing particular employees’                         result in a joint-employer finding.114                 incumbent union, where questions
                                                 essential terms and conditions of                       While others appear to concede that                    about bargaining obligations may arise
                                                 employment diverge significantly.110                    there may be circumstances in which
                                                    Paragraph (c) of the proposed rule                                                                          before sufficient time has passed for
                                                                                                         indirect or reserved control is probative
                                                 sought to define the phrase ‘‘share or                  of joint-employer status, those                        parties to reliably ascertain whether and
                                                 codetermine those matters governing                     commenters emphasize that requiring                    to what extent contractually reserved
                                                 employees’ essential terms and                          evidence that an entity actually                       authority to control will be actually
                                                 conditions of employment’’ to mean                      exercises control is preferable.115                    exercised.116
                                                 ‘‘for an employer to possess the                           Consistent with the preliminary view                  Another group of commenters
                                                 authority to control (whether directly,                 set forth in our NPRM, we are                          suggests that while an entity’s indirect
                                                 indirectly, or both), or to exercise the                unpersuaded by comments suggesting                     or reserved control over essential terms
                                                 power to control (whether directly,                     that forms of indirect or reserved control             and conditions of employment may be
                                                 indirectly, or both), one or more of the                can never serve as evidence of joint-                  probative, it is not sufficient, standing
                                                 employees’ essential terms and                          employer status. In our view, this                     alone, to confer joint-employer status.117
                                                 conditions of employment.’’ 111                         argument is undermined by both the                     These commenters argue that the Board
                                                    One commenter suggests that because                  weight of common-law authority and                     has never held that a single instance of
                                                 the Third Circuit’s formulation of the                  relevant judicial decisions, including
                                                 ‘‘share or codetermine’’ standard (and                                                                         unexercised control was sufficient to
                                                                                                         the District of Columbia Circuit’s
                                                 the formulation used in paragraph (c) of                                                                       create a joint-employer relationship and
                                                                                                         decision in BFI v. NLRB. See 911 F.3d
                                                 the proposed rule) speaks in terms of                   at 1213 & 1216 (‘‘[T]he Board’s                        generally criticize the NPRM’s
                                                 ‘‘matters’’ governing essential terms and               conclusion that an employer’s                          discussion of the Board’s precedent in
                                                 conditions of employment, a putative                    authorized or reserved right to control is             the two decades after Boire v.
                                                 joint employer must possess the                         relevant evidence of a joint-employer                  Greyhound Corp., 376 U.S. 473, 481
                                                 authority to control or exercise control                relationship wholly accords with                       (1964), issued and before TLI, supra, 271
                                                 over more than one essential term or                    traditional common-law principles of
                                                 condition of employment to meet the                     agency,’’ and ‘‘indirect control can be a                 116 For this reason, we reject our dissenting

                                                 standard.112 We do not find this                                                                               colleague’s suggestion that the final rule will have
                                                                                                         relevant factor in the joint-employer                  an adverse effect in successorship situations. In
                                                 argument persuasive as an analytical or                 inquiry.’’).                                           successorship situations where a transaction is
                                                 logical matter. First, we do not construe                  Moreover, ‘‘contractual fine print’’                structured in such a way that more than one entity
                                                 the word ‘‘matters’’ in the standard to                 bearing on the allocation of authority to              in the resulting structure could potentially be
                                                 refer to essential terms or conditions of               control the details of the manner and                  considered an employer, the final rule has the
                                                 employment themselves, but rather to                                                                           distinct advantage of permitting all parties to
                                                                                                         means by which work is performed, and                  determine and define their NLRA rights and
                                                 the workplace issues related to those                   the terms and conditions of employment                 obligations, ex ante, by contract. Under the 2020
                                                 terms or conditions. Second, we                         of those performing the work, has legal                rule, by contrast, the rights and obligations of
                                                 disagree that control over one essential                force and effect without respect to                    contracting businesses could not be ascertained at
                                                 term or condition of employment is                                                                             the outset of a business relationship but would
                                                                                                         whether or not contractually reserved                  instead turn on contingent facts about whether or
                                                 necessarily insufficient. For example, as               authority to control is ever exercised. By             not one party chose to exercise rights it had
                                                 discussed at length below, commenters                   incorporating such contractual                         reserved to itself by contract.
                                                 are unanimous that wages are an                         allocations of control into the Board’s                   117 Comments of ABC; American Hotel & Lodging

                                                 essential term or condition of                          joint-employer analysis, the final rule                Association; Center for Workplace Compliance;
                                                 employment. Given the centrality of                                                                            CDW; COLLE; Competitive Enterprise Institute;
                                                                                                         permits business entities to evaluate and              Control Transportation Services, Inc.; HR Policy
                                                 wages to the employment relationship,                   control their potential status as joint                Association; IFA; International Foodservice
                                                 it would be difficult to argue that a                   employers under the Act, ex ante, based                Distributors Association (IFDA); NATSO & SIGMA;
                                                 common-law employer’s control over                      on their freely chosen contractual                     National Asian/Pacific Islander American Chamber
                                                 wages, standing alone, is insufficient to                                                                      of Commerce and Entrepreneurship (National ACE);
                                                                                                         arrangements. By contrast, a standard                  National Association of Convenience Stores;
                                                 create an employment relationship.                      that turns on an ex-post analysis of                   National Taxpayers Union; National Waste &
                                                    A number of commenters challenge                     whether and to what extent a party has                 Recycling Association; New Civil Liberties Alliance
                                                 the premise that possessing but not                     actually exercised contractually                       & Institute for the American Worker; RILA;
                                                 exercising the authority to control or                                                                         Restaurant Law Center and National Restaurant
                                                 exercising indirect control over one or                                                                        Association; SHRM; The Mackinac Center for
                                                                                                           113 Comments of American Staffing Association;
                                                                                                                                                                Public Policy; U.S. Chamber of Commerce.
                                                                                                         Independent Lubricant Manufacturers Association;          One of these commenters draws an analogy to the
                                                   109 See, e.g., comments of CWA; National              QuickChek; RaceTrac, Inc.; Rio Grande Foundation.      Board’s treatment of primary and secondary indicia
                                                 Women’s Law Center; North American Meat                   114 Comments of Energy Marketers of America;
                                                                                                                                                                of supervisory status in cases involving Sec. 2(11)
                                                 Institute; TechEquity Collaborative; Women              Independent Lubricant Manufacturers Association;       of the Act, 29 U.S.C. 152(11). Comments of COLLE.
ddrumheller on DSK120RN23PROD with RULES2




                                                 Employed. Other commenters implicitly approve           M. M. Fowler, Inc.; One Energy Inc.; Ready Training    The scope of the definition of ‘‘supervisor’’ is an
                                                 the formulation, taking it as the starting point for    Online; Reid Stores, Inc. d/b/a Crosby’s.              express exception to the definition of ‘‘employee’’
                                                 their analysis of the proposed rule.                      115 Comments of American Trucking                    under Sec. 2(3) of the Act. See, e.g., NLRB v.
                                                   110 Comments of American Hotel & Lodging
                                                                                                         Associations; Americans for Prosperity Foundation;     Kentucky River Community Care, Inc., 532 U.S. 706,
                                                 Association; IFA; Leading Age; National Retail          ANB Bank; California Policy Center; Competitive        711 (2001). Unlike the definition of ‘‘employee,’’
                                                 Federation; North American Meat Institute; Society      Enterprise Institute; Goldwater Institute; Home Care   then, the definition of supervisor turns on questions
                                                 for Human Resource Management (SHRM).                   Association of America; Independent Electrical         of statutory interpretation, not common-law agency
                                                   111 87 FR at 54663.
                                                                                                         Contractors; National Black McDonald’s Operators       principles. Accordingly, we find this analogy
                                                   112 Comments of Freedom Foundation.                   Association; RaceTrac, Inc.; Rachel Greszler.          inapposite.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                   Page 22 of 78
                                                 73962              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 NLRB 798, and Laerco, supra, 269 NLRB                    employer finding.121 Certain of these                   right to control essential terms or
                                                 324, were decided.118                                    commenters express concerns that the                    conditions of employment.127 As
                                                    As set forth more fully in the NPRM,                  standard might be susceptible to                        discussed above, incorporating parties’
                                                 we disagree with these commenters’                       outcome-driven applications or other                    contractual allocations of control into
                                                 view of the Board’s pre-TLI/Laerco                       unfair results.122                                      the Board’s joint-employer analysis also
                                                 precedent. Instead, we view cases from                      Many commenters agree with the                       enhances contracting parties’ ability to
                                                 that time period as supportive of the                    NPRM’s discussion of how the common                     evaluate and control their statutory
                                                 view that the right to control employees’                law treats forms of reserved control.123                obligations with respect to other
                                                 work and terms and conditions of                         One of these commenters cites the                       employers’ employees at the inception
                                                 employment is determinative in the                       District of Columbia Circuit’s discussion               of their business relationships.
                                                 joint-employer analysis. Cases decided                   in BFI v. NLRB, 911 F.3d at 1211, of                       Certain commenters specifically take
                                                 during the two decades after Boire                       how ‘‘the ‘right to control’ runs like a                issue with the proposed rule’s view that
                                                 issued did not tend to turn on whether                   leitmotif through the Restatement                       indirect control can establish joint-
                                                 both putative joint employers actually                   (Second) of Agency.’’ 124 In particular,                employer status.128 A number of these
                                                 or directly exercised control. For                       some commenters cited approvingly to                    commenters argue that only direct
                                                 example, in Jewel Tea Co., 162 NLRB                      the NPRM’s discussion of common-law                     control can or should be relevant to the
                                                 508 (1966), the Board found that an                      judicial decisions that treat reserved                  joint-employer inquiry.129 They urge
                                                 entity’s contractually reserved power to                 control as an especially probative                      that control exercised through an
                                                 set working hours and to reject or                       indication of an agency relationship.125                intermediary should not itself be
                                                 terminate workers was sufficient to                      See, e.g., Dovell v. Arundel Supply                     sufficient to establish status as a joint
                                                 establish that entity’s status as a joint                Corp., 361 F.2d 543, 545 (D.C. Cir. 1966)               employer, contending that this aspect of
                                                 employer. In addition, in Value Village,                 (quoting Grace v. Magruder, 148 F.2d                    the proposed rule threatens to interfere
                                                 161 NLRB 603, 607 (1966), the Board                      679, 681 (D.C. Cir. 1945)) (‘‘[I]t is the               with parties’ reliance on the use of
                                                 found a joint-employment relationship                    right to control, not control or                        independent contractors or vendors to
                                                 where one entity reserved control over                   supervision itself, which is most                       perform services.130 One of these
                                                 ‘‘the manner and method of work                          important.’’).                                          commenters observes that courts
                                                 performance’’ and to terminate the                          The final rule also adheres to the view              interpreting the Fair Labor Standards
                                                                                                          that reserved control is probative and                  Act have at times treated forms of
                                                 contract at will in an operating
                                                                                                          that it is appropriate for the Board to                 routine indirect control as immaterial to
                                                 agreement, emphasizing that ‘‘the power
                                                                                                          find that joint-employer status is                      the existence of a joint-employer
                                                 to control is present by virtue of the
                                                                                                          established based on a putative joint                   relationship and urges the Board to
                                                 operating agreement.’’ 119
                                                                                                          employer’s reserved control over an                     follow suit.131
                                                    Some commenters specifically                          essential term or condition of                             Other commenters, citing sources of
                                                 criticize the proposed rule’s treatment of               employment. As set forth more fully in                  common-law agency principles and
                                                 reserved control, suggesting that it                     the NPRM,126 the reservation of                         judicial decisions applying common-
                                                 might be difficult to assess whether                     authority to control essential terms or                 law principles, stress that an entity itself
                                                 forms of reserved control are sufficient                 conditions of employment is an                          need not actually exercise control over
                                                 to give rise to liability or a bargaining                important consideration under                           particular employees for the Board to
                                                 obligation.120 One commenter notes that                  common-law agency principles. We
                                                 reservations of control are often                        agree with the District of Columbia                        127 BFI, 911 F.3d at 1213 (‘‘[T]he Board’s
                                                 ‘‘boilerplate’’ inclusions in contracts                  Circuit that common-law sources treat                   conclusion that an employer’s authorized or
                                                 that should not give rise to a joint-                    the right to control as central to the
                                                                                                                                                                  reserved right to control is relevant evidence of a
                                                                                                                                                                  joint-employer relationship wholly accords with
                                                                                                          joint-employer inquiry and that forms of                traditional common-law principles of agency.’’).
                                                   118 Comments of CDW; HR Policy Association;
                                                                                                          reserved control can reveal an entity’s                    128 Comments of American Pizza Community;
                                                 IFA; NATSO & SIGMA; New Civil Liberties                                                                          Americans for Tax Reform; American Trucking
                                                 Alliance & Institute for the American Worker; RILA;                                                              Associations; ANB Bank; Connie Cessante;
                                                                                                            121 Comments of IFA.
                                                 Small Business & Entrepreneurship Council; Tesla,                                                                Goldwater Institute; NAHB; National Roofing
                                                                                                             122 Comments of AGC; American Pizza
                                                 Inc.; U.S. Chamber of Commerce.                                                                                  Contractors Association; One Energy Inc.; Ready
                                                   119 Our dissenting colleague criticizes our            Community; Americans for Prosperity Foundation;         Training Online; Reid Stores, Inc. d/b/a Crosby’s;
                                                 reliance on Jewel Tea and Value Village as support       Competitive Enterprise Institute; HR Policy             Robert Kulik; TechNet.
                                                 for our view that pre-TLI/Laerco precedent did not       Association; IFA; James Bitzonis; National                 129 Comments of Competitive Enterprise Institute;
                                                 require evidence of a putative joint employer’s          Association of Manufacturers (NAM); NAHB;
                                                                                                                                                                  Energy Marketers of America; FreedomWorks
                                                 direct exercise of control, noting that other pre-TLI/   National Retail Federation; National Roofing
                                                                                                                                                                  Foundations; Home Care Association of America;
                                                 Laerco precedent relied on record evidence of            Contractors Association; Restaurant Law Center and
                                                                                                                                                                  IFA; National Retail Federation; One Energy Inc.;
                                                 actually exercised or direct control. As we note in      National Restaurant Association.
                                                                                                             123 Comments of AFL–CIO; Congressman Scott et
                                                                                                                                                                  QuickChek; RaceTrac, Inc.; The Mackinac Center
                                                 Sec. I.D. above, however, it is unsurprising that                                                                for Public Policy.
                                                 cases where the record establishes that an entity has    al.; General Counsel Abruzzo; NELP. A few of these         130 Comments of American Hotel & Lodging
                                                 directly exercised control have not addressed the        commenters suggest that the Board omit references
                                                                                                                                                                  Association; FMI—The Food Industry Association;
                                                 question of whether reserved or indirect control         to ‘‘reserved’’ and ‘‘indirect’’ control in the final
                                                                                                                                                                  International Bancshares Corporation; New Civil
                                                 could also independently suffice to establish the        rule to eschew any suggestion that the joint-
                                                                                                                                                                  Liberties Alliance & Institute for the American
                                                 relationship. Our colleague cites no pre-TLI/Laerco      employer analysis requires control to be                Worker; Rio Grande Foundation; SHRM; Small
                                                 precedent holding that actual exercise of direct         taxonomized. See comments of AFL–CIO;                   Business & Entrepreneurship Council; U.S. Black
                                                 control was necessary, and no number of cases            International Union of Operating Engineers (IUOE).      Chambers, Inc.; U.S. Chamber of Commerce. Some
                                                 holding only that the direct exercise of control is      As we hope to make clear in our discussion of the       commenters cite Computer Associates
                                                 sufficient can rationally establish that proposition.    comments we received and the final rule, our            International, Inc., 324 NLRB 285, 286 (1987), for
                                                 Conversely, Jewel Tea, Value Village, and the many       intention is for the final rule to reflect the common   the proposition that Sec. 8(b) of the Act reflects
ddrumheller on DSK120RN23PROD with RULES2




                                                 other pre-TLI/Laerco decisions cited above in which      law’s view that control is the touchstone of an         Congress’s intention to protect employers’
                                                 the Board has expressly stated that control need not     agency relationship, regardless of how it is wielded.   autonomy in their selection of independent
                                                 be actually exercised, or exercised in any particular    While this does not require forms of control to be      contractors. See, e.g., comments of SHRM. A
                                                 way, in order to establish a joint-employer              categorized in any particular way, the terminology      number of individuals raised similar concerns,
                                                 relationship clearly establish that the Board’s          used is reflective of the language contained in the     noting that they fear the proposed rule might harm
                                                 historic joint-employer standard did not include         legal precedent upon which we rely.                     their prospects of being hired as independent
                                                                                                             124 Comments of NELP.
                                                 any such requirement. See also fn. 2, above.                                                                     contractors in the future. See, e.g., comments of
                                                   120 Comments of Home Care Association of                  125 Comments of AFL–CIO.                             Monica Cichosz; Gregg Micalizio.
                                                 America; IFA; U.S. Chamber of Commerce.                     126 87 FR at 54648–54650.                               131 Comments of National Retail Federation.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023               Page 23 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                              73963

                                                 find that an agency relationship                        minimum, be weighed in determining                    employment,’’ 139 many commenters
                                                 exists.132 Many commenters approve of                   one’s status as an employer of joint                  criticize that aspect of the proposed
                                                 the Board’s discussion of the                           employer, especially insofar as indirect              rule.140 Notably, the United States Small
                                                 Restatement (Second) of Agency in the                   control means control exercised through               Business Administration Office of
                                                 preamble to the proposed rule and cite                  an intermediary.’’).136 We further agree              Advocacy, along with many individuals
                                                 portions of the Restatement                             with the views of some commenters that                and small business owners, express
                                                 contemplating that an agency                            the 2020 rule reintroduced control-                   concerns about how parties covered by
                                                 relationship can be premised on indirect                based restrictions, notably the                       the Act will successfully comply with
                                                 control.133 Some of these commenters                    requirement of ‘‘substantial direct and               their potential obligations as joint
                                                 specifically addressed the ‘‘subservant’’               immediate control,’’ that are contrary to             employers without more clarity
                                                 doctrine. See Restatement (Second) of                   the common-law view of how agency                     regarding the scope of ‘‘essential terms
                                                 Agency, section 5(2), cmts. e, f, and                   relationships are created. For this                   and conditions of employment.’’ 141
                                                 illus. 6; section 220(1), cmt. d; section               reason, independent of our decision to                Some commenters suggest that the
                                                 226, cmt. a (1958). One of these                        promulgate a new rule, we rescind the                 Board adopt an exhaustive list of
                                                 commenters, citing the District of                      2020 rule because it is inconsistent with
                                                                                                                                                               essential terms and conditions of
                                                 Columbia Circuit’s decision in BFI v.                   common-law agency principles and
                                                                                                                                                               employment and make any further
                                                 NLRB, 911 F.3d at 1218, argues that the                 therefore inconsistent with the National
                                                                                                                                                               refinements to that list in a future
                                                 subservant doctrine demonstrates the                    Labor Relations Act. Moreover, we are
                                                                                                         further persuaded that there is value in              rulemaking proceeding.142
                                                 common law’s recognition of the
                                                 important role that forms of indirect                   codifying the principle that forms of                   Another group of commenters
                                                 control can play in an agency                           indirect control over one or more                     propose that the Board modify the
                                                 relationship.134                                        essential terms or conditions of                      proposed rule by explicitly tying the
                                                    As noted above, because we agree                     employment are probative of joint-                    definition of ‘‘essential terms and
                                                 with the commenters who discuss                         employer status in the final rule text, as            conditions of employment’’ to the
                                                 common-law precedent and the District                   discussed below.                                      concept of mandatory subjects of
                                                 of Columbia Circuit’s statements                        D. Comments About the Definition of                   bargaining for purposes of Section 8(d)
                                                 regarding the role indirect control plays               ‘‘Essential Terms and Conditions of                   of the Act.143 These commenters
                                                 in the joint-employer analysis,135 we                   Employment’’                                          generally also favor a flexible approach
                                                 respectfully reject the view of                                                                               to defining the scope of a joint
                                                 commenters who suggest that evidence                       Paragraph (d) of the proposed rule
                                                 of indirect control over essential terms                defined ‘‘essential terms and conditions                139 Comments of AFL–CIO; Center for Law and

                                                 or conditions of employment is                          of employment’’ to ‘‘generally include’’              Social Policy; International Brotherhood of
                                                 insufficient to establish joint-employer                but not be limited to ‘‘wages, benefits,              Teamsters (IBT); Lawyers’ Committee for Civil
                                                 status. The final rule adheres to the                   and other compensation; hours of work                 Rights Under Law; Los Angeles County Federation
                                                                                                         and scheduling; hiring and discharge;                 of Labor AFL–CIO & Locals 396 and 848 of the IBT;
                                                 Board’s preliminary view that forms of                                                                        National Partnership for Women & Families;
                                                 indirect control may be evidence of                     discipline; workplace health and safety;              National Women’s Law Center; NELP; Public Justice
                                                 joint-employer status. As set forth in the              supervision; assignment; and work rules               Center; Restaurant Opportunities Centers United;
                                                 NPRM, we are persuaded by the District                  and directions governing the manner,                  SPLC; State Attorneys General; TechEquity
                                                                                                         means, or methods of work                             Collective; The Leadership Conference on Civil and
                                                 of Columbia Circuit’s view that the                                                                           Human Rights; William E. Morris Institute for
                                                 common-law standard requires                            performance.’’ 137 In setting forth a                 Justice; Women Employed.
                                                 consideration of indirect control. See                  nonexhaustive list of essential terms                   140 Comments of American Staffing Association;

                                                 BFI v. NLRB, 911 F.3d at 1216–1217                      and conditions of employment, the                     ANB Bank; Asian McDonald’s Operators
                                                                                                         proposed rule relied in part on the                   Association; ABC; California Policy Center; Center
                                                 (‘‘Common law decisions have                                                                                  for Workplace Compliance; CDW; Energy Marketers
                                                 repeatedly recognized that indirect                     Board’s 2015 BFI decision, which took                 of America; Freedom Foundation; Goldwater
                                                 control over matters commonly                           the same approach.138 As mentioned                    Institute; Home Care Association of America; HR
                                                 determined by an employer can, at a                     above, the phrase ‘‘essential terms and               Policy Association; International Bancshares
                                                                                                         conditions of employment’’ derives                    Corporation; IFDA; IFA; LeadingAge; McDonald’s
                                                                                                                                                               USA, LLC; NATSO and SIGMA; National
                                                   132 Comments of American Civil Liberties Union        from the Third Circuit’s formulation of               Association of Convenience Stores; NAHB; National
                                                 (ACLU); AFL–CIO; Congressman Scott et al.; CWA;         the joint-employer standard in NLRB v.                Association of Insurance and Financial Advisors;
                                                 General Counsel Abruzzo; IUOE; Lawyers’                 Browning-Ferris Industries of                         NAM; National Association of Realtors; National
                                                 Committee for Civil Rights Under Law; Los Angeles       Pennsylvania, Inc., 691 F.2d 1117, 1124               Black McDonald’s Operators Association; National
                                                 County Federation of Labor AFL–CIO & Locals 396                                                               Retail Federation; National Roofing Contractors
                                                 and 848 of the IBT; NELP; Restaurant Opportunities      (3d Cir. 1982), enfg. 259 NLRB 148                    Association; New Civil Liberties Alliance &
                                                 Centers United; State Attorneys General; The            (1981), where the court stated that                   Institute for the American Worker; PPAI; Rachel
                                                 Leadership Conference on Civil and Human Rights;        entities are ‘‘joint employers’’ if they              Greszler; RILA; Subcontracting Concepts, LLC; The
                                                 The Strategic Organizing Center; United Electrical,     ‘‘share or codetermine those matters                  Mackinac Center for Public Policy; U.S. Chamber of
                                                 Radio and Machine Workers of America (UE);                                                                    Commerce.
                                                 UNITE HERE International Union; United                  governing essential terms and                           141 Comments of Luis Acosta; Escalante
                                                 Steelworkers.                                           conditions of employment.’’                           Organization; Independent Electrical Contractors;
                                                   Among these commenters, several suggest that if          Although some commenters approve                   M. M. Fowler, Inc.; One Energy Inc.; QuickChek;
                                                 the Board decides to promulgate a final rule (rather    of the proposed rule’s use of an open-                RaceTrac, Inc.; Ready Training Online; Reid Stores,
                                                 than simply rescind the 2020 rule), the Board                                                                 Inc. d/b/a Crosby’s; SBA Office of Advocacy.
                                                 should delete references to direct and indirect
                                                                                                         ended, nonexhaustive list of ‘‘essential
                                                                                                                                                                 142 Comments of CDW; IFA; The Mackinac Center
                                                 control in proposed subparagraph (c). See               terms and conditions of                               for Public Policy.
ddrumheller on DSK120RN23PROD with RULES2




                                                 comments of AFL–CIO; IUOE. We address this                                                                      143 Comments of General Counsel Abruzzo; IBT;
                                                 aspect of these comments in our discussion below.         136 Similarly, as one commenter observed, the
                                                                                                                                                               IUOE; Jobs with Justice and Governing for Impact;
                                                   133 Comments of CWA; General Counsel Abruzzo;         Supreme Court’s decision in Boire v. Greyhound,       Los Angeles County Federation of Labor AFL–CIO
                                                 Los Angeles County Federation of Labor AFL–CIO          376 U.S. 473, 481 (1964), made no distinction on      & Locals 396 and 848 of the IBT; State Attorneys
                                                 & Locals 396 and 848 of the IBT.                        the basis of whether an entity wields direct or       General; UE. One of these commenters cites Sun-
                                                   134 Comments of State Attorneys General.              indirect control. See comments of NELP.               Maid Growers of California v. NLRB, 618 F.2d 56,
                                                   135 See BFI v. NLRB, 911 F.3d at 1216 (‘‘[I]ndirect     137 87 FR at 54663.
                                                                                                                                                               59 (9th Cir. 1980) in support of this view. See Los
                                                 control can be a relevant factor in the joint-            138 Id. at 54643 (citing BFI, supra, 362 NLRB at    Angeles County Federation of Labor AFL–CIO &
                                                 employer inquiry.’’).                                   1613).                                                Locals 396 and 848 of the IBT.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 24 of 78
                                                 73964             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 employer’s bargaining obligation.144                    particular issue, the Board will assess                hours of work,152 hiring, discipline, and
                                                 Relatedly, some commenters request                      whether a particular subject of                        discharge,153 assignment,154 and
                                                 that the Board consider amending the                    bargaining is mandatory on a case-by-                  supervision.155 Many commenters
                                                 proposed rule to incorporate a statement                case basis, applying familiar and                      specifically state that, at a minimum,
                                                 regarding the scope of a joint employer’s               longstanding precedent. However, the                   they approve of the list of essential
                                                 bargaining obligation that appeared in                  final rule provides the clarity and                    terms and conditions of employment
                                                 the NPRM’s preamble,145 while others                    predictability other commenters sought                 that was used in the 2020 rule,
                                                 suggest that the Board should clarify                   by specifically enumerating the                        including scheduling, hiring,
                                                 how to allocate bargaining                              essential terms and conditions of                      termination, discipline, assignment of
                                                 responsibilities between two entities                   employment that will, as a threshold                   work, and instruction.156
                                                 that share or codetermine one or more                   matter, give rise to a finding that an
                                                 essential terms and conditions of                                                                                A number of commenters and our
                                                                                                         entity is a joint employer if that entity
                                                 employment.146                                          possesses the authority to control or                  dissenting colleague contend that
                                                    One of these commenters observes                     exercises the power to control one or                  workplace health and safety should not
                                                 that the Board should be careful to                     more of the listed terms. Moreover, by                 be considered an essential term or
                                                 distinguish control over essential terms                adding paragraph (h), the final rule                   condition of employment for purposes
                                                 and conditions of employment that is                    likewise responds to those commenters                  of the joint-employer standard.157 These
                                                 material to the existence of a common-                  who requested that the Board include a                 commenters emphasize the role that
                                                 law employment relationship from                        statement of the nature of a joint                     government regulation plays in setting
                                                 control over matters that the Act                       employer’s bargaining obligation in the                minimum standards for workplace
                                                 requires parties to bargain over.147                    text of the rule itself.149
                                                 Another commenter acknowledges that                        As mentioned above, the final rule                  Women’s Law Center; North Carolina Justice
                                                 an entity’s control over certain                        incorporates an exhaustive list of                     Center; Public Justice Center; RILA; SPLC;
                                                 mandatory subjects of bargaining, like                                                                         TechEquity Collective; The Leadership Conference
                                                                                                         essential terms and conditions of                      on Civil and Human Rights; William E. Morris
                                                 cafeteria prices, see Ford Motor Co. v.                 employment. These essential terms and                  Institute for Justice; Women Employed.
                                                 NLRB, 441 U.S. 488, 498 (1979), may                     condition of employment are: ‘‘(1)                        152 Comments of Center for Law and Social

                                                 control a term of employment to which                   wages, benefits, and other                             Policy; General Counsel Abruzzo; Lawyers’
                                                 a bargaining duty attaches but not                                                                             Committee for Civil Rights Under Law; National
                                                                                                         compensation; (2) hours of work and                    Partnership for Women & Families; National
                                                 possess or exercise control over an                     scheduling; (3) the assignment of duties               Women’s Law Center; North Carolina Justice
                                                 essential term or condition of                          to be performed; (4) the supervision of                Center; Public Justice Center; SPLC; TechEquity
                                                 employment so as to be regarded as a                    the performance of duties; (5) work                    Collective; The Leadership Conference on Civil and
                                                 common-law employer.148                                 rules and directions governing the
                                                                                                                                                                Human Rights; RILA; William E. Morris Institute for
                                                    We have taken these comments into                                                                           Justice; Women Employed.
                                                                                                         manner, means, and methods of the                         153 Comments of California Policy Center; General
                                                 consideration in revising the final rule’s              performance of duties and the grounds                  Counsel Abruzzo; IBT; NAM.
                                                 treatment of essential terms and                        for discipline; (6) the tenure of                         Our dissenting colleague generally agrees that
                                                 conditions of employment and in                         employment, including hiring and                       matters relating to particular employees’ hiring and
                                                 adding paragraph (h) to the final rule.                 discharge; and (7) working conditions
                                                                                                                                                                discharge are essential, but he expresses concern
                                                 The final rule responds to commenters                                                                          that the formulation used in the final rule—‘‘tenure
                                                                                                         related to the safety and health of                    of employment, including hiring and discharge’’—
                                                 who suggest tying the definition of
                                                                                                         employees.’’ 150 Because these essential               is too broad and runs the risk of ‘‘making general
                                                 essential terms and conditions of                                                                              contractors in the construction industry joint
                                                                                                         terms and conditions of employment are
                                                 employment to Section 8(d) of the Act                                                                          employers per se.’’ With respect, we reject our
                                                                                                         substantively the same as those offered                colleague’s characterization. General contractors in
                                                 by emphasizing that, once an entity is
                                                                                                         as illustrations in the proposed rule, we              the construction industry will be deemed joint
                                                 found to be a joint employer because it
                                                                                                         next address commenters’ particular                    employers only if all requirements of the standard
                                                 possesses the authority to control or                                                                          are established, including the threshold
                                                                                                         concerns regarding the proposed rule’s
                                                 exercises the power to control one or                                                                          requirement that they have a common-law
                                                                                                         treatment of specific terms and                        employment relationship with particular
                                                 more essential terms or conditions of
                                                                                                         conditions of employment as                            employees. We use the phrase ‘‘tenure of
                                                 employment identified in the rule, that
                                                                                                         ‘‘essential.’’                                         employment, including hiring and discharge’’ to
                                                 entity has a statutory duty to bargain                                                                         encompass a range of actions that determine or alter
                                                                                                            Commenters who addressed the
                                                 over all mandatory subjects of                                                                                 individuals’ employment status, offering hiring and
                                                                                                         proposed rule’s treatment of specific                  discharge as examples. As discussed elsewhere,
                                                 bargaining it possesses the authority to
                                                                                                         ‘‘essential terms and conditions of                    nothing in the final rule intends to treat general
                                                 control or exercises the power to
                                                                                                         employment’’ unanimously agree that                    contractors in the construction industry—or,
                                                 control. That duty is common to all                                                                            indeed, any entities—as joint employers on a per se
                                                                                                         certain terms and conditions of
                                                 employers under the Act. See                                                                                   or categorical basis.
                                                                                                         employment are ‘‘essential’’ for
                                                 Management Training, 317 NLRB 1355                                                                                154 Comments of IBT; NELP.
                                                                                                         purposes of the joint-employer standard.                  155 Comments of General Counsel Abruzzo; IBT.
                                                 (1995). The scope of a joint employer’s
                                                                                                         These include wages and benefits,151                      156 See, e.g., comments of IFA; NFIB; National
                                                 duty to bargain, however, is distinct
                                                                                                                                                                Women’s Law Center.
                                                 from the issue of joint-employer status.                  149 See comments of American Staffing                   157 Comments of American Association of Port
                                                 As in other cases involving the scope of                Association; RILA; SHRM; Texas Public Policy           Authorities (AAPA); American Trucking
                                                 the duty to bargain, if a joint employer                Foundation. One commenter notes that Board             Associations; Association of Women’s Business
                                                 contests its duty to bargain over a                     precedent already addresses the contours of a joint    Centers; FMI—The Food Industry Association;
                                                                                                         employer’s bargaining obligation and suggests that     Home Care Association of America; IFA; NATSO &
                                                                                                         this obviates the need for a clearer articulation of   SIGMA; National Association of Convenience
ddrumheller on DSK120RN23PROD with RULES2




                                                   144 Comments of Los Angeles County Federation
                                                                                                         the duty in the text of a final rule. Comments of      Stores; NAM; National Retail Federation; New Civil
                                                 of Labor AFL–CIO & Locals 396 and 848 of the IBT;       AFL–CIO.                                               Liberties Alliance & Institute for the American
                                                 NELP.                                                     150 The list of essential terms and conditions of    Worker; North American Meat Institute; Rio Grande
                                                   145 See 87 FR at 54645 fn. 26. Comments of IBT;
                                                                                                         employment is discussed further in Section V.D.,       Foundation; Trucking Industry Stakeholders.
                                                 IUOE; Service Employees International Union             below.                                                    One of these commenters argues that workplace
                                                 (SEIU); U.S. Chamber of Commerce.                         151 Comments of Association of Women’s               health and safety was not historically regarded as
                                                   146 Comments of RILA; SHRM.
                                                                                                         Business Centers; Center for Law and Social Policy;    an essential term or condition of employment under
                                                   147 Comments of UNITE HERE.
                                                                                                         General Counsel Abruzzo; IFA; Lawyers’ Committee       the common law and should therefore be omitted.
                                                   148 See reply comments of AFL–CIO.                    for Civil Rights Under Law; NAM; National              See comments of IFA.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 25 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                               73965

                                                 health and safety,158 especially in                     work and should therefore be                          content of the proposed rule’s list, we
                                                 certain industries, including the                       considered essential.166                              briefly address commenters’ specific
                                                 trucking, food and consumer goods, and                     Some commenters argue that work                    concerns about our decision to include
                                                 waste and recycling industries.159 Other                rules and directions governing the                    scheduling, workplace health and
                                                 commenters strenuously urge the Board                   manner, means, or methods of work                     safety, and work rules and directions
                                                 to include workplace health and safety                  performance should not be essential for               governing the manner, means, or
                                                 as essential.160 In fact, one commenter                 purposes of the joint-employer                        methods of work performance.
                                                 suggests that, in light of the Covid-19                 standard.167 These commenters express                    With respect to scheduling, we begin
                                                 pandemic, the Board should make                         concern that including work rules and                 by noting several commenters’ approval
                                                 explicit that workplace health and                      directions potentially sweeps too                     of the 2020 Rule’s inclusion of
                                                 safety is an essential condition of all in-             broadly and risks exposing small                      scheduling along with hours of work as
                                                 person employment.161                                   business owners to substantial new                    an essential term or condition of
                                                   A few commenters express the view                     liability.168 Similarly, our dissenting               employment.172 We find that Section 2
                                                 that scheduling should not be an                        colleague expresses concern that                      of the Restatement (Second) of Agency
                                                 essential term or condition of                          including work rules and directions on                provides support for including both
                                                 employment for joint-employer                           the list of essential terms and conditions            ‘‘hours of work and scheduling’’ on the
                                                 purposes.162 In this regard, some                       of employment sweeps too broadly,                     list of essential terms and conditions of
                                                 commenters note that determining the                    potentially allowing the Board to make                employment. We further note that Board
                                                 hours of operation for a facility should                a joint-employer finding on the strength              law has long treated scheduling as
                                                                                                         of ambiguous language in work rules.                  probative of joint-employer status.173
                                                 not be treated as comparable to
                                                                                                         He also predicts that including work                  We are also persuaded by the view set
                                                 determining hours of work for all
                                                                                                         rules and directions as essential will                forth by some commenters that
                                                 individuals who perform services in
                                                                                                         lead to more frequent joint-employer                  scheduling practices are often
                                                 that facility,163 while others characterize
                                                                                                         findings in the staffing, healthcare, and             intertwined with hours of work.
                                                 scheduling as related to ‘‘routine’’                                                                             Having carefully considered the
                                                 contractual provisions that speak to the                franchise industries. Commenters who
                                                                                                         favor including work rules and                        valuable input of commenters on the
                                                 timing for completion of a project.164                                                                        proposed rule’s inclusion of workplace
                                                 Certain commenters note that treating                   directions on the list of essential terms
                                                                                                         and conditions of employment generally                health and safety on our list of essential
                                                 control over scheduling as indicative of                                                                      terms and conditions of employment
                                                 a common-law employment relationship                    argue that entities reserving or
                                                                                                         exercising control over work rules and                (and the views of our dissenting
                                                 may disproportionately affect entities                                                                        colleague), we are persuaded to retain
                                                 operating in the manufacturing and                      directions thereby exert considerable
                                                                                                         influence over the manner and means of                this aspect of the proposed rule. We find
                                                 staffing industries.165 Other commenters                                                                      common-law support for including
                                                 observe that scheduling practices are                   particular employees’ work.169
                                                                                                                                                               workplace health and safety as an
                                                 intertwined with employees’ hours of                       Several commenters propose
                                                                                                                                                               essential term or condition of
                                                                                                         additional terms and conditions of
                                                                                                                                                               employment in references to the
                                                   158 Comments of AAPA; American Trucking               employment that the Board should
                                                                                                                                                               importance of an employer’s control
                                                 Associations; Home Care Association of America;         consider essential. A few commenters
                                                                                                                                                               over ‘‘the physical conduct’’ of an
                                                 National Association of Convenience Stores. As an       propose adding practices related to
                                                 example, one commenter notes that health and                                                                  employee ‘‘in the performance of the
                                                                                                         surveillance and monitoring to the
                                                 safety in the trucking industry is pervasively                                                                service’’ to the employer.174 While
                                                 regulated by several other Federal agencies,            list.170 One comment goes further,
                                                                                                                                                               many commenters and our dissenting
                                                 including ‘‘the Department of Labor’s Occupational      suggesting that the Board adopt a
                                                                                                                                                               colleague have observed that workplace
                                                 Safety and Health Administration (OSHA) and the         rebuttable presumption that an entity is              health and safety is subject to
                                                 Department of Transportation’s Federal Motor            a joint employer if it imposes certain
                                                 Carrier Safety Administration (FMCSA).’’                                                                      substantive regulation by many federal,
                                                 Comments of American Trucking Associations.             requirements on another entity or that                state, and local authorities, especially in
                                                 Contrary to the suggestion of this commenter, the       entity’s employees (among others,                     certain industries, we do not seek to
                                                 Board is aware of the expertise these regulators        retaining discretion to hire or fire that             displace or interfere with those
                                                 have in setting substantive health and safety           entity’s employees and requiring that
                                                 standards and does not intend to prescribe any                                                                regulatory schemes by recognizing that
                                                 particular health and safety standards in the final     entity’s employees to enter into                      control over workplace health and
                                                 rule.                                                   noncompete agreements or other                        safety is indicative of a joint-
                                                   159 Comments of American Trucking                     restraints on operating a business in the             employment relationship. As discussed
                                                 Associations; FMI—The Food Industry Association;        same trade or industry during or after
                                                 National Waste & Recycling Association; Trucking                                                              further below, we do not consider
                                                 Industry Stakeholders.
                                                                                                         the contract).171                                     contractual terms that do nothing more
                                                   160 Comments of Center for Law and Social                As noted above, the Board has                      than incorporate regulatory
                                                 Policy; IBT; Lawyers’ Committee for Civil Rights        determined to include an exhaustive list              requirements, without otherwise
                                                 Under Law; National Partnership for Women &             of essential terms and conditions of                  reserving authority to control or
                                                 Families; National Women’s Law Center; NELP;            employment in the final rule. While
                                                 North Carolina Justice Center; Public Justice Center;                                                         exercising power to control the
                                                 SPLC; TechEquity Collective; The Leadership             commenters broadly agree on the                       performance of work or terms and
                                                 Conference on Civil and Human Rights; The                                                                     conditions of employment, indicative of
                                                 Strategic Organizing Center; William E. Morris            166 Comments of General Counsel Abruzzo; IBT;

                                                 Institute for Justice; Women Employed.                  National Women’s Law Center.                            172 See comments of General Counsel Abruzzo;
                                                   161 Comments of State Attorneys General.                167 Comments of Americans for Prosperity
                                                                                                                                                               IBT; National Women’s Law Center.
ddrumheller on DSK120RN23PROD with RULES2




                                                   162 Comments of American Pizza Community;             Foundation; Americans for Tax Reform; NAM; Rio          173 See, e.g., Continental Winding Co., 305 NLRB
                                                 Association of Women’s Business Centers; NAM;           Grande Foundation.
                                                                                                                                                               122, 123 fn. 4 (1991).
                                                 SBA Office of Advocacy.                                   168 Comments of Americans for Tax Reform; Rio
                                                                                                                                                                 174 Restatement (Second) of Agency, sec. 2 (1958).
                                                   163 Comments of American Hotel & Lodging              Grande Foundation.
                                                                                                                                                               While our colleague does not find our reference to
                                                 Association; FMI—The Food Industry Association;           169 Comments of General Counsel Abruzzo; NELP.
                                                                                                                                                               this ‘‘general statement’’ in the Restatement
                                                 National Retail Federation.                               170 Comments of Center for Law and Social
                                                                                                                                                               persuasive, we believe that ‘‘the physical conduct’’
                                                   164 Comments of SBA Office of Advocacy.               Policy; Jobs with Justice and Governing for Impact.   of an employee ‘‘in the performance of the service’’
                                                   165 Comments of FMI—The Food Industry                   171 Comments of Professors Pandya, Elmore, and      to the employer encompasses workplace health and
                                                 Association; NAM; Clark Hill PLC.                       Griffith.                                             safety.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                   Page 26 of 78
                                                 73966              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 joint-employer status.175 Finally, as                    once an entity is found to be a joint                    with some noting the practical benefits
                                                 noted above, many commenters                             employer on the basis of its control of                  of that standard for the construction,
                                                 confirmed our preliminary view that the                  one or more essential terms or                           franchise, retail, restaurant, and staffing
                                                 experience of the Covid–19 pandemic                      conditions of employment, that entity                    industries.181 Our dissenting colleague
                                                 demonstrated the importance of treating                  will be subject to a duty to bargain over                likewise expresses his preference for the
                                                 workplace health and safety as essential.                all mandatory subjects of employment                     2020 rule’s treatment of the forms of
                                                    We also adhere to the view set forth                  that it controls.178                                     control that are sufficient to establish
                                                 in the proposed rule that work rules and                                                                          status as a joint employer. Some
                                                 directions governing the manner,                         E. Comments About Forms of Control                       commenters suggest that Congress, in
                                                 means, or methods of work performance                    Sufficient To Establish Status as a Joint                enacting the Taft-Hartley amendments,
                                                 are properly included as essential terms                 Employer                                                 implicitly contemplated that only
                                                 and conditions of employment. As with                       Proposed paragraph (e) of the                         substantial direct and immediate control
                                                 our discussion of scheduling above, we                   proposed rule provided that whether an                   could suffice to establish a joint-
                                                 note that many commenters found it                       employer possesses the authority to                      employer relationship.182 In addition,
                                                 appropriate for the Board to follow the                  control or exercises the power to control                some of these commenters urge that it
                                                 2020 rule’s lead in treating work rules                  one or more of the employees’ terms and                  is especially important for the Board to
                                                 and directions as essential. Moreover,                   conditions of employment is                              ascertain whether an entity will possess
                                                 we find support for including work                       determined under common-law agency                       or exercise control on a prospective
                                                 rules and directions on the list of                      principles. Possessing the authority to                  basis as a precondition to imposing a
                                                 essential terms and conditions of                        control is sufficient to establish status as             bargaining obligation.183
                                                 employment in Sections 2 and 220 of                      a joint employer, regardless of whether                     With respect, we disagree with the
                                                 the Restatement (Second) of Agency.176                   control is exercised. Exercising the                     view of some commenters and our
                                                 In this regard, we agree with the views                  power to control indirectly is sufficient                dissenting colleague that only
                                                 set forth by some commenters that                        to establish status as a joint employer,                 ‘‘substantial direct and immediate
                                                 possessing or exercising control over                    regardless of whether the power is                       control’’ should be relevant to the
                                                 work rules or directions governing the                   exercised directly. Control exercised                    Board’s joint-employer inquiry. As set
                                                 manner, means, or methods of work                        through an intermediary person or                        forth in the NPRM, once it is shown that
                                                 performance illuminates the extent of                    entity is sufficient to establish status as              an entity possesses or exercises relevant
                                                 control an employer exercises over the                   a joint employer.179                                     control over particular employees, the
                                                 details of the work to be performed.177                     Some commenters specifically request                  Board is not aware of any common-law
                                                    Finally, in light of the clarification we             that the Board modify this paragraph of                  authority standing for the proposition
                                                 make regarding the content of a joint                    the proposed rule to specify what                        that further evidence of the direct and
                                                 employer’s bargaining obligation in                      quantum or degree of indirect or                         immediate exercise of that control is
                                                 paragraph (h) of the final rule, we do not               reserved control will be sufficient to                   necessary to establish a common-law
                                                 find it necessary to add other terms or                  give rise to a joint-employer finding.180                employment relationship. While we
                                                 conditions of employment to the final                    Many commenters commended the 2020                       acknowledge that some commenters
                                                 rule’s list of ‘‘essential’’ terms or                    rule for returning to TLI/Laerco’s                       found the 2020 rule’s formulation
                                                 conditions of employment. However, we                    ‘‘substantial direct and immediate                       beneficial, because we are bound to
                                                 believe the final rule is responsive to                  control’’ formulation as the threshold                   apply common-law agency principles,
                                                 commenters’ insights that bargaining                     that would give rise to a joint-employer                 we are not free to maintain a definition
                                                 over certain of these subjects, like                     finding and treating ‘‘limited and                       of ‘‘joint employer’’ that incorporates
                                                 workplace surveillance, may be very                      routine’’ instances of control as                        the restriction that any relevant control
                                                 important to employees who organize                      irrelevant to the joint-employer inquiry,                an entity possesses or exercises must be
                                                 and seek to bargain collectively. As a                                                                            ‘‘direct and immediate.’’ 184 Finally, we
                                                 result, the final rule recognizes that                      178 Contrary to the view of our dissenting
                                                                                                                                                                      181 Comments of AGC; American Pizza
                                                                                                          colleague, providing an exhaustive list of essential
                                                   175 Contrary to our dissenting colleague’s             terms and conditions of employment is not                Community; Americans for Tax Reform; American
                                                 suggestion, if an employer’s compliance with health      intended to address the District of Columbia             Staffing Association; California Policy Center;
                                                 and safety regulations or OSHA standards involves        Circuit’s concerns about the forms of indirect           Escalante Organization; Independent Electrical
                                                 choosing among alternative methods of satisfying         control that bear on the joint-employer inquiry, but     Contractors; IFA; Michael Remick; National
                                                 its legal obligation, a contract term that merely        to instead respond to the court’s guidance, on           Association of Realtors; National Black McDonald’s
                                                 memorializes the employer’s choice regarding how         remand, that the Board ‘‘explain which terms and         Operators Association; National Demolition
                                                 to comply with the regulation would not indicate         conditions are ‘essential’ to permit ‘meaningful         Association; National Retail Federation; National
                                                 joint-employer status. To the extent that an             collective bargaining,’’’ and to ‘‘clarify what          Taxpayers Union; New Civil Liberties Alliance &
                                                 employer reserves further authority or discretion        ‘meaningful collective bargaining’ entails and how       Institute for the American Worker; North American
                                                 over health and safety matters, however, such            it works in this setting.’’ BFI v. NLRB, 911 F.3d at     Meat Institute; Restaurant Law Center and National
                                                 reserved control (or control exercised pursuant to       1221–1222 (quoting BFI, 362 NLRB at 1600).               Restaurant Association; RILA; The Mackinac Center
                                                 such a reservation) would bear on the joint-                179 87 FR at 54663.                                   for Public Policy; Yum! Brands. One commenter
                                                 employer inquiry.                                           180 Comments of American Trucking                     also argues that there must be a showing of regular
                                                    176 Id., sec. 2 & 220.
                                                                                                          Associations; COLLE; Competitive Enterprise              and continuous control, not merely sporadic and de
                                                    177 We reject our dissenting colleague’s suggestion   Institute; Escalante Organization; NAHB; SBA             minimis control. See comments of SHRM. Another
                                                 that the Board will seize upon ambiguous language        Office of Advocacy; SHRM. Some commenters                commenter likewise suggests that the Board
                                                 in work rules to make a joint-employer finding.          suggest that the proposed rule is sufficiently vague     incorporate a de minimis limitation in the final
                                                 Instead, we consider work rules or directions            that it could have negative effects on the residential   rule. See comments of UNITE HERE.
                                                                                                                                                                      182 Comments of American Hotel & Lodging
                                                 essential because they may be especially clear           construction industry, exposing homeowners who
ddrumheller on DSK120RN23PROD with RULES2




                                                 indicators of a putative joint employer’s authority      control access to job sites, working hours, and many     Association; COLLE; RILA.
                                                                                                                                                                      183 Comments of RILA; SHRM.
                                                 to control or exercise of control over the details of    day-to-day conditions of employment to
                                                 particular employees’ work. Cf. Cognizant                classification as potential joint employers. See            184 The District of Columbia Circuit has recently

                                                 Technology Solutions U.S. Corp. & Google LLC, 372        comments of NAHB; Restaurant Law Center and              emphasized that it ‘‘took great pains to inform the
                                                 NLRB No. 108, slip op. at 1 (2023) (finding joint-       National Restaurant Association. Another                 Board that the failure to consider reserved or
                                                 employer relationship under 2020 rule based in part      commenter questions whether a franchisor would           indirect control is inconsistent with the common
                                                 on entity’s maintenance of ‘‘‘workflow training          be deemed a joint employer by virtue of providing        law of agency.’’ Sanitary Truck Drivers & Helpers
                                                 charts’ which govern[ed] the details of employees’       optional tools and resources to a franchisee. See        Local 350, International Brotherhood of Teamsters
                                                 performance of specific tasks.’’).                       comments of Escalante Organization.                      v. NLRB, 45 F.4th 38, 47 (D.C. Cir. 2022).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 27 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                   73967

                                                 hope to satisfy those commenters                        and conditions of employment, the 2020                  rule to clarify that these forms of control
                                                 seeking guidance regarding the quantum                  rule effectively rendered forms of                      are sufficient.195
                                                 or type of control that is sufficient to                indirect control irrelevant to the joint-                  While we appreciate the views set
                                                 establish status as a joint employer in                 employer analysis, in contravention of                  forth by commenters who illustrate why
                                                 the discussion that follows.                            the common-law agency principles that                   forms of indirect control are frequently
                                                    Others approve of the proposed rule’s                must guide the Board’s application of its               relevant to the joint-employer analysis,
                                                 explicit recognition that control                       joint-employer standard.189 As one of                   we decline the invitation to modify the
                                                 exercised through an intermediary                       these commenters adds, this error is                    text of the proposed rule to incorporate
                                                 should be sufficient to establish joint-                especially pronounced in light of the                   these insights.196 By maintaining the
                                                 employer status, offering examples of                   District of Columbia Circuit’s later                    general language of the proposed rule,
                                                 the role intermediaries play in sharing                                                                         which provides that control is to be
                                                                                                         statement in Sanitary Truck Drivers and
                                                 or codetermining essential terms and                                                                            determined by reference to common-law
                                                                                                         Helpers Local 350, International
                                                 conditions of employment in certain                                                                             agency principles, we aim to permit the
                                                                                                         Brotherhood of Teamsters v. NLRB, 45                    application of the final rule to a diverse
                                                 industries, including the franchise,
                                                                                                         F.4th 38, 46–47 (D.C. Cir. 2022), that the              arrangement of mechanisms that grant
                                                 staffing, and temporary employment
                                                 industries.185 One commenter highlights                 Board was not free to apply an analysis                 third parties or other intermediaries
                                                 how the proposed rule, which would                      that effectively ignored reserved and                   authority to share or codetermine
                                                 find indirect control over workplace                    indirect control.190                                    matters governing particular employees’
                                                 health and safety sufficient to establish                  Certain commenters who generally                     essential terms and conditions of
                                                 joint-employer status, could benefit                    agree with the Board’s proposed                         employment. In this regard, as we apply
                                                 employees with disabilities, who it                     approach to treating indirect control as                the final rule to new facts, we will be
                                                 represents are overrepresented in                       probative to the joint-employer analysis                guided by § 103.40(e)(2) of the final rule,
                                                 temporary employment and often face                     argue that certain employer actions                     which is consistent with the District of
                                                 distinctive health and safety challenges                should, in general, be regarded as                      Columbia Circuit’s statement that ‘‘the
                                                 that may require multiple firms to play                 amounting to the exercise of indirect                   common law has never countenanced
                                                 a role in addressing.186                                control over particular employees.191                   the use of intermediaries or controlled
                                                    In addition, these commenters                        For example, one commenter proposes                     third parties to avoid the creation of a
                                                 emphasize that taking all relevant forms                that the Board state that using                         master-servant relationship.’’ 197
                                                 of control, including indirect control,                                                                            Another group of comments raises
                                                                                                         surveillance technology amounts to
                                                 into account is essential to ensuring that                                                                      concerns about situations where a
                                                                                                         indirect control over the employees                     putative joint employer in fact possesses
                                                 bargaining is effective, especially in                  being surveilled.192 Another commenter
                                                 industries characterized by the                                                                                 the authority to control or exercises the
                                                                                                         suggests that certain forms of control                  power to control essential terms or
                                                 widespread use of contracting,
                                                                                                         that franchisors or user firms exert over               conditions of employment only because
                                                 including the property services, staffing,
                                                 and construction industries.187 Some                    the nonwage cost items in franchisees’                  it is required to do so by law or
                                                 commenters observe that making                          or supplier firms’ budgets are                          regulation.198 Some of these
                                                 indirect control part of the joint-                     tantamount to indirect control over                     commenters state that the Federal
                                                 employer inquiry may foster compliance                  wages.193 One commenter offers                          Government possesses reserved and
                                                 with labor and employment laws and                      illustrations of forms of control she                   indirect control over certain terms and
                                                 encourage an appropriate sharing of                     regards as material to the existence of a               conditions of employment of the
                                                 responsibility among multiple firms that                common-law employment relationship.                     employees of companies it contracts
                                                 codetermine terms and conditions of                     One example includes a contract                         with.199 For example, one commenter
                                                 employment.188 Some of these                            provision granting a user employer the
                                                 commenters charge that by imposing a                    right to require mandatory overtime by                    195 See, e.g., comments of CWA; RILA; State

                                                                                                                                                                 Attorneys General; U.S. Chamber of Commerce.
                                                 requirement of ‘‘substantial direct and                 supplied employees.194 Some suggest                       196 As discussed below, however, we have
                                                 immediate control’’ over essential terms                that the Board add corresponding                        reformatted § 103.40(e) of the final rule to include
                                                                                                         examples or hypotheticals to the final                  two subsections and have streamlined its text to
                                                    185 Comments of Jobs with Justice and Governing                                                              avoid surplusage.
                                                 for Impact; Public Justice Center; The Leadership          189 Comments of AFL–CIO; NELP; UNITE HERE.
                                                                                                                                                                   197 BFI v. NLRB, 911 F.3d at 1217. Our dissenting
                                                 Conference on Civil and Human Rights.                                                                           colleague questions our decision not to include an
                                                    186 Comments of The Leadership Conference on
                                                                                                         One of these commenters makes the further
                                                                                                                                                                 extensive list of examples of forms of indirect
                                                                                                         suggestion that, in situations where one firm
                                                 Civil and Human Rights. Other commenters                                                                        control that may be relevant to the joint-employer
                                                                                                         dominates another or where parties have an
                                                 likewise argue that temporary employees frequently                                                              inquiry and asks what other forms of indirect
                                                                                                         exclusive service relationship, the Board should
                                                 receive less safety training and are more vulnerable                                                            control may be relevant. As set forth in Sec. I.D.
                                                                                                         consider applying a rule of per se joint-employer
                                                 to retaliation for reporting injuries than their                                                                above, we will address whether other mechanisms
                                                                                                         liability. See comments of NELP.
                                                 permanent-employee counterparts. See comments              190 Comments of AFL–CIO.
                                                                                                                                                                 that grant third parties control over particular
                                                 of North Carolina Justice Center.                                                                               employees’ terms and conditions of employment
                                                                                                            191 Comments of Center for Law and Social
                                                    187 Comments of ACLU; AFL–CIO; BCTGM;                                                                        establish joint-employer status in the course of
                                                 Congressman Scott et al.; CWA; Jobs with Justice        Policy; Los Angeles County Federation of Labor          applying the rule. In so doing, we will be guided
                                                 and Governing for Impact; Lawyers’ Committee for        AFL–CIO & Locals 396 and 848 of the IBT.                by the District of Columbia Circuit’s treatment of
                                                                                                            192 Comments of Center for Law and Social
                                                 Civil Rights Under Law; Los Angeles County                                                                      indirect control and common-law agency
                                                 Federation of Labor AFL–CIO & Locals 396 and 848        Policy. Other commenters likewise suggest that, at      principles.
                                                 of the IBT; National Women’s Law Center; Public         least in certain contexts, surveillance might             198 Comments of American Hospital Association;

                                                 Justice Center; Restaurant Opportunities Centers        demonstrate sufficient indirect control over            American Trucking Associations; CDW; Federation
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                                                 United; SEIU; Signatory Wall and Ceiling                employees’ essential terms and conditions of            of American Hospitals; Home Care Association of
                                                 Contractors Alliance; TechEquity Collaborative; The     employment to justify a joint-employer finding, but     America; Independent Bakers Association; NAHB;
                                                 Leadership Conference on Civil and Human Rights;        they do not recommend modifying the proposed            National Retail Federation.
                                                 The Strategic Organizing Center; UBC; UE; Women         rule to include this observation. See, e.g., comments     199 Comments of COLLE; Goldwater Institute;
                                                 Employed.                                               of IBT; Jobs with Justice and Governing for Impact;     National Small Business Association; SBA Office of
                                                    188 Comments of Bakery, Confectionary, Tobacco       NELP.                                                   Advocacy; Thomas Jefferson Institute for Public
                                                                                                            193 Comments of Los Angeles County Federation
                                                 Workers and Grain Millers International Union                                                                   Policy. One commenter provides several examples
                                                 (BCTGM); General Counsel Abruzzo; Public Justice        of Labor AFL–CIO & Locals 396 and 848 of the IBT.       of such contract provisions. See comments of
                                                 Center; Richard Eiker; TechEquity Collaborative.           194 Comments of General Counsel Abruzzo.             Center for Workplace Compliance.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 28 of 78
                                                 73968              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 describes the use of ‘‘flow-down’’                      detail above and below, if an entity                    political subdivision thereof.’’ 209 While
                                                 clauses in contracting relationships and                possesses or exercises some control over                some commenters suggest that public
                                                 how prime contractors are sometimes                     particular employees’ terms and                         entities possess or exercise control over
                                                 required to impose obligations under                    conditions of employment, including                     essential terms and conditions of
                                                 the Service Contract Act, 41 U.S.C. 351                 indirect control, only by the terms of a                employment, we note that these facts
                                                 et seq., and similar local and municipal                third-party contract that sets basic                    are insufficient to establish a joint-
                                                 laws setting minimum wage and benefit                   expectations or ground rules for the                    employment relationship for purposes
                                                 standards on their subcontractors.200                   production or delivery of goods or                      of the Act because the public entity is
                                                 Similarly, some commenters suggest                      services, without otherwise reserving                   excluded from the statutory definition
                                                 that control over essential terms or                    the authority or exercising the power to                of ‘‘employer.’’ Finally, we regard the
                                                 conditions of employment is less                        control the details of the manner and                   Board’s decision in Management
                                                 probative of joint-employer status if it is             methods by which the work is                            Training Corp., above, as persuasive in
                                                 possessed or exercised in the service of                performed, the entity does not thereby                  addressing some commenters’ concerns
                                                 setting basic expectations or ground                    become an employer of those                             that applying the joint-employer
                                                 rules for a third-party contractor or                   employees. This is because such                         standard we adopt might cause
                                                 contracted service.201                                  control, as a normal incident of a third-               distinctive problems for government
                                                    In response to these commenters, we                  party contract, does not establish the                  contractors. As one commenter suggests,
                                                 note that if a law or regulation actually               common-law employment relationship                      that case permits the Board to find one
                                                 sets a particular term or condition of                  that is the threshold requirement for                   entity is an employer for purposes of
                                                 employment (like minimum wages,                         finding a joint-employer relationship.204               Section 2(2) even if another, exempt
                                                 driving time limits for truck drivers, or                                                                       entity also possesses or exercises control
                                                                                                            Several commenters raise concerns                    over particular employees’ essential
                                                 contractor diversity requirements), an
                                                                                                         about the possibility that, in contexts                 terms or conditions of employment.210
                                                 entity that does nothing more than
                                                                                                         where a public entity contracts with a                  We note that reviewing courts have
                                                 embody or memorialize such legal
                                                                                                         private entity to render a service or                   broadly approved of the Board’s
                                                 requirements in its contracts for goods
                                                 and services, without otherwise                         perform a contract, the proposed joint-                 assertion of jurisdiction over
                                                 reserving the authority to control or                   employer standard risks enmeshing that                  government contractors.211
                                                 exercising the power to control terms or                public entity in the Board’s
                                                                                                         jurisdiction.205 One commenter, citing                  F. Control Over Matters That Are
                                                 conditions of employment, does not                                                                              Immaterial to the Existence of an
                                                 thereby become the employer of                          the Board’s decision in Management
                                                                                                         Training Corp., 317 NLRB 1355 (1995),                   Employment Relationship Under
                                                 particular employees subject to those                                                                           Common-Law Agency Principles or That
                                                 legal requirements. This is because the                 argues that the 2020 rule would better
                                                                                                         ensure the proper application of the                    Do Not Bear on Essential Terms and
                                                 embodiment of such legal requirements                                                                           Conditions of Employment
                                                 is not a matter within the entity’s                     joint-employer standard in contracting
                                                                                                         situations.206 One commenter expresses                     Proposed paragraph (f) provided that
                                                 discretion subject to collective
                                                                                                         particular concern about the                            ‘‘[e]vidence of an employer’s control
                                                 bargaining.202 We remind commenters
                                                                                                         implications of a joint-employer                        over matters that are immaterial to the
                                                 who express concern about the role of
                                                                                                         relationship between a public charter                   existence of an employment
                                                 entities exempt from the Board’s
                                                                                                         school and third-party vendors or                       relationship under common-law agency
                                                 jurisdiction that, under longstanding                                                                           principles or control over matters that
                                                 Board precedent, if a common-law                        contractors it uses.207
                                                                                                                                                                 do not bear on the employees’ essential
                                                 employer of particular employees lacks                     We reject these commenters’ views
                                                                                                                                                                 terms and conditions of employment is
                                                 control over some of those employees’                   that the proposed rule creates any novel
                                                                                                                                                                 not relevant to the determination of
                                                 terms and conditions of employment                      risks for public or private entities who
                                                 because those terms and conditions are                  contract with one another. The final rule                 209 Id. The Board uses the test approved by the
                                                 controlled by an exempt entity, that                    we adopt requires, as a threshold matter,               Supreme Court in NLRB v. National Gas Utility
                                                 common-law employer is not required                     that each putative joint employer meet                  District of Hawkins County, 402 U.S. 600 (1971) to
                                                 to bargain about those terms and                        the definition of ‘‘employer’’ in Section               determine whether an entity is a ‘‘political
                                                                                                                                                                 subdivision’’ within the meaning of Sec. 2(2) of the
                                                 conditions of employment.203                            2(2) of the Act.208 Section 2(2) excludes               Act and therefore exempt from the Board’s
                                                 Consistent with this precedent, the final               from the definition of ‘‘employer’’                     jurisdiction.
                                                 rule provides that a joint employer will                public entities, including, in relevant                   210 See reply comments of AFL–CIO (citing

                                                 be required to bargain over only those                  part, ‘‘the United States or any wholly                 Management Training Corp., 317 NLRB at 1358).
                                                                                                                                                                   211 See Teledyne Economic Development v.
                                                 mandatory subjects of bargaining that it                owned Government corporation, or any
                                                                                                                                                                 NLRB, 108 F.3d 56, 59 (4th Cir. 1997) (‘‘By its terms,
                                                 possesses or exercises the authority to                 Federal Reserve Bank, or any State or                   section 2(2) exempts only government entities or
                                                 control. Finally, as discussed in more                                                                          wholly owned government corporations from its
                                                                                                            204 For these reasons, we also reject the            coverage—not private entities acting as contractors
                                                   200 Comments of American Council of                   hypotheticals our dissenting colleague puts forward     for the government.’’). See also NLRB v. YWCA, 192
                                                 Engineering Companies.                                  to suggest that the final rule exceeds the boundaries   F.3d 1111, 1117 (8th Cir. 1999) (‘‘We find ourselves
                                                   201 Comments of ARTBA.                                of the common law. Our colleague downplays the          in agreement with the opinions of our sister circuits
                                                                                                         importance of the final rule’s threshold requirement    on the issue of whether or not the Board can assert
                                                   202 Of course, if an employer has discretion over
                                                                                                         of a common-law employment relationship and             jurisdiction over an employer without regard to
                                                 how to comply with a statutory mandate, it must                                                                 whether or not the employer’s control over its
                                                 bargain about how to exercise that discretion. See,     thereby concludes that entities with highly
                                                                                                         attenuated relationships to particular employees        ability to collectively bargain is hampered or
                                                 e.g., Roseburg Forest Products Co., 331 NLRB 999,
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                                                                                                         will be deemed joint employers. In applying the         impeded by the employer’s operating agreement
                                                 1003 (2000) (requiring an employer to bargain with                                                              with the government.’’); Aramark Corp. v. NLRB,
                                                 the union over how to satisfy its obligations to keep   final rule, and consistent with the common law, we
                                                                                                         will perform the required threshold analysis.           179 F.3d 872, 879 (10th Cir. 1999) (‘‘The Board’s
                                                 an employee’s medical information confidential                                                                  consistent view that governmental contractors fall
                                                                                                            205 Comments of AGC; COLLE; Goldwater
                                                 under the Americans with Disabilities Act, 42                                                                   outside section 2(2)’s political subdivision
                                                 U.S.C. 12101, et seq., while meeting its duty to        Institute; Home Care Association of America.            exemption and inside that provision’s definition of
                                                                                                            206 Comments of COLLE.
                                                 furnish requested information to the union under                                                                an employer ‘is entitled to great respect.’ ’’);
                                                 the NLRA).                                                 207 Comments of National Alliance for Public
                                                                                                                                                                 Pikeville United Methodist Hospital of Kentucky,
                                                   203 Cf. Management Training Corp., 317 NLRB           Charter Schools.                                        Inc. v. United Steelworkers of America, 109 F.3d
                                                 1355 (1995).                                               208 29 U.S.C. 152(2).                                1146, 1152–1153 (6th Cir. 1997).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                            Document #2025765                             Filed: 11/06/2023                 Page 29 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 73969

                                                 whether the employer is a joint                         expectations, or providing for oversight)              a service or completing a project; 226
                                                 employer.’’ 212 As set forth more fully                 as generally immaterial to the existence               requirements that deliveries be made
                                                 above, the preamble to the proposed                     of a common-law employment                             during limited windows of time; 227
                                                 rule expressed agreement with the                       relationship, while several commenters                 requirements about monitoring or
                                                 District of Columbia Circuit’s view that                expressly indicate their approval of the               maintaining brand standards or the
                                                 ‘‘routine components of a company-to-                   proposed rule’s discussion of such                     design, décor, logo, or image of a
                                                 company contract’’ will generally not be                provisions.218 One commenter suggests                  business; 228 uniform requirements; 229
                                                 material to the existence of an                         that it is common practice to include a                generally applicable rules for
                                                 employment relationship under                           ‘‘statement of work’’ to define a new                  individuals visiting a facility; 230 general
                                                 common-law agency principles.213 The                    project and that the Board should regard               price terms or terms governed by third-
                                                 proposed rule cited two examples given                  these types of contract provisions as                  party or customer demand; 231 authority
                                                 by the District of Columbia Circuit as                  akin to advance descriptions of the tasks
                                                 potential kinds of company-to-company                                                                          to cancel a contract, including at
                                                                                                         to be performed (and therefore not                     will; 232 requirements that employees
                                                 contract provisions that will not                       material to the existence of a common-
                                                 generally be probative of joint-employer                                                                       undergo background checks or drug
                                                                                                         law employment relationship).219 A few                 tests, comply with equal employment
                                                 status: a ‘‘very generalized cap on                     of these commenters make the further
                                                 contract costs’’; or ‘‘an advance                                                                              opportunity, nondiscrimination, and
                                                                                                         suggestion that the Board modify the
                                                 description of the tasks to be performed                                                                       antiharassment policies, and satisfy
                                                                                                         text of proposed paragraph (f) to
                                                 under the contract.’’ 214 While noting                                                                         licensure requirements; 233 authority to
                                                                                                         expressly reflect that descriptions of the
                                                 that the proposed rule did not intend to                                                                       bar certain individuals from the
                                                                                                         tasks to be performed are not material to
                                                 exhaustively detail the kinds of business               the existence of a common-law                          premises or reject particular
                                                 arrangements that might bear on the                     employment relationship.220                            employees; 234 terms related to an
                                                 existence of a common-law employment                                                                           entity’s control over its property,
                                                 relationship, the Board specifically                       A number of commenters encourage                    premises, or equipment, including
                                                 solicited commenters’ input on other                    the Board to modify the proposed rule                  training and safety requirements; 235
                                                 kinds of company-to-company contract                    to provide examples of contractual                     provisions related to the nondisclosure
                                                 provisions that might not be material to                provisions that would not give rise to a               or confidentiality of trade secrets,
                                                 the existence of an employment                          finding of joint-employer status or to
                                                                                                                                                                proprietary information, or intellectual
                                                 relationship under common-law agency                    otherwise illustrate or give examples
                                                                                                                                                                property; 236 construction project
                                                 principles.215 Many commenters                          about how the Board will apply the
                                                                                                                                                                schedule requirements or safety
                                                 accepted the Board’s invitation to                      joint-employer rule.221 These
                                                                                                         commenters offer a range of suggested                  programs or other site-specific
                                                 provide these examples, and we have
                                                                                                         ‘‘routine components of a company-to-                  requirements for entities visiting marine
                                                 carefully considered the helpful insights
                                                 commenters shared, as discussed below.                  company contract’’ 222 to exclude as                   terminals, railyards, or other supply
                                                    First, some commenters specifically                  probative of joint-employer status.
                                                                                                                                                                   226 Comments of American Hotel & Lodging
                                                 addressed the two examples identified                   These contractual provisions include,
                                                                                                                                                                Association; ARTBA; CDW; Energy Marketers of
                                                 by the District of Columbia Circuit and                 among others, those that set forth: the                America; SHRM; Tesla, Inc.
                                                 in the proposed rule. A few commenters                  objectives, basic ground rules, and                       227 Comments of Control Transportation Services,
                                                 appeared to suggest that a generalized                  expectations of the relationship; 223                  Inc.; Energy Marketers of America; Michael Remick;
                                                 cap on contract costs might in certain                  instructions regarding work standards or               M. M. Fowler, Inc.; QuickChek; U.S. Chamber of
                                                 circumstances be probative of a                         expectations and about what work to                    Commerce. Notably, several of these commenters
                                                                                                                                                                raise observations regarding the timing of deliveries
                                                 common-law employment relationship,                     perform, or where and when to perform                  at retail motor fuel locations, arguing that energy
                                                 especially if such a cap is coupled with                work; 224 minimum staffing                             marketers often dictate when fuel can be delivered
                                                 a cost-plus arrangement or other explicit               requirements; 225 quality, productivity,               safely. See, e.g., comments of Energy Marketers of
                                                 limitations on employee wages and                       timing, and safety terms about providing               America.
                                                 benefits.216 But many other commenters                                                                            228 Comments of American Hotel & Lodging

                                                 generally expressed their agreement                       218 Comments of Escalante Organization; IFDA;
                                                                                                                                                                Association; Home Care Association of America;
                                                                                                                                                                IFA; Independent Lubricant Manufacturers
                                                 with the view set forth in the proposed                 RILA; Tesla, Inc.; The Mackinac Center for Public      Association; M. M. Fowler, Inc.; McDonald’s USA,
                                                 rule and by the District of Columbia                    Policy.
                                                                                                                                                                LLC; National Association of Convenience Stores;
                                                                                                           219 Comments of Tesla, Inc.
                                                 Circuit that generalized caps on contract                                                                      SHRM; U.S. Chamber of Commerce; Yum! Brands.
                                                                                                           220 Comments of IFDA; The Mackinac Center for
                                                 costs typically resemble other ordinary                                                                           229 Comments of American Hotel & Lodging
                                                                                                         Public Policy.                                         Association; IFA.
                                                 price or quantity terms that do not have                  221 Comments of American Hotel & Lodging
                                                                                                                                                                   230 Comments of American Hotel & Lodging
                                                 any necessary connection to the                         Association; American Staffing Association; HR
                                                                                                                                                                Association; CDW; Contractor Management
                                                 existence of a common-law employment                    Policy Association; RILA; Tesla, Inc.; U.S. Chamber
                                                                                                                                                                Services, LLC; Home Care Association of America;
                                                 relationship.217                                        of Commerce; U.S. Small Business Association; U.S.
                                                                                                                                                                National Association of Convenience Stores;
                                                                                                         Black Chambers, Inc.
                                                    No commenter expresses any                             222 BFI v. NLRB, 911 F.3d at 1220.
                                                                                                                                                                Restaurant Law Center and National Restaurant
                                                 concerns about treating advance                           223 Comments of American Hotel & Lodging
                                                                                                                                                                Association; SHRM.
                                                                                                                                                                   231 Comments of Restaurant Law Center and
                                                 descriptions of the tasks to be performed               Association; CDW; Contractor Management
                                                                                                                                                                National Restaurant Association; SHRM.
                                                 under the contract (including provisions                Services, LLC; International Warehouse Logistics          232 Comments of RILA; SHRM.
                                                 setting forth objectives, ground rules, or              Association; SHRM; Tesla, Inc.; The Mackinac
                                                                                                                                                                   233 Comments of Center for Workplace
                                                                                                         Center for Public Policy.
                                                                                                           224 Comments of American Hotel & Lodging             Compliance; Home Care Association of America;
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                                                   212 87 FR at 54663.
                                                                                                         Association (citing Service Employees International    National Retail Federation; RILA; SHRM; U.S.
                                                    213 Id. at 54651 (quoting BFI v. NLRB, 911 F.3d                                                             Chamber of Commerce.
                                                                                                         Union, Local 32BJ v. NLRB, 647 F.3d 435, 443 (2d
                                                 at 1221).                                               Cir. 2011); Local 254, SEIU, 324 NLRB 743, 746–           234 Comments of American Hotel & Lodging
                                                    214 Id.
                                                                                                         749 (1997)); Independent Lubricant Manufacturers       Association; Energy Marketers of America;
                                                    215 Id.
                                                                                                         Association; Restaurant Law Center and National        Independent Lubricant Manufacturers Association;
                                                    216 See, e.g., comments of General Counsel           Restaurant Association; Tesla, Inc.; U.S. Chamber of   National Retail Federation; Tesla, Inc.
                                                 Abruzzo; IBT. We address cost-plus contract             Commerce.                                                 235 Comments of SHRM; Tesla, Inc.; U.S. Chamber

                                                 provisions below.                                         225 Comments of American Hotel & Lodging             of Commerce.
                                                    217 Comments of RILA.                                Association.                                              236 Comments of U.S. Chamber of Commerce.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 30 of 78
                                                 73970             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 chain hubs; 237 parties’ obligations                    used in contract provisions that                      commenter notes that, in its experience,
                                                 under law or regulations; 238 provisions                ostensibly address the same subject                   provisions authorizing an entity to
                                                 requiring hospitals to superintend                      matter may vary widely, we believe that               remove or reject an employee are
                                                 contract employees as part of their                     case-by-case adjudication applying the                sometimes used to retaliate against
                                                 patient-care mission; 239 goals related to              joint-employer standard is a better                   individuals who engage in union and
                                                 diversity, equity, inclusion, and access                approach. To do otherwise might risk                  protected concerted activities.249 One
                                                 (DEIA), corporate social responsibility                 problems of both over- and under-                     commenter suggests that the Board
                                                 (CSR), or environmental, social, and                    inclusion and overlook important                      modify proposed paragraph (f) to clearly
                                                 governance (ESG); 240 cost-plus                         context that might be relevant to the                 identify that decisions made as an
                                                 arrangements; 241 minimum                               Board’s analysis.                                     exercise of ‘‘entrepreneurial control’’ are
                                                 compensation requirements as                              In addition to contractual provisions,              generally not probative of the existence
                                                 determined by public contracting rules                  other commenters suggest that the Board               of a common-law employment
                                                 or regulations, including the Davis-                    modify the proposed rule to recognize                 relationship.250 For the same reasons set
                                                 Bacon Act, 40 U.S.C. 3141 et seq.242                    certain business practices as aspects of              forth above, we are not inclined to adopt
                                                   Some commenters helpfully                             routine company-to-company dealings                   these commenters’ suggestions that we
                                                 responded to the Board’s request for                    that are not material to the existence of             specifically categorize contractual
                                                 comment on this issue by providing                      a common-law employment                               provisions or business practices in the
                                                 sample or actual contractual language                   relationship. For example, several                    final rule. Instead, we are persuaded
                                                 that they argue correspond to some of                   commenters urge the Board to specify                  that it would be most prudent to
                                                 the categories of company-to-company                    that monitoring a third party’s                       consider whether certain contractual
                                                 contract provisions listed above.243                    performance for the purposes of quality               provisions or business practices are
                                                 After reviewing the wide range of                       assurance or auditing for compliance                  probative of a common-law employment
                                                 contract provisions commenters shared                   with contractual obligations will not be              relationship when applying the final
                                                 with the Board, we are persuaded that                   viewed as probative of joint-employer                 rule.
                                                 the approach taken in the proposed rule,                status.245 A few others urge the Board to                Additionally, some commenters argue
                                                 which did not attempt to categorize                     clarify that the mere communication of                that the Board should treat employment
                                                 company-to-company contract                             work assignments, delivery times, or                  relationships in the construction
                                                 provisions ex ante, is the most prudent                 other details necessary to perform work               industry in a distinctive manner for
                                                 path forward.244 Because the language                   under a contract is not material to the               purposes of analyzing what forms of
                                                                                                         joint-employer inquiry if it is not                   control are material to the existence of
                                                    237 Comments of ABC; AGC; ARTBA; Trucking
                                                                                                         accompanied by other evidence                         a common-law employment
                                                 Industry Stakeholders. Several commenters identify
                                                 AIA Document A201–2017, a standard form                 showing a common-law employment                       relationship.251 While these
                                                 document setting forth the general conditions for       relationship.246 We decline to modify                 commenters acknowledge that multiple
                                                 construction projects, and the Federal Acquisition      the proposed rule as suggested by these               firms reserve and exercise control over
                                                 Regulation and other contracting laws and               commenters for largely the same reasons               construction jobsites, citing Denver
                                                 regulations, as important sources of contract terms
                                                 that memorialize employers’ respective duties and       we decline to offer an ex ante                        Building, supra, 341 U.S. at 689–690,
                                                 obligations on construction jobsites. See comments      categorization of company-to-company                  they explain that this shared control is
                                                 of AGC. Others point to TSA requirements, marine        contract provisions. Given the diversity              inherent in the industry and should not
                                                 terminal operators’ rules, and the requirements of      of business practices these commenters                be probative of joint-employer status.252
                                                 the Uniform Intermodal Interchange Agreement
                                                 (UIIA) as playing a role in defining terms and          describe, we believe that case-by-case                As discussed above, we agree that the
                                                 conditions of employment for employees who work         adjudication applying the joint-                      Supreme Court’s decision in Denver
                                                 at job sites governed by those rules and agreements.    employer standard will be the soundest                Building precludes treating a general
                                                 See, e.g., comments of AAPA; Trucking Industry          approach.                                             contractor as the employer of a
                                                 Stakeholders.
                                                    238 Comments of ABC; American Trucking
                                                                                                           Another group of commenters urge                    subcontractor’s employees solely
                                                 Associations; CDW; Center for Workplace                 the Board not to provide specific                     because the general contractor has
                                                 Compliance; Home Care Association of America;           examples of contractual provisions that               overall responsibility for overseeing
                                                 IFA; Independent Bakers Association; IFDA; NAHB;        are immaterial to the existence of a                  operations on the jobsite. And, absent
                                                 National Retail Federation; SBA Office of
                                                 Advocacy; SHRM; Tesla, Inc.; U.S. Chamber of
                                                                                                         common-law employment relationship,                   evidence that a firm possesses or
                                                 Commerce.                                               emphasizing that it is very difficult to              exercises control over particular
                                                    One of these commenters specifically observes        assess the effect of such provisions                  employees’ essential terms and
                                                 that provisions that do no more than memorialize        absent consideration of the surrounding               conditions of employment, that firm
                                                 parties’ existing obligations to adhere to legally      context.247 Others take issue with                    would not qualify as a joint employer
                                                 imposed minimum standards should not be
                                                 material to the existence of a common-law               particular examples of company-to-                    under the standard adopted in this final
                                                 employment relationship. See comments of CDW.           company contractual provisions that                   rule.253
                                                    239 Comments of AHA; Federation of American          other commenters suggest should not be
                                                 Hospitals; U.S. Chamber of Commerce.                    considered material to the existence of                 249 Comments of SEIU.
                                                    240 Comments of Center for Workplace                                                                         250 Comments of AFL–CIO.
                                                                                                         a common-law employment
                                                 Compliance; CDW; HR Policy Association; IFA;                                                                    251 Comments of ABC; AGC.
                                                 Retail Industry Leaders Association; Tesla, Inc.;       relationship.248 For example, one
                                                                                                                                                                  252 Comments of ABC; AGC. Our dissenting
                                                 U.S. Chamber of Commerce.                                                                                     colleague similarly argues that the final rule risks
                                                    241 Comments of RILA; SHRM; U.S. Chamber of          fleshing out the operation of a legal test that       treating general contractors in the construction
                                                 Commerce. However, as noted above, one                  Congress has delegated to the Board to administer     industry as joint employers on a per se basis.
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                                                 commenter identified cost-plus contracting as           through case-by-case adjudication.’’).                   253 For this reason, as mentioned above, we reject
                                                 potentially probative of a user employer’s indirect        245 Comments of IFA; RILA; SHRM; U.S. Chamber
                                                                                                                                                               our dissenting colleague’s suggestion that the final
                                                 control over the wages of a supplier employee.          of Commerce.                                          rule will disrupt existing relationships and norms
                                                 Comments of General Counsel Abruzzo.                       246 Comments of National Home Delivery
                                                                                                                                                               on construction sites. As mentioned above, we
                                                    242 Comments of ABC; ARTBA.                          Association; SHRM.                                    believe our colleague errs in downplaying the
                                                    243 Comments of CDW; U.S. Chamber of                    247 Comments of AFL–CIO; Los Angeles County
                                                                                                                                                               requirement in the final rule that a party asserting
                                                 Commerce.                                               Federation of Labor AFL–CIO & Locals 396 and 848      that an entity is a joint employer establish that that
                                                    244 See BFI v. NLRB, 911 F.3d at 1221 (‘‘In          of the IBT; State Attorneys General.                  entity has a common-law employment relationship
                                                 principle, there is nothing wrong with the Board           248 Comments of General Counsel Abruzzo; SEIU.     with particular employees. We are confident that



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 31 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                  73971

                                                    Others seek recognition of industry-                 control aimed at protecting a brand are                 commenters note that a range of other
                                                 specific business practices that warrant                immaterial to the existence of a                        company-to-company contracting
                                                 special consideration. A number of                      common-law employment relationship,                     practices would not be subject to
                                                 commenters raise concerns about                         we stress that many forms of control                    bargaining under First National
                                                 whether the proposed rule pays                          that franchisors reserve to protect their               Maintenance and its progeny and
                                                 adequate heed to franchisors’ need to                   brands or trade or service marks (like                  should therefore not be considered
                                                 protect their brands and their trade or                 those dealing with logos, store design or               probative of joint-employer status.261
                                                 service marks.254 Some of these                         décor, or product uniformity) will                       As discussed above, the Board has
                                                 commenters note that the 2020 rule                      typically not be indicative of a common-                determined to modify the final rule to
                                                 acknowledged franchisors’ needs to                      law employment relationship.257                         clarify the nature of joint employers’
                                                 maintain brand-recognition standards                    Further, by making the list of ‘‘essential              bargaining obligations. The final rule
                                                 by providing that control over brands or                terms and conditions of employment’’                    explains that, once an entity is found to
                                                 trademarks is not probative of joint-                   in the final rule exhaustive, we also aim               be a joint employer because it shares or
                                                 employer status. The commenters urge                    to respond to the substance of these                    codetermines matters governing one or
                                                 the Board to include a similar                          commenters’ concerns by offering                        more of particular employees’ essential
                                                 acknowledgment in the final rule.255                    clearer guidance to franchisors about the               terms or conditions of employment, it is
                                                 Relatedly, a number of commenters                       forms of control that the Board will find               obligated to bargain over any mandatory
                                                 argue that the proposed rule risks a                    relevant to a joint-employer inquiry.                   subjects of bargaining it possesses or
                                                 conflict with federal trademark law,                       Another commenter urges the Board                    exercises the authority to control. As
                                                 including the Lanham Act, 15 U.S.C.                     to state that making a payment as part                  some commenters helpfully note, the
                                                 1051 et seq., and cognate state laws                    of a contract to provide payroll services               Supreme Court has held that core
                                                 inasmuch as they require franchisors to                 is not sufficient to demonstrate control                entrepreneurial decisions ‘‘involving a
                                                 retain control over their franchisees to                over wages sufficient to support a joint-               change in the scope and direction of the
                                                 protect their brand standards.256 A                     employer finding.258 One commenter                      enterprise’’ are not mandatory subjects
                                                 bipartisan group of six United States                   argues that the proposed rule should                    of bargaining.262 In applying the final
                                                 Senators expresses similar concerns                     clarify that, for joint-employer purposes,              rule, we will adhere to this binding
                                                 regarding the need to protect franchise                 motor carriers are the customers, not                   precedent when determining the scope
                                                 brands, noting their support for the                    employees or contractors, of marine                     of joint employers’ bargaining
                                                 Trademark Licensing Protection Act of                   terminals.259 As set forth above, we are                obligation.
                                                 2022, S.4976.                                           not inclined to modify the text of the
                                                                                                         final rule to specifically address these                G. Comments About the ‘‘Meaningful
                                                    We are mindful of franchisors’ need to
                                                                                                         situations. However, we hope that we                    Collective Bargaining’’ Step of the
                                                 protect their brands and their trade or
                                                                                                         have satisfied these commenters’ desires                Board’s 2015 Browning-Ferris Decision
                                                 service marks and of the need to
                                                 accommodate the NLRA with the                           for greater clarity regarding their                       Several commenters urge the Board to
                                                 Lanham Act and federal trademark law                    obligations by describing our view of                   modify the text of the proposed rule to
                                                 more generally. That said, we view the                  the forms of control that will be relevant              incorporate the ‘‘meaningful collective
                                                 likelihood of conflict as minimal under                 to the joint-employer inquiry and by                    bargaining’’ step of the Board’s 2015 BFI
                                                 the standard adopted in this final rule.                cabining the list of essential terms and                decision or to otherwise embrace that
                                                 Many common steps franchisors take to                   conditions of employment that the                       portion of the BFI analysis.263 Others,
                                                 protect their brands have no connection                 Board will treat as material to the                     including our dissenting colleague, take
                                                 to essential terms and conditions of                    existence of a common-law employment                    the position that the Board’s proposal
                                                 employment and therefore are                            relationship.                                           should be withdrawn or modified in
                                                 immaterial to the existence of a                           Some commenters argue that because                   some other manner, as the proposed
                                                 common-law employment relationship.                     decisions to modify or terminate joint                  rule fails to cast light on questions the
                                                 While we are not inclined to                            employment relationships are                            District of Columbia Circuit raised
                                                 categorically state that all forms of                   entrepreneurial decisions between                       regarding ‘‘once control is found, who is
                                                                                                         businesses, they are not susceptible to                 exercising that control, when, and
                                                 this threshold requirement will ensure the Board’s      decisional bargaining under First                       how.’’ 264 Some commenters specifically
                                                 analysis of whether an entity is a joint employer       National Maintenance Corp. v. NLRB,                     suggest that using a nonexhaustive list
                                                 when it applies the rule is appropriately focused.
                                                 Further, to the extent that our colleague relies on
                                                                                                         452 U.S. 666 (1981).260 Other                           of ‘‘essential terms and conditions of
                                                 language in Denver Building indicating that a
                                                                                                            257 In this regard, we also note that such matters   terminating its relationship with a subcontractor or
                                                 general contractor’s ‘‘supervision over the
                                                 subcontractor’s work’’ precludes a joint-employer       are unlikely to constitute mandatory subjects of        other business entity, which is not a violation of
                                                 finding, 341 U.S. at 689–690, we respectfully           bargaining. See First National Maintenance Corp. v.     Sec. 8(a)(3). Comments of COLLE.
                                                 disagree with his interpretation. Denver Building       NLRB, above, 452 U.S. at 676–677 (‘‘Some                  261 Comments of General Counsel Abruzzo.

                                                 was a case involving Sec. 8(b)(4) of the Act, not the   management decisions, such as choice of                   262 First National Maintenance, 452 U.S. at 677.
                                                 joint-employer standard, and it did not address         advertising and promotion, product type and               263 Comments of AGC; AHA; American Staffing
                                                 whether the general contractor possessed or             design, and financing arrangements, have only an        Association; Americans for Tax Reform; Freedom
                                                 exercised control over particular employees’            indirect and attenuated impact on the employment        Foundation; IFA; International Foodservice
                                                 essential terms and conditions of employment,           relationship.’’).                                       Distributors Association; NAM; National Retail
                                                 whether by supervising their work or otherwise.            258 Comments of Subcontracting Concepts, LLC.
                                                                                                                                                                 Federation; National Waste & Recycling
                                                 Instead, the case focused on the general contractor’s      259 Comments of American Association of Port
                                                                                                                                                                 Association; Subcontracting Concepts, LLC;
                                                 supervision of the project as a whole.                  Authorities.                                            Thomas Jefferson Institute for Public Policy; U.S.
ddrumheller on DSK120RN23PROD with RULES2




                                                    254 Comments of IFA; McDonald’s USA, LLC;               260 Comments of RILA; SHRM; Tesla, Inc. These        Chamber of Commerce.
                                                 Restaurant Law Center and National Restaurant           commenters acknowledge the possible need for              264 911 F.3d at 1215. See comments of Americans
                                                 Association; U.S. Chamber of Commerce; Yum!             effects bargaining in these circumstances but urge      for Prosperity Foundation; Independent Bakers
                                                 Brands. Our dissenting colleague also expresses         the Board to require such bargaining to occur on an     Association; Modern Economy Project; National
                                                 concern about how the proposed rule will affect         expedited basis. See id.                                Association of Convenience Stores; National Waste
                                                 franchise businesses.                                      Another commenter also cites Plumbers Local No.      & Recycling Association; North American Meat
                                                    255 Comments of IFA.
                                                                                                         447, 172 NLRB 128 (1968) (‘‘Malbaff’’) for the          Institute; SHRM; Subcontracting Concepts, LLC;
                                                    256 Comments of IFA; U.S. Chamber of Commerce;       proposition that an employer should not have a          The Thomas Jefferson Institute for Public Policy;
                                                 Yum! Brands.                                            bargaining obligation under Sec. 8(a)(5) before         U.S. Chamber of Commerce.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                  Page 32 of 78
                                                 73972              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 employment’’ is problematic without a                   final rule, as described above. As several                geared toward distinguishing between
                                                 limiting principle akin to the                          commenters observe, limiting the list of                  statutory employees and independent
                                                 ‘‘meaningful collective bargaining’’ step               essential terms and conditions of                         contractors.275 These commenters,
                                                 of BFI or some other ‘‘guardrails.’’ 265                employment is responsive to the District                  citing the District of Columbia Circuit’s
                                                    Similarly, a group of commenters urge                of Columbia Circuit’s request that the                    decision in BFI v. NLRB, 911 F.3d at
                                                 the Board to include in the final rule                  Board incorporate a limiting principle to                 1213–1214, argue that the common-law
                                                 text a statement that encapsulates or                   ensure the joint-employer standard                        independent-contractor standard and
                                                 describes a joint employer’s duty to                    remains within common-law                                 joint-employer standard are different. In
                                                 bargain.266 Some of these commenters                    boundaries.272 By clearly identifying                     particular, these commenters and our
                                                 suggest that the Board state that if a                  and limiting the list of essential terms                  dissenting colleague urge that the joint-
                                                 putative joint employer does not have at                and conditions of employment that an                      employer standard requires an analysis
                                                 least ‘‘co-control’’ over the range of                  entity may be deemed a joint employer                     of ‘‘who is exercising . . . control,
                                                 potential outcomes regarding an                         if it possesses the authority to control or               when, and how.’’ 276 Other commenters,
                                                 essential term or condition of                          exercises the power to control, the final                 also citing the District of Columbia
                                                 employment, it is not required to                       rule responds to these criticisms and                     Circuit’s BFI decision, answer that
                                                 bargain over that subject.267 Some of                   helps provide clear guidance and a more                   independent-contractor cases ‘‘can still
                                                 these commenters encourage the Board                    predictable standard to parties covered                   be instructive in the joint-employer
                                                 to modify the rule text to incorporate a                by the Act. Moreover, because all of the                  inquiry’’ to the extent that they speak to
                                                 principle that appeared in the preamble                 essential terms and conditions of                         the common law’s view of employment
                                                 to the proposed rule about the scope of                 employment as defined by the final rule                   relationships.277
                                                 a joint employer’s bargaining                           involve matters that lie at the core of                      As discussed in more detail above,
                                                 obligation.268 A few commenters ask the                 workplace issues appropriate for                          while we do not quarrel with
                                                 Board to clarify that a joint employer                  collective bargaining, a joint employer’s                 commenters’ and our dissenting
                                                 does not have a bargaining obligation                   control over any of these matters                         colleague’s observation that the
                                                 except as to matters that are divisible                 ensures that there is a basis for                         common-law independent-contractor
                                                 and limited to those employees                          meaningful collective bargaining over at                  standard and joint-employer standard
                                                 represented by the union.269                            least the essential term or condition that                are distinct, we do not agree that the
                                                    Other commenters contend that, by                    is subject to that employer’s control.273                 differences between the standards
                                                 making a common-law employment                                                                                    preclude us from relying on precedent
                                                 relationship the prerequisite to a joint-               H. Comments About Independent-                            from the independent-contractor
                                                 employer finding, the proposed rule                     Contractor Precedent                                      context, inasmuch as that precedent
                                                 contains adequate limits, as the Board                    The proposed rule cites certain                         illuminates the common law’s view of
                                                 will not find that entities with                        common-law agency decisions that                          control, which is common to both
                                                 insufficient control over essential terms               apply independent-contractor                              inquiries. As a result, while we are
                                                 and conditions of employment are joint                  precedent. Some commenters appear to                      mindful of the need to carefully
                                                 employers.270 These commenters take                     approve of the Board’s reliance on these                  distinguish between independent-
                                                 the position that there is no need to                   cases and cite independent-contractor                     contractor and joint-employer
                                                 incorporate the ‘‘meaningful collective                 precedent in support of their own                         precedent, we believe it is appropriate
                                                 bargaining’’ step of BFI in the final                   arguments.274 Other commenters and                        to continue treating independent-
                                                 rule.271                                                our dissenting colleague criticize the                    contractor cases as relevant where they
                                                    After carefully considering the                      proposed rule’s reliance on precedent                     speak about ‘‘the nature and extent of
                                                 comments raising concerns about the                                                                               control necessary to establish a
                                                 need for a limiting principle to ensure                   272 Comments of National Retail Federation.
                                                                                                                                                                   common-law employment
                                                 that the appropriate parties are brought                   273 We note that the second element of the
                                                                                                                                                                   relationship.’’ 278
                                                 within the ambit of the Board’s joint-                  Board’s Browning-Ferris analysis, the inquiry into
                                                 employer standard, we have decided to                   ‘‘whether the putative joint employer possesses           I. Burden of Establishing Joint-Employer
                                                                                                         sufficient control over employees’ essential terms        Status
                                                 modify the definition of ‘‘essential terms              and conditions of employment to permit
                                                 and conditions of employment’’ in the                   meaningful collective bargaining,’’ is self-imposed.         Proposed paragraph (g) provides that
                                                                                                         BFI, 362 NLRB at 1600; see BFI v. NLRB, 911 F.3d          the party asserting joint-employer status
                                                                                                         at 1205 (noting that in Browning-Ferris, ‘‘the Board
                                                    265 Comments of CDW; COLLE; National
                                                                                                         announced for the first time that it would subdivide
                                                                                                                                                                   has the burden of proving, by a
                                                 Association of Convenience Stores; National Retail                                                                preponderance of the evidence, that a
                                                 Federation; U.S. Chamber of Commerce.                   the inquiry . . . . ’’) (emphasis added). It is neither
                                                    266 See, e.g., comments of American Staffing
                                                                                                         a requirement under the common law of agency nor          putative joint employer satisfies the
                                                                                                         under the Act. As our dissenting colleague                requirements of proposed paragraphs (a)
                                                 Association; SHRM.
                                                    267 Comments of RILA; SHRM.
                                                                                                         concedes, ‘‘[a]bsent any rule whatsoever, joint-          through (f).279
                                                                                                         employer status would be determined through case-
                                                    268 Comments of American Staffing Association;
                                                                                                         by-case adjudication applying the common law of              No commenter argues that the Board
                                                 SEIU; SHRM; U.S. Chamber of Commerce. As                agency.’’ Accordingly, although we are not required       should allocate the burden differently
                                                 mentioned previously, the NPRM provided in              to incorporate the ‘‘meaningful collective                than suggested in proposed paragraph
                                                 supplementary information that the proposed rule        bargaining’’ step of the Board’s 2015 BFI decision
                                                 would only require a putative joint employer to
                                                                                                                                                                   (g). And no party argues that the Board
                                                                                                         in our current articulation of the joint-employer
                                                 bargain over those essential terms and conditions of    standard, we nevertheless find that § 103.40(c) of
                                                                                                                                                                   should omit proposed paragraph (g)
                                                 employment it possesses the authority to control or     the final rule, providing for an examination of           from the final rule. Several commenters
                                                 over which it exercises the power to control. 87 FR     whether the character and objects of a purported          state that the proposed rule’s
                                                 at 54645 fn. 26.                                        employer’s control extend to essential terms and          articulation of the burden of proof does
ddrumheller on DSK120RN23PROD with RULES2




                                                    269 Comments of RILA; SHRM (citing Emporium
                                                                                                         conditions of employment within the specific
                                                 Capwell Co. v. Western Addition Community               context of the Act, amply satisfies the District of         275 Comments of North American Meat Institute.
                                                 Organization, 420 U.S. 50, 64 (1975) for the            Columbia Circuit’s instructions that the Board, on
                                                                                                                                                                     276 Id. (quoting BFI v. NLRB, 911 F.3d at 1215
                                                 proposition that the process and outcome of             remand, ‘‘explain which terms and conditions are
                                                 collective bargaining cannot lawfully be imposed        ‘essential’ to permit ‘meaningful collective              (emphasis in original)).
                                                 on employees who have not chosen union                  bargaining,’ ’’ and what such bargaining ‘‘entails          277 Comments of State Attorneys General (quoting

                                                 representation).                                        and how it works in this setting.’’ Id. at 1221–1222      BFI v. NLRB, 911 F.3d at 1215).
                                                    270 Comments of AFL–CIO; SEIU.                       (quoting BFI, 362 NLRB at 1600).                            278 BFI, 911 F.3d at 1215.
                                                    271 Comments of General Counsel Abruzzo; SEIU.          274 See, e.g., comments of RILA.                         279 87 FR 54663.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 33 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 73973

                                                 not provide sufficient guidance as to                   several took the opportunity to do so.                Even if the 2020 rule were consistent
                                                 how a party can successfully carry its                  No commenter suggests that the Board                  with the Act, the Board would still
                                                 burden.280 Some of them suggest that                    should not generally treat the provisions             choose to rescind that rule as failing to
                                                 the Board clarify what kind or amount                   of the proposed rule as severable.                    fully promote the policies of the Act.
                                                 of evidence a party asserting joint-                    Several commenters agree with the                        The Board’s decision to rescind the
                                                 employer status must put forward to                     Board’s preliminary view of the                       2020 rule is intended to be independent
                                                 meet its burden.281                                     severability of the provisions of the                 of its promulgation of a new final rule
                                                    The final rule incorporates the                      proposed rule.286 One commenter takes                 today. If the final rule promulgated here
                                                 assignment of the burden of proof from                  the view that proposed paragraphs (a)                 were deemed invalid, the Board would
                                                 paragraph (g). While some commenters                    through (c) are interconnected and                    nevertheless adhere to its decision to
                                                 urge the Board to clarify how a party                   cannot be severed from one another but                rescind the 2020 rule. In that event, the
                                                 asserting joint-employer status can                     that proposed paragraphs (d), (e), (f),               Board’s view is that the joint-employer
                                                 successfully carry its burden in the rule               and (g) are fully severable.287 Another               standard would revert to the joint-
                                                 text itself, we find it unnecessary to do               commenter agrees that proposed                        employer standard established in
                                                 so in light of the final rule’s statement               paragraphs (a), (b), and (c) are logically            Browning-Ferris Industries of California,
                                                 that the burden must be satisfied on the                intertwined and so would not be                       Inc., d/b/a BFI Newby Island Recyclery,
                                                 basis of a preponderance of the                         severable from one another.288 Another                362 NLRB 1599 (2015), which
                                                 evidence. This familiar evidentiary                     group of commenters suggested that the                immediately preceded the 2020 rule,
                                                 threshold is embodied in the Act                        Board promulgate a separate rescission                unless and until that standard were
                                                 itself,282 has been endorsed by the                     of the 2020 rule and new rule setting                 revised through adjudication. In NLRB
                                                 Supreme Court in similar administrative                 forth a new joint-employer standard.289               v. Bell Aerospace Co., the Supreme
                                                 proceedings,283 and should satisfy the                     The final rule includes a severability             Court recognized the Board’s authority,
                                                 commenters’ desire for guidance                         provision modeled after proposed                      in the first instance, to determine
                                                 regarding the amount of evidence                        paragraph (h). Paragraph (i) recites that:            whether to engage in policymaking
                                                 necessary to carry the burden. While                    the ‘‘provisions of this section are                  through rulemaking or adjudication.291
                                                 these commenters also express a desire                  intended to be severable’’ and that ‘‘[i]f            Consistent with this authority, the
                                                 for guidance regarding what kinds or                    any paragraph of this section is held to              Board will proceed to determine joint-
                                                 types of evidence will be probative of                  be unlawful, the remaining paragraphs                 employer issues through adjudication,
                                                 joint-employer status, because we have                  and subparagraphs of this section not                 rather than rulemaking, should a
                                                 addressed this question at length in the                deemed unlawful are intended to                       reviewing court (1) find that the draft
                                                 preceding discussion, we do not find it                 remain in effect to the fullest extent                rule properly rescinds the 2020 rule, but
                                                 necessary to modify the proposed rule’s                 permitted by law.’’ As explained below,               (2) proceeds to invalidate the new joint-
                                                 treatment of the burden of proof or                     while the Board believes that the final               employer standard.292
                                                 otherwise alter the text of the final rule              rule in its entirety is consistent with the           K. Other Policy and Procedural
                                                 in response to these comments.                          National Labor Relations Act and                      Arguments 293
                                                 J. Severability                                         promotes its policies, the Board would
                                                                                                                                                                 The proposed rule set forth the
                                                                                                         adopt the separate portions of the final
                                                    Proposed paragraph (h) set forth the                                                                       Board’s preliminary view that
                                                                                                         rule independently, were some other
                                                 Board’s preliminary view that the
                                                                                                         portion or portions held to be invalid.
                                                 provisions of the joint-employer rule                                                                           291 416 U.S. 267, 294 (1974).
                                                                                                            We note that some commenters urge
                                                 should be treated as severable.284                                                                               292 The Board recognizes that there are certain
                                                                                                         the Board to make clear that the                      outstanding issues regarding the standard for
                                                 Proposed paragraph (h) explains that
                                                                                                         rescission of the 2020 rule and the                   determining joint employers under the Act
                                                 ‘‘[i]f any paragraph of this section is                                                                       following the District of Columbia Circuit’s remand,
                                                                                                         promulgation of the final rule’s joint-
                                                 held to be unlawful, the remaining                                                                            as discussed above at fn. 5. The Board will resolve
                                                                                                         employer standard are intended as
                                                 paragraphs of this section not deemed                                                                         these issues through adjudication as presented in
                                                                                                         separate actions and make a specific                  cases not governed by an applicable rule, including
                                                 unlawful shall remain in effect to the
                                                                                                         finding that the Board views these two                cases that arose before the effective date of the 2020
                                                 fullest extent permitted by law.’’ 285                                                                        rule.
                                                    The Board specifically invited                       actions as severable.290 The Board’s                     293 Two commenters express concerns regarding

                                                 commenters to address severability, and                 intention is that the two actions be                  the participation of Member Wilcox and Member
                                                                                                         treated as separate and severable. In the             Prouty in this rulemaking proceeding, suggesting
                                                    280 Comments of SHRM; Tesla, Inc. As discussed       Board’s view, the 2020 rule is contrary               that their submission of comments opposing the
                                                 below, some of these commenters argue that the          to common-law agency principles and                   2020 Rule while they were in private practice
                                                                                                                                                               creates, at a minimum, the appearance of a conflict
                                                 proposed rule’s failure to more clearly describe how    therefore inconsistent with the Act. The              of interest. See comments of IFA; U.S. Chamber of
                                                 a party can carry its burden means the rule should      Board thus believes it is required to
                                                 also fail on the basis of the Administrative                                                                  Commerce. Members Wilcox and Prouty reject this
                                                 Procedure Act (APA), 5 U.S.C. 551 et seq. See, e.g.,    rescind the 2020 rule, as it does today.              challenge. Relevant precedent regarding
                                                 comments of Tesla, Inc. Other commenters approve                                                              decisionmakers’ participation in rulemaking
                                                 of the proposed rule’s discussion of the burden of        286 Comments of AFL–CIO; General Counsel            proceedings confirms that ‘‘an individual should be
                                                 proof, noting that the APA requires the Board to                                                              disqualified from rulemaking only when there has
                                                                                                         Abruzzo; CWA; SEIU; State Attorneys General;
                                                 assign the burden of proof in the manner proposed.                                                            been a clear and convincing showing’’ that the
                                                                                                         UNITE HERE.
                                                 See, e.g., comments of Freedom Foundation; UNITE          287 Comments of General Counsel Abruzzo.
                                                                                                                                                               official ‘‘has an unalterably closed mind on matters
                                                 HERE. We discuss these contentions separately                                                                 critical to the disposition of the proceeding.’’ Air
                                                                                                           288 Comments of State Attorneys General. This
                                                 below.                                                                                                        Transportation Ass’n of America, Inc. v. NMB, 663
                                                                                                         commenter further observes that if paragraphs using   F.3d 476, 487 (D.C. Cir. 2011) (quoting C & W Fish
                                                    281 Comments of RILA; SHRM. One commenter
                                                                                                         the term ‘‘essential terms and conditions of          Co. v. Fox, 931 F.2d 1556, 1564 (D.C. Cir. 1991)).
ddrumheller on DSK120RN23PROD with RULES2




                                                 makes the related suggestion that the Board clarify     employment’’ were stricken, proposed                  Members Wilcox and Prouty find that these
                                                 that a putative joint employer exercises the            subparagraph (d) would be unnecessary. Id.            commenters’ general and speculative suggestions
                                                 requisite level of control if it is in a position to      289 Comments of CWA; SEIU. These commenters
                                                                                                                                                               fall short of the clear and convincing showing that
                                                 ‘‘influence the primary employer’s labor policies.’’    also suggest that if the Board is inclined to issue   either Member Wilcox or Member Prouty ‘‘has an
                                                 Comments of IBT.                                        the rescission and the new standard in one
                                                    282 29 U.S.C. 10(c).
                                                                                                                                                               unalterably closed mind’’ on matters relevant to this
                                                                                                         document, the Board should make clear that these      rulemaking proceeding, as the law requires. Id.
                                                    283 Steadman v. SEC, 450 U.S. 91, 101 (1981).
                                                                                                         are separate actions and intended to be severable.    Further, although the commenters do not
                                                    284 87 FR at 54663.                                  Id.                                                   specifically argue that the participation of Member
                                                    285 Id.                                                290 See, e.g., comments of AFL–CIO; CWA; SEIU.                                                  Continued




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 34 of 78
                                                 73974              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 grounding the joint-employer standard                   entities as primary employers in what                    found to possess or exercise control over
                                                 in common-law agency principles                         would otherwise be secondary labor                       employees’ essential terms and
                                                 would serve the policies and purposes                   disputes.299 Some of these commenters                    conditions of employment, there is no
                                                 of the Act, including the statement in                  specifically urge that the proposed rule                 serious risk that the proposed rule
                                                 Section 1 of the Act that one of the key                could stand in the way of the effective                  would have the effect of enmeshing
                                                 purposes of the Act is to ‘‘encourage the               enforcement of portions of the Act that                  neutral parties in labor disputes.304 One
                                                 practice and procedure of collective                    deal specifically with the building and                  commenter adds that employees in
                                                 bargaining.’’ 29 U.S.C. 151. Several                    construction industry.300                                industries characterized by pervasive
                                                 commenters specifically note their                         Some commenters disagree that the                     contracting are sometimes hesitant to
                                                 approval of the Board’s view that the                   Act is intended to encourage the                         engage in collective action or exercise
                                                 proposed rule will better serve the                     practice and procedure of collective                     their Section 7 rights for fear of
                                                 policies of the Act than did the 2020                   bargaining.301 Others, including our                     inadvertently violating the provisions of
                                                 rule, with several specifically citing                  dissenting colleague, agree that                         Section 8(b)(4) of the Act, 29 U.S.C.
                                                 Section 1 of the Act as providing                       encouraging the practice and procedure                   158(d)(4).305
                                                 support for the proposed rule.294                       of collective bargaining is a central goal                  As we preliminarily expressed in our
                                                 Notably, several commenters writing on                  of the Act but disagree with the Board’s                 NPRM, we are persuaded that
                                                 behalf of Senators and Members of                       view that the proposed rule is                           rescinding the 2020 Rule is a necessary
                                                 Congress agree that the proposed rule                   appropriately tailored to serve that goal                step toward effectuating the policies of
                                                 would further Congressional intent and                  or that the proposed rule is likely to                   the Act. By unduly narrowing the
                                                 advance the purposes of the Act.295                     ‘‘achiev[e] industrial peace by                          definition of ‘‘joint employer,’’ the 2020
                                                 Others argue that the proposed joint-                   promoting stable collective-bargaining                   Rule undermined the Act’s protections
                                                 employer standard will advance the                      relationships.’’ 302 Certain of these                    for employees who work in settings
                                                 Act’s purpose of eliminating disruptions                commenters observe that the proposed                     where multiple firms possess or exercise
                                                 to interstate commerce by increasing the                joint-employer standard may make it                      control over their essential terms or
                                                 possibility that effective collective                   harder for the Board to make                             conditions of employment. We believe
                                                 bargaining will forestall strikes or other              appropriate bargaining-unit                              that, consistent with the common-law
                                                 labor disputes.296                                      determinations or protect bargaining-                    agency principles that must guide the
                                                    A number of commenters contend                       unit boundaries.303                                      Board in this area, it advances the Act’s
                                                 that the proposed rule is at odds with                     Other commenters observe that                         purposes to ensure that, if they choose,
                                                 the Act because it exceeds the                          because the joint-employer standard                      all employees have the opportunity to
                                                 boundaries of the common law.297                        will only be applied to entities that are                bargain with those entities that possess
                                                 Others argue that the proposed rule                                                                              the authority to control or exercise the
                                                 threatens to delay employees’ remedies                     299 Comments of Center for Workplace
                                                                                                                                                                  power to control the essential
                                                 because of the need for extensive                       Compliance; COLLE; Home Care Association of
                                                                                                         America; National Waste & Recycling Association;         conditions of their working lives. In this
                                                 litigation over joint-employer issues or                RILA. Our dissenting colleague likewise argues that      regard, we view the joint-employer
                                                 to otherwise undermine the effective                    the final rule will undermine the enforcement of         standard adopted in this final rule as an
                                                 enforcement of other provisions of the                  Sec. 8(b)(4) of the Act.
                                                                                                                                                                  important effort to ensure the uniform
                                                                                                            300 Comments of ABC; AGC.
                                                 Act.298 A few commenters argue that                                                                              enforcement of the Act in all industries.
                                                                                                            301 Comments of Competitive Enterprise Institute.
                                                 adopting a broader joint-employer                                                                                And, as many commenters represent,
                                                                                                         This commenter argues that the purpose of the Act
                                                 standard increases the risk of enmeshing                is narrower: to encourage collective bargaining, but     our revised standard may particularly
                                                                                                         only in those instances where ‘‘certain substantial      benefit vulnerable employees who are
                                                 Wilcox or Member Prouty in this rulemaking              obstructions’’ to interstate commerce ‘‘have
                                                 proceeding would violate Executive Order 13989          occurred’’ already. Id. (quoting 29 U.S.C. 151).
                                                                                                                                                                  overrepresented in workplaces where
                                                 (Jan. 20, 2021) (the Biden Ethics Pledge), to the          We disagree with this commenter’s suggestion          multiple firms possess or exercise
                                                 extent their argument about an appearance of a          that a strike or other labor dispute must have           control, including immigrants and
                                                 conflict of interest is rooted in the Ethics Pledge,    already occurred for the Act’s policy favoring           migrant guestworkers, disabled
                                                 Members Wilcox and Prouty reject it because this        collective bargaining to come into play. We find
                                                 rulemaking is not a ‘‘particular matter involving                                                                employees, and Black employees and
                                                                                                         support for the broader view of the Act’s purposes
                                                 specific parties that is directly and substantially     in Sec. 7, 8, and 9 of the Act, which, respectively:     other employees of color.
                                                 related to’’ Member Wilcox or Member Prouty’s           set forth employees’ rights to ‘‘self-organization, to      We also wish to address comments we
                                                 former employers or former clients within the           form, join, or assist labor organizations, [and] to      received regarding the interaction
                                                 meaning of the Executive Order. They further note       bargain collectively through representatives of their
                                                 that one commenter shares their view, stating that                                                               between the joint-employer standard
                                                                                                         own choosing,’’ 29 U.S.C. 157; make it an unfair
                                                 the instant rulemaking ‘‘lacks even the appearance      labor practice for an employer to refuse to bargain      and the Act’s prohibitions on secondary
                                                 of a conflict of interest.’’ Comments of Congressman    collectively with representatives designated or          activity. As one commenter mentioned,
                                                 Scott, et al.                                           selected by employees, id. 158(a)(5), 158(d), &          the 2020 rule may have risked chilling
                                                    294 Comments of AFSCME; CAP; CWA; EPI;
                                                                                                         159(a)(5); and direct the Board to conduct               employees’ willingness to exercise their
                                                 General Counsel Abruzzo; Lawyers’ Committee for         representation elections upon the filing of a petition
                                                 Civil Rights Under Law; Los Angeles County              supported by a substantial number of employees           statutory rights for fear of inadvertently
                                                 Federation of Labor AFL–CIO & Locals 396 and 848        who wish to be represented for the purposes of           running afoul of the prohibitions on
                                                 of the IBT; McGann, Ketterman & Rioux; Michigan         collective bargaining, id. 159. None of these            secondary activity set out in Section
                                                 Regional Council of Carpenters and Millwrights;         sections states or implies that a labor dispute or
                                                 National Women’s Law Center; NELP; State                                                                         8(b)(4) of the Act.306 We hope that the
                                                                                                         strike is a precondition to any of these rights or
                                                 Attorneys General; UBC; UE.                             duties.                                                  standard adopted in the final rule will
                                                    295 Comments of Senator Murray et al.;                  302 Auciello Iron Works, Inc. v. NLRB, 517 U.S.       provide the necessary clarity to ensure
                                                 Congressman Scott et al. One of these commenters        781, 790 (1996). See comments of CDW; COLLE; HR          that employees do not fear engaging in
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                                                 makes the further observation that the proposed         Policy Association; IFDA; Libertas Institute;
                                                 rule would better comport with the United States’
                                                                                                                                                                  protected concerted activity or raising
                                                                                                         National Waste & Recycling Association; RILA;
                                                 obligations under international law. See comments       Trucking Industry Stakeholders. Because many of
                                                                                                                                                                  workplace concerns with any entities
                                                 of Congressman Scott et al.                             these commenters advance empirical arguments or
                                                    296 Comments of General Counsel Abruzzo; SEIU.                                                                  304 Comments of General Counsel Abruzzo.
                                                                                                         discuss their experience with bargaining when
                                                    297 Comments of RILA; Texas Public Policy            multiple firms are involved, we discuss these              305 Comments of Los Angeles County Federation

                                                 Foundation.                                             comments at greater length below.                        of Labor AFL–CIO & Locals 396 and 848 of the IBT;
                                                    298 Comments of McDonald’s USA, LLC; North              303 Comments of Home Care Association of              UE.
                                                 American Meat Institute; RILA.                          America; SHRM.                                             306 29 U.S.C. 158(b)(4).




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00030   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                            Document #2025765                             Filed: 11/06/2023                  Page 35 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 73975

                                                 that possess or exercise control over                    relationships and regulating entities it                has not intended it to consider, entirely
                                                 their essential terms and conditions of                  finds to be joint employers, we find that               failed to consider an important aspect of
                                                 employment. Of course, we will                           the major-questions doctrine does not                   the problem, offered an explanation for
                                                 continue to vigorously enforce the Act’s                 foreclose our decision to put forward a                 its decision that runs counter to the
                                                 prohibitions on secondary activity in                    new interpretation of the definition of                 evidence before the agency, or is so
                                                 situations where multiple firms do not                   ‘‘employer’’ in Section 2(2) of the Act.                implausible that it could not be ascribed
                                                 share or codetermine those matters                       Not only has the Board historically                     to a difference in view or the product of
                                                 governing particular employees’                          defined ‘‘joint employer’’ through case-                agency expertise.’’ 312 Our dissenting
                                                 essential terms and conditions of                        by-case adjudication, section 6 of the                  colleague similarly criticizes the
                                                 employment.307                                           Act provides clear authority to the                     majority for failing to justify its
                                                    Certain commenters raise arguments                    Board to promulgate rules to ‘‘carry out                departure from the 2020 rule and for
                                                 regarding whether the proposed rule                      the provisions of [the] Act.’’ 29 U.S.C.                providing insufficient guidance to
                                                 meets the requirements of the                            156. We therefore see no constitutional                 regulated parties.
                                                 Constitution or the Administrative                       impediment to continuing the Board’s                       Some commenters suggest that the
                                                 Procedure Act (APA), 5 U.S.C. 551 et                     decades-long effort to clarify and refine               proposed rule will lead to excessive
                                                 seq. Some commenters suggest that,                       its joint-employer standard.                            litigation of joint-employer issues,313
                                                 pursuant to the major-questions                             A group of commenters argue that the                 potentially diminishing the value of
                                                 doctrine, as summarized in West                          proposed rule is arbitrary and                          proceeding through rulemaking and
                                                 Virginia v. EPA, 597 U.S. __, 2022 U.S.                  capricious because it does not                          suggesting that case-by-case
                                                 LEXIS 3268 (2022), the Board should                      sufficiently analyze why the standard                   adjudication might be a better approach.
                                                 ‘‘hesitate before concluding that                        set forth in the 2020 rule was                          Some commenters who are generally
                                                 Congress’’ conferred authority on it to                  inadequate or because it fails to provide               supportive of the proposed rule’s
                                                 define ‘‘joint employer’’ because of the                 adequate guidance.311 Some of these                     approach to the joint-employer inquiry
                                                 concept’s ‘‘economic and political                       commenters, quoting Motor Vehicle                       also express reservations about the
                                                 significance.’’ 308                                      Manufacturers Association of the                        proposal to promulgate a new standard
                                                    Other commenters argue that the                       United States, Inc. v. State Farm                       through rulemaking.314
                                                 major-questions doctrine does not                        Automobile Insurance Co., 463 U.S. 29,                     Some commenters criticize the Board
                                                 present an obstacle to the current                       43 (1983), contend that the Board has                   for abandoning the 2020 rule
                                                 rulemaking effort.309 One commenter                      either ‘‘relied on factors which Congress               prematurely, arguing that because the
                                                 notes that, since the earliest days of the                                                                       Board had not yet had occasion to apply
                                                 Act, the Board has, with Supreme Court                      311 Comments of ABC; CDW; COLLE; IFA; IFDA;
                                                                                                                                                                  the rule, the Board cannot find fault
                                                 and other reviewing courts’ approval,                    International Bankshares Corporation; National
                                                                                                          Association of Convenience Stores; North American       with it and should not rescind it.315 A
                                                 applied the Act to cover joint-                          Meat Institute; Restaurant Law Center and National      few commenters suggest that the Board
                                                 employment relationships, eliminating                    Restaurant Association; U.S. Chamber of                 should await federal court review of the
                                                 any doubt that Congress intended for                     Commerce.
                                                                                                                                                                  2020 rule before rescinding it or
                                                 the ambit of the Act to extend to joint                     Several commenters make the specific
                                                                                                          observation that the proposed rule is arbitrary         consider other alternatives before
                                                 employers.310
                                                    Based on the Board’s long history of                  because it does not impose an express requirement       proceeding further.316 Certain
                                                                                                          that joint-employer status be proven by ‘‘substantial
                                                 analyzing joint-employment                               evidence.’’ See comments of CDW; RILA; SHRM;              312 Comments of COLLE; Independent Bakers
                                                                                                          Tesla, Inc. As discussed above, we reject the view      Association; U.S. Chamber of Commerce.
                                                   307 Contrary to our dissenting colleague, we see       that the proposed rule failed to impose a                 313 Comments of American Hospital Association;
                                                 little risk of enmeshing neutral employers in labor      ‘‘substantial evidence’’ obligation or was otherwise
                                                                                                                                                                  American Staffing Association; Bicameral
                                                 disputes. When more than one entity jointly              arbitrary. These commenters, effectively reading
                                                                                                                                                                  Congressional Signatories; Center for Workplace
                                                 employs particular employees, those entities are not     discrete subparagraphs of the proposed rule in
                                                                                                          isolation, suggest that ‘‘any evidence’’ of control     Compliance; HR Policy Association; IFA;
                                                 neutral, and the prohibitions on secondary activity                                                              International Bancshares Corporation; McDonald’s
                                                 do not apply, regardless of what joint-employer          will be sufficient to establish status as a joint
                                                                                                          employer under the proposed rule. However, as           USA, LLC; Modern Economy Project; North
                                                 standard is applied.
                                                    308 Comments of ABC; CDW; COLLE; IFA;                 discussed more fully above, this view overlooks the     American Meat Institute; The Mackinac Center for
                                                                                                          proposed rule’s allocation of the burden of proof       Public Policy.
                                                 Independent Bakers Association; International                                                                      314 Comments of AFL–CIO; IUOE; United
                                                 Warehouse Logistics Association; RILA; U.S.              and requirement that a party asserting joint-
                                                                                                          employer status must demonstrate that an entity is      Association of Journeymen and Apprentices of the
                                                 Chamber of Commerce.
                                                                                                          a joint employer by a ‘‘preponderance of the            Plumbing and Pipe Fitting Industry; United
                                                    Several of these commenters also advance an
                                                                                                          evidence.’’                                             Steelworkers.
                                                 argument based on the nondelegation doctrine. See                                                                  315 Comments of COLLE; Elizabeth Boynton;
                                                 comments of COLLE; IFA. One such commenter                  Another commenter urges that the Board’s
                                                 specifically argues that Sec. 6 of the Act does not      statements in the preamble to the proposed rule         FreedomWorks Foundation; Goldwater Institute;
                                                 delegate sufficiently clear authority to the Board to    regarding the importance of workplace health and        Job Creators Network Foundation; National
                                                 define ‘‘joint employer’’ for purposes of the Act. See   safety during the Covid-19 pandemic are                 Association of Convenience Stores; North American
                                                 comments of IFA. As discussed in Section III above,      unsupported and therefore render the inclusion of       Meat Institute; The Thomas Jefferson Institute for
                                                 we are confident that the Board has authority to         health and safety as an essential term or condition     Public Policy; U.S. Chamber of Commerce;
                                                 ‘‘carry out’’ the many provisions of the Act that are    of employment, and implicitly the rule as a whole,      Wyoming Bankers Association. We note that in the
                                                 affected by how the Board defines ‘‘joint employer’’     arbitrary and capricious. See comments of North         time since the comment period closed, the Board
                                                 through rulemaking. The Supreme Court has never          American Meat Institute. As addressed extensively       has applied the 2020 rule. See Cognizant
                                                 cast doubt on the breadth of the Board’s rulemaking      in our discussion of essential terms and conditions     Technology Solutions U.S. Corp. & Google LLC, 372
                                                 authority. Instead, it has repeatedly endorsed the       of employment above and in our discussion of the        NLRB No. 108 (2023).
                                                 Board’s use of rulemaking as a policymaking tool,                                                                  316 Comments of Bicameral Congressional
                                                                                                          final rule below, the Board has benefited from the
                                                 including in contexts involving the scope and            input of stakeholders and organizations that            Signatories; Bipartisan Senators; CDW; IFA;
                                                 nature of bargaining obligations. See, e.g., American    confirmed the Board’s preliminary views that            Independent Bakers Association; U.S. Chamber of
ddrumheller on DSK120RN23PROD with RULES2




                                                 Hospital Assn. v. NLRB, 499 U.S. 606 (1991).             workplace health and safety should be treated as an     Commerce.
                                                    309 Comments of CWA; UNITE HERE; reply                essential term or condition of employment and that        Some commenters suggest that there is no need
                                                 comments of AFL–CIO.                                     the Covid-19 pandemic exacerbated certain               to promulgate a new joint-employer standard
                                                    310 Comments of AFL–CIO (citing Boire v.              employees’ health and safety concerns at work. We       through rulemaking if the Board’s goal is to return
                                                 Greyhound Corp., 376 U.S. 473, 481 (1964)); Long         therefore reject this commenter’s view that it was      to the preexisting common-law standard. See, e.g.,
                                                 Lake Lumber Co., 34 NLRB 700, 717 (1941), enfd.          arbitrary or capricious for the Board to take these     comments of CDW; IFA. As described above, while
                                                 NLRB v. Long Lake Lumber Co., 138 F.2d 363 (9th          significant real-world developments into account        we believe the final rule is firmly grounded in
                                                 Cir. 1943); Franklin Simon & Co., 94 NLRB 576, 579       when considering how to modify its approach to          common-law agency principles, we see a
                                                 (1951)).                                                 defining ‘‘joint employer.’’                                                                      Continued




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023                 Page 36 of 78
                                                 73976               Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 commenters point to reliance interests                    commenters suggest, in the alternative,               this reason, we prefer to proactively
                                                 related to the 2020 rule, with some                       that the Board solely rescind the 2020                rescind the 2020 rule and to articulate
                                                 suggesting that the Board delay the                       rule.321                                              a new standard that better comports
                                                 effective date of the final rule to                         Other commenters, citing FCC v. Fox                 with the requirements of the common
                                                 accommodate these concerns.317 For                        Television Stations, Inc., 556 U.S. 502,              law.
                                                 example, one commenter states that                        515 (2009), observe that the Board is                    Further, while we recognize that some
                                                 many staffing agencies entered into                       permitted to advance new                              parties may have relied on the 2020 rule
                                                 contracts using the 2020 rule as their                    interpretations of the Act so long as it              in structuring their business practices,
                                                 guide.318 Others question whether any                     demonstrates good reasons for its new                 we do not find such reliance interests
                                                 material legal or factual change has                      policy.322 One commenter argues that                  sufficiently substantial to make us
                                                 occurred since the 2020 rule was                          any reliance interests associated with
                                                                                                                                                                 reconsider rescinding the 2020 rule and
                                                 promulgated that would justify the                        the 2020 rule must be highly attenuated,
                                                                                                                                                                 promulgating a new standard. We agree
                                                 proposed changes to the joint-employer                    given that the Rule has not yet been
                                                 standard or otherwise suggest that the                                                                          with the view of one commenter that at
                                                                                                           applied and because the NPRM put the
                                                 proposed rule failed to offer a reasoned                                                                        least as of the date of the NPRM, any
                                                                                                           public on notice that the Board was
                                                 explanation for a policy change.319 A                                                                           such reliance on the 2020 rule cannot be
                                                                                                           considering rescinding and/or replacing
                                                 significant number of these commenters                                                                          deemed reasonable, as the Board
                                                                                                           the 2020 rule.323
                                                 propose that the Board withdraw the                         First, we reject the argument that it is            indicated its preliminary view that
                                                 proposed rule entirely and leave the                      premature to rescind the 2020 rule or to              rescinding or replacing that standard
                                                 2020 rule intact.320 Some of these                        promulgate a new joint-employer                       would be desirable as a policy matter.327
                                                                                                           standard. As noted above, so long as the              Moreover, because we think that the
                                                 determinate advantage in replacing the 2020 rule          Board sets forth good reasons for its new             final rule accurately aligns employers’
                                                 with a new standard that, like it, provides a definite
                                                                                                           policy and sets forth a reasoned                      statutory obligations with their control
                                                 and readily available standard. We note that by                                                                 of essential terms and conditions of
                                                 modifying the final rule to provide for an                explanation for the change, Supreme
                                                 exhaustive list of essential terms and conditions of      Court precedent permits the Board to                  employment of their own common-law
                                                 employment, we also introduce a new limiting              offer new interpretations of the Act.324              employees, we conclude that to the
                                                 principle that was not a feature of the Board’s joint-
                                                                                                           We have done so throughout our                        extent that business entities may have
                                                 employer doctrine, which is responsive to one of                                                                structured their contractual
                                                 these commenter’s core concerns regarding the             discussion of our justifications for
                                                 proposed rule. See comments of IFA. Announcing            rescinding the 2020 rule and                          relationships under prior, overly
                                                 this new limiting principle therefore provides            promulgating a new standard. In                       restrictive versions of the joint-employer
                                                 another justification for promulgating a new rule                                                               standard, any interest in maintaining
                                                 rather than simply rescinding the 2020 rule.              addition, as one commenter points
                                                    317 Comments of Costa Enterprises; IFA;                out,325 the APA does not impose any                   such arrangements is not sufficiently
                                                 McDonald’s USA, LLC; New Civil Liberties Alliance         requirement that an agency apply a rule               substantial or proper as a matter of law.
                                                 & Institute for the American Worker; Restaurant           prior to replacing it, provided that the                 One commenter charges that the
                                                 Law Center and National Restaurant Association;
                                                 Texas Public Policy Foundation; U.S. Chamber of
                                                                                                           agency otherwise identifies problems                  Board is not free to promulgate a
                                                 Commerce; Yum! Brands. Certain of these                   with the rule and explains why it                     standard defining the terms ‘‘employer’’
                                                 commenters do not specifically identify reliance          resolves the issue in the manner it does.             and ‘‘employee,’’ arguing that both the
                                                 interests related to the 2020 Rule, but instead more      Another commenter notes that the 2020                 2020 rule and the proposed rule trench
                                                 generally suggest they structured their businesses in
                                                 reliance on Board law prior to BFI. See, e.g.,            rule is likewise vulnerable on APA                    on the federal courts’ authority to
                                                 comments of Costa Enterprises; McDonald’s USA,            grounds, as its definition of ‘‘joint                 interpret these terms.328 We respectfully
                                                 LLC. With respect to the request to delay the             employer’’ is ‘‘not in accordance with                disagree with this commenter’s view of
                                                 effective date of the final rule, we note that, as some   law.’’ 326
                                                 other commenters urge, see, e.g., comments of the
                                                                                                                                                                 the Board’s role in carrying out the
                                                 U.S. Chamber of Commerce, the rule is subject to            Next, while some commenters                         provisions of the Act pursuant to
                                                 Congressional review and that, as a result, the           encourage the Board to await judicial                 Section 6 of the Act. We further note
                                                 effective date will await the culmination of that         review of the 2020 rule before taking                 that, apart from this procedural
                                                 process.                                                  further action, we remain of the view
                                                    318 See comments of Texas Public Policy
                                                                                                                                                                 disagreement, the final rule is consistent
                                                 Foundation.
                                                                                                           that the 2020 rule introduced control-                with the spirit of this commenter’s
                                                    319 Comments of California Policy Center; COLLE;       based restrictions that are inconsistent              argument, as the final rule seeks to
                                                 Empire Center for Public Policy; North American           with common-law agency principles, as                 ground the Board’s analysis in the
                                                 Meat Institute; Subcontracting Concepts, LLC; U.S.        reflected in the District of Columbia                 common-law agency principles that
                                                 Chamber of Commerce; Wyoming Bankers
                                                 Association.
                                                                                                           Circuit’s statements in BFI v. NLRB, 911              federal courts have instructed the Board
                                                    320 Comments of ABC; AGC; American Hotel &             F.3d at 1211–1215, and in Sanitary                    to apply in construing the statutory
                                                 Lodging Association; Americans for Fair Treatment;        Truck Drivers, 45 F.4th at 46–47. For                 definitions contained in section 2 of the
                                                 Americans for Prosperity Foundation; American                                                                   Act. As explained above, the Board will
                                                 Staffing Association; ANB Bank; Bicameral                 Center for Public Policy; U.S. Chamber of
                                                 Congressional Signatories; CDW; Center for
                                                                                                                                                                 draw on the Supreme Court’s binding,
                                                                                                           Commerce; Yum! Brands.
                                                 Workplace Compliance; COLLE; Competitive                    321 Comments of CDW; HR Policy Association;
                                                                                                                                                                 authoritative statements regarding the
                                                 Enterprise Institute; HR Policy Association; Home         McDonald’s USA, LLC; Pacific Legal Foundation.        common law of agency and look to other
                                                 Care Association of America; IFA; IFDA;                     322 Comments of State Attorneys General.            judicial common-law precedent as
                                                 Independent Electrical Contractors; Independent
                                                 Women’s Forum; International Bancshares
                                                                                                             323 Comments of General Counsel Abruzzo.            primary sources of authority governing
                                                 Corporation; International Warehouse Logistics
                                                                                                             324 See Encino Motorcars, LLC v. Navarro, 579       the Board’s interpretation. Of course,
                                                 Association; LeadingAge; McDonald’s USA, LLC;             U.S. 211, 221 (2016); FCC v. Fox Television           the Board’s joint-employer
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                                                 Modern Economy Project; NAHB; NAM; NATSO &                Stations, 556 U.S. at 515.
                                                                                                             325 Comments of CWA.
                                                                                                                                                                 determinations in individual cases are
                                                 SIGMA; National ACE; National Alliance for Public
                                                 Charter Schools; National Association of                    326 Comments of State Attorneys General (citing 5
                                                                                                                                                                   327 See comments of General Counsel Abruzzo.
                                                 Convenience Stores; National Waste & Recycling            U.S.C. 702(2)(A)). Another commenter makes a
                                                 Association; NFIB; Pacific Legal Foundation;              similar observation, noting that leaving the 2020       328 Comments of Pacific Legal Foundation. This

                                                 Restaurant Law Center and National Restaurant             rule intact is not an option the Board can properly   commenter also appears to suggest that it is
                                                 Association; RILA; Rio Grande Foundation; Senator         consider in light of the District of Columbia         unconstitutional for the Board to interpret the Act
                                                 James M. Inhofe; Taxpayers Protection Alliance;           Circuit’s decisions in BFI v. NLRB and Sanitary       through rulemaking, though it does not cite any
                                                 Texas Public Policy Foundation; The Mackinac              Truck Drivers. See AFL–CIO reply comments.            precedent in support of that view. Id.



                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 37 of 78
                                                                      Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                73977

                                                 ultimately reviewable by the federal                    definition of joint employer, noting that              commenters discuss the Department of
                                                 courts.                                                 changing workplace conditions will                     Labor’s approach to defining ‘‘joint
                                                    Other commenters urge that the                       require refinement of the standard as it               employer’’ for purposes of the Fair
                                                 proposed rule is overly vague, that it                  is applied in new factual situations.335               Labor Standards Act (FLSA), 29 U.S.C.
                                                 does not meet its stated goal of                           We have carefully considered the                    203 et seq.,339 though several
                                                 providing a ‘‘definite, readily available               many comments we received seeking                      commenters observe that the definition
                                                 standard,’’ 329 or that it does not meet                modifications to the proposed rule                     of ‘‘employee’’ under FLSA is broader
                                                 the requirements of fair notice and due                 geared toward ensuring greater clarity                 than the common-law standard used in
                                                 process because the proposal is not clear               and predictability in the Board’s joint-               the NLRA.340
                                                 enough that parties can reasonably                      employer determinations. As mentioned                     Although we agree with the view of
                                                 ascertain to whom it applies.330 Many of                elsewhere, while we acknowledge some                   several commenters that certain other
                                                 these commenters specifically pointed                   commenters’ position that the 2020 rule                Federal agencies’ joint-employer
                                                 to the open-ended list of essential terms               fostered greater predictability and                    standards are broadly consistent with
                                                 and conditions of employment as a                       certainty in the Board’s joint-employer                the Board’s proposed rule, we are
                                                 feature of the proposed rule that renders               determinations, we have determined                     guided here by the statutory
                                                 it impermissibly vague.331 Some                         that rule is not in accordance with the                requirement that the Board’s standard
                                                 commenters argue that because BFI                       common-law agency principles we are                    be consistent with common-law agency
                                                 created a vague definition of joint                     bound to apply in analyzing whether                    principles and the policies of the
                                                 employer, they fear the proposed rule,                  entities are joint employers under the                 National Labor Relations Act.341
                                                 which codifies key elements of that test                Act. As a result, we cannot maintain                   Contrary to our dissenting colleague’s
                                                 regarding the significance of forms of                  that standard. However, we believe that                suggestion, our standard is rooted in
                                                 indirect and reserved control, would                    the modifications to the text of the                   common-law agency principles, not the
                                                 likewise create ambiguities and                         proposed rule, along with the                          economic-realities test used to interpret
                                                 uncertainty.332 Others explain their                    comprehensive responses we offer in                    ‘‘employer’’ for purposes of the Fair
                                                 view that the absence of practical                      response to the helpful input we                       Labor Standards Act. Cf. NLRB v. United
                                                 guidance, illustrative examples,                        received during the public-comment                     Insurance Co. of America, 390 U.S. 254,
                                                 hypothetical questions, or other                        process, will facilitate parties covered               256 (1968) (discussing limiting impact
                                                 interpretive aids in the proposed rule                  by the Act in understanding and                        of Taft-Hartley amendments on the
                                                 undermines the proposal’s effectiveness                 meeting their compliance obligations                   interpretation of the Act).
                                                 and will fail to provide stakeholders                   and reduce uncertainty and litigation.                    Other commenters raise concerns
                                                 with the guidance they need to meet                        Some commenters argue that the                      regarding the possibility that the
                                                 their compliance obligations.333                        Board’s proposed standard will create                  proposed joint-employer standard will
                                                    Other commenters take the contrary                   inconsistencies with other regulators’                 stand in tension with state-law
                                                 view, arguing that the flexibility and                  joint-employer standards.336 As                        definitions of ‘‘joint employer.’’ One
                                                 adaptability of the proposed rule is one                discussed in Section I.D. above, our                   commenter argues that state authorities
                                                 of its greatest strengths.334 Some of                   dissenting colleague contends that                     with responsibility for administering
                                                 these commenters argue that the Board                   federal courts have applied different                  state-law equivalents of the Act make
                                                 should avoid adopting too rigid a                       standards when determining joint-                      joint-employer determinations on
                                                                                                         employer status under other statutes                   different grounds than those set forth in
                                                   329 87 FR 54645.                                      that define ‘‘employer’’ in common-law                 the proposed rule.342
                                                   330 Comments of CDW; California Policy Center;        terms. Other commenters observe that                      State labor and employment law
                                                 Colorado Bankers Association; Competitive               joint-employer standards similar to the                interpretations of ‘‘joint employer’’ also
                                                 Enterprise Institute; HR Policy Association; IFA;       one set forth in the proposed rule are
                                                 International Bancshares Corporation; National
                                                 Small Business Administration; PPAI; Reid’s, Inc.
                                                                                                         commonplace in the context of other                       339 One commenter cites approvingly to the four-

                                                 d/b/a Crosby’s; Restaurant Law Center and National      labor and employment statutes.337 One                  factor joint-employer test the Department of Labor
                                                 Restaurant Association; Tesla, Inc.; Yum! Brands.       commenter describes the Equal                          adopted in 2020 and encourages the Board to look
                                                   331 See, e.g., comments of Americans for
                                                                                                         Employment Opportunity Commission                      to that test for guidance in modifying the proposed
                                                 Prosperity Foundation; HR Policy Association;                                                                  rule. See comments of National Demolition
                                                                                                         (EEOC)’s approach to analyzing whether                 Association. We observe that on July 30, 2021, the
                                                 Independent Women’s Forum; International
                                                 Bancshares Corporation; LeadingAge; Libertas            multiple firms jointly employ particular               Department of Labor issued a final rule rescinding
                                                 Institute; McDonald’s USA, LLC; NAM; National           employees as taking forms of indirect                  the joint-employer standard this commenter
                                                 Grocers Association; National Roofing Contractors       and reserved control into account in                   references. See Rescission of Joint Employer Status
                                                 Association; Restaurant Law Center and National                                                                Under the Fair Labor Standards Act Rule, 86 FR
                                                                                                         much the same manner as does the                       40939 (July 30, 2021).
                                                 Restaurant Association; The Thomas Jefferson
                                                 Institute for Public Policy; U.S. Chamber of            proposed rule.338 A number of                             See also comments of National Retail Federation
                                                 Commerce. Some of these commenters make the                                                                    (discussing Singh v. 7-Eleven, Inc., 2007 U.S. Dist.
                                                 further point that the vagueness of the proposed          335 Comments of McGann, Ketterman & Rioux.           LEXIS 16677 (N.D. Cal. Mar. 7, 2007), and Wright
                                                 rule will require small businesses to retain counsel       336 Comments of New Civil Liberties Alliance &      v. Mountain View Lawn Care, LLC, 2016 U.S. Dist.
                                                 or bear other compliance, legal, and administrative     Institute for the American Worker.                     LEXIS 31353 (W.D. Va. Mar. 11, 2016), two federal
                                                 costs. See, e.g., comments of Energy Marketers of          337 Comments of National Partnership for Women      court decisions finding that brand-recognition
                                                 America; National Lumber & Building Material            & Families; The Leadership Conference on Civil and     standards at franchise businesses did not create a
                                                 Dealers Association; The Buckeye Institute; Yankee      Human Rights.                                          joint employment relationship for purposes of the
                                                 Institute for Public Policy.                               338 Comments of AFL–CIO (‘‘[A]ll of the             FLSA or Title VII of the Civil Rights Act of 1964,
                                                   332 Comments of American Pizza Community;
                                                                                                         circumstances in the worker’s relationship with        respectively).
                                                 Energy Marketers of America; International              each business should be considered to determine if
                                                                                                                                                                   340 Comments of New Civil Liberties Alliance &
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                                                 Warehouse Logistics Association; National Alliance      either or both should be deemed [their] employer.’’)   Institute for the American Worker.
                                                 for Public Charter Schools; NATSO & SIGMA;              (quoting EEOC Notice No. 915.002, Enforcement             341 In this regard, we confirm that, contrary to a
                                                 National Taxpayers Union; PPAI; The Buckeye             Guidance: Applications of EEO Law to Contingent        concern one commenter raises, the final rule solely
                                                 Institute; Yanxu Yang.                                  Workers Placed by Temporary Employment                 relates to the definition of ‘‘joint employer’’ under
                                                   333 Comments of Asian McDonald’s Operators                                                                   the NLRA. See comments of American Health Care
                                                                                                         Agencies and Other Staffing Firms at Coverage
                                                 Association; NAHB; National Black McDonald’s            Issues (Dec. 3, 1997), available at https://           Association & National Center for Assisted Living.
                                                 Operators Association; U.S. Black Chambers, Inc.;       www.eeoc.gov/laws/guidance/enforcement-                   342 Comments of Modern Economy Project;
                                                 U.S. Chamber of Commerce.                               guidance-application-eeo-laws-contingent-workers-      National Alliance for Public Charter Schools;
                                                   334 Comments of McGann, Ketterman & Rioux.            placed-temporary).                                     Subcontracting Concepts, LLC.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 38 of 78
                                                 73978             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 vary. Some commenters find parallels to                 unfair labor practice charges raising                 from entering into contracts with third
                                                 the proposed rule in certain state                      joint employer issues increased                       parties to perform work.354 Others
                                                 definitions of ‘‘joint employer.’’ 343 One              dramatically at the Board.348 Some                    specifically note that the proposed rule
                                                 commenter in particular observes that                   respond to this contention by noting                  could make it more difficult for
                                                 Illinois Department of Labor regulations                that findings of joint-employer status                companies to seek temporary employees
                                                 incorporate similar common-law                          remained constant during this period.349              to address labor shortages or deal with
                                                 principles to those set out in the                         While we have carefully considered                 fluctuating seasonal demand for
                                                 proposed rule.344 By contrast, one                      parties’ arguments that the 2020 rule                 labor.355
                                                 commenter notes that New York State                     fostered predictability and reduced
                                                                                                         litigation, we nevertheless conclude that                We have seriously considered
                                                 uses a standard for determining joint-
                                                                                                         we are foreclosed from maintaining the                commenters’ concerns, especially those
                                                 employer status for purposes of public-
                                                                                                         joint-employer standard set forth in that             of individuals and small business
                                                 sector labor relations that more closely
                                                                                                         rule because it is not in accordance with             owners, regarding how the joint-
                                                 corresponds to the 2020 rule.345
                                                    We are not persuaded that these                      the common-law agency principles the                  employer standard we adopt today
                                                 commenters’ concerns about the                          Board is bound to apply in making joint-              might influence their business
                                                 possibility of tension with state-law                   employer determinations. That said, we                relationships. Insofar as the Act itself
                                                 definitions of ‘‘joint employer’’ provide               note one commenter’s view that                        requires the Board to conform to
                                                 a sufficient reason to abandon our                      findings of joint-employer status did not             common-law agency principles in
                                                 rulemaking effort. Certain of these                     markedly increase following the Board’s               adopting a joint-employer standard,
                                                 commenters appear to suggest the                        decision in BFI. In addition, we hope to              these concerns seem misdirected.
                                                 possibility for a state-by-state patchwork              have minimized the risk of uncertainty                Nevertheless, we hope that the
                                                 of interpretations of the joint-employer                or increased litigation of joint-employer             modifications to the proposed rule and
                                                 standard if state courts apply or                       questions by comprehensively                          clarifications we offer today will
                                                 interpret the Board’s joint-employer                    addressing the comments we received in                alleviate some of these concerns. We
                                                 standard. We respectfully note that,                    response to the proposed rule and by                  also note that the Board’s definition of
                                                 under principles of federal labor law                   modifying the proposed rule in several                joint employer, which implements
                                                 preemption, the Board has exclusive                     respects to enhance its clarity and                   common-law agency principles, does
                                                 jurisdiction to administer the Act. See                 predictability.                                       not preclude or intend to preclude any
                                                 San Diego Building Trades Council v.                       Some commenters argue that the 2020                particular kinds of business
                                                 Garmon, 359 U.S. 236, 245 (1959)                        rule encouraged business cooperation                  arrangements or relationships.
                                                 (‘‘When an activity is arguably subject to              and led to partnerships that benefit                     A number of commenters, including
                                                 [section] 7 or [section] 8 of the Act, the              small businesses.350 These commenters                 many individuals, argue that the
                                                 States as well as the federal courts must               take the view that the proposed rule                  proposed rule would negatively affect
                                                 defer to the exclusive competence of the                would diminish these beneficial                       the franchise industry.356 In particular,
                                                 National Labor Relations Board if the                   practices or make it harder for                       some individuals express the view that
                                                 danger of state interference with                       companies to communicate or cooperate                 a broader joint-employer standard may
                                                 national policy is to be averted.’’). A                 without risking a finding that they are               inhibit franchisors’ abilities to help
                                                 group of 18 State Attorneys General                     joint employers.351 Our dissenting                    them develop the skills necessary to
                                                 argues that it relies on the Board’s                    colleague also argues that changing the               manage successful businesses.357 Others
                                                 enforcement of private-sector labor law                 joint-employer standard will make it                  suggest that one benefit of the franchise
                                                 to protect employees in their States.346                more difficult for businesses to                      model is the independence it affords
                                                                                                         cooperate and share resources. In                     franchisees. They argue that the
                                                 L. Empirical Arguments                                  particular, some commenters predict                   proposed rule might encourage
                                                    As stated above, one of the goals of                 that the Board’s proposed joint-                      franchisors to take a more active role in
                                                 the proposed rule is to reduce                          employer standard will disincentivize                 the day-to-day operation of franchise
                                                 uncertainty and litigation over questions               conduct that tends to improve the                     businesses, undermining franchisees’
                                                 related to joint-employer status. Some                  workplace, like training, safety and
                                                 commenters challenge the premise of                     health initiatives, and corporate social                 354 Comments of National Lumber & Building
                                                 the proposed rule, predicting that the                  responsibility programs.352 Others                    Materials Dealers Association; National Small
                                                 proposed rule will fuel time-consuming                  suggest that the proposed rule will lead              Business Association.
                                                 and costly litigation.347 One of these                  to uncertainty about obligations,                        355 Comments of AHA; National Taxpayers

                                                 commenters points to data that it                       creating a business climate of risk and               Union. Certain commenters stress that labor
                                                 represents shows that after the Board’s                                                                       shortages have been acute in hospital and
                                                                                                         increasing costs, especially in the third-            healthcare industries since the onset of the Covid-
                                                 BFI decision in 2015, petitions and                     party logistics industry.353 Some                     19 pandemic, making reliance on contract labor
                                                                                                         commenters predict that the proposed                  especially important. See, e.g., comments of AHA.
                                                    343 See, e.g., comments of State Attorneys
                                                                                                         rule could discourage larger companies                   356 See, e.g., comments of Americans for Tax
                                                 General.                                                                                                      Reform; Mauro Alvarez; Kermit Begly; Rachel
                                                    344 Comments of State Attorneys General.
                                                                                                           348 Comments of IFA.                                Greszler; Nichole Holles; Illinois Policy Institute;
                                                    345 Comments of Empire Center for Public Policy.
                                                                                                           349 See, e.g., reply comments of AFL–CIO.
                                                                                                                                                               Jean Johns; Job Creators Network Foundation; Neil
                                                    346 Comments of State Attorneys General. We note                                                           Kellen; McDonald’s USA, LLC; Daniel Miller;
                                                                                                           350 Comments of CDW; COLLE; International
                                                 that the signatories of this comment included the                                                             Russell Moss; NATSO & SIGMA; The James
                                                 Attorneys General of California, Colorado,              Warehouse Logistics Association; NAHB; National       Madison Institute; The Mackinac Center for Public
                                                 Connecticut, Delaware, District of Columbia,            Association of Convenience Stores; NFIB; National     Policy; Emily Wiechmann; Yankee Institute for
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                                                 Illinois, Maryland, Massachusetts, Michigan,            Retail Federation.                                    Public Policy. One commenter argues that the
                                                                                                           351 Comments of CDW; COLLE; NAHB; NAM;
                                                 Minnesota, Nevada, New Jersey, New York, North                                                                franchise business model has expanded access to
                                                 Carolina, Oregon, Pennsylvania, Rhode Island, and       National Retail Federation; National Small Business   home care services in the United States and
                                                 Washington.                                             Association; Washington Legal Foundation.             expresses concerns about whether the proposed
                                                    347 Comments of IFA; McDonald’s USA, LLC;              352 Comments of American Trucking                   rule could harm access to home care services. See
                                                 North American Meat Institute. Our dissenting           Associations; HR Policy Association; NAM;             comments of Home Care Association of America.
                                                 colleague also anticipates that the final rule will     National Waste & Recycling Association.                  357 See, e.g., comments of Costa Enterprises;

                                                 lead to more extensive litigation of joint-employer       353 Comments of International Warehouse             Linda Bowin; David Denney; Ali Nekumanesh;
                                                 questions.                                              Logistics Association.                                Shelley Nilsen.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 39 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 73979

                                                 autonomy and creativity.358 A number                    franchisees, make similar arguments,                     Other commenters make qualitative
                                                 of groups writing on behalf of Black                    stating that the proposed rule could                  empirical arguments regarding the
                                                 franchisees, franchisees of color, veteran              increase costs for franchise business                 proposed rule’s potential positive effect
                                                 franchisees, and women and LGBTQ                        owners if franchisors engage in                       on franchise businesses. These
                                                 franchisees argue that the franchise                    ‘‘distancing behaviors’’ and are no                   commenters argue that the proposed
                                                 model has been especially successful in                 longer willing to provide franchisees                 rule might improve operations at
                                                 improving their members’ lives and                      with training and recruitment materials,              franchise businesses and make franchise
                                                 economic prospects.359 They, and other                  employee handbooks, or educational                    businesses better and safer
                                                 commenters, express concerns about the                  materials on new regulations.363                      workplaces.368 Several commenters are
                                                 effect of the proposed rule on                             By contrast, other commenters                      employees who work for franchise
                                                 franchisees and small business owners                   dispute the contention that the                       businesses, and they argue that
                                                 of color.360 Groups representing                        proposed rule will negatively affect the              franchisors exercise significant control
                                                 franchisors, a bipartisan group of United               franchise business model.364 Several                  over the day-to-day details of their
                                                 States Senators and Members of                          commenters specifically address the IFA               working lives.369 These comments
                                                 Congress, and the United States Small                   study regarding the costs associated                  arguably illuminate how forms of
                                                 Business Administration Office of                       with the 2015 BFI standard.365 One of                 reserved and indirect control can
                                                 Advocacy echo these concerns.361 A                      these commenters disputes the                         implicate essential terms and conditions
                                                 number of commenters cite an economic                   methodology used in preparing the                     of employment, but the final rule is not
                                                 analysis commissioned by the                            analysis, noting that there were ‘‘serious            based on the Board’s assessment of the
                                                 International Franchise Association that                concerns about the survey design and                  new standard’s effect—negative or
                                                 sought to demonstrate the cost of the                   statistical analysis.’’ 366 Another argues            positive—on franchise businesses, as
                                                 Board’s 2015 BFI standard on the                        that, in 2015 and 2016, following BFI                 that consideration has no clear basis in
                                                 franchise business model.362 Others,                    and the Department of Labor’s                         the Act.
                                                 including some individuals and                          promulgation of a broader joint-
                                                                                                                                                                  A group of commenters argue that the
                                                                                                         employer standard, franchise
                                                    358 Comments of Escalante Organization; National                                                           proposed rule will increase compliance
                                                                                                         employment grew by 3 percent and 3.5
                                                 Taxpayers Union; The Buckeye Institute; Yanxu                                                                 and administrative costs for general
                                                 Yang. We note in particular that some individuals       percent, outpacing growth in other
                                                                                                                                                               contractors, subcontractors, and other
                                                 express concerns that instead of being treated as       private, nonfarm employment,
                                                 independent business owners, the joint-employer                                                               construction industry employers.370
                                                                                                         undermining the argument that the
                                                 rule will cause larger firms to treat them as                                                                 Some of these commenters raise
                                                                                                         proposed rule would slow job growth in
                                                 employees or micromanage their work. See, e.g.,
                                                                                                         franchise businesses.367                              concerns that these increased costs will
                                                 comments of Amber Niblock; Kerry Stone; Tom
                                                                                                                                                               diminish opportunities for growth for
                                                 Webster.                                                   We have seriously considered the
                                                    359 Comments of Association of Women’s                                                                     vendors or smaller contractors.371
                                                                                                         arguments by commenters advancing
                                                 Business Centers; IFA; National Black McDonald’s                                                              Several commenters also raise concerns
                                                                                                         different views regarding the accuracy
                                                 Operators Association; U.S. Black Chambers, Inc.                                                              about the possibility that the Board will
                                                    360 Comments of COLLE; IFA; U.S. Black               and explanatory force of the IFA study.
                                                                                                                                                               find that individuals who provide
                                                 Chambers, Inc.                                          We do not believe that the study
                                                                                                                                                               services to other entities as independent
                                                    361 Comments of Bicameral Congressional              provides an appropriate or sufficient
                                                 Signatories; Bipartisan Senators; IFA; McDonald’s                                                             contractors are joint employers with
                                                                                                         basis to abandon our effort to rescind
                                                 USA, LLC; National ACE; National Retail                                                                       those entities.372 They also argue that
                                                 Federation; SBA Office of Advocacy; Yum! Brands.        the 2020 rule and promulgate a new
                                                                                                                                                               the proposed rule risks destabilizing
                                                 As some of these commenters note, recent Census         joint-employer standard. There is no
                                                                                                                                                               longstanding multiemployer bargaining
                                                 data shows that 30.8 percent of franchise businesses    suggestion in the Act’s text or legislative
                                                 are minority owned, compared to 18.8 percent of                                                               practices in the construction industry
                                                                                                         history that the Board has the authority
                                                 nonfranchised businesses. See, e.g., comments of                                                              and could potentially create new
                                                 Bicameral Congressional Signatories. The                to depart from common-law agency
                                                                                                                                                               withdrawal liability in the context of
                                                 comments of McDonald’s USA, LLC note that ‘‘31%         principles in adopting and applying a
                                                                                                                                                               multiemployer defined-benefit pension
                                                 of [its] U.S. franchisees are minority-owned            joint-employer standard because of its
                                                 businesses, and that 29% are women-owned                                                                      plans.373 Certain of these commenters
                                                                                                         predicted effect on a particular industry
                                                 businesses.’’                                                                                                 take the view that the 2020 rule did not
                                                    In particular, the SBA Office of Advocacy            or industries, irrespective of statutory
                                                                                                                                                               adversely affect labor peace and
                                                 expresses concern that the proposed rule could          policy or Congressional intent.
                                                 violate ‘‘a new federal mandate to bolster the ranks
                                                                                                                                                               implicitly suggest that the proposed rule
                                                 of underserved small business federal contractors,        363 Comments of Asian McDonald’s Operators
                                                                                                                                                               might lead to an increase in labor
                                                 including women-owned, Black-owned, Latino-
                                                                                                         Association; Escalante Organization;
                                                 owned, and other minority-owned small                                                                           368 Comments of Center for Law and Social
                                                                                                         FreedomWorks Foundations; Goldwater Institute;
                                                 businesses.’’ Comments of SBA Office of Advocacy                                                              Policy; Daniel Struckhoff.
                                                                                                         IFA; Job Creators Network Foundation; McDonald’s
                                                 (citing Press Release, The White House, Statements
                                                                                                         USA, LLC; NFIB; National Black McDonald’s               369 Comments of Richard Eiker.
                                                 and Releases, FACT SHEET: Biden-Harris
                                                                                                         Operators Association; National Association of          370 Comments of ABC; AGC; National Demolition
                                                 Administration Announces Reforms to Increase
                                                                                                         Convenience Stores; National Retail Federation;       Association; Rachel Greszler. Some of these
                                                 Equity and Level the Playing Field for Underserved
                                                 Small Business Owners, (Dec. 2, 2021)). Other           Restaurant Law Center and National Restaurant         commenters suggest that the rule will require
                                                 commenters echo the SBA Office of Advocacy’s            Association; SBA Office of Advocacy; The              parties to renegotiate or revise contracts, resulting
                                                 concern regarding the possibility of conflicts          Mackinac Center for Public Policy. See also, e.g.,    in significant transaction costs. See comments of
                                                 between the proposed rule and federal contracting       comments of Neil Kellen; Carole Montgomery;           American Trucking Associations; Rachel Greszler.
                                                 law and practice. Comments of CDW; COLLE;               Deborah Robart; James Weaver; Yanxu Yang.               371 Comments of ANB Bank; CDW; Competitive
                                                                                                           364 Comments of Center for Law and Social
                                                 National Retail Federation; Thomas Jefferson                                                                  Enterprise Institute; Independent Electrical
                                                 Institute for Public Policy; U.S. Black Chambers,       Policy; General Counsel Abruzzo.                      Contractors; International Warehouse Logistics
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                                                                                                           365 Comments of EPI; reply comments of AFL–         Association; Job Creators Network Foundation;
                                                 Inc. One individual commenter expresses a concern
                                                 that the proposed rule might make it more difficult     CIO. These commenters cross-reference a set of        NFIB; National Taxpayers Union. One commenter
                                                 for small businesses to bid for and win government      reply comments submitted by EPI in response to the    suggests that these dynamics may cause
                                                 contracts. See comments of Sherri Smalling.             Board’s 2018 joint-employer notice of proposed        consolidation in the grocery market, harming
                                                    362 Comments of Bipartisan Senators; Costa           rulemaking, available at https://                     independent grocers and consumers alike. See
                                                 Enterprises; FreedomWorks Foundations; IFA;             www.regulations.gov/comment/NLRB-2018-0001-           comments of National Grocers Association.
                                                 Libertas Institute; McDonald’s USA, LLC; North          29072.                                                  372 Comments of Andrea Karns; National
                                                                                                           366 Comments of EPI.                                Association of Realtors.
                                                 American Meat Institute; Senator Inhofe; U.S. Black
                                                 Chambers, Inc.; U.S. Chamber of Commerce.                 367 Comments of CAP.                                  373 Comments of ABC; AGC.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 40 of 78
                                                 73980              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 disputes.374 Our dissenting colleague                   owners of color, express concern that                    LGBTQ employees, and employees of
                                                 likewise takes the position that                        the joint-employer standard will limit                   color.380 A number of organizations also
                                                 changing the joint-employer standard                    opportunities for new business or job                    commented on the use of ‘‘labor broker’’
                                                 may adversely affect certain businesses,                creation or otherwise diminish their                     arrangements in the construction
                                                 including by discouraging ‘‘efforts to                  economic opportunities or harm                           industry and how the proposed joint-
                                                 rescue failing businesses’’ through                     consumers.376                                            employer standard might ensure that all
                                                 successorship.                                             By contrast, certain commenters                       entities who possess the authority to
                                                    As expressed elsewhere, we are                       suggest that a broad joint-employer                      control or exercise control over
                                                 sensitive to commenters’ concerns that                  standard will ensure that the proper                     construction industry employees’
                                                 the joint-employer standard we adopt in                 parties are present for bargaining and                   essential terms and conditions of
                                                 this final rule might have unwanted                     may help smaller entities bear only their                employment fully comply with their
                                                 effects on their businesses. In particular,             share of the liability for conduct that                  obligations under the Act and other
                                                 we have thoroughly reviewed                             violates the Act.377 Others note that                    labor and employment statutes.381
                                                 submissions from individuals and small                  some commenters’ criticisms of the                          Specifically, some commenters
                                                 business owners raising such concerns.                  proposed rule would apply to any joint-                  discuss the ‘‘fissuring’’ of the workplace
                                                 However, we are not persuaded that                      employer standard, since they                            and note that modern business practices
                                                 these concerns reflect considerations                   principally relate to the dynamics of                    often result in multiple firms sharing
                                                 that, as a statutory matter, may                        bargaining that involves more than one                   control over aspects of employees’ terms
                                                 determine the Board’s choice of a joint-                firm.378 In this regard, they contend, the               and conditions of employment, making
                                                 employer standard. As we have                           criticisms are not unique to the                         it important to define the joint-employer
                                                 explained, the Board must adhere to                     proposed rule and should not weigh                       standard in a manner that brings all
                                                 common-law agency principles. These                     against the Board’s rescission of the                    necessary parties to the bargaining
                                                 commenters have failed to explain how,                  2020 rule or promulgation of a new                       table.382 Certain of these commenters
                                                 consistent with the Act’s requirements                  joint-employer standard.                                 note that an unduly cramped joint-
                                                 and statutory policy, the Board could                      Other commenters argue that ensuring                  employer standard might hinder the
                                                 treat their concerns as determinative. In               the appropriate entities are recognized                  efficacy of the Board’s remedial orders
                                                 addition, to the extent some of these                   as joint employers is essential to                       by targeting an entity that cannot, by
                                                 commenters explain that they prefer the                 deterring practices in certain industries,               itself, make employees whole or engage
                                                 2020 rule to the proposed rule, we                      including staffing, temporary warehouse                  in the kind of effective collective
                                                 reiterate our view that we are foreclosed               work, and food processing, that they                     bargaining that the Act contemplates.383
                                                 from maintaining the 2020 rule because                  represent have led to the underpayment                   Several individual employees and
                                                 it is inconsistent with common-law                      of wages, worker misclassification, and                  commenters with experience
                                                 agency principles and does not advance                  unsafe working conditions.379 Several of                 representing employees in industries
                                                 the policies of the Act.                                these commenters observe that these                      characterized by extensive
                                                    Other commenters raise practical                     harmful practices disproportionally                      subcontracting represent that a joint-
                                                 objections to the proposed joint-                       affect Black employees, Latinx                           employer standard that brings the
                                                 employer standard, urging the Board to                  employees, immigrant employees and                       proper parties to the bargaining table
                                                 consider the potentially harmful effect                 migrant guestworkers, women and                          could help make jobs in those industries
                                                 of enmeshing multiple firms in                                                                                   safer, especially for Black and
                                                 collective bargaining. These                               376 See, e.g., comments of Americans for Tax          immigrant workers and women
                                                 commenters generally argue that                         Reform; IFA; Independent Women’s Forum;                  workers.384
                                                 bargaining with more than one firm will                 National Grocers Association; North American Meat
                                                 be cumbersome, unworkable, or                           Institute; Rachel Greszler; Stephen Clark; Yankee          380 Comments of ACLU; Lawyers’ Committee for
                                                                                                         Institute for Public Policy.
                                                 otherwise undesirable.375 Our                                                                                    Civil Rights Under Law; NELP; National Black
                                                                                                            A few of these commenters express concerns that       Worker Center; National Partnership for Women
                                                 dissenting colleague similarly argues                   the proposed rule will adversely affect particular       and Families; NELP; SPLC; TechEquity
                                                 that bargaining involving multiple firms                state economies. See, e.g., comments of California       Collaborative.
                                                 may be stymied by conflicts among the                   Policy Center (California); Goldwater Institute            381 Comments of District Council of New York
                                                                                                         (Arizona); Libertas Institute (Utah); Rio Grande
                                                 firms and will be less likely to                        Foundation (New Mexico); The Buckeye Institute
                                                                                                                                                                  City & Vicinity of the UBC; McGann, Ketterman &
                                                 culminate in workable collective-                                                                                Rioux; Signatory Wall and Ceiling Contractors
                                                                                                         (Ohio); Thomas Jefferson Institute for Public Policy     Alliance; Southern States Millwright Regional
                                                 bargaining agreements. Others,                          (Virginia).                                              Council, UBC and Central South Carpenters
                                                 including some individuals, small                          Some commenters, especially individuals and           Regional Council, UBC; UBC.
                                                 business owners, and groups that                        small business owners, argue that the proposed rule        382 Comments of American Federation of
                                                                                                         is poorly timed in light of larger macroeconomic         Musicians Local 47; AFSCME; Asian Pacific
                                                 represent the interests of women small                  trends, including inflation, and the lingering effects   American Labor Alliance, AFL–CIO; EPI; Los
                                                 business owners and small business                      of the Covid-19 pandemic on supply chains. See,          Angeles County Federation of Labor AFL–CIO &
                                                                                                         e.g., comments of Daniel Amare; Marlo Andeersen;         Locals 396 and 848 of the IBT; National Women’s
                                                   374 Comments of Empire Center for Public Policy.      Hugh Blanchard; Jon Clegg; Harold Heller; Justin         Law Center; SEIU; The Strategic Organizing Center;
                                                    375 Comments of AHA; ABC; CDW; COLLE;                Hood; Catherine Parker; Larry Verlinden.                 The Washington Center for Equitable Growth; UE;
                                                                                                            377 Comments of American Federation of
                                                 Federation of American Hospitals; HR Policy                                                                      UNITE HERE.
                                                 Association; IFDA; International Bancshares             Musicians Local 47; Congressman Scott et al.;              383 Comments of American Federation of

                                                 Corporation; National Waste & Recycling                 General Counsel Abruzzo; National Women’s Law            Musicians Local 47; General Counsel Abruzzo;
                                                 Association; New Jersey Food Council; Rachel            Center.                                                  Hawaii Regional Council of Carpenters; Jobs with
                                                                                                            378 Comments of AFL–CIO; General Counsel
                                                 Greszler; Restaurant Law Center and National                                                                     Justice and Governing for Impact; Los Angeles
                                                 Restaurant Association; U.S. Chamber of                 Abruzzo.                                                 County Federation of Labor AFL–CIO & Locals 396
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                                                 Commerce; Wyoming Bankers Association. Some of             379 Comments of ACLU; BCTGM; Center for Law           and 848 of the IBT; National Women’s Law Center;
                                                 these commenters liken the proposed rule to             and Social Policy; Southern States Millwright            NELP; SEIU; Texas RioGrande Legal Aid, Inc;
                                                 government-mandated multiemployer bargaining.           Regional Council, UBC and Central South                  UNITE HERE.
                                                 Comments of ABC; COLLE; Tesla, Inc. As set forth        Carpenters Regional Council, UBC; District Council         384 Comments of NELP; National Women’s Law

                                                 above, we reject this characterization. Under the       of New York City & Vicinity of the UBC; NELP;            Center; National Black Workers Center; Richard
                                                 final rule, businesses remain free to structure their   Restaurant Opportunities Centers United; Signatory       Eiker; SPLC; The Strategic Organizing Center;
                                                 business operations however they wish. The rule         Wall and Ceiling Contractors Alliance; The               William E. Morris Institute for Justice; Women
                                                 creates no mandate to engage in bargaining on a         Leadership Conference on Civil and Human Rights;         Employed. In addition, one commenter notes its
                                                 multifirm basis whatsoever.                             UBC; United for Respect.                                 long history of successful multiemployer and other



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 41 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                               73981

                                                    Other commenters argue that the                         Contrary to these commenters, while                and conditions of employment and so
                                                 proposed rule would lead to positive                    the final rule establishes a joint-                   promotes the policy of the United
                                                 economic outcomes for employees. For                    employer standard that will apply in                  States, as articulated in Section 1 of the
                                                 example, one commenter notes that by                    unfair-labor-practice cases, it does not              Act, to encourage the practice and
                                                 ensuring that the proper parties are                    purport to assign liability or otherwise              procedure of collective bargaining and
                                                 brought to the bargaining table, unions                 depart from well-established principles               to protect the exercise by workers of full
                                                 will be able to bargain effectively,                    regarding how to apportion                            freedom of association, self-
                                                 creating a positive ‘‘spillover’’ effect that           responsibility for unlawful conduct                   organization, and designation of
                                                 will raise the floor for wages, benefits,               among multiple parties. Likewise, we                  representatives of their own choosing,
                                                 and working conditions.385 This                         disagree with commenters who argue                    for the purpose of negotiating the terms
                                                 commenter estimates that the proposed                   that principles of joint liability might              and conditions of their employment or
                                                 rule ‘‘will result in a boost of pay to                 foreclose the need for a revised joint-               other mutual aid or protection.
                                                 workers of $1.06 billion annually or                    employer standard, as the joint-
                                                                                                         employer standard serves important                    A. Definition of an Employer of
                                                 $20.4 million per week.’’ 386 Several                                                                         Particular Employees
                                                 other commenters likewise argue that                    functions beyond those related to
                                                 the benefits of the proposed rule will                  assigning liability. Similarly, principles               Section 103.40(a) of the final rule
                                                 have a broad effect on the economy                      of joint liability sometimes come into                provides that an employer, as defined
                                                 given the high concentration of                         play in circumstances where there is no               by Section 2(2) of the Act, is an
                                                 employees in industries marked by                       dispute that entities are joint employers.            employer of particular employees, as
                                                 extensive contracting practices.387                     One commenter, citing Capitol EMI                     defined by Section 2(3) of the Act, if the
                                                    A number of commenters raise                         Music, Inc., 311 NLRB 997, 1000 (1993),               employer has an employment
                                                 concerns about the specter of litigation                notes that the Board imposes certain                  relationship with those employees
                                                 and eventual liability if their businesses              unfair labor practice liability for the               under common-law agency principles.
                                                 are deemed joint employers with other                   actions of one joint employer on another              This provision expressly recognizes the
                                                 entities.388 Others respond that an                     entity only if that other entity knew of              Supreme Court’s conclusion that
                                                 overbroad joint-employer standard risks                 the action and did nothing to protest                 Congress’s use of the terms ‘‘employer’’
                                                 exposing other entities, like lead firms                it.391 We agree that this longstanding                and ‘‘employee’’ in the NLRA was
                                                 or franchisors, solely because those                    Board precedent discussing how to                     intended to describe the conventional
                                                 entities are viewed as having the ability               assign liability to joint employers will              employer-employee relationship under
                                                 to satisfy a judgment.389 Some of these                 continue to guide the Board in making                 the common law.392 Because ‘‘Congress
                                                 commenters suggest that principles of                   these determinations. Additionally,                   has tasked the courts, and not the Board,
                                                 joint liability might suffice to ensure                 business entities remain free under this              with defining the common-law scope of
                                                 that the Board’s make-whole remedies                    joint-employer standard, as before, to                ‘employer,’’’ the Board—in evaluating
                                                 are effective, rendering a joint-employer               structure their contractual relationships             whether a common-law employment
                                                 finding unnecessary in such                             according to their chosen allocation of               relationship exists—looks for guidance
                                                 circumstances.390                                       both authority to control and unfair                  from the judiciary, including primary
                                                                                                         labor practice liability, including by the            articulations of relevant principles by
                                                 multifirm bargaining as support for the Board’s
                                                                                                         use of indemnification clauses.                       judges applying the common law, as
                                                 preliminary view that the proposed joint-employer       V. The Final Rule                                     well as secondary compendiums,
                                                 rule would facilitate effective bargaining. See                                                               reports, and restatements of these
                                                 comments of IUOE.                                         The joint-employer doctrine plays an                common law decisions, focusing ‘‘first
                                                    385 Comments of EPI.
                                                                                                         important role in the administration of               and foremost [on] the ‘established’
                                                    386 Id. Several other commenters cite approvingly
                                                                                                         the Act. The doctrine determines when                 common-law definitions at the time
                                                 to EPI’s economic analysis. See, e.g., comments of
                                                 National Women’s Law Center. Based on its
                                                                                                         an entity that exercises control over                 Congress enacted the National Labor
                                                 assessment that the Bureau of Labor Statistics          particular employees’ essential terms                 Relations Act in 1935 and the Taft-
                                                 Contingent Worker Supplement (CWS) to the               and conditions of employment has a                    Hartley Amendments in 1947.’’ 393 By
                                                 Current Population Survey likely underestimates         duty to bargain with those employees’
                                                 how many workers work for contract firms and                                                                  explicitly grounding the Board’s joint-
                                                 temporary help agencies, this commenter offers
                                                                                                         representative. It also determines such               employer analysis in common-law
                                                 revised estimates over the total workforce in these     an entity’s potential liability for unfair            agency principles, this provision
                                                 settings. See comments of EPI. This commenter           labor practices. The joint-employer                   recognizes that the existence of a
                                                 likewise offers a revised estimate of the number of     analysis set forth in this final rule is              common-law employment relationship
                                                 franchise employees and employees of contractors        based on common-law agency
                                                 or temporary staffing agencies who it represents                                                              is a necessary prerequisite to a finding
                                                 would benefit from the proposed rule. Id.               principles as applied in the particular
                                                    387 Comments of ACLU; General Counsel                context of the Act. In our considered                    392 See NLRB v. Town & Country Electric, Inc.,
                                                 Abruzzo.                                                view, the joint-employer standard that                516 U.S. 85, 92–95 (1995) (where Congress has used
                                                    388 Comments of LeadingAge; National ACE;
                                                                                                         we adopt today removes artificial                     the term ‘‘employee’’ in a statute without clearly
                                                 Trucking Industry Stakeholders.                         control-based restrictions with no                    defining it, the Court assumes that Congress
                                                    389 Comments of James Bitzonis; COLLE.                                                                     ‘‘intended to describe the conventional master-
                                                    390 Comments of COLLE. One commenter also
                                                                                                         foundation in the common law that the                 servant relationship as understood by common-law
                                                 expresses concern that the proposed rule might          Board has previously imposed in cases                 agency doctrine’’). See also Clackamas
                                                 interfere with single-employer doctrine under the       beginning in the mid-1980s discussed                  Gastroenterology Associates, P.C. v. Wells, 538 U.S.
                                                 Act. See comments of U.S. Chamber of Commerce.          above, and in the 2020 rule. By                       440, 448–449 (2003); Nationwide Mutual Insurance
                                                 With respect, we note that questions of joint-                                                                Co. v. Darden, 503 U.S. 318, 322–324 (1992);
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                                                                                                         incorporating common-law agency                       Community for Creative Non-Violence v. Reid, 490
                                                 employer and single-employer status under the Act
                                                 are distinct. See generally Radio & Television          principles, as the Act requires, the final            U.S. 730, 740, 752 fn. 31 (1989); Kelley v. Southern
                                                 Broadcast Technicians Local Union 1264 v.               rule appropriately aligns employers’                  Pacific Co., 419 U.S. 318, 323–324 (1974); NLRB v.
                                                 Broadcast Service of Mobile, Inc., 380 U.S. 255, 256    responsibilities with respect to their                United Insurance Co. of America, 390 U.S. 254,
                                                 (1965) (approving the Board’s single-employer                                                                 256–258 (1968). As noted above, many sources refer
                                                                                                         employees with their authority to                     to the common-law employer-employee
                                                 analysis based on a four-factor test considering
                                                 entities’ ‘‘interrelation of operations, common         control those employees’ essential terms              relationship using the terms ‘‘master’’ and
                                                 management, centralized control of labor relations                                                            ‘‘servant.’’
                                                 and common ownership’’).                                  391 See reply comments of AFL–CIO.                     393 BFI v. NLRB, 911 F.3d at 1208–1209.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023               Page 42 of 78
                                                 73982               Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 that an entity is a joint employer of                     Circuit in BFI that evidence of the                  duties—and the grounds for discipline
                                                 particular employees.                                     authority or reserved right to control, as           of employees who fail to perform as
                                                                                                           well as evidence of the exercise of                  required—all common across
                                                 B. Definition of Joint Employers
                                                                                                           control (whether direct or indirect,                 employment relationships and subjects
                                                   Section 103.40(b) provides that, for all                including control through an                         of central concern to employees seeking
                                                 purposes under the Act, two or more                       intermediary, as discussed further                   to improve their terms and conditions of
                                                 employers of the same particular                          below) is probative evidence of the type             employment through collective
                                                 employees are joint employers of those                    of control over employees’ essential                 bargaining. Terms and conditions in
                                                 employees if the employers share or                       terms and conditions of employment                   Category (6), addressing the conditions
                                                 codetermine those matters governing                       that is necessary to establish joint-                for the formation and dissolution of the
                                                 employees’ essential terms and                            employer status. After careful                       employment relationship itself, are
                                                 conditions of employment. The                             consideration of comments, as reflected              clearly essential conditions of
                                                 provision thus first recognizes, as did                   above, the Board has concluded that this             employment. Finally, as many
                                                 the 2020 rule, that joint-employer issues                 definition of ‘‘share or codetermine’’ is            commenters have observed, terms
                                                 may arise (and the same test will apply)                  consistent with common-law agency                    setting working conditions related to the
                                                 in various contexts under the Act,                        principles and best serves the policy of             safety and health of employees—
                                                 including both representation and                         the United States, embodied in the Act,              encompassed in category (7)—are basic
                                                 unfair labor practice case contexts.394                   to encourage the practice and procedure              to the employment relationship and lie
                                                 The provision goes on to codify the                       of collective bargaining by ensuring that            at or near the core of issues about which
                                                 longstanding core of the joint-employer                   employees have the ability to negotiate              employees would reasonably seek to
                                                 test, consistent with the formulation of                  the terms and conditions of their                    bargain. By providing that a common-
                                                 the standard that several Courts of                       employment, through representatives of               law employer of particular employees
                                                 Appeals (notably, the Third Circuit and                   their own choosing, with all of their                will be considered a joint employer of
                                                 the District of Columbia Circuit) have                    employers that possess the authority to              those employees only if it possesses the
                                                 endorsed.395 By providing that a                          control or exercise the power to control             authority to control or exercises the
                                                 common-law employer of particular                         those terms and conditions.                          power to control one or more terms and
                                                 employees must also share or                              D. Definition of ‘‘essential terms and               conditions of employment falling into
                                                 codetermine those matters governing the                   conditions of employment’’                           one of these seven categories, this
                                                 employees’ essential terms and                                                                                 provision ensures that such an employer
                                                 conditions of employment in order to be                      Section 103.40(d) defines ‘‘essential
                                                                                                                                                                will be in a position to engage in
                                                 considered a joint employer, the                          terms and conditions of employment’’
                                                                                                                                                                meaningful bargaining over an issue of
                                                 provision recognizes and incorporates                     as (1) wages, benefits, and other
                                                                                                                                                                core concern to the employees involved.
                                                 the principle from BFI that ‘‘the                         compensation; (2) hours of work and
                                                                                                                                                                This provision thus effectively
                                                 existence of a common-law employment                      scheduling; (3) the assignment of duties
                                                                                                                                                                incorporates the second step of the
                                                 relationship is necessary, but not                        to be performed; (4) the supervision of
                                                                                                                                                                Board’s joint-employer test set forth in
                                                 sufficient, to find joint-employer                        the performance of duties; (5) work
                                                                                                                                                                BFI, above, as described by the District
                                                 status.’’ 396                                             rules and directions governing the
                                                                                                                                                                of Columbia Circuit in BFI v. NLRB, and
                                                                                                           manner, means, and methods of the
                                                 C. Definition of ‘‘share or codetermine’’                                                                      addresses that court’s concern that the
                                                                                                           performance of duties and the grounds
                                                                                                           for discipline; (6) the tenure of                    Board had failed, in BFI, adequately to
                                                   Section 103.40(c) of the final rule                                                                          delineate what terms and conditions are
                                                 provides that to ‘‘share or codetermine                   employment, including hiring and
                                                                                                           discharge; and (7) working conditions                ‘‘essential’’ to make collective
                                                 those matters governing employees’                                                                             bargaining ‘‘meaningful.’’ 397
                                                 essential terms and conditions of                         related to the safety and health of
                                                 employment’’ means for an employer to                     employees. The Board has decided, after              E. Control Sufficient To Establish Joint-
                                                 possess the authority to control                          careful consideration of comments as                 Employer Status
                                                 (whether directly, indirectly, or both) or                reflected above, to modify the proposed
                                                 to exercise the power to control                          rule’s definition of ‘‘essential terms and             Section 103.40(e) provides, consistent
                                                 (whether directly, indirectly, or both)                   conditions of employment’’ by setting                with § 103.40(a) and (c), that whether an
                                                 one or more of the employees’ essential                   forth an exclusive, closed list of terms             employer possesses the authority to
                                                 terms and conditions of employment.                       and conditions of employment that may                control or exercises the power to control
                                                 This provision incorporates the view of                   serve as the objects of control necessary            one or more of the employees’ essential
                                                 the Board and the District of Columbia                    to establish joint-employer status.                  terms and conditions of employment is
                                                                                                              Terms and conditions of employment                determined under common law-agency
                                                   394 Compare BFI, above, 362 NLRB 1599                   falling in these seven categories are not            principles. Thus, this provision explains
                                                 (considering whether two entities were joint              simply common across employment                      that, subject to the terms of the
                                                 employers for purposes of petition for                    relationships, they represent the core               preceding provisions, (1) possessing the
                                                 representation election), and Browning-Ferris             subjects of collective bargaining                    authority to control one or more
                                                 Industries of Pennsylvania, Inc., 259 NLRB 148
                                                 (1981) (considering whether two entities were joint
                                                                                                           contemplated by the Act, as illuminated              essential terms and conditions of
                                                 employers for purposes of liability for employee          by the Board’s administrative                        employment is sufficient to establish
                                                 discharges in violation of section 8(a)(3) of the Act),   experience. Thus, Section 8(d) of the                status as a joint employer regardless of
                                                 enfd. 691 F.2d 1117 (1982).                               Act expressly provides that the                      whether the control is exercised; and (2)
                                                   395 See BFI v. NLRB, 911 F.3d at 1209 (citing
                                                                                                           collective-bargaining obligation
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                                                 Dunkin’ Donuts Mid-Atlantic Distribution Center v.
                                                                                                                                                                exercising the power to control
                                                 NLRB, 363 F.3d 437, 440 (D.C. Cir. 2004)); NLRB v.        encompasses a duty to confer with                    indirectly (including through an
                                                 Browning-Ferris Industries of Pennsylvania, Inc.,         respect to wages and hours, subjects                 intermediary) one or more essential
                                                 691 F.2d 1117, 1124 (3d Cir. 1982). See also 3750         falling within categories (1) and (2).               terms and conditions of employment is
                                                 Orange Place Limited Partnership v. NLRB, 333             Categories (3), (4), and (5) similarly
                                                 F.3d 646, 660 (6th Cir. 2003); Holyoke Visiting
                                                                                                                                                                sufficient to establish status as a joint
                                                 Nurses Assn. v. NLRB, 11 F.3d 302, 306 (1st Cir.          include terms involving the assignment,
                                                 1993).                                                    supervision, and detailed control of                   397 See BFI v. NLRB, above, 911 F.3d at 1221–
                                                   396 BFI, above, 362 NLRB at 1610.                       employees’ performance of work                       1222.



                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 43 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                  73983

                                                 employer, regardless of whether the                     conditions of employment.399 This                     the comments, that it is desirable to
                                                 control is exercised directly.                          provision addresses these concerns by                 expressly provide that a joint
                                                    As discussed above, the Board has                    expressly recognizing that some kinds of              employer’s bargaining obligations are
                                                 modified this provision from the version                control, including some of those                      not limited to those ‘‘essential terms and
                                                 set forth in the NPRM by clarifying that,               commonly embodied in a contract for                   conditions’’ of employment that it
                                                 in every case, the object of a common-                  the provision of goods or services by a               controls, but extend to any ordinary
                                                 law employer’s control that is relevant                 true independent contractor, are not                  mandatory subject of bargaining that is
                                                 to the question of whether it is also a                 relevant to the determination of whether              also subject to its control. Clarifying a
                                                 joint employer under the Act must be an                 the entity possessing such control is a               joint employer’s bargaining obligation in
                                                 essential term and condition of                         common-law employer of the workers                    this way further ensures that collective
                                                 employment as defined in § 103.40(d).                   producing or delivering the goods or                  bargaining involving the joint employer
                                                 In combination with the Board’s                         services, and that an entity’s control                will be meaningful, because such
                                                 limitation of ‘‘essential’’ terms and                   over matters that do not bear on                      bargaining will be able to address not
                                                 conditions of employment to matters                     workers’ essential terms and conditions               only the core workplace issues the
                                                 that lie near the core of the collective-               of employment are not relevant to the                 control of which establishes the
                                                                                                         determination of whether that entity is               employer’s status as a joint employer
                                                 bargaining process, this change is
                                                                                                         a joint employer.                                     but also any other matters subject to the
                                                 intended to address the concerns of
                                                                                                                                                               joint employer’s control that sufficiently
                                                 commenters (discussed above) that the                   G. Burden of Proof
                                                                                                                                                               affect the terms and conditions of
                                                 standard should not require the Board to                  Section 103.40(g) provides that a                   employees’ employment to permit or
                                                 find a joint-employer relationship based                party asserting that an employer is a                 require collective bargaining under
                                                 on an entity’s attenuated, insubstantial,               joint employer of particular employees                section 8(d) of the Act.400
                                                 or unexercised control over matters                     has the burden of establishing, by a                    On the other hand, the Board has also
                                                 that—while they may be mandatory                        preponderance of the evidence, that the               concluded that it serves a useful
                                                 subjects of bargaining—are actually                     entity meets the requirements set forth               clarifying purpose to expressly provide,
                                                 peripheral to the employment                            above. This allocation of the burden of               consistent with extant Board precedent
                                                 relationship or to employees’ terms and                 proof is consistent with the 2020 Rule,               not affected by the final rule, that where
                                                 conditions of employment. The version                   BFI, and pre-BFI precedent. See 85 FR                 two or more entities each control terms
                                                 of § 103.40(e) that appears in the final                11227; BFI, 362 NLRB at 1616.                         and conditions of employment of
                                                 rule is reformatted to include two
                                                                                                         H. Bargaining Obligations of a Joint                  particular employees, an employer is
                                                 subsections and has been streamlined to
                                                                                                         Employer                                              not required to bargain over any such
                                                 avoid surplusage.
                                                                                                                                                               terms and conditions which are in no
                                                                                                           Section 103.40(h) provides that a joint             way subject to its own control.401
                                                 F. Control Immaterial to Joint-Employer
                                                                                                         employer of particular employees must
                                                 Status                                                                                                        I. Severability
                                                                                                         bargain collectively with the
                                                    Section 103.40(f) provides that                      representative of those employees with                   Section 103.40(i) provides that the
                                                 evidence of an entity’s control over                    respect to any term and condition of                  provisions and subprovisions of the
                                                 matters that are immaterial to the                      employment that it possesses the                      final rule are intended to be severable,
                                                 existence of an employment                              authority to control or exercises the                 and that if any part of the rule is held
                                                 relationship under common-law agency                    power to control, regardless of whether               to be unlawful, the remainder of the rule
                                                 principles and that do not bear on the                  that term and condition is deemed to be               is intended to remain in effect to the
                                                 employees essential terms and                           an essential term and condition of                    fullest extent permitted by law. The
                                                 conditions of employment is not                         employment under the definition above,                Board believes, on careful
                                                 relevant to the determination of whether                but is not required to bargain with                   consideration, that the final rule in its
                                                 the employer is a joint employer.398 As                 respect to any term and condition of                  entirety flows from and is consistent
                                                 discussed above, many commenters                        employment that it does not possess the               with common-law principles as we have
                                                 have expressed a concern that the                       authority to control or exercise the                  received them from judicial authority;
                                                 proposed rule could result in the Board                 power to control.                                     reflects a permissible exercise of the
                                                 finding joint-employer relationships                      As discussed above, some                            Board’s congressionally delegated
                                                 based on kinds of control that are not                  commenters have requested that the                    authority to interpret the Act; and best
                                                 indicative of a common-law                              Board provide a concise statement of                  effectuates the Board’s statutory
                                                 employment relationship or that do not                  joint employers’ bargaining obligations               responsibility to prevent unfair labor
                                                 form a proper foundation for collective                 in order to clarify both that a joint                 practices and to encourage the practice
                                                 bargaining or unfair-labor practice                     employer—like any other employer—
                                                 liability. Similarly, the District of                   must bargain over any mandatory                          400 See, e.g., Ford Motor Co., Chicago Stamping

                                                 Columbia Circuit in BFI v. NLRB                         subject of bargaining that is subject to its          Plant v. NLRB, 441 U.S. 488, 501–503 (1979)
                                                                                                         control, and that a joint employer—                   (affirming Board’s conclusion that manufacturer
                                                 criticized the Board’s BFI decision for                                                                       was required to bargain over in-plant food service
                                                 failing, in its articulation and                        again, like any other employer—is not                 and prices because manufacturer contractually
                                                 application of the indirect-control                     required to bargain about workplace                   reserved right to review and control services and
                                                 element of the standard, to distinguish                 conditions that are not subject to its                prices directly set by a third-party contractor).
                                                 between indirect control that the                       control. Particularly in light of the                    401 Cf., e.g., Management Training Corp., 317

                                                                                                                                                               NLRB 1355, 1358 & fn. 16, 1359 (1995) (holding that
ddrumheller on DSK120RN23PROD with RULES2




                                                 common law of agency considers                          Board’s determination, discussed above,
                                                                                                                                                               an entity that controls sufficient matters relating to
                                                 intrinsic to ordinary third-party                       to adopt a closed list of ‘‘essential terms           the employment relationship to make it a statutory
                                                 contracting relationships and indirect                  and conditions of employment,’’ as                    employer may be required to bargain over terms and
                                                 control over essential terms and                        objects of control relevant to the joint-             conditions of employment within its control, but
                                                                                                         employer determination, the Board has                 certification of representative does not obligate an
                                                                                                                                                               employer to bargain concerning mandatory subjects
                                                   398 As noted above, the Board has modified this       concluded, after careful consideration of             of bargaining controlled exclusively by a distinct
                                                 provision from the version set forth in the NPRM                                                              entity that is exempt from the Board’s statutory
                                                 for clarity.                                              399 911 F.3d at 1219–1220.                          jurisdiction).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                Filed: 11/06/2023                    Page 44 of 78
                                                 73984              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 and procedure of collective bargaining.                  independent-contractor authority to                       addressing the common-law employer-
                                                 However, the Board necessarily                           shed light on the common-law                              employee relationship and the joint-
                                                 acknowledges the possibility that a                      employer-employee relationship and the                    employer relationship further confirm
                                                 reviewing body might disagree with our                   joint-employer relationship under the                     that indirect control, including control
                                                 conclusion in some respect, and, in that                 Act.404 To the extent that the other                      exercised through an intermediary,406
                                                 event, the Board desires to preserve so                  federal cases relied upon by our                          can establish the existence of an
                                                 much of the rule as such a body                          colleague articulate joint-employer                       employment relationship, including a
                                                 approves. Separately, as noted above,                    standards drawn from common-law                           joint-employer relationship.407
                                                 the Board intends the action of                          principles, those cases at best support                      We note, moreover, that the District of
                                                 rescinding the 2020 Rule in itself to be                 the proposition that an entity’s actual                   Columbia Circuit not only upheld the
                                                 severable from any of the terms of the                   exercise of control over appropriate                      Board’s recognition of this point in BFI
                                                 final rule, so that if a reviewing body                  terms and conditions of employment of                     v. NLRB, but also reprimanded the
                                                 were to disapprove the final rule in its                 another employer’s employees is                           Board that issued the 2020 rule for
                                                 entirety, the Board’s action in                          sufficient to establish that it is a joint-               neglecting it. In International
                                                 rescinding the 2020 Rule should still be                 employer—a proposition with which we                      Brotherhood of Teamsters v. NLRB, 45
                                                 given effect.                                            agree—but not our colleague’s further                     F.4th 38 (D.C. Cir. 2022), in rejecting the
                                                                                                          claim that such exercise of control is                    Board’s decision not to apply the BFI
                                                 VI. Response to Dissent
                                                                                                          necessary to find a joint-employer                        standard retroactively, the court
                                                    Our dissenting colleague advances                     relationship. Rather, numerous federal                    reaffirmed its previous holding, noting
                                                 several reasons for declining to join the                courts of appeals and state high courts                   that it had ‘‘held that ‘[t]he Board [in
                                                 majority in rescinding and replacing the                 have concluded, in non-NLRA contexts,                     Browning-Ferris I] . . . correctly
                                                 2020 Rule. We have addressed some of                     that entities were common-law                             determined that the common-law
                                                 these arguments above. Here, we offer                    employers of other employers’                             inquiry is not woodenly confined to
                                                 additional responses to several of our                   employees based solely on the entities’                   indicia of direct and immediate
                                                 colleague’s contentions.                                 unexercised power or authority to                         control;’’’ [and that] ‘‘[I]n Browning-
                                                    First, our dissenting colleague                       control.405 These decisions fully                         Ferris II—a decision issued just five
                                                 contends that common-law agency                          support our conclusion that the                           months after the Board announced the
                                                 principles do not compel the Board to                    common law does not require an                            2020 Rule—the Board inexplicably
                                                 rescind the 2020 Rule, and, further,                     entity’s actual exercise of a reserved                    overlooked the longstanding role of
                                                 actually preclude the Final Rule’s                       authority to control in order to establish                indirect control in the Board’s joint-
                                                 elimination of the 2020 Rule’s actual-                   a joint-employer relationship. Judicial                   employer inquiry . . . . Our court’s
                                                 exercise requirement.402 He also                         decisions and secondary authorities
                                                 criticizes us for seeking relevant                                                                                 2018 decision made clear that ‘the right-
                                                 common-law principles in authority                                                                                 to-control element of the Board’s joint-
                                                                                                             404 See Sec. I.D., above, and cases discussed there.

                                                 relating to the distinction between                                                                                employer standard [discussed in
                                                                                                          See also BFI v. NLRB, 911 F.3d at 1195
                                                 employees and independent contractors,                   (‘‘[E]mployee-or-independent-contractor cases can         Browning-Ferris I] has deep roots in the
                                                 and for failing to pay sufficient attention              . . . be instructive in the joint-employer inquiry to     common law [citation omitted],’ and
                                                 to judicial articulations of relevant
                                                                                                          the extent that they elaborate on the nature and          that the common law rule is that
                                                                                                          extent of control necessary to establish a common-        ‘unexercised control bears on employer
                                                 common-law principles in decisions                       law employment relationship.’’).
                                                 involving joint-employer questions                          405 See, e.g., EEOC v. Global Horizons, 915 F.3d       status . . . . ’ Further, we held that
                                                 under other federal statutes, including                  631, 640–641 (9th Cir. 2019) (two entities were joint     ‘there is no sound reason that the . . .
                                                 Title VII of the Civil Rights Act of                     employers with a direct employer based on entities’       joint-employer inquiry would give
                                                                                                          ‘‘power to control the manner in which [benefits]         [indirect control] a cold shoulder.’ [911
                                                 1964.403                                                 and wages were provided to the . . . workers, even
                                                    To the contrary, as set forth more fully              if never exercised.’’); Mallory v. Brigham Young
                                                                                                                                                                    F.3d] at 1218 (‘[The] argument that the
                                                 above, both the District of Columbia                     University, 332 P.3d 922, 928–929 (Utah 2014) (city
                                                                                                                                                                       406 As noted above, we agree with the District of
                                                 Circuit’s discussion of independent-                     was employer of university’s employee because ‘‘[i]f
                                                                                                          the principal has the right to control the agent’s        Columbia Circuit’s common-sense characterization
                                                 contractor authority in BFI v. NLRB, and                 method and manner of performance, the agent is a          of control exercised through an intermediary as
                                                 the approach taken by many other                         servant whether or not the right is specifically          indirect control, rejecting our colleague and the
                                                 courts examining joint-employer                          exercised’’) (citation omitted); Rouse v. Pitt County     2020 Rule’s counterintuitive characterization of
                                                 questions in other contexts, fully                       Memorial Hosp., Inc., 470 SE 2d 44, 52–53 (N.C.           such control as direct and immediate. See BFI v.
                                                                                                          1996) (attending physicians could be found                NLRB, 911 F.3d at 1216–1217.
                                                 support the Board’s reference to                         employers of resident physicians employed by                 407 See id. at 1217 (‘‘[T]he common law has never

                                                                                                          hospital absent evidence of actual exercise of            countenanced the use of intermediaries or
                                                    402 As noted above and discussed more fully
                                                                                                          control because ‘‘[w]here the parties have made an        controlled third parties to avoid the creation of a
                                                 below, while we have concluded that the 2020             explicit agreement regarding the right of control,        master-servant relationship.’’) (citing Nicholson v.
                                                 rule’s actual-exercise requirement is impermissible      this agreement will be dispositive;’’) (citation          Atchison, T. & S. F. Ry. Co., 147 P. 1123, 1126 (Kan.
                                                 under the Act as contrary to common law agency           omitted); Dunn v. Conemaugh & Black Lick RR, 267          1915) (use of a ‘‘branch company’’ as a ‘‘mere
                                                 principles, and apart from recognizing that the          F.2d 571, 577 (3d Cir. 1959) (railroad was employer       instrumentality’’ ‘‘did not break the relation of
                                                 Board must follow common-law agency principles           of manufacturer’s employee based on railroad’s            master and servant existing between the plaintiff
                                                 in determining who is an ‘‘employer’’ and an             right to command employee’s performance without           and the [putative master]’’); Butler v. Drive
                                                 ‘‘employee’’ under Sec. 2 of the Act, we do not          reference to any instance of exercise of that right       Automotive Industries of America, 793 F.3d 404,
                                                 conclude, as our colleague suggests, that the            because ‘‘the person is the servant of him who has        415 (4th Cir. 2015) (the joint-employer test
                                                 common law dictates the specific details of the final    the right to control the manner of performance of         ‘‘specifically aims to pierce the legal formalities of
                                                 rule’s joint-employer standard. Rather, the final rule   the work, regardless of whether or not he actually        an employment relationship to determine the loci
                                                 reflects our policy choices, within the bounds of the    exercises that right;’’) (citation omitted); S.A.         of effective control over an employee . . . .
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                                                 common law, in furtherance of the policy of the          Gerrard Co. v. Industrial Accident Comm’n, 110            Otherwise, an employer who exercises actual
                                                 United States, as set forth in Sec. 1 of the Act, to     P.2d 377, 378 (Cal. 1941) (landowner was joint            control could avoid Title VII liability by hiding
                                                 encourage the practice and procedure of collective       employer of farmer’s employee based on contract           behind another entity.’’); Al-Saffy v. Vilsack, 827
                                                 bargaining, including by providing a mechanism by        provision that picking should be done according to        F.3d 85 (D.C. Cir. 2016) (relying in part on evidence
                                                 which an entity’s rights and obligations under the       landowner’s direction without reference to whether        that officials working for putative joint employer
                                                 Act may be accurately aligned with its authority to      such direction was ever given because ‘‘the right to      had recommended employee’s dismissal as
                                                 control employees’ essential terms and conditions        control, rather than the amount of control which          evidence supporting reversal of summary judgment
                                                 of employment.                                           was exercised, is the determinative factor.’’)            on the joint-employer issue). See also discussion
                                                    403 42 U.S.C. 2000e et seq.                           (citation omitted).                                       and sources cited in Sec. I.D., above.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00040   Fmt 4701    Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 45 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                  73985

                                                 common law of agency closes its mind                    overbroad. Similarly, our colleague does                closing the list of essential terms and
                                                 to evidence of indirect control is                      not seriously contend that an entity’s                  conditions of employment. After
                                                 unsupported by law or logic.’); see id. at              reservation or exercise of control over                 carefully considering the views of
                                                 1216 (a ‘rigid distinction between direct               the manner, means, and methods of the                   commenters, we have included an
                                                 and indirect control has no anchor in                   performance of duties or the grounds of                 exhaustive list of essential terms and
                                                 the common law’) . . . . [W]e took great                discipline are not essential.411 Instead,               conditions of employment in the final
                                                 pains to inform the Board that the                      he focuses on our description of ‘‘work                 rule to ensure that any required
                                                 failure to consider reserved or indirect                rules or directions’’ that address these                bargaining would be meaningful. By
                                                 control is inconsistent with the common                 aspects of particular employees’                        contrast, we incorporate the District of
                                                 law of agency.’’ 408                                    performance of work, arguing that                       Columbia Circuit’s views regarding the
                                                    In sum, the Board’s careful                          ambiguous language in an employee                       forms of indirect control that bear on the
                                                 examination of relevant common-law                      handbook may be used to justify a joint-                joint-employer inquiry in § 103.40(e)
                                                 principles as articulated in a                          employer finding. We find this concern                  and (f) of the final rule. In this regard,
                                                 voluminous body of primary judicial                     misplaced and emphasize that in                         the final rule is faithful to the District
                                                 authority and secondary compendiums,                    applying the final rule, we will take a                 of Columbia Circuit’s guidance
                                                 reports, and restatements of these                      functional approach to assessing                        regarding the need for a limiting
                                                 common-law decisions has persuaded                      whether a putative joint employer who                   principle to ensure the joint-employer
                                                 us that the controlling common-law                      meets the threshold requirement of                      standard remains within common-law
                                                 agency principles do not permit the                     having a common-law employment                          boundaries.
                                                 Board to require that an entity that                    relationship with particular employees                     The dissent next argues that the
                                                 possesses authority to control also                     possesses or exercises the requisite                    majority does not set forth a substantial
                                                 exercise that control, or exercise it in                control over essential terms and                        policy justification for rescinding and
                                                 any particular way, in order to be found                conditions of employment.                               replacing the 2020 rule. The dissent
                                                 a joint employer under the Act.409                         Lastly, we part company with our                     argues that because the majority focuses
                                                    Next, our colleague contends that the                colleague when it comes to including                    on the common-law shortcomings of the
                                                 final rule unjustifiably expands the list               workplace health and safety as an                       2020 rule, it pays insufficient heed to
                                                 of essential terms and conditions of                    essential term or condition of                          commenters’ policy-based objections to
                                                 employment. Specifically, our colleague                 employment. In our view, it is                          the final rule.
                                                 takes issue with our inclusion of three                 appropriate to regard an entity that                       As noted at the outset, while we are
                                                 specific terms and conditions of                        possesses or exercises control over                     persuaded that the 2020 rule should be
                                                 employment in the exhaustive list set                   workplace health and safety as a joint                  rescinded because it is at odds with
                                                 forth in Section 103.40(d): ‘‘work rules                employer. As set forth above, to the                    common-law agency principles, we
                                                 and directions governing the manner,                    extent an entity solely memorializes its                have stated repeatedly that we would
                                                 means, and methods of the performance                   compliance with legal obligations                       nevertheless rescind the 2020 rule and
                                                 of duties and the grounds for                           pertaining to health and safety, it will                replace it with the final rule for policy
                                                 discipline’’; ‘‘the tenure of employment,               not for that reason alone be regarded as                reasons.412 We reiterate that position
                                                 including hiring and discharge’’; and                   a joint employer. However, and contrary                 here. In our view, the joint-employer
                                                 ‘‘working conditions related to the                     to our colleague, we believe that entities              standard we adopt today is more
                                                 safety and health of employees.’’                       that exercise discretion over particular                consistent with Section 1 of the Act and
                                                    As discussed more extensively                        employees’ workplace health and safety                  will better facilitate effective collective
                                                 above,410 we find our colleague’s                       are properly treated as joint employers.                bargaining than the standard set forth in
                                                 concerns regarding the final rule’s                     We believe that common-law employers                    the 2020 rule. Our colleague’s
                                                 treatment of these terms and conditions                 of particular employees that have                       contention that we have not made a
                                                 of employment as essentially                            authority to exercise discretion over                   policy-based decision for changing our
                                                 unfounded. With respect to ‘‘the tenure                 those employees’ workplace health and
                                                 of employment, including hiring and                                                                             approach to determining joint-employer
                                                                                                         safety are properly treated as joint                    status under the Act is therefore
                                                 discharge,’’ our colleague seems to take                employers because employees’ ability to
                                                 issue with the form rather than the                                                                             unfounded.
                                                                                                         bargain with all of the entities that may                  In addition, the dissent contends that
                                                 substance. Indeed, the 2020 rule treated                exercise such control is central to the                 the majority does not offer a satisfactory
                                                 hiring and discharge as essential,                      Act’s protection of employees’ collective
                                                 making it even more evident that our                                                                            response to those commenters who take
                                                                                                         rights.                                                 the view that the final rule will
                                                 colleague’s quarrel with our formulation                   Our colleague argues that setting forth
                                                 is principally semantic. As we indicated                                                                        adversely affect employers in particular
                                                                                                         an exhaustive list of essential terms and
                                                 previously, the phrase we have chosen                                                                           industries or sectors, including the
                                                                                                         conditions of employment in the final
                                                 to include in the final rule is meant to                                                                        building and construction industry, the
                                                                                                         rule nevertheless fails to address the
                                                 encompass the range of actions that                                                                             franchise industry, the staffing industry,
                                                                                                         District of Columbia Circuit’s concerns
                                                 determine an individual’s employment                                                                            and the healthcare sector. As discussed
                                                                                                         in BFI about the Board’s treatment of
                                                 status. We reject the suggestion that our               forms of indirect control when applying                 more extensively in Section IV.D.,
                                                 framing of this term of employment is                   the joint-employer standard. Our                        above, we are of the view that the Act—
                                                                                                         colleague misstates our rationale for                   by referring generally to ‘‘employers’’
                                                   408 45 F.4th at 42, 44, 46–47.                                                                                and ‘‘employees’’ and by effectively
                                                   409 As noted above, we reject any suggestion that                                                             incorporating the common-law
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                                                                                                           411 Indeed, the 2020 rule treated both work
                                                 the 2020 rule recognized that an entity’s               directions and discipline as essential. See 85 FR at    definition of those terms—requires the
                                                 contractually reserved but unexercised control is       11225 & 11236 (citing Laerco Transportation, 269        Board to apply a uniform joint-employer
                                                 sufficient to establish a common-law employer-          NLRB at 325). See also, e.g., Cognizant Technology
                                                 employee relationship but declined, as a                Solutions U.S. Corp. & Google LLC, 372 NLRB No.
                                                                                                                                                                 standard to all entities that fall within
                                                 discretionary matter, to exercise joint-employer        108, slip op. at 1 (2023) (finding joint-employer
                                                 jurisdiction over statutory employers who did not       relationship under 2020 rule based in part on             412 Accordingly, as noted above, we reject our
                                                 actually exercise such control—a rationale nowhere      entity’s maintenance of ‘‘ ‘workflow training charts’   colleague’s suggestion that we take common-law
                                                 presented in the text or preamble of the 2020 rule.     which govern[ed] the details of employees’              agency principles to dictate the precise contours of
                                                   410 See discussion in Sec. IV.D., above.              performance of specific tasks.’’).                      the final rule.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                Filed: 11/06/2023               Page 46 of 78
                                                 73986             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 the Board’s jurisdiction. For this reason,              rule. Accordingly, there is no risk that                final rule in response to commenters’
                                                 we have declined several commenters’                    the final rule will be applied broadly to               valuable input. We are confident that
                                                 requests for the Board to exempt certain                encompass entities whose relationship                   the final rule is stronger and will
                                                 industries from the coverage of the final               to the performance of the work is clearly               provide better guidance to regulated
                                                 rule. However, we are mindful that                      too attenuated to support finding that                  parties because of the helpful public
                                                 applying the final rule will require                    they are common-law employers, as our                   input we received and the changes we
                                                 sensitivity to industry-specific norms                  dissenting colleague fears.                             made in light of commenters’ views.
                                                 and practices, and we will take any                        In addition to these hypotheticals                      Next, our colleague argues that the
                                                 relevant industry-specific context into                 concerning the application of the final                 final rule ‘‘offers no greater certainty or
                                                 consideration when considering                          rule, our colleague makes several                       predictability than adjudication, and it
                                                 whether an entity is a joint employer.                  predictions about how the final rule will               will not reduce litigation.’’ As discussed
                                                    Our dissenting colleague also takes                  affect particular businesses. Our                       in Section IV.D. above, we are of the
                                                 the position that the final rule will                   colleague repeats the contention raised                 view that the final rule will reduce
                                                 frustrate bargaining and undermine the                  by several commenters (and addressed                    uncertainty by codifying the general
                                                 policies of the Act favoring the                        more fully above) that the possibility of               principles that will guide the Board in
                                                 resolution of labor disputes and the                    conflict among joint employers will                     making joint-employer determinations.
                                                 promotion of stable bargaining                          complicate bargaining and lead to worse                 While the final rule does not purport to
                                                 relationships. In this regard, he offers                outcomes for employees. As an initial                   anticipate the myriad arrangements
                                                 several hypotheticals that he suggests                  matter, we question our colleague’s                     under which entities possess or exercise
                                                 illustrate the potential for the final rule             suggestion that the final rule will make                control over particular employees’
                                                 to be applied in a manner that will                     it more difficult for parties to reach                  essential terms and conditions of
                                                 frustrate effective collective bargaining               agreements. Instead, we are persuaded                   employment, it offers a framework for
                                                 by extending joint-employer obligations                 that a standard that ensures that those                 analyzing such questions that is rooted
                                                 to entities whose control over terms and                entities who possess or exercise control                in common-law agency principles and
                                                 conditions of employment is too                         over particular employees’ essential                    ensures greater predictability by offering
                                                 attenuated to warrant their participation               terms and conditions of employment are                  an exhaustive list of the essential terms
                                                 in bargaining.                                          present for bargaining will help avoid                  and conditions of employment that may
                                                    We respectfully disagree with our                    fruitless negotiations. In our view,                    give rise to a joint-employer finding and
                                                 dissenting colleague’s view of how the                  aligning employers’ responsibilities                    detailing the forms of control that the
                                                 final rule will operate. In reciting the                under the Act with their authority to                   Board will treat as probative of joint-
                                                 standard set forth in the final rule, our               control terms and conditions of                         employer status. In this regard, we
                                                 colleague elides the threshold                          employment will lead to better                          respectfully disagree with our
                                                 significance of § 103.40(a), which                      outcomes overall. Ensuring that the                     colleague’s suggestion that ‘‘[t]his is
                                                 requires a party seeking to demonstrate                 necessary parties may all have a seat at                precisely how the determinations would
                                                 the existence of a joint-employment                     the bargaining table will also empower                  be made if there were no rule at all.’’
                                                 relationship to make an initial showing                 entities who have chosen to                             Finally, to the extent our colleague’s
                                                 that the putative joint employer has a                  contractually retain or exercise control                criticism amounts to an observation that
                                                 common-law employment relationship                      over particular employees’ essential                    the final rule will need to be applied on
                                                 with particular employees. Because the                  terms and conditions of employment to                   a case-by-case basis moving forward, we
                                                 application of the final rule will be                   formalize their responsibilities and                    observe that the same can be said for the
                                                 limited to entities who are common-law                  protect their interests in collective-                  2020 rule, which also required the
                                                 employers, many of the hypothetical                     bargaining agreements they also                         Board to apply the joint-employer
                                                 scenarios our colleague suggests will                   negotiate and sign.414 Further, we                      standard in diverse contexts based on
                                                 give rise to a joint-employer finding                   observe that, even assuming arguendo                    the particular evidence put forward by
                                                 cannot arise. For example, as noted                     that our colleague’s concern about the                  a party seeking to establish joint-
                                                 above, an entity may control a term of                  potential difficulties associated with                  employer status. Moreover, as the
                                                 employment to which a bargaining duty                   joint-employer bargaining were valid,                   District of Columbia Circuit has
                                                 attaches but not possess or exercise the                such difficulties would arise under any                 observed, it is appropriate for the Board
                                                 requisite control over the performance                  joint-employer standard, and                            to ‘‘flesh out the operation of a legal test
                                                 of the work to be regarded as a common-                 accordingly do not support specific                     that Congress has delegated to the Board
                                                 law employer. For example, while the                    criticism of the current final rule.                    to administer’’ on an ongoing, case-by-
                                                 Supreme Court has recognized that an                       Finally, our dissenting colleague                    case basis.415
                                                 employer has a duty to bargain over in-                 contends that the final rule is arbitrary                  Ultimately, our colleague concludes
                                                 plant food service and prices,413 that                  and capricious under the                                that the final rule must be arbitrary and
                                                 fact alone will not support a finding that              Administrative Procedure Act for                        capricious because, given his view that
                                                 the third-party contractor who supplies                 several reasons. First, he argues that the              common-law agency principles do not
                                                 the food, and codetermines pricing, is a                majority has failed to respond to                       compel the Board to rescind and replace
                                                 joint employer. Instead, § 103.40(a) of                 significant points urged by commenters.                 the 2020 rule, the final rule is ‘‘legally
                                                 the final rule establishes a threshold                  We reject this characterization and note                erroneous.’’ As we have discussed in
                                                 requirement that a putative joint                       our extensive discussion of the points                  detail above, the great weight of
                                                 employer must be the common-law                         urged by commenters in Section IV.D.,                   common-law authority supports our
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                                                 employer of particular employees.                       above. Not only did we respond to                       conclusion that the 2020 rule is contrary
                                                 Absent evidence that an entity is the                   commenters’ significant arguments, we                   to common-law agency principles in
                                                 common-law employer of particular                       also made adjustments to the text of the                requiring that an entity actually exercise
                                                 employees, then, there is no basis for a                                                                        control over another employer’s
                                                                                                           414 In this respect, the final rule will help avoid
                                                 joint-employer finding under the final                                                                          employees in order to be found to be a
                                                                                                         the scenario our colleague describes where courts
                                                                                                         bind entities later found to be joint employers to
                                                                                                                                                                 joint employer. In any case, as we have
                                                  413 Ford Motor Co., Chicago Stamping Plant v.          collective-bargaining agreements they ‘‘neither
                                                 NLRB, 441 U.S. 488, 501–503 (1979).                     negotiated nor signed.’’                                 415 BFI v. NLRB, 911 F.3d at 1221.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                            Document #2025765                                Filed: 11/06/2023                 Page 47 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                   73987

                                                 also explained above, we would rescind                    putative joint-employer’s control over                  using particular cleaning supplies.
                                                 and replace the 2020 rule for policy                      the terms and conditions of employment                  Because the clients possess a
                                                 reasons even if we had not concluded                      of another business’s employees was                     contractually reserved authority to
                                                 that its actual-exercise requirement were                 sufficient ‘‘to permit meaningful                       control ‘‘working conditions related to
                                                 precluded by the Act’s incorporation of                   collective bargaining.’’ 421                            the safety and health of employees’’—an
                                                 common-law agency principles. We                             As explained below, the majority’s                   essential employment term newly
                                                 accordingly respectfully disagree with                    final rule effects an unprecedented and                 invented by my colleagues—each of
                                                 our colleague’s contention that the final                 unwarranted expansion of the Board’s                    those one hundred clients would be a
                                                 rule is arbitrary and capricious under                    joint-employer doctrine. The majority                   joint employer of CleanCo’s employees.
                                                 the Administrative Procedure Act.                         misapprehends common-law agency                         Now, suppose a union wins an election
                                                                                                           principles in holding that those                        in an employer-wide unit of CleanCo’s
                                                 VII. Dissenting View of Member Kaplan
                                                                                                           principles compel the Board to rescind                  maintenance employees. Because all
                                                    My colleagues have accomplished                        its 2020 Rule on Joint Employer Status                  one hundred clients jointly employ
                                                 something truly remarkable. They have                     Under the National Labor Relations Act                  those employees, all one hundred
                                                 come up with a standard for                               (the 2020 Rule) 422 and replace it with                 would be compelled to participate in
                                                 determining joint-employer status that                    a joint-employer standard not seen                      collective bargaining. As the dissenters
                                                 is potentially even more catastrophic to                  anywhere else in the law. My colleagues                 in BFI put it, ‘‘no bargaining table is big
                                                 the statutory goal of facilitating effective              dispense with any requirement that a                    enough to seat all of the entities that
                                                 collective bargaining, as well as more                    company has actually exercised any                      will be potential joint employers under
                                                 potentially harmful to our economy,                       control whatsoever (much less                           the majority’s new standards.’’ 425
                                                 than the Board’s previous standard in                     substantial control) over the essential                    My colleagues repeatedly insist that
                                                 Browning-Ferris Industries.416 As the                     terms and conditions of another                         their approach—specifically,
                                                 dissent noted in Browning-Ferris, the                     company’s employees. Under the final                    eliminating the requirement of proof
                                                 joint-employer standard the Board                         rule, an entity’s mere possession of a                  that an entity has actually exercised
                                                 adopted in that decision not only                         never-exercised contractual reservation                 control over another entity’s employees
                                                 ‘‘affect[ed] multiple doctrines central to                of right to control a single essential term             before it can be deemed their joint
                                                 the Act’’ but had ‘‘potentially massive                   and condition of employment of another                  employer—is the only permissible one
                                                 economic implications.’’ 417 The final                    business’s employees makes that entity                  under the common law and the Act. In
                                                 rule the majority issues today,                           a joint employer of those employees. So                 response to commenters who point out
                                                 concerningly, goes beyond BFI in                                                                                  the significant negative effects that an
                                                                                                           does its ‘‘indirect’’ control of an
                                                 several ways. BFI went no further than                                                                            expanded joint-employer standard will
                                                                                                           essential term and condition, a term my
                                                 to assert that the ‘‘direct and immediate                                                                         have on businesses in wide variety of
                                                                                                           colleagues fail to define or otherwise
                                                 control’’ standard of pre-BFI precedent                                                                           sectors, they repeatedly say that it
                                                                                                           cabin. As I will show, these standards
                                                 is not compelled by the National Labor                                                                            cannot be helped because their
                                                                                                           (in the words of the United States Court
                                                 Relations Act (NLRA or the Act); the                                                                              approach is statutorily compelled.
                                                                                                           of Appeals for the District of Columbia
                                                 majority now claims that it is statutorily                                                                        Accordingly, they provide no
                                                                                                           Circuit) ‘‘oversho[o]t the common-law
                                                 impermissible.418 BFI held that                                                                                   substantive response to these
                                                                                                           mark.’’ 423
                                                 contractually reserved but unexercised                                                                            commenters’ weighty objections.
                                                                                                              My colleagues claim that their final
                                                 control and indirect control are                                                                                  Moreover, because my colleagues insist
                                                 probative of joint-employer status; 419                   rule effectuates ‘‘the policy of the
                                                                                                           United States to eliminate the causes of                that their hands are tied and fail to
                                                 the majority now makes them                                                                                       acknowledge that common-law agency
                                                 dispositive of that status. BFI recognized                certain substantial obstructions to the
                                                                                                           free flow of commerce . . . by                          principles, and therefore the Act, permit
                                                 that ‘‘of course,’’ the ‘‘existence, extent,                                                                      the 2020 Rule, they fail to engage in any
                                                 and object of a putative joint employer’s                 encouraging the practice and procedure
                                                                                                           of collective bargaining,’’ 424 but in                  real policy-based choice between
                                                 control . . . all may present material                                                                            competing alternatives. Consequently,
                                                 issues’’ in a joint-employer                              reality it will frustrate national labor
                                                                                                           policy by placing at the bargaining table               the final rule must stand or fall on the
                                                 determination; 420 the majority removes                                                                           majority’s assertion that their position is
                                                 the term ‘‘extent.’’ Under their final                    a second ‘‘employer’’ that has never
                                                                                                           exercised any control over the                          compelled by the common law and
                                                 rule, joint-employer status is established                                                                        hence the only permissible construction
                                                 if control exists (even if only potentially               employment terms of another entity’s
                                                                                                           employees. Indeed, it may place many                    of the Act. It falls. Indeed, not only is
                                                 or indirectly) and if the object of control                                                                       their position—i.e., that the actual-
                                                 is an essential term and condition of                     more than just two such ‘‘employers’’ at
                                                                                                           the bargaining table. To borrow a                       exercise requirement is impermissible—
                                                 employment of another entity’s                                                                                    not compelled by the common law, it
                                                 employees, regardless of the extent of                    hypothetical from the BFI dissent,
                                                                                                           suppose CleanCo is in the business of                   results in a final rule that exceeds the
                                                 that control. Put differently, the final                                                                          limits of the common law, as I will
                                                 rule eliminates the second step of the                    supplying maintenance employees to
                                                                                                           clients to clean their offices. Suppose                 show. In any event, the courts have
                                                 BFI standard, which required the Board                                                                            made clear that the Board may adopt a
                                                 to determine whether the extent of a                      further that CleanCo supplies employees
                                                                                                           to one hundred clients, and that each                   joint-employer standard under the
                                                   416 Browning-Ferris Industries of California, Inc.,     CleanCo-client contract contains a                      NLRA that does not extend to the
                                                 d/b/a BFI Newby Island Recyclery, 362 NLRB 1599           provision that gives the client the right               outermost limits of the common law.
                                                 (2015) (BFI).                                             to prohibit, on health and safety                       Even accepting for argument’s sake that
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                                                   417 Id. at 1647 (Members Miscimarra and Johnson,

                                                 dissenting).
                                                                                                           grounds, CleanCo’s employees from                         425 BFI, 362 NLRB at 1619 (Members Miscimarra
                                                   418 Id. at 1609 (stating the BFI majority’s view that
                                                                                                             421 Id.
                                                                                                                                                                   and Johnson, dissenting). Moreover, because joint-
                                                 requiring direct and immediate control ‘‘is not                                                                   employer status makes an otherwise neutral
                                                                                                              422 85 FR 11184 (Feb. 26, 2020) (codified at 29
                                                 mandated by the Act’’).                                                                                           business primary for purposes of Sec. 8(b)(4) of the
                                                   419 Id. at 1614 (‘‘The right to control . . . is        CFR 103.40).                                            Act, the union that represents CleanCo’s
                                                 probative of joint-employer status, as is the actual         423 Browning-Ferris Industries of California, Inc.
                                                                                                                                                                   maintenance employees would not be limited to
                                                 exercise of control, whether direct or indirect.’’).      v. NLRB, 911 F.3d 1195, 1216 (D.C. Cir. 2018).          picketing CleanCo’s headquarters but could
                                                   420 Id.                                                    424 NLRA Sec. 1.                                     lawfully picket all one hundred clients.



                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00043   Fmt 4701    Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023               Page 48 of 78
                                                 73988              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 the majority’s rule does not exceed the                 employees.’ ’’) (quoting Clinton’s Ditch              any actual exercise of that authority,
                                                 common law’s boundaries, compelling                     Co-op Co. v. NLRB, 778 F.2d 132, 138                  could alone establish a joint-employer
                                                 policy considerations counsel against its               (2d Cir. 1985)). Under this precedent, an             relationship.’’ Browning-Ferris
                                                 promulgation and in favor of leaving the                entity’s unexercised contractual                      Industries of California, Inc. v. NLRB,
                                                 2020 Rule in place. Because I would                     reservation of a right to control or                  911 F.3d at 1213 (internal citation
                                                 retain that rule, I dissent.                            indirect control/influence was                        omitted). Similarly, the court said that
                                                                                                         insufficient to establish joint-employer              ‘‘whether indirect control can be
                                                 Background
                                                                                                         status.                                               ‘dispositive’ is not at issue in this case
                                                    In determining, under the Act,                          In 2015, a divided Board significantly             because the Board’s decision turned on
                                                 whether an employment relationship                      lowered the bar for proving a joint-                  its finding that Browning-Ferris
                                                 exists between an entity and employees                  employer relationship in BFI, 362 NLRB                exercised control ‘both directly and
                                                 directly employed by a second entity,                   at 1599. There, a Board majority                      indirectly.’ ’’ Id. at 1218.
                                                 common-law agency principles are                        retained the ‘‘share or codetermine’’                    After canvassing common-law agency
                                                 controlling.426 Under those principles,                 standard but eliminated the preexisting               principles, the D.C. Circuit upheld ‘‘as
                                                 the Board will find that two separate                   requirement of proof that a putative                  fully consistent with the common law
                                                 entities are joint employers of                         joint employer had exercised direct and               the [BFI] Board’s determination that
                                                 employees directly employed by only                     immediate control over essential terms                both reserved authority to control and
                                                 one of them if the evidence shows that                  and conditions of employment. Id. at                  indirect control can be relevant factors
                                                 they share or codetermine those matters                 1613–1614. The BFI majority created a                 in the joint-employer analysis.’’ Id. at
                                                 governing the employees’ essential                      new two-step standard. At step one, the               1222 (emphasis added). Although the
                                                 terms and conditions of employment.427                  inquiry was ‘‘whether there is a                      court held that contractually reserved
                                                    For many years, the Board, with court                common-law employment relationship                    control and indirect control can
                                                 approval, held that a determination that                with the employees in question.’’ Id. at              contribute to a joint-employer finding, it
                                                 two or more entities share or                           1600. If so, the analysis proceeded to a              declined to reach the question of
                                                 codetermine such matters requires proof                 second step, where the Board was to                   whether either one could independently
                                                 that a putative joint employer has                      determine ‘‘whether the putative joint                establish joint-employer status.
                                                 actually exercised substantial direct and               employer possesses sufficient control                    The D.C. Circuit made several other
                                                 immediate control over one or more                      over employees’ essential terms and                   important points that subsequently
                                                 essential terms and conditions of                       conditions of employment to permit                    informed the 2020 Rule. First, the court
                                                 employment of another entity’s                          meaningful collective bargaining.’’ Id. In            made clear that the common law sets
                                                 employees. See Summit Express, Inc.,                    addition, the BFI majority held that a                the outer limit of a permissible joint-
                                                 350 NLRB 592, 592 n.3 (2007) (finding                   joint-employer relationship could be                  employer standard under the Act,
                                                 that the General Counsel failed to prove                based solely on an unexercised                        without suggesting in any way that the
                                                 direct and immediate control and                        contractual reservation of right to                   Board’s standard must or should be
                                                 therefore dismissing joint-employer                     control and/or indirect control. In other             coextensive with that outer limit. ‘‘The
                                                 allegation); Airborne Express, 338 NLRB                 words, the BFI majority expanded the                  policy expertise that the Board brings to
                                                 597, 597 n.1 (2002) (holding that ‘‘the                 joint-employer doctrine to potentially                bear on applying the National Labor
                                                 essential element’’ in a joint-employer                 include in the collective-bargaining                  Relations Act to joint employers is
                                                 analysis ‘‘is whether a putative joint                  process an employer’s independent                     bounded by the common-law’s
                                                 employer’s control over employment                      business partner that has an indirect or              definition of a joint employer. The
                                                 matters is direct and immediate’’) (citing              merely potential impact on the                        Board’s rulemaking, in other words,
                                                 TLI, Inc., 271 NLRB 798, 798–799                        employees’ essential terms and                        must color within the common-law lines
                                                 (1984)); Laerco Transportation, 269                     conditions of employment, even where                  identified by the judiciary.’’ Id. at 1208
                                                 NLRB 324, 325–326 (1984) (dismissing                    the business partner has not itself                   (emphasis added). Hence, while it is
                                                 joint-employer allegation where user                    actually established any of those                     clear that the Board is precluded from
                                                 employer’s supervision of supplied                      essential employment terms or                         adopting a more expansive joint-
                                                 employees was limited and routine); see                 collaborated with the undisputed                      employer doctrine than the common
                                                 also NLRB v. CNN America, Inc., 865                     employer in setting them.                             law permits, it may adopt a narrower
                                                 F.3d at 748–751 (finding that the Board                    The defining feature of the Board’s                standard that promotes the Act’s
                                                 erred by failing to adhere to its ‘‘direct              BFI standard was its elimination of the               policies. This is a point that was
                                                 and immediate control’’ standard); SEIU                 preexisting requirement of proof that a               recognized by the Board majority in BFI
                                                 Local 32BJ v. NLRB, 647 F.3d 435, 442–                  putative joint employer actually                      itself. BFI, 362 NLRB at 1613 (‘‘The
                                                 443 (2d Cir. 2011) (‘‘ ‘An essential                    exercised substantial direct and                      common-law definition of an
                                                 element’ of any joint employer                          immediate control over the essential                  employment relationship establishes the
                                                 determination is ‘sufficient evidence of                terms and conditions of another                       outer limits of a permissible joint-
                                                 immediate control over the                              company’s employees. The Court of                     employer standard under the Act.’’).
                                                                                                         Appeals for the District of Columbia                  Indeed, the Board, with court approval,
                                                    426 NLRB v. United Insurance Co. of America, 390
                                                                                                         Circuit (the D.C. Circuit) did not uphold             has long made policy choices not to
                                                 U.S. 254, 256 (1968).                                   that defining feature. It expressly left
                                                    427 CNN America, Inc., 361 NLRB 439, 441 (2014)                                                            exercise the full extent of its
                                                 (citing TLI, Inc., 271 NLRB 798, 798 (1984)), enf.      undecided whether indirect control or                 jurisdiction, including as to particular
                                                 denied in part 865 F.3d 740 (D.C. Cir. 2017). The       contractually-reserved-but-unexercised                classes of employment relationships.428
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                                                 ‘‘share or codetermine’’ standard was first stated by   authority to control could, standing
                                                 the United States Court of Appeals for the Third        alone, establish joint-employer status.                  428 See Northwestern University, 362 NLRB 1350,
                                                 Circuit in NLRB v. Browning-Ferris Industries of
                                                 Pennsylvania, Inc., 691 F.2d 1117, 1123 (3d Cir.        As the court stated, ‘‘because the Board              1352 (2015) (declining to assert jurisdiction over
                                                 1982). As the D.C. Circuit observed in its 2018         relied on evidence that Browning-Ferris               Northwestern University football players who
                                                 decision reviewing BFI, after the Third Circuit         both had a ‘right to control’ and had                 receive grant-in-aid scholarships, even assuming
                                                 formulated the ‘‘share or codetermine’’ standard,                                                             they are statutory employees, due to the nature and
                                                 the Board and the courts began coalescing around
                                                                                                         ‘exercised that control,’ this case does              structure of the NCAA Division I Football Bowl
                                                 it. Browning-Ferris Industries of California, Inc. v.   not present the question whether the                  Subdivision); Brevard Achievement Center, 342
                                                 NLRB, 911 F.3d at 1201.                                 reserved right to control, divorced from              NLRB 982, 983–985 (2004) (declining to exercise



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00044   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023                Page 49 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                             73989

                                                    Second, the D.C. Circuit made clear                    routine parameters of company-to-                       that an entity shares or codetermines the
                                                 that, under the common law, the                           company contracting. Id. at 1216. The                   essential terms and conditions of
                                                 standard for determining independent-                     court explained that, for example, it                   another employer’s employees, ‘‘the
                                                 contractor status, with its emphasis on                   would be inappropriate to give any                      entity must possess and exercise such
                                                 the right to control the manner and                       weight in a joint-employer analysis to                  substantial direct and immediate control
                                                 means of performance, is different from                   the fact that Browning-Ferris had                       over one or more essential terms or
                                                 the joint-employer standard: ‘‘[T]he                      controlled the basic contours of a                      conditions of their employment as
                                                 independent-contractor and joint-                         contracted-for service, such as by                      would warrant finding that the entity
                                                 employer tests ask different questions.                   requiring four lines’ worth of employee                 meaningfully affects matters relating to
                                                 The independent-contractor test                           sorters plus supporting screen cleaners                 the employment relationship with those
                                                 considers who, if anyone, controls the                    and housekeepers. Id. at 1220–2221.                     employees.’ ’’ 85 FR at 11186 & 11236.
                                                 worker other than the worker herself.                        Finally, and importantly, the court                  The Board defined ‘‘substantial direct
                                                 The joint-employer test, by contrast,                     held that the Board had erred by failing                and immediate control’’ to mean ‘‘direct
                                                 asks how many employers control                           to apply the second step of its two-step                and immediate control that has a regular
                                                 individuals who are unquestionably                        standard: whether the putative joint                    or continuous consequential effect on an
                                                 superintendent.’’ 911 F.3d at 1214. In                    employer possesses sufficient control                   essential term or condition of
                                                 this regard, the court explained that ‘‘a                 over employees’ essential terms and                     employment of another employer’s
                                                 rigid focus on independent-contractor                     conditions of employment to permit                      employees.’’ Id. at 11203–11205 &
                                                 analysis omits the vital second step in                   meaningful collective bargaining. The                   11236. The 2020 Rule also specified that
                                                 joint-employer cases, which asks, once                    court rebuked the Board for ‘‘never                     control is not ‘‘substantial’’ if it is ‘‘only
                                                 control over the workers is found, who                    delineat[ing] what terms and conditions                 exercised on a sporadic, isolated, or de
                                                 is exercising that control, when, and                     of employment are ‘essential,’ ’’ for                   minimis basis.’’ Id. at 11236.
                                                 how.’’ Id. at 1215; see also Redd v.                      adopting an ‘‘inclusive’’ and ‘‘non-                       The 2020 Rule recognized that certain
                                                 Summers, 232 F.3d 933, 937–938 (D.C.                      exhaustive’’ approach to the meaning of                 other forms of control and authority to
                                                 Cir. 2000) (expressing doubt that                         ‘‘essential terms,’’ and for failing to                 control play an appropriately limited
                                                 independent-contractor precedent is                       clarify what ‘‘meaningful collective                    role in the joint-employer analysis. It
                                                 well suited to address issues of joint                    bargaining’’ might require. Id. at 1221–                deemed probative of joint-employer
                                                 employment). Accordingly, ‘‘the vital                     1222. The court remanded the case to                    status evidence of an entity’s indirect
                                                 second step’’ of a common-law joint-                      the Board for further proceedings                       control over essential terms and
                                                 employer analysis does indeed focus on                    consistent with the court’s opinion.429                 conditions of employment of another
                                                 the exercise of control, including its                                                                            employer’s employees, the entity’s
                                                                                                           The 2020 Joint-Employer Rule
                                                 form, frequency, and extent.                                                                                      contractually reserved but never
                                                    Third, the D.C. Circuit held that the                    Against this background, the Board in                 exercised authority over the essential
                                                 BFI decision’s treatment of the indirect-                 2020 promulgated a joint-employer rule                  terms and conditions of employment of
                                                 control factor contravened the common                     that was clear and consistent with                      another employer’s employees, and the
                                                 law. Browning-Ferris Industries of                        common-law agency principles. The                       entity’s control over mandatory subjects
                                                 California, Inc. v. NLRB, 911 F.3d at                     2020 Rule provided much needed                          of bargaining other than the essential
                                                 1221. Specifically, the court concluded                   guidance to the regulated community. It                 terms and conditions of employment.
                                                 that the BFI decision had ‘‘overshot the                  adopted the universally accepted                        Id. But those types of control could tend
                                                 common-law mark’’ by failing to                           general formulation of the joint-                       to support a finding of joint-employer
                                                 distinguish evidence of indirect control                  employer standard that an entity may be                 status ‘‘only to the extent [they]
                                                 that bears on workers’ essential terms                    considered a joint employer of a                        supplement[ed] and reinforce[d]
                                                 and conditions of employment from                         separate entity’s employees only if the                 evidence of the entity’s possession or
                                                 evidence that simply documents the                        two entities share or codetermine the                   exercise of direct and immediate control
                                                                                                           employees’ essential terms and                          over a particular essential term and
                                                 jurisdiction over disabled workers whose                  conditions of employment. The 2020                      condition of employment.’’ Id. They
                                                 relationship with an employer is ‘‘primarily              Rule then further defined that standard                 could not, standing alone, establish
                                                 rehabilitative’’ as opposed to ‘‘typically industrial’’   in a manner that eliminated the                         joint-employer status.
                                                 because ‘‘Congress did not intend that the Act            unjustified features introduced in BFI.                    The Board also made clear that the
                                                 govern’’ the former); Brown University, 342 NLRB
                                                 483, 493 (2004) (dismissing representation petition       The 2020 Rule explained that to show                    2020 Rule was not intended to
                                                 based on the ‘‘belief that the imposition of                                                                      immunize an entity from joint-employer
                                                 collective bargaining on graduate students would             429 On remand, the Board found that retroactive
                                                                                                                                                                   status through use of an intermediary to
                                                 improperly intrude into the educational process           application of any refined standard would be            exercise control, explaining that
                                                 and would be inconsistent with the purposes and           manifestly unjust. The Board therefore dismissed
                                                 policies of the Act’’), overruled on policy grounds       the complaint and amended the certification of
                                                                                                                                                                   ‘‘[d]irect and immediate control
                                                 by Columbia University, 364 NLRB 1080 (2016);             representative to remove BFI as a joint employer.       exercised through an intermediary
                                                 Siemons Mailing Service, 122 NLRB 81 (1959)               Browning-Ferris Industries of California, Inc. d/b/a    remains direct and immediate.’’ Id. at
                                                 (describing Board’s discretionary commerce                BFI Newby Island Recyclery, 369 NLRB No. 139,           11209 (citing Browning-Ferris Industries
                                                 standard).                                                slip op. at 1 (2020). Thereafter, a divided Board
                                                                                                           denied the union’s motion for reconsideration.
                                                                                                                                                                   of California, Inc. v. NLRB, 911 F.3d at
                                                   In sum, even if the majority’s final rule does not
                                                 exceed the bounds of the common law, the Board            Browning-Ferris Industries of California, Inc. d/b/a    1217 (‘‘[T]he common law has never
                                                 possesses discretion to adopt, for sound policy           BFI Newby Island Recyclery, 370 NLRB No. 86             countenanced the use of intermediaries
                                                 reasons, a standard that excludes from joint-             (2021).                                                 or controlled third parties to avoid the
                                                 employer status entities that have never actually            On further review, the D.C. Circuit found the
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                                   creation of a master-servant
                                                 exercised control over the terms and conditions of        Board’s retroactivity analysis erroneous, granted the
                                                 employment of another employer’s employees.               union’s petition for review, vacated the Board’s        relationship.’’)).
                                                 Moreover, although my colleagues and I agree that         order dismissing the complaint and amending the            In response to the court’s criticism of
                                                 the joint-employer standard is bounded by the             certification of representative, and remanded the       the Board’s failure to define what
                                                 common law, they point to no authority (nor can           case to the Board for further proceedings consistent    constitutes ‘‘essential terms and
                                                 they) for the proposition that the Act compels the        with the court’s opinion. Sanitary Truck Drivers &
                                                 Board to extend joint-employer status to the              Helpers Local 350, International Brotherhood of
                                                                                                                                                                   conditions of employment’’ in BFI, the
                                                 outermost limits permissible under the common             Teamsters v. NLRB, 45 F.4th 38 (D.C. Cir. 2022).        2020 Rule defined a closed set of terms
                                                 law.                                                      The case is presently pending before the Board.         and conditions of employment: wages,


                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00045   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM    27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                Filed: 11/06/2023                   Page 50 of 78
                                                 73990              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 benefits, hours of work, hiring,                        Act’s policies by imposing bargaining                         The final rule promulgated today
                                                 discharge, discipline, supervision, and                 obligations only on entities that actually                 makes extreme and troubling changes to
                                                 direction. 29 CFR103.40(b).430 The 2020                 control essential working conditions                       Board law, including but not limited to
                                                 Rule further specified how direct and                   and by establishing a ‘‘discernible and                    the following revisions. The rule makes
                                                 immediate control would be determined                   predictable’’ standard to guide regulated                  contractually reserved but unexercised
                                                 with respect to each essential term,                    parties, stating as follows:                               control and indirect control not merely
                                                 providing concrete examples. Id.                           The Board believes a standard that requires             probative of joint-employer status (as
                                                 § 103.40(c)(1) through (8). For example,                an entity to possess and exercise substantial              did BFI), but independently sufficient to
                                                 with respect to hiring, the 2020 Rule                   direct and immediate control over essential                establish that status. It scraps what it
                                                 provided that ‘‘[a]n entity exercises                   terms and conditions of employment is                      characterizes as ‘‘artificial control-based
                                                 direct and immediate control over                       consistent with the purposes and policies of               restrictions’’ in the 2020 Rule.433 And it
                                                 hiring if it actually determines which                  the Act . . . . The Act’s purpose of                       jettisons the second step of BFI’s joint-
                                                                                                         promoting collective bargaining is best
                                                 particular employees will be hired and                  served by a joint-employer standard that
                                                                                                                                                                    employer standard, which required
                                                 which employees will not. An entity                     places at the bargaining table only those                  proof that a putative joint employer
                                                 does not exercise direct and immediate                  entities that control terms and conditions                 ‘‘possesses sufficient control over
                                                 control over hiring by requesting                       that are most material to collective                       employees’ essential terms and
                                                 changes in staffing levels to accomplish                bargaining. Moreover, a less demanding                     conditions of employment to permit
                                                 tasks or by setting minimal hiring                      standard would unjustly subject innocent                   meaningful collective bargaining.’’ 362
                                                 standards such as those required by                     parties to liability for others’ unfair labor              NLRB at 1600.
                                                 government regulation.’’ Id.                            practices and coercion in others’ labor                       The final rule starts off mundanely
                                                                                                         disputes. A fuzzier standard with no bright
                                                 § 103.40(c)(4). And with respect to                     lines would make it difficult for the Board to
                                                                                                                                                                    enough, declaring in paragraph (a) of
                                                 supervision, ‘‘[a]n entity exercises direct             distinguish between arm’s-length contracting               newly revised Section 103.40 of the
                                                 and immediate control over supervision                  parties and genuine joint employers.                       Board’s Rules & Regulations that an
                                                 by actually instructing another                         Accordingly, preserving the element of direct              entity is an ‘‘employer’’ of particular
                                                 employer’s employees how to perform                     and immediate control over essential terms                 employees ‘‘if the employer has an
                                                 their work or by actually issuing                       and conditions draws a discernible and                     employment relationship with those
                                                 employee performance appraisals,’’ but                  predictable line, providing ‘‘certainty                    employees under common-law agency
                                                 it does not do so by providing                          beforehand’’ for the regulated community.                  principles.’’ Paragraph (b) provides that
                                                 ‘‘instructions [that] are limited and                   85 FR 11205.                                               two employers of the same employees
                                                 routine and consist primarily of telling                                                                           ‘‘are joint employers’’ if ‘‘they share or
                                                                                                         The Majority’s Final Rule
                                                 another employer’s employees what                                                                                  codetermine those matters governing
                                                 work to perform, or where and when to                     The 2020 Rule was promulgated a                          employees’ essential terms and
                                                 perform the work, but not how to                        mere three-and-a-half years ago, and                       conditions of employment.’’
                                                 perform it.’’ Id. § 103.40(c)(7).                       since it took effect, the Board has                           Paragraph (c), which defines the
                                                    Taken together, the features of the                  applied it exactly once. See Cognizant                     ‘‘share or codetermine’’ standard, is
                                                 2020 Rule were intended to ensure that                  Technology Solutions U.S. Corp., 372                       where the trouble really starts. It
                                                 an entity would be found to be a joint                  NLRB No. 108 (2023) (denying Google’s                      provides that ‘‘[t]o ‘share or codetermine
                                                 employer of another employer’s                          request for review of a regional                           those matters governing employees’
                                                 employees if (and only if) it had played                director’s determination under the 2020                    essential terms and conditions of
                                                 an active and substantial role in hiring,               Rule that it is the joint employer of a                    employment’ means for an employer to
                                                 supervising, or directing those                         subcontractor’s employees based on its                     possess the authority to control
                                                 employees, in setting their work hours,                 exercise of substantial direct and                         (whether directly, indirectly, or both), or
                                                 wages or benefits, and/or in disciplining               immediate control over their                               to exercise the power to control
                                                 or discharging them. Of course, an                      supervision, benefits, and hours of                        (whether directly, indirectly, or both),
                                                 entity could be found to be a joint                     work). Nevertheless, my colleagues have                    one or more of the employees’ essential
                                                 employer if it had taken only one of                    plowed ahead with this rulemaking,                         terms and conditions of employment.’’
                                                 these actions (either on its own or in                  even though ‘‘[i]t is common knowledge                     The effect of this subsection is dramatic.
                                                 collaboration with the employees’                       that the Board’s limited resources are                     It mandates a finding of joint-employer
                                                 undisputed employer), but there was a                   severely taxed by undertaking a                            status based on the mere possession of
                                                 substantiality requirement, a threshold                 rulemaking process.’’ 431 And they have                    authority to control, directly or
                                                 of extent of control that had to be                     done so despite the fact that one                          indirectly, a single essential term (e.g.,
                                                 crossed. In this way, the Board                         member of the current majority sharply                     hours of work). The majority has
                                                 addressed the court’s concern that the                  criticized a prior Board majority for                      eliminated any need for proof of actual
                                                 Board had failed in BFI to ensure that                  changing the joint-employer standard                       exercise, much less substantial exercise,
                                                 the extent of the purported joint                       under strikingly similar                                   of control over employees’ essential
                                                 employer’s control over the terms and                   circumstances.432
                                                 conditions of employment of the direct                                                                             today’s exercise.’’), vacated 366 NLRB No. 26
                                                                                                           431 ‘‘The Standard for Determining Joint Employer        (2018).
                                                 employer’s employees was sufficient to
                                                                                                         Status,’’ 83 FR 46681, 46688 (2018) (then-Member             433 The majority states that ‘‘the joint employer
                                                 make that entity’s participation in                     McFerran, dissenting).                                     standard that [they] adopt today removes artificial
                                                 collective bargaining necessary for                       432 See Hy-Brand Industrial Contractors, Ltd. &          control-based restrictions with no foundation in the
                                                 meaningful bargaining to take place.                    Brandt Construction Co., 365 NLRB No. 156, slip            common law that the Board has previously imposed
ddrumheller on DSK120RN23PROD with RULES2




                                                    The Board explained that the 2020                    op. at 40 (2017) (Member Pearce and then-Member            in cases beginning in the mid-1980s discussed
                                                 Rule was consistent with common-law                     McFerran, dissenting) (‘‘What is the justification for     above, and in the 2020 Final Rule.’’ In its 2022
                                                                                                         overruling BFI after just [two] years[?] . . . . [A]fter   Notice of Proposed Rulemaking (NPRM), the
                                                 agency principles and promoted the                      a mere [two] years, any accounting of BFI’s effects        majority identified those control-based restrictions
                                                                                                         would be premature; indeed, before it was                  as ‘‘restrictions requiring (1) that a putative joint
                                                   430 Citations in this paragraph to the Code of        overruled today, BFI has been applied by the Board         employer ‘actually’ exercise control, (2) that such
                                                 Federal Regulations refer to the regulations in place   in only one other Board decision. The complete             control be ‘direct and immediate,’ and (3) that such
                                                 before the amendments made by the majority’s final      absence of relevant experience under BFI                   control not be ‘limited and routine.’ ’’ 87 FR 54641,
                                                 rule.                                                   underscores the essentially reflexive nature of            54643.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00046   Fmt 4701   Sfmt 4700    E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                Filed: 11/06/2023                    Page 51 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                      73991

                                                 terms. Moreover, paragraph (c) refers                    concessions to their workers.’’ 436 The                   closing the list of essential terms and
                                                 broadly to ‘‘authority to control,’’                     same commenter suggests that                              conditions is not enough because
                                                 without limiting it to contractually                     businesses that engage service                            routine components of company-to-
                                                 reserved authority. A ‘‘user’’ business                  contractors necessarily have indirect                     company contracts may indirectly
                                                 possesses authority to indirectly control                control because ‘‘service contractors                     impact essential terms. For example, a
                                                 the hours of work of employees                           rarely have room to grant wage increases                  widely used standard contract in the
                                                 supplied to it by a ‘‘supplier’’ employer                without renegotiating their own                           construction industry 440 includes a
                                                 merely by virtue of the fact that it                     contracts with clients and thus the                       provision that makes the general
                                                 decides when it is open for business. If                 clients effectively control the economic                  contractor ‘‘responsible for initiating,
                                                 that is sufficient to make ‘‘user’’                      terms of employment for the                               maintaining, and supervising all safety
                                                 businesses joint employers of supplied                   contractors’ employees.’’ 437 Are these                   precautions and programs in connection
                                                 employees, then paragraph (c) of revised                 the kinds of circumstances that my                        with the performance of the [c]ontract.’’
                                                 § 103.40 makes every ‘‘user’’ business a                 colleagues have in mind as evidencing                     That clause—a routine component of
                                                 joint employer.                                          ‘‘indirect control’’? We do not know                      company-to-company contracting in the
                                                    The final rule’s treatment of indirect                because they do not say.438                               construction industry—evidences the
                                                 control is similarly problematic. Given                     Further, the final rule does not                       general contractor’s indirect control (at
                                                 that possession or exercise of indirect                  adequately ‘‘distinguish evidence of                      least) of ‘‘working conditions related to
                                                 control will establish a joint-employer                  indirect control that bears on workers’                   the safety and health of employees’’ of
                                                 relationship under § 103.40(b) and (c) of                essential terms and conditions from                       each of its subcontractors, an essential
                                                 the final rule, it seems critically                      evidence that simply documents the                        term and condition of employment
                                                 important for the majority to explain                    routine parameters of company-to-                         under § 103.40(d)(7) of the final rule.441
                                                 what constitutes ‘‘indirect control.’’                   company contracting.’’ Browning-Ferris                       Additionally, my colleagues perform
                                                 They do not do so. The final rule                        Industries of California v. NLRB, 911                     some sleight of hand regarding the final
                                                 identifies control exercised through an                  F.3d at 1226. According to the majority,                  rule’s treatment of what was BFI’s
                                                 intermediary as an example of ‘‘indirect                 ‘‘limiting the list of essential terms and                second step: proof that ‘‘the putative
                                                 control,’’ 434 but this necessarily implies              conditions of employment is responsive                    joint employer possesses sufficient
                                                 that the exercise of ‘‘indirect control’’ is             to the District of Columbia Circuit’s                     control over employees’ essential terms
                                                 not limited to control exercised through                 request that the Board incorporate a                      and conditions of employment to permit
                                                 an intermediary. What else might count                   limiting principle to ensure the joint-                   meaningful collective bargaining.’’ 362
                                                 as the exercise of indirect control? My                  employer standard remains within                          NLRB at 1600. In the 2022 NPRM, my
                                                 colleagues do not say, but they take note                common-law boundaries.’’ 439 But                          colleagues straightforwardly
                                                 of comments contending that certain                                                                                acknowledged that their proposed rule
                                                 circumstances should be regarded as                         436 Comment of Los Angeles County Federation of
                                                                                                                                                                    ‘‘d[id] not incorporate’’ BFI’s second
                                                 demonstrating indirect control,435                       Labor AFL–CIO & Locals 396 and 848 of the IBT
                                                                                                          (internal citation and quotations omitted).               step, dubiously declaring that ‘‘any
                                                 including that franchisors necessarily                      437 Comment of Los Angeles County Federation of        required bargaining under the new
                                                 have indirect control because they ‘‘are                 Labor AFL–CIO & Locals 396 and 848 of the IBT             standard will necessarily be
                                                 the parties with meaningful profit                       (internal citation and quotations omitted).               meaningful.’’ 87 FR at 54645 n. 26.
                                                 margins that could be redistributed to                      438 In response to my criticism, the majority states
                                                                                                                                                                    Accordingly, they repudiated the BFI
                                                 the workforce during bargaining’’ and                    that they ‘‘deci[ded] not to include an extensive list
                                                                                                          of examples of forms of indirect control that may         majority’s recognition that in some
                                                 because most franchisees’ revenue and                                                                              cases, a putative joint employer’s extent
                                                                                                          be relevant to the joint-employer inquiry.’’ I am not,
                                                 cost variables ‘‘greatly constrain                       however, criticizing my colleagues for failing to         of control over the terms and conditions
                                                 franchisees’ practical ability to offset                 provide ‘‘an extensive list of examples.’’ Rather, I      of employment of the employees of an
                                                                                                          observe that the majority does not identify even one
                                                    434 Under the 2020 Rule, control exercised            example of such indirect control other than control       undisputed employer will be
                                                 through an intermediary could establish joint-           exercised through an intermediary. Given that the
                                                 employer status if it was otherwise sufficient.          majority makes indirect control sufficient to             instruction to ‘‘explain which terms and conditions
                                                 ‘‘Direct and immediate control exercised through an      establish joint-employer status, this lack of             are ‘essential’ to permit ‘meaningful collective
                                                 intermediary remains direct and immediate.’’ 85 FR       guidance is a serious shortcoming. As with much           bargaining,’ ’’ and to ‘‘clarify what ‘meaningful
                                                 at 11209 (citing Browning-Ferris Industries of           else in the final rule, the majority leaves the           collective bargaining’ entails and how it works in
                                                 California v. NLRB, 911 F.3d at 1217 (‘‘[T]he            fleshing out of ‘‘indirect control’’ to be determined     this setting.’’ Browning-Ferris Industries of
                                                 common law has never countenanced the use of             case by case—and this leaves businesses affected by       California, Inc. v. NLRB, 911 F.3d at 1221–1222
                                                 intermediaries or controlled third parties to avoid      the new rule, and facing the complicated task of          (quoting BFI, 362 NLRB at 1600). But this
                                                 the creation of a master-servant relationship.’’)). My   planning for its impact, utterly at sea.                  clarification is at odds with their simultaneous
                                                 colleagues and I disagree about whether to                  Relatedly, my colleagues are wrong in asserting        claim that a closed set of terms and conditions
                                                 characterize control exercised through an                that the role I give (and the 2020 Rule gave) to          heeds the D.C. Circuit’s request for a limiting
                                                 intermediary as direct control or indirect control. In   indirect control somehow conflicts with the D.C.          principle ‘‘to ensure the joint-employer standard
                                                 my view, an intermediary (e.g., a supervisor             Circuit’s opinion in Browning-Ferris Industries of        remains within common-law boundaries.’’ The D.C.
                                                 employed by the undisputed employer) who                 California v. NLRB. In remanding that case to the         Circuit’s directive that the standard remain within
                                                 operates as a mere conduit of the putative joint         Board to elucidate the distinction between indirect       common-law boundaries flows directly from its
                                                 employer’s commands functions as its agent. The          control that bears on essential employment terms          finding that BFI ‘‘overshot the common-law mark’’
                                                 putative joint employer there is exercising control      and the routine parameters of business-to-business        by failing to distinguish between indirect control
                                                 even more directly than when it engages in               contracting, the court did not imply that indirect        that bears on the joint-employer inquiry and the
                                                 collaborative decision-making with the undisputed        control could independently establish a joint-            routine components of company-to-company
                                                 employer, which is direct control. The majority’s        employer relationship. The court expressly                contracting. Accordingly, I do not mischaracterize
                                                 reclassification of control exercised through an         withheld judgment on that issue. The court simply         their position when I point out that closing the set
                                                 intermediary as indirect control makes little sense.     instructed the Board to explain the difference            of essential terms and conditions fails to provide
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                                                 Moreover, because the majority does not limit            between control that is relevant to a joint-employer      the ‘‘legal scaffolding’’ the D.C. Circuit called for.
                                                 ‘‘indirect control’’ to that example, they leave the     analysis and that which carries no weight at all.            440 AIA Document A201–2017 (cited in comment

                                                 door open to finding other kinds of indirect control.       439 My colleagues say that their decision to close     of Associated General Contractors of America).
                                                 The important question, which my colleagues do           the set of ‘‘essential’’ terms and conditions of             441 The majority also says that Sec. 103.40(f) of
                                                 not answer, is, what else will count as ‘‘indirect       employment is not intended to address the D.C.            the final rule responds to the D.C. Circuit’s
                                                 control’’?                                               Circuit’s criticism of BFI’s failure to distinguish       instruction that the Board separate indirect control
                                                    435 Comments of Center for Law and Social             indirect control that bears on joint-employer status      that bears on the joint-employer inquiry from
                                                 Policy; Los Angeles County Federation of Labor           from routine aspects of company-to-company                routine components of company-to-company
                                                 AFL–CIO & Locals 396 and 848 of the IBT.                 contracting but rather responds to the court’s            contracting. I address this claim below.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00047   Fmt 4701    Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023              Page 52 of 78
                                                 73992             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 insufficient to warrant placing that                    quantum of authority to control is                      rescind the 2020 rule, which was
                                                 entity at the bargaining table, and that                implicit in the threshold requirement of                contrary to the Act insofar as it was
                                                 in those circumstances, it would be                     § 103.40(a), nothing in their rule                      inconsistent with the common law of
                                                 contrary to the policies of the Act to                  enlightens the regulated community                      agency.’’
                                                 find joint-employer status. 362 NLRB at                 what that minimum quantum might be.                        • ‘‘[W]e believe that the Board is
                                                 1610–1611; id. at 1614 (‘‘The existence,                Like ‘‘indirect control,’’ that is left to be           required to rescind the 2020 rule . . . .’’
                                                 extent, and object of a putative joint                  determined case by case, with the                          • ‘‘[W]e rescind the 2020 rule because
                                                 employer’s control, of course, all may                  majority here saying, in effect, ‘‘trust us,            it is inconsistent with common-law
                                                 present material issues.’’) (emphasis                   we’ll be reasonable,’’ even though                      agency principles and therefore
                                                 added). In the final rule, the majority                 nothing in the text of the rule constrains              inconsistent with the National Labor
                                                 takes a different route than they took in               the Board from drawing the line                         Relations Act.’’
                                                 the NPRM, but they arrive at the same                   unreasonably. And my colleagues                            • ‘‘[B]ecause we are bound to apply
                                                 destination. The majority says that the                 certainly do not suggest that § 103.40(a)               common-law agency principles, we are
                                                 final rule ‘‘effectively incorporates the               implicitly sneaks an actual-exercise                    not free to maintain a definition of ‘joint
                                                 second step of the Board’s joint-                       requirement in through the back door.                   employer’ that incorporates the
                                                 employer test set forth in BFI’’ because                Any hope in that regard is laid to rest                 restriction that any relevant control an
                                                 the final rule (unlike the proposed rule)               by their insistence, in discussing                      entity possesses or exercises be ‘direct
                                                 makes the list of ‘‘essential’’ terms and               § 103.40(c), that exercise of control is                and immediate.’ ’’
                                                                                                         unnecessary under the common law. In                       • ‘‘[T]he 2020 rule introduced
                                                 conditions of employment exhaustive.
                                                                                                         short, my colleagues have not blunted                   control-based restrictions that are
                                                 But BFI’s second step addresses the
                                                                                                         my criticism of their abandonment of                    inconsistent with common-law agency
                                                 extent of a putative joint employer’s
                                                                                                         the actual-exercise requirement by                      principles.’’
                                                 control over essential terms and                                                                                   • ‘‘[W]e are foreclosed from
                                                 conditions. What constitutes essential                  pointing to § 103.40(a) and its nebulous
                                                                                                         threshold requirement.442                               maintaining the joint-employer standard
                                                 terms and conditions pertains to what is                                                                        set forth in [the 2020 rule] because it is
                                                 controlled, i.e., the object of control—                  In short, the combined effect of all
                                                                                                         these features of the final rule results in             not in accordance with the common-law
                                                 and as BFI makes clear, extent of control                                                                       agency principles the Board is bound to
                                                 and object of control present distinct                  a dramatic expansion of the Board’s
                                                                                                         joint-employer doctrine compared with                   apply in making joint-employer
                                                 issues in the joint-employer analysis.                                                                          determinations.’’
                                                 Plainly, the final rule does not                        the 2020 Rule and even compared with
                                                                                                         the Board’s holding in BFI. At least it                    • ‘‘[T]he Board has concluded that
                                                 ‘‘incorporate[ ] the second step’’ of the                                                                       the actual-exercise requirement
                                                 BFI standard, and this is made all the                  will do so if the final rule survives one
                                                                                                                                                                 reflected in the 2020 rule is . . .
                                                 more apparent by newly revised                          or more of the inevitable court
                                                                                                                                                                 contrary to the common-law agency
                                                 § 103.40(e), which provides that merely                 challenges it is destined to face. A
                                                                                                                                                                 principles that must govern the joint-
                                                 ‘‘[p]ossessing the authority to control is              betting person might hesitate to put
                                                                                                                                                                 employer standard under the Act and
                                                 sufficient to establish status as a joint               money on its chances because, as
                                                                                                                                                                 that the Board has no statutory authority
                                                 employer,’’ and so is ‘‘[e]xercising the                demonstrated below, the final rule is
                                                                                                                                                                 to adopt such a requirement.’’
                                                 power to control,’’ without any                         wrong as a matter of law and
                                                                                                                                                                    A reader might reasonably expect the
                                                 requirement that there be a sufficient                  unadvisable as a matter of policy.
                                                                                                                                                                 majority to follow up those assertions
                                                 amount of control to permit meaningful                  Common-Law Agency Principles Do Not                     with citations to judicial decisions,
                                                 collective bargaining.                                  Compel or Even Support the Final Rule                   involving the NLRA and other
                                                    My colleagues dismiss this concern by                   My colleagues repeatedly and                         materially similar statutes, in which the
                                                 saying that § 103.40(a) of the final rule               emphatically declare that common-law                    courts have found joint-employer status
                                                 will prevent the rule from being applied                agency principles, and therefore the Act                based exclusively on a never-exercised
                                                 overbroadly ‘‘to encompass entities                     itself, preclude the 2020 Rule and                      contractual right to control and/or
                                                 whose relationship to the performance                   compel their final rule. Among the                      indirect control of an essential term and
                                                 of the work is clearly too attenuated.’’                statements they make are the following:                 condition of employment. Such readers
                                                 They say that my criticism of their rule                   • ‘‘After carefully considering nearly               will be sorely disappointed. The
                                                 ‘‘elides the threshold significance of                  13,000 comments, the Board believes                     majority fails to cite a single judicial
                                                 § 103.40(a), which requires a party                     that it is necessary and appropriate to                 decision, much less a body of court
                                                 seeking to demonstrate the existence of                                                                         precedent rising to the level of
                                                 a joint-employment relationship to                         442 As noted above, the majority also denies that    establishing the common law, that bases
                                                 make an initial showing that the                        their rule fails adequately to distinguish evidence     a joint-employer finding solely on a
                                                 putative joint employer has a common-                   of indirect control that bears on the joint-employer    never-exercised contractual reservation
                                                                                                         inquiry from evidence that simply documents the
                                                 law employment relationship with                        routine parameters of company-to-company
                                                                                                                                                                 of right to control or on indirect control
                                                 particular employees.’’ But it is my                    contracting, as mandated by the D.C. Circuit, by        of employees’ essential terms and
                                                 colleagues who have failed to explain                   pointing to § 103.40(f) of the final rule. Sec.         conditions. As I will show, judicial
                                                 how § 103.40(a) functions in the joint-                 103.40(f) provides that evidence of an entity’s         precedent addressing joint-employer
                                                                                                         control over matters that are immaterial to the
                                                 employer analysis. They do not explain                  existence of an employment relationship under
                                                                                                                                                                 status under both the NLRA and
                                                 what, if any, limitations it imposes on                 common-law agency principles and that do not bear       materially similar statutes requires that
                                                 joint-employer determinations. They do                  on the employees’ essential terms and conditions of     control be actually exercised. And as the
                                                 not convey that it establishes some                     employment is not relevant to the determination of      following discussion will demonstrate,
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         whether the entity is a joint employer. In other
                                                 minimum level of control (in terms of                   words, § 103.40(f) is mostly just the inverse of Sec.
                                                                                                                                                                 so does Board precedent, with narrow
                                                 extent of control over a particular term                103.40(a) and, as such, furnishes no more guidance      exceptions. Accordingly, the majority is
                                                 or condition of employment or breadth                   than does § 103.40(a). And to the extent that it is     mistaken when they claim that requiring
                                                 of control across multiple terms or                     not the inverse of § 103.40(a), it is the inverse of    the exercise of substantial direct and
                                                                                                         § 103.40(b), which confirms that my colleagues do
                                                 conditions) that must be reached before                 indeed take the position that by defining a closed
                                                                                                                                                                 immediate control to establish joint-
                                                 joint-employer status is found. But even                set of essential terms and conditions, they have        employer status is inconsistent with
                                                 accepting that some unstated minimum                    responded to the D.C. Circuit’s mandate.                ‘‘prior Board and judicial decisions.’’


                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00048   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                   Page 53 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                    73993

                                                    The 2020 Rule was not inconsistent                   Rule. It does not support the majority’s                    In fact, during the two decades
                                                 with the majority of Board precedent                    final rule.443                                           following Greyhound, the Board
                                                 addressing joint-employer status under                     The majority mischaracterizes Board                   regularly found no joint-employer status
                                                 the Act.                                                precedent during the two decades                         where the putative joint employer
                                                                                                         following Greyhound, implying that it                    possessed some reserved contractual
                                                    A survey of Board decisions
                                                                                                         reflects a ‘‘traditional’’ approach under                authority to control essential terms, and
                                                 addressing the issue of joint-employer
                                                                                                         which proof that an entity exercised                     even where it actually exercised control
                                                 status reveals that, with narrow
                                                                                                         control over the terms and conditions of                 but to too limited an extent to warrant
                                                 exceptions, the Board has relied, at least
                                                                                                         employment of another employer’s                         a joint-employer finding. For example,
                                                 in part, on the putative joint-employer’s
                                                                                                         employees was unnecessary to establish                   in Hychem Constructors, Inc., 169 NLRB
                                                 actual exercise of direct control over                  joint-employer status.444 The majority                   274, 276 (1968), the Board found no
                                                 terms and conditions of employment.                     asserts that ‘‘Board precedent from this                 joint-employer status despite a putative
                                                 Accordingly, the majority’s decision to                 time period generally did not require a                  employer’s reserved right to approve
                                                 make never-exercised authority to                       showing that both putative joint                         wage increases and overtime, its policy
                                                 control or indirect control                             employers actually or directly exercised                 of consulting on proposed layoffs, and
                                                 independently sufficient to establish                   control.’’ But they fail to acknowledge                  its ‘‘as yet unexercised prerogative to
                                                 joint-employer status represents a sharp                that the Board has never based a joint-                  remove an undesirable . . . employee.’’
                                                 break from Board precedent.                             employer finding solely on ‘‘indirect                    Similarly, in S. G., Tilden, Inc., 172
                                                    Contrary to my colleagues’ suggestion,               control,’’ and most of the Board cases                   NLRB 752, 753 (1968), the Board found
                                                 Greyhound Corp., 153 NLRB 1488                          my colleagues cite as demonstrating a                    a franchisor was not a joint employer of
                                                 (1965), does not support finding joint-                 ‘‘traditional’’ reliance on a contractual                its franchisees’ employees despite its
                                                 employer status based exclusively on a                  reservation of right to control are                      specification of the franchisees’ hours of
                                                 never-exercised right to control or                     limited to a single category of cases                    operation and its requirement that they
                                                 indirect control. There, the Board found                involving department stores with                         adhere to certain pricing and
                                                 that Greyhound was a joint employer of                  licensed departments.445 These cases do                  housekeeping standards. Echoing the
                                                 its cleaning contractor’s employees                     not bear the weight the majority gives                   standard applied in the department-
                                                 based in part on Greyhound’s actual                     them.446                                                 store cases, the Board in S. G. Tilden
                                                 exercise of substantial direct and                                                                               found ‘‘no clear indication . . . that
                                                 immediate control over the employees’                      443 In an earlier case related to Greyhound, the      Respondent Tilden intended to, or in
                                                                                                         Supreme Court held that a federal district court         fact did, exercise direct control over the
                                                 essential terms and conditions of                       lacked subject-matter jurisdiction to enjoin the
                                                 employment. Specifically, the Board                     Board from conducting a representation election
                                                                                                                                                                  labor relations of [the franchisees].’’ Id.
                                                 relied on the fact that Greyhound had                   based on the plaintiff’s challenge to the Board’s        (emphasis added); see also Furniture
                                                 actually engaged in ‘‘detailed                          joint-employer determination in the representation       Distribution Center, Inc., 234 NLRB 751,
                                                                                                         proceeding. Boire v. Greyhound Corp., 376 U.S. 473       751–752 (1978) (evidence that ‘‘user’’
                                                 supervision’’ of the contractor’s                       (1964). Although the Court did not rule on the joint-
                                                 employees on a day-to-day basis                         employer issue, it did not criticize the Board’s
                                                                                                                                                                  business and ‘‘supplier’’ business
                                                 regarding the manner and means of their                 finding that Greyhound and the cleaning contractor       conferred and jointly decided on the
                                                 performance. Id. at 1496. The Board also                constituted a joint employer ‘‘because they had          number of supplied employees and the
                                                                                                         exercised common control over the employees.’’ Id.       number of hours those employees
                                                 relied on evidence that Greyhound had                   at 475 (emphasis added).
                                                 actually prompted the discharge of one                     444 The issue here is not whether an unexercised
                                                                                                                                                                  would work each week deemed
                                                 of the contractor’s employees whom                      contractual right of control and/or indirect control     insufficient to create a joint-employer
                                                 Greyhound deemed unsatisfactory. Id. at                 is or are relevant considerations in a joint-employer    relationship); Cabot Corp., 223 NLRB
                                                 1491 n. 8. To be sure, the Board also                   analysis. They are, as the 2020 Rule recognized. The     1388, 1389, 1390 n.10, 1392 (1976) (no
                                                                                                         issue is whether either one can independently            joint-employer status despite putative
                                                 gave some weight to provisions in the                   establish joint-employer status.
                                                 contract between Greyhound and the                         445 As these department-store cases demonstrate,
                                                                                                                                                                  joint employer reserving the right to
                                                 contractor, which granted Greyhound                     licensed departments were seamlessly integrated          inform direct employer of the specific
                                                 the right to specify the ‘‘exact manner                 with the department store as a whole, and
                                                                                                         employees of the licensee were indistinguishable         employees. Indeed, in Buckeye Mart, it was found
                                                 and means’’ through which the                           from the department store’s employees. See, e.g.,        that the department store (Buckeye) was not the
                                                 employees’ work would be                                Spartan Department Stores, 140 NLRB 608, 610             joint employer of the employees of the licensee
                                                 accomplished, to control their wages, to                (1963) (observing that the agreement between the         (Manley) despite possessing contractually reserved
                                                 set their schedules, and to assign                      department store and the licensee was ‘‘in               authority to require Manley to discharge employees
                                                                                                         furtherance of Spartan’s intention of creating the       that Buckeye deemed objectionable. 165 NLRB at 88
                                                 employees to perform the work. Id. at                   appearance of a single, integrated department            (‘‘Although Buckeye may compel the discharge of
                                                 1495–1496. But the Board specifically                   store’’). Indeed, in one such case, the parties’         any Manley employee . . . . Buckeye is not in a
                                                 stated that ‘‘[t]he joint employer finding              contract expressly provided that employees in the        position to ‘influence’ Manley’s labor policies and
                                                 herein is premised on the common                        licensed department ‘‘shall be the employees of’’        . . . is not a joint employer with Manley . . . .’’).
                                                                                                         the department store. Taylor’s Oak Ridge Corp., 74       Accordingly, the majority’s reliance on Board cases
                                                 control exercised by Greyhound and                      NLRB 930, 932 (1947).                                    involving licensing relationships in the department-
                                                 [the cleaning contractor] over the                         446 In the department-store cases, the Board did      store industry is misplaced. The majority also cites
                                                 employees.’’ Id. at 1492 (emphasis                      not purport to apply common-law agency                   two cases—General Motors Corp. (Baltimore, MD),
                                                 added). And the Board explained that                    principles, much less cite common-law cases              60 NLRB 81 (1945), and Anderson Boarding &
                                                                                                         finding joint-employer status based on reserved          Supply Co., 56 NLRB 1204 (1944)—where the issue
                                                 Greyhound had ‘‘reserved to itself, both                authority to control alone. When the Board stated        was whether an industrial facility was the joint
                                                 as a matter of express contractual                      any standard at all, it relied on whether the            employer of employees working in its cafeteria. In
                                                 agreement and in actual practice, rights                department store was in a position to influence the      neither case did the Board mention the common
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                                                 over these employees which are                          licensee’s labor relations policies. See, e.g., United   law of agency, and even if the common law was
                                                                                                         Mercantile, Inc. d/b/a Globe Discount City, 171          implicit in its analysis, two cases do not amount to
                                                 consistent with its status as their                     NLRB 830 (1968); Buckeye Mart, 165 NLRB 87               a ‘‘traditional’’ practice. Moreover, as the D.C.
                                                 employer along with [the cleaning                       (1967), enfd. mem. 405 F.2d 1211 (6th Cir. 1969);        Circuit forcefully reminded the Board in Browning-
                                                 contractor].’’ Id. at 1495 (emphasis                    Value Village, 161 NLRB 603 (1966). These cases do       Ferris Industries of California, Inc. v. NLRB,
                                                 added). In short, Greyhound is                          not support the majority’s view that the common          ‘‘Congress has tasked the courts, and not the Board,
                                                                                                         law compels a conclusion that contractually              with defining the common-law scope of
                                                 consistent with both subsequent Board                   reserved authority to control is sufficient to make      ‘employer.’ ’’ 911 F.3d at 1208. The Board, as an
                                                 joint-employer precedent and the 2020                   an entity a joint employer of another entity’s           administrative agency, has no power to do so.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                     Page 54 of 78
                                                 73994              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 work to be performed and the                               Nor do the last forty years of relevant               standard that my colleagues adopt
                                                 equipment and personnel used,                           Board precedent support the majority’s                   today.448
                                                 maintaining the right to ‘‘inspect, test,               characterization of that period as                          In TLI, Inc., 271 NLRB at 798–799, the
                                                 approve, and disapprove of work and                     marked by a radical departure from a                     Board reversed a judge’s finding of joint-
                                                 services,’’ requiring all employees to                  prior ‘‘traditional’’ joint-employer                     employer status, noting that the putative
                                                 follow its safety regulations, and                      standard. To begin, TLI and Laerco                       joint employer did not sufficiently affect
                                                 retaining the right to remove employees                 Transportation merely clarified the                      the terms and conditions of employment
                                                 it deemed incompetent), affd. sub nom.                  appropriate legal standard by echoing                    of the supplier employer’s drivers: the
                                                 International Chemical Workers Local                    the United States Court of Appeals for                   ‘‘supervision and direction exercised by
                                                 483 v. NLRB, 561 F.2d 253 (D.C. Cir.                                                                             [the putative joint employer] on a day-
                                                                                                         the Third Circuit’s articulation in NLRB
                                                 1977); Westinghouse Electric Corp., 163                                                                          to-day basis [was] both limited and
                                                                                                         v. Browning-Ferris Industries of
                                                 NLRB 914, 914–915 (1967) (no joint-                                                                              routine.’’ Id. at 799.449 Similarly, in
                                                 employer status despite putative joint                  Pennsylvania, Inc., 691 F.2d at 1123:
                                                                                                                                                                  Laerco Transportation, 269 NLRB at
                                                 employer’s occasional direct                            ‘‘The basis of the [joint-employer]
                                                                                                                                                                  325, the Board found that the putative
                                                 supervision of supplier employer’s                      finding is simply that one employer
                                                                                                                                                                  joint employer did not possess
                                                 employees, review of supplied                           while contracting in good faith with an                  ‘‘sufficient indicia of control’’ over a
                                                 employees’ timesheets for auditing                      otherwise independent company, has                       supplier employer’s drivers to create a
                                                 purposes, and reservation of the right to               retained for itself sufficient control of                joint-employer relationship. The Board
                                                 request removal of ‘‘disorderly,                        the terms and conditions of employment                   found evidence that the putative joint
                                                 incompetent, or objectionable persons                   of the employees who are employed by                     employer gave drivers directions on
                                                 from working at the site . . . . [S]uch                 the other employer. Thus, the ‘joint                     which routes to follow and attempted to
                                                 conduct is clearly consistent with that                 employer’ concept recognizes that the                    resolve personality conflicts to
                                                 of a contractor seeking to police its                   business entities involved are in fact                   constitute merely ‘‘minimal and
                                                 subcontract.’’); Space Services                         separate but that they share or co-                      routine’’ supervision, and that most
                                                 International Corp., 156 NLRB 1227,                     determine those matters governing the                    other terms and conditions of
                                                 1232–1233 (1966) (no joint-employer                     essential terms and conditions of                        employment of the drivers were
                                                 status where putative joint employer                    employment’’ (internal citations                         effectively controlled by their direct
                                                 ‘‘[reserved] the right to require removal               omitted) (emphasis in original).                         employer. Id. at 326. Thus, in TLI and
                                                 from the work of any employee it deems                  Importantly, the Third Circuit equated                   Laerco, the Board faithfully applied the
                                                 incompetent, careless, or insubordinate’’               this ‘‘share or codetermine’’ standard                   Third Circuit’s standard—requiring
                                                 and exercised this right on at least one                with the exertion—i.e., exercise—of                      ‘‘two or more employers [to] exert
                                                 occasion with respect to a management                   significant control: ‘‘[W]here two or                    significant control over the same
                                                 official). Accordingly, contrary to the                                                                          employees’’ in order to satisfy the
                                                                                                         more employers exert significant control
                                                 majority’s assertion, Board precedent                                                                            ‘‘share or codetermine’’ standard and
                                                                                                         over the same employees—where from
                                                 prior to the 1984 joint-employer                                                                                 create a joint-employer relationship
                                                 decisions in TLI and Laerco                             the evidence it can be shown that they
                                                                                                         share or co-determine those matters                      under the Act—to the facts of those
                                                 Transportation did not make indirect                                                                             cases, contrary to the majority’s
                                                 control independently sufficient to                     governing essential terms and
                                                                                                         conditions of employment—they                            assertion that these decisions lacked ‘‘a
                                                 establish joint-employer status, and                                                                             clear basis in established common-law
                                                 cases relying solely on contractually                   constitute ‘joint employers’ within the
                                                                                                         meaning of the NLRA.’’ Id. at 1124. The                  agency principles or prior . . . judicial
                                                 reserved authority to control do not                                                                             decisions.’’
                                                 apply a common-law test and therefore                   Third Circuit’s ‘‘share or codetermine’’
                                                                                                         standard is consistent (with narrow                         Subsequent joint-employer decisions
                                                 do not support the majority’s claim that                                                                         were similarly consistent with both the
                                                 TLI and Laerco abandoned a                              exceptions) with the Board’s pre-TLI
                                                 ‘‘traditional, common-law based                         and pre-Laerco joint-employer                               448 As noted above, the final rule incorporates the
                                                 standard’’ for determining joint-                       decisions. As shown below, it is also                    ‘‘share or codetermine’’ standard in newly revised
                                                 employer status.447                                     consistent with TLI, Laerco, and the                     Sec. 103.40(b). However, in Sec. 103.40(c), the final
                                                                                                         Board’s subsequent joint-employer                        rule defines the ‘‘share or codetermine’’ standard to
                                                                                                                                                                  include indirect control of, and possession of a
                                                    447 For example, in Floyd Epperson, cited by the
                                                                                                         decisions—until, of course, BFI took                     never-exercised authority to control, any essential
                                                 majority, the Board noted anecdotal evidence of the
                                                 putative joint employer’s indirect control over
                                                                                                         joint-employer doctrine in an entirely                   term or condition of employment. This is not how
                                                 wages and discipline, but its joint-employer finding    unprecedented direction. But it flatly                   the standard has been understood or applied
                                                                                                                                                                  historically, and it is contrary to the understanding
                                                 was largely based on evidence of direct and             contradicts the definition of that                       of the very court that announced it, which defined
                                                 immediate supervision of the employees involved.
                                                 202 NLRB 23, 23 (1973), enfd. 491 F.2d 1390 (6th                                                                 the ‘‘share or codetermine’’ standard as a shared
                                                 Cir. 1974). In Lowery Trucking Co., also cited by the   consulted with the undisputed employer over              ‘‘exert[ion]’’ of ‘‘significant control’’ over a group of
                                                 majority, the Board noted the putative joint            wages and benefits. Id. at 781; see also International   employees. NLRB v. Browning-Ferris Industries of
                                                 employer’s unexercised right to reject a supplier       Chemical Workers Local 483 v. NLRB, 561 F.2d 253,        Pennsylvania, 691 F.2d at 1124.
                                                 employer’s driver, but it highlighted the putative      257 (D.C. Cir. 1977) (affirming Board’s finding of no       449 The Board in TLI reached this conclusion

                                                 joint employer’s actual exercise of detailed            joint-employer status in part because the putative       notwithstanding the language of the applicable
                                                 supervision, participation in the hiring process,       joint employer ‘‘did not have authority to, and did      contract, which provided that the putative joint
                                                 discharge of two drivers, and discipline of a third.    not actually, direct [the primary employer’s]            employer ‘‘will solely and exclusively be
                                                 177 NLRB 13, 15 (1969), enfd. sub nom. Ace-Alkire       employees in the details of their work’’) (emphasis      responsible for maintaining operational control,
                                                 Freight Lines v. NLRB, 431 F.2d 280 (8th Cir. 1970).    added). Moreover, most of the cases my colleagues        direction and supervision’’ over the supplier’s
                                                                                                         rely on to support their claim that the Board            drivers. Id. at 798. As explained above, this is
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                                                 Similarly, in Carrier Corp. v. NLRB, 768 F.2d 778
                                                 (6th Cir. 1985), the court of appeals relied in part    adhered to a ‘‘traditional, common-law based’’           consistent with the historical treatment of reserved
                                                 on the putative joint employer’s reserved authority     joint-employer standard prior to TLI and Laerco          authority to control as generally being insufficient
                                                 to reject drivers that did not meet its standards and   involved department stores with licensed                 to support joint-employer status absent evidence of
                                                 to direct the primary employer to remove drivers for    departments, where, as explained above, the Board        substantial direct control. The Board also noted that
                                                 improper conduct, but in finding that substantial       stated and applied a test that asked whether the         the presence of the putative joint employer’s
                                                 evidence supported the Board’s joint-employer           store was in a position to influence the licensee’s      representative at two bargaining sessions did not
                                                 finding, the court primarily relied on evidence that    labor policies—and Buckeye Mart reveals the              alter the outcome, as ‘‘there [was] no evidence that
                                                 Carrier ‘‘exercised substantial day-to-day control      difference between that standard and a common-           he demanded specific reductions or that he made
                                                 over the drivers’ working conditions’’ and              law based standard as my colleagues construe it.         particular proposals.’’ Id. at 799.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00050   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023                 Page 55 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                  73995

                                                 Third Circuit’s definition of the ‘‘share                support their standard for determining                joint-employer cases do not go that far—
                                                 or codetermine’’ standard and, in                        joint-employer status is misplaced.                   and as I explain below in the section
                                                 general, the Board’s pre-1984 joint-                        The majority’s legal justification for             after this one, they do not.
                                                 employer decisions. In AM Property                       abandoning the requirement that a                        Moreover, my colleagues’ reliance on
                                                 Holding Corp., 350 NLRB 998, 1001                        putative joint employer actually                      independent-contractor precedent to set
                                                 (2007), the Board explained that it has                  exercise some control over at least one               the standard for determining joint-
                                                 ‘‘generally found supervision to be                      term or condition of employment of                    employer status depends on equating
                                                 limited and routine where a supervisor’s                 another employer’s employees boils                    ‘‘right to control’’ for purposes of
                                                 instructions consist primarily of telling                down to a misplaced reliance on broad                 deciding employee-or-independent-
                                                 employees what work to perform, or                       statements in cases where the issue                   contractor issues with contractually
                                                 where and when to perform the work,                      presented is whether certain individuals              reserved authority to control the terms
                                                 but not how to perform the work.’’ It                    are employees or independent                          and conditions of employment of
                                                 further explained that ‘‘[i]n assessing                  contractors. Based on a review of                     another business’s employees—but the
                                                 whether a joint employer relationship                    judicial decisions and compendiums of                 equation does not hold. As the majority
                                                 exists, the Board does not rely merely                   law addressing common-law principles                  emphasizes, courts have explained that
                                                 on the existence of . . . contractual                    pertinent to deciding that issue, my                  workers are employees rather than
                                                 provisions [governing the right to                       colleagues say that they are ‘‘not aware              independent contractors if the putative
                                                 approve hiring], but rather looks to the                 of any common-law judicial decision or                employer possesses a right to control
                                                 actual practice of the parties.’’ Id. at                                                                       their manner and means of performance,
                                                                                                          other common-law authority directly
                                                 1000.                                                                                                          regardless of whether that right is
                                                                                                          supporting the proposition that, given
                                                    In Airborne Express, 338 NLRB 597                                                                           exercised. However, the independent-
                                                                                                          the existence of a putative employer’s
                                                 (2002), the Board adopted the judge’s                                                                          contractor cases make clear that in that
                                                                                                          contractually reserved authority to
                                                 finding that there was no joint-employer                                                                       context, a finding of ‘‘right to control’’
                                                                                                          control, further evidence of direct and
                                                 relationship, based in part on evidence                                                                        is a legal conclusion based on a totality-
                                                                                                          immediate exercise of that control is
                                                 that the putative joint employer entered                                                                       of-the-circumstances analysis applying
                                                                                                          necessary to establish a common-law
                                                 into contracts that explicitly afforded                                                                        twelve factors culled from the federal
                                                                                                          employer-employee relationship.’’ They
                                                 the independent contractors full and                                                                           common law of agency to the facts of
                                                                                                          miss my point, however, by conflating
                                                 complete control over hiring, firing,                                                                          the case. See, e.g., Community for
                                                                                                          separate and distinct points. The issue               Creative Non-Violence v. Reid, 490 U.S.
                                                 discipline, work assignment, and other
                                                 terms and conditions of employment.                      here is not whether actual exercise of                730, 751–752 (1989) (listing the relevant
                                                 Id. at 605. The Board noted that ‘‘the                   control by a putative employer is                     factors).451 And, as the Supreme Court
                                                 essential element in this analysis is                    required to make a worker an employee                 recognized, ‘‘no one of these factors is
                                                 whether a putative joint employer’s                      of that employer and not an                           determinative.’’ Id. at 752. If, on
                                                 control over employment matters is                       independent contractor. The issue is                  balance, an analysis of the facts of a case
                                                 direct and immediate.’’ Id. at 597 n.1; 450              whether a worker who is undisputedly                  in light of these multiple factors
                                                 see also Flagstaff Medical Center, 357                   an employee of one entity is jointly                  supports a finding that the hiring party
                                                 NLRB 659, 667 (2011) (‘‘[T]he evidence                   employed by a second entity. My                       has the right to control the manner and
                                                 regarding Sodexho’s role in hiring,                      colleagues acknowledge that these are                 means of the worker’s performance,
                                                 discharging, disciplining, supervising,                  distinct issues. They must do so, as the              then the hiring party is the worker’s
                                                 and evaluating housekeepers does not                     D.C. Circuit has emphatically rejected                employer regardless of whether it
                                                 establish that Sodexho shared or                         any attempt to equate them. See                       exercises its right to control her manner
                                                 codetermined essential terms and                         Browning-Ferris Industries of California,             and means of performance by directing
                                                 conditions of employment.’’).                            Inc. v. NLRB, 911 F.3d at 1213                        the details of her work. In short, the
                                                    During this time period, no appellate                 (‘‘Browning-Ferris cites no case in                   ‘‘right to control manner and means of
                                                 court criticized the Board’s formulation                 which we have applied an employee-or-                 performance’’ under independent-
                                                 of the joint-employer standard. As the                   independent-contractor test to resolve a              contractor precedent is one thing, and a
                                                 BFI dissenters observed, if it were true                 question of joint employment, and we                  never-exercised contractual reservation
                                                 that TLI, Laerco, and subsequent                         have found none.’’) Yet, immediately                  of right to affect one or more essential
                                                 decisions departed without explanation                   following the statement quoted above—                 terms and conditions of employment of
                                                 from the Board’s prior joint-employer                    which, again, is based on precedent that              another employer’s employees is quite
                                                 precedent, some court of appeals would                   addresses the employee-or-independent-                another. The majority simply errs in
                                                 have taken issue: ‘‘It is simply                         contractor issue—my colleagues leap to                treating these two distinct legal
                                                 impossible that all the courts of appeals                the conclusion that they are statutorily              doctrines as equivalent.452
                                                 would have missed this train wreck.’’                    precluded from requiring actual exercise
                                                 BFI, 362 NLRB at 1633 (Members                           of control to establish that an entity is               451 Those factors are (1) the skill required; (2) the

                                                 Miscimarra and Johnson, dissenting).                     a joint employer. In other words, the                 source of the instrumentalities and tools; (3) the
                                                    The final rule’s reliance on                          majority acknowledges the distinction                 location of the work; (4) the duration of the
                                                                                                          between the employee-or-independent-                  relationship between the parties; (5) whether the
                                                 independent-contractor precedent to                                                                            hiring party has the right to assign additional
                                                                                                          contractor issue and the joint-employer               projects to the hired party; (6) the extent of the
                                                   450 In Airborne, the Board said that about twenty      issue and erases the distinction                      hired party’s discretion over when and how long to
                                                 years earlier, it had ‘‘abandoned its previous test in   practically in the same breath. To stay               work; (7) the method of payment; (8) the hired
                                                 this area, which had focused on a putative joint         within the boundaries of the common                   party’s role in hiring and paying assistants; (9)
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                                                 employer’s indirect control over matters relating to                                                           whether the work is part of the regular business of
                                                 the employment relationship.’’ Id. (emphasis in
                                                                                                          law as regards joint-employer status,                 the hiring party; (10) whether the hiring party is in
                                                 original). Frankly, I believe this statement             they should not—indeed, must not—                     business; (11) the provision of employee benefits;
                                                 mischaracterized the Board’s earlier joint-employer      promulgate a rule that permits that                   and (12) the tax treatment of the hired party. Id.
                                                 precedent. As shown above, that precedent did not        status to be predicated solely on a                     452 One reason that judicial precedent

                                                 focus on indirect control. Those cases ascribed                                                                distinguishing between independent contractors
                                                 some significance to indirect control, but they did
                                                                                                          never-exercised contractual reservation               and employees is ill-suited to fully resolve joint-
                                                 not find indirect control to be outcome-                 of right to control and/or indirect                   employer issues is that independent-contractor
                                                 determinative absent evidence of direct control.         control where judicial decisions in                                                                 Continued




                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00051   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                    Page 56 of 78
                                                 73996              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                    This was made clear by the D.C.                       law of agency compels affirmative                      over hiring, firing, and day-to-day
                                                 Circuit’s opinion in Browning-Ferris                     answers to those two questions.453                     supervision), drawing guidance from
                                                 Industries of California v. NLRB. As                       The final rule is inconsistent with the              Supreme Court precedent distinguishing
                                                 noted above, the court of appeals made                   common-law joint-employer standard                     between independent contractors and
                                                 clear that ‘‘a rigid focus on independent-               applied by the courts under other                      employees, but tailoring the analysis to
                                                 contractor analysis omits the vital                      federal statutes.                                      account for the joint-employer context,
                                                 second step in joint-employer cases,                       The majority minimizes federal court                 i.e., workers who are undisputedly an
                                                 which asks, once control over the                        precedent specifically analyzing joint-                employee of one employer but who may
                                                 workers is found, who is exercising that                 employer issues under materially                       have a second, joint employer. Courts
                                                 control, when, and how.’’ 911 F.3d at                    similar federal statutes, i.e., statutes               consider the totality of the
                                                 1215 (emphasis in original). As the                      that, like the NLRA, contain a definition              circumstances, with no one factor being
                                                 court explained, ‘‘using the                             of ‘‘employee’’ that may not be                        determinative, in ascertaining whether
                                                 independent-contractor test exclusively                  interpreted to exceed the boundaries                   the putative joint employer has exerted
                                                 to answer the joint-employer question                    established by common-law agency                       a sufficient amount of control over the
                                                 would be rather like using a hammer to                   principles.454 These statutes include                  workers at issue to be deemed their joint
                                                 drive in a screw: it only roughly assists                Title VII of the Civil Rights Act of                   employer. Generally speaking, they have
                                                 the task because the hammer is designed                  1964,455 the Age Discrimination in                     emphasized the extent of the putative
                                                 for a different purpose.’’ Id. Today’s                   Employment Act,456 and Section 504 of                  joint employer’s active role in hiring
                                                 final rule simply disregards the second                  the Rehabilitation Act of 1973.457                     and firing the workers at issue and in
                                                 step of the common-law joint-employer                    Applying common-law agency                             supervising their manner and means of
                                                 standard identified by the D.C. Circuit.                 principles in these joint-employer cases,              performance.
                                                 It eliminates any requirement of actual                  federal appellate courts have considered                  Applying common-law principles,
                                                 exercise of control and thus renders                     the extent to which a putative joint                   every circuit court that has decided
                                                 immaterial ‘‘how’’ control is exercised                  employer has exercised control over the                joint-employer issues under statutes
                                                 (directly or indirectly) or ‘‘when’’                     essential terms and conditions of                      materially similar to the NLRA applies
                                                 (never, rarely, occasionally, or                         employment of another company’s                        a significantly more demanding joint-
                                                 frequently). Further, the D.C. Circuit’s                 employees. Courts have considered a                    employer standard than the one
                                                 pointed decision to avoid answering                      host of factors (e.g., control exercised               promulgated by my colleagues today.458
                                                 whether a joint-employer finding could
                                                                                                             453 My colleagues cite a plethora of decisions
                                                 ever be based solely on an unexercised                                                                             458 The First Circuit examines fifteen factors,
                                                                                                          (including state law cases more than a hundred
                                                 contractual reservation of authority to                  years old), the overwhelming majority of which
                                                                                                                                                                 which ‘‘are to be weighed in their totality,’’ with a
                                                 control, 911 F.3d at 1213, or on indirect                                                                       stated emphasis on the extent to which the putative
                                                                                                          focus on independent contractor, workers’              joint employer controls the manner and means by
                                                 control, id. at 1218, undermines my                      compensation, and tort liability matters. Although     which the worker completes her tasks. Casey, 807
                                                 colleagues’ assertion that the common-                   these cases are informative regarding the contours     F.3d at 405 (finding no joint-employer relationship
                                                                                                          of the master-servant doctrine with respect to         where the putative joint employer ‘‘did not exert
                                                                                                          individuals alleged to have an employment              such control over [the employee’s] performance of
                                                 cases necessarily involve exercise of control by the     relationship with a single entity, they have limited
                                                 sole putative employer over the putative employee.                                                              her job duties as to establish an employment
                                                                                                          utility where workers are unquestionably               relationship’’). The Second Circuit asks whether
                                                 That entity has engaged the worker (i.e., hired her      employees of one entity, and the issue is whether
                                                 to perform work), has decided upon the                                                                          two or more entities ‘‘share significant control’’ over
                                                                                                          a second entity jointly employs them. My view here
                                                 compensation to be paid (i.e., determined her                                                                   the same employees, examining thirteen non-
                                                                                                          is fully consistent with that of the D.C. Circuit in
                                                 wages), and has actually paid her that                                                                          exhaustive factors, with no single factor being
                                                                                                          Browning-Ferris Industries of California, Inc. v.
                                                 compensation. This is seen in Singer Mfg. Co. v.                                                                decisive, and focusing on the extent to which
                                                                                                          NLRB. As the court there stated, ‘‘Browning-Ferris’s
                                                 Rahn, 132 U.S. 518, 523 (1889), a case my                                                                       control was exercised. Felder, 27 F.4th 843–844
                                                                                                          contention that the joint-employer and
                                                 colleagues rely on heavily to support their                                                                     (finding no joint-employer relationship despite fact
                                                                                                          independent-contractor tests are virtually identical
                                                 proposition that exercise of control is unnecessary                                                             that putative joint employer exercised control by
                                                                                                          lacks any precedential grounding. Browning-Ferris
                                                 under the common law, not only in the                                                                           preventing its subcontractor from referring a
                                                                                                          cites no case in which we have applied an
                                                 independent-contractor context but in the joint-                                                                particular worker for assignment). The Third Circuit
                                                                                                          employee-or-independent-contractor test to resolve
                                                 employer context as well. In Singer Mfg. Co. v.                                                                 focuses on which entity paid workers’ salaries,
                                                                                                          a question of joint employment, and we have found
                                                 Rahn, the Court held that a worker was an                                                                       hired and fired them, and had control over their
                                                                                                          none.’’ 911 F.3d at 1213.
                                                 employee, not an independent contractor, based on           454 See, e.g., Hurst v. McDonough, 2022 U.S. App.
                                                                                                                                                                 daily employment activities. Faush, 808 F.3d at 216
                                                 the written terms of a contract between the worker                                                              (holding that district court erred in granting
                                                                                                          LEXIS 9725 (10th Cir. Apr. 12, 2022); Felder v. U.S.   summary judgment in favor of putative joint
                                                 and the company. There, the company engaged (i.e.,
                                                                                                          Tennis Assn., 27 F.4th 834 (2d Cir. 2022); Perry v.    employer that had given employee assignments,
                                                 hired) an individual to sell its sewing machines and
                                                 decided upon his compensation, which, along with         VHS San Antonio, LLC, 990 F.3d 918 (5th Cir.           directly supervised him, provided site-specific
                                                 other terms, was set forth in a contract between the     2021); Nethery v. Quality Care Investors, L.P., 814    training, furnished necessary equipment and
                                                 two parties. To be sure, the Court’s analysis focused    Fed. Appx. 97 (6th Cir. 2020); EEOC v. Global          materials, and verified the number of hours he had
                                                 on the terms of the contract, but to conclude that       Horizons, Inc., 915 F.3d 631 (9th Cir. 2019); Frey     worked on a daily basis). The Fifth Circuit applies
                                                 this compels the conclusion that joint-employer          v. Hotel Coleman, 903 F.3d 671 (7th Cir. 2018);        a ‘‘hybrid’’ test that focuses on the right to hire, fire,
                                                 status likewise may be based solely on a never-          Garcia-Celestino v. Ruiz Harvesting, Inc., 843 F.3d    supervise, and set work schedules, and on which
                                                 exercised contractual right to control ignores that in   1276 (11th Cir. 2016); Al-Saffy v. Vilsack, 827 F.3d   entity paid the employee’s salary, withheld taxes,
                                                 the independent-contractor context, where there is       85 (D.C. Cir. 2016); Faush v. Tuesday Morning, Inc.,   provided benefits, and set the terms and conditions
                                                 only one alleged employer, that entity necessarily       808 F.3d 208 (3d Cir. 2015); Casey v. Dep’t of         of employment. Perry, 990 F.3d at 928–929 (finding
                                                 exercises direct control of at least two things that     Health & Human Services, 807 F.3d 395 (1st Cir.        that hospital was not joint employer of physician
                                                 my colleagues and I agree constitute essential terms     2015); Butler v. Drive Automotive Industries of Am.,   supplied to it by professional association despite
                                                 and conditions. Even if it exercises control of          793 F.3d 404 (4th Cir. 2015).                          fact that hospital had exercised its ‘‘limited
                                                                                                             455 42 U.S.C. 2000e et seq.
                                                 nothing else, it engages—i.e., hires—the worker,                                                                contractual right to ‘fire’ [him] by requesting that
                                                                                                             456 29 U.S.C. 621 et seq.
                                                 and it compensates—i.e., pays—the worker.                                                                       [the professional association] terminate his
                                                 Notably, it may do so and the individual thus hired         457 29 U.S.C. 794. In contrast, under the Fair      professional services agreement’’). The Sixth Circuit
ddrumheller on DSK120RN23PROD with RULES2




                                                 and paid may still be an independent contractor, yet     Labor Standards Act, 29 U.S.C. 621 et seq., the        asks whether two entities share or codetermine
                                                 my colleagues would make a joint employer of             joint-employer doctrine is not limited by common-      those matters governing essential terms and
                                                 businesses that never exercise direct control over       law agency principles. See, e.g., Salinas v.           conditions of employment, examining a putative
                                                 any essential term or condition. Precedent like          Commercial Interiors, Inc., 848 F.3d 125, 137 (4th     joint employer’s exercise of its ability to hire, fire
                                                 Singer does not support the proposition that a court     Cir. 2017) (‘‘[T]he FLSA’s definition of ‘employee’    or discipline employees, affect their compensation
                                                 (or the Board) must or should find that one entity       encompass[es] a broader swath of workers than          and benefits, and direct and supervise their
                                                 is a joint employer of another entity’s employees        would constitute employees at common law.’’)           performance. EEOC v. Skanska USA Building, Inc.,
                                                 based exclusively on a never-exercised contractual       (citing Nationwide Mutual Ins. Co. of America v.       550 Fed. Appx. 253, 256 (6th Cir. 2013) (finding
                                                 reservation of right to control.                         Darden, 503 U.S. 318, 326 (1992)).                     that general contractor was joint employer of



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00052   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                   Page 57 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                    73997

                                                 Not a single circuit has held or even                    common law of agency’’ synthesized in                      The standard promulgated today,
                                                 suggested that an entity can be found to                 Community for Creative Non-Violence v.                  which does not require proof of any
                                                 be the joint employer of another entity’s                Reid, 490 U.S. at 730. Id. at 844                       exercise of control, is strikingly
                                                 employees based solely on a never-                       (emphasis added). Broadly, those factors                inconsistent with the standards applied
                                                 exercised contractual reservation of                     include whether the putative joint                      by the federal courts of appeals when
                                                 right to affect essential terms or on                    employer ‘‘ ‘paid [the employees’]                      applying common-law agency
                                                 ‘‘indirect control,’’ i.e., conduct other                salaries, hired and fired them, and had                 principles to determine joint-employer
                                                 than actually determining (alone or in                   control over their daily activities.’ ’’ Id.            status. As summarized above, federal
                                                 collaboration with the undisputed                        at 843 (quoting Faush v. Tuesday                        appellate courts have repeatedly
                                                 employer) employees’ essential terms                     Morning, Inc., 808 F.3d at 214 (3d Cir.                 focused on the extent to which a
                                                 and conditions of employment.459                         2015) (alteration in Felder)). Applying                 putative joint employer has exercised
                                                    Illustrative is Felder v. U.S. Tennis                 this standard, the Felder court held that               control. In contrast, the standard my
                                                 Assn., 27 F.4th at 842–844. In that case,                a lower court had properly granted the                  colleagues promulgate resembles the
                                                 the Second Circuit articulated for the                   putative joint employer’s motion to                     substantially easier-to-satisfy standard
                                                 first time its standard for analyzing                    dismiss the complaint because the                       applicable under the Fair Labor
                                                 joint-employer status under Title VII.                   plaintiff had failed to allege that the                 Standards Act, where ‘‘economic reality
                                                 After surveying the legal landscape, the                 putative joint employer ‘‘would have                    . . . is to be the test of employment.’’
                                                 court explained that it will find a joint-               exerted significant control’’ over his                  Goldberg v. Whitaker House Co-op.,
                                                 employer relationship ‘‘when two or                      terms and conditions of employment                      Inc., 366 U.S. 28, 33 (1961) (internal
                                                 more entities, according to common law                   had it not rejected a subcontractor’s                   quotation marks omitted). ‘‘Because of
                                                 principles, share significant control of                 attempt to refer him to it. Id. at 845.                 the uniqueness of the FLSA, a
                                                 the same employee.’’ Importantly, the                       Similarly, in Butler v. Drive                        determination of joint employment
                                                 court quoted with approval cases from                    Automotive Industries of America, the                   [under that statute] ‘must be based on a
                                                 other circuits requiring proof that the                  Fourth Circuit explained that ‘‘the                     consideration of the total employment
                                                 putative joint employer ‘‘exercise[d]                    [joint-employer] doctrine’s emphasis on                 situation and the economic realities of
                                                 significant control.’’ 460 The court                     determining which entities actually                     the work relationship.’ ’’ In re Enterprise
                                                 explained that, ‘‘[b]ecause the exercise                 exercise control over an employee is                    Rent-A-Car Wage & Employment
                                                 of control is the guiding indicator, . . .               consistent with Supreme Court                           Practices Litigation, 683 F.3d 462, 469
                                                 any relevant factor may be considered                    precedent interpreting Title VII’s                      (3d Cir. 2012) (quoting Bonnette v.
                                                 so long as [it is] drawn from the                        definitions.’’ 793 F.3d at 409 (emphasis                California Health & Welfare Agency, 704
                                                                                                          added). See also Adams v. C3 Pipeline                   F.2d 1465, 1470 (9th Cir. 1983)).
                                                 subcontractor’s elevator-operator employees              Constr. Inc., 30 F.4th at 961 (10th Cir.                Application of a control-based test
                                                 because it had ‘‘supervised and controlled the           2021) (‘‘Both entities are [joint]                      ‘‘would only find joint employment
                                                 operators’ day-to-day activities without any
                                                 oversight from [the subcontractor],’’ ‘‘routinely
                                                                                                          employers if they both exercise                         where an employer had direct control
                                                 exercised its ability to direct and supervise the        significant control over the same                       over the employee, but the FLSA
                                                 operators’ performance,’’ and ‘‘set the operators’       employees.’’) (internal quotation marks                 designates those entities with sufficient
                                                 hours and daily assignments’’). The Seventh Circuit      and citations omitted); Whitaker v.                     indirect control as well.’’ Id. at 469.
                                                 applies five factors: (1) the extent of the putative
                                                 joint employer’s control and supervision of the          Milwaukee County, 772 F.3d 802, 810
                                                 worker, including scheduling and manner and              (7th Cir. 2014) (‘‘An entity other than                 efforts, my colleagues’ parsing of isolated words or
                                                 means of performance of work; (2) the kind of            the actual employer may be considered                   phrases does not detract from the primary theme in
                                                 occupation and nature of skill required, including                                                               the Title VII cases that exercise of control is the
                                                                                                          a ‘joint employer’ ‘only if it exerted                  ‘‘guiding indicator.’’ Felder, 27 F.4th at 844; id. at
                                                 whether skills are obtained in the workplace; (3)
                                                 responsibility for the costs of operation, such as       significant control over’ the employee.’’)              847 (‘‘Absent further allegations that the USTA
                                                 equipment, supplies, fees, licenses, workplace, and      (quoting G. Heileman Brewing Co. v.                     would have significantly controlled the manner and
                                                 maintenance of operations; (4) method and form of        NLRB, 879 F.2d 1526, 1530 (7th Cir.                     means of Felder’s work as a security guard, the
                                                 payment and benefits; and (5) length of job                                                                      complaint does not cross the line from speculative
                                                                                                          1989) (emphasis added)); 461 Gulino v.                  to plausible on the essential Title VII requirement
                                                 commitment and/or expectations. Frey, 903 F.3d at
                                                 676. The Seventh Circuit explained that in applying      N.Y. State Educ. Dept., 460 F.3d 361,                   of an employment relationship.’’) (emphasis added).
                                                 its five-factor test, it ‘‘looks to see whether the      379 (2d Cir. 2006) (‘‘The Reid factors                     Additionally, my colleagues say that in some of
                                                 putative employer exercised sufficient control.’’ Id.    countenance a[n employment]                             the Title VII cases I cite above, the courts applied
                                                 at 678. The Ninth Circuit focuses on ‘‘the extent of     relationship where the level of control                 a standard that incorporates an ‘‘economic realities’’
                                                 control that one may exercise over the details of the                                                            test, and those cases cannot inform the Board’s
                                                 work of the other,’’ ‘‘with no one factor being          is direct, obvious, and concrete, not                   formulation of a joint-employer standard under the
                                                 decisive.’’ Global Horizons, Inc., 915 F.3d at 638.      merely indirect or abstract.’’).462                     NLRA because Congress, in the Taft-Hartley Act,
                                                 The Tenth Circuit applies the ‘‘share or                                                                         repudiated the ‘‘economic realities’’ test the
                                                 codetermine’’ standard and looks to whether both            461 The majority dismisses the Seventh Circuit’s     Supreme Court applied in NLRB v. Hearst
                                                 entities ‘‘exercise[d] significant control.’’ Adams v.   decision in Whitaker because, they say, the court       Publications, 322 U.S. 111 (1944). Once again, the
                                                 C3 Pipeline Constr. Inc., 30 F.4th 943, 961 (10th Cir.   ‘‘drew its articulation of the [joint-employer]         majority is crossing its wires between independent-
                                                 2021).                                                   standard from a Board decision’’ applying Laerco.       contractor law and joint-employer law. In Hearst,
                                                    459 The majority disputes this statement, citing                                                              the Court applied an ‘‘economic realities’’ standard
                                                                                                          What my colleagues fail to acknowledge, however,
                                                 EEOC v. Global Horizons, Inc., 915 F.3d at 631.          is that the court adopted that standard as circuit      to determine employee-or-independent-contractor
                                                 That case does not support my colleagues’ position,      law. Moreover, the Seventh Circuit in Whitaker did      status under the NLRA. In Title VII cases, circuit
                                                 for reasons explained below.                             not rely on Board precedent for its holding that        courts apply an ‘‘economic realities’’ test to discern
                                                    460 The court in Felder, id. at 843–844, cited        joint-employer status requires that an entity must      whether a putative joint employer actually
                                                 Knitter v. Corvias Mil. Living, LLC, 758 F.3d 1214,      exercise control to be deemed a joint employer. See     exercised control over essential terms and
                                                 1226 (10th Cir. 2014) (quoting Bristol v. Bd. of Cnty.   Whitaker, 772 F.3d at 810–811 (‘‘We . . . have held,    conditions of employment of another employer’s
                                                 Comm’rs of Cnty. of Clear Creek, 312 F.3d 1213,          however, ‘that for a joint-employer relationship to     employees. See, e.g., Perry v. VHS San Antonio,
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                                                 1218 (10th Cir. 2002) (‘‘Under the joint employer        exist, each alleged employer must exercise control      LLC, 990 F.3d at 929 (‘‘The economic-realities
                                                 test, two entities are considered joint employer . . .   over the working conditions of the employee,            component of the ‘hybrid economic realities/
                                                 if they both ‘exercise significant control over the      although the ultimate determination will vary           common law control test’ focuses on who paid the
                                                 same employees.’ ’’)), and Plaso v. IJKG, LLC, 553       depending on the specific facts of each case.’          employee’s salary, withheld taxes, provided
                                                 Fed. Appx. 199, 204 (3d Cir. 2015) (quoting Graves       Moldenhauer v. Tazewell-Pekin Consol. Commc’ns          benefits, and set the terms and conditions of
                                                 v. Lowery, 117 F.3d 723, 727 (3d Cir. 1997) (‘‘[A]       Ctr., 536 F.3d 640, 644 (7th Cir. 2008) (emphasis       employment.’’). Here again, my colleagues’
                                                 joint employment relationship exists when ‘two           added). . . .’’).                                       insistence on basing a joint-employer standard on
                                                 entities exercise significant control over the same         462 My colleagues’ overly selective reading of the   independent-contractor precedent leads them
                                                 employees.’ ’’)).                                        Title VII cases is unpersuasive. Despite their best     astray.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00053   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                Filed: 11/06/2023                   Page 58 of 78
                                                 73998              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 Notably, in contrasting the breadth of                   fail to support their repeated                            and they fail to grapple with the reality
                                                 the FLSA’s economic-realities standard                   declarations that common-law agency                       that their joint-employer standard is
                                                 with the common-law test, the Third                      principles compel the Board to adopt a                    likely to frustrate collective bargaining
                                                 Circuit quoted its earlier—and leading—                  standard that does not require proof that                 and erect barriers to reaching collective-
                                                 decision on the joint-employer standard                  an entity actually exercised control over                 bargaining agreements. It is not clear to
                                                 under the NLRA, writing that under the                   the employment terms and conditions of                    me how the vulnerable employees cited
                                                 Act, ‘‘the alleged [joint] employer must                 another employer’s employees before it                    by my colleagues are benefited by a rule
                                                 exercise ‘significant control.’ ’’ Id. at 468            will be found to be their joint employer.                 that makes it more difficult for their
                                                 (quoting Browning-Ferris Industries of                   This is fatal to the majority’s final rule.               representatives to obtain a collective-
                                                 Pennsylvania, 691 F.2d at 1124).463                      In enacting the Taft-Hartley Act,                         bargaining agreement and, in turn, for
                                                   As the preceding discussion                            Congress made clear that under the                        them to gain the statutory protections
                                                 demonstrates, in eliminating the                         NLRA, the common law of agency is the                     afforded by such an agreement.
                                                 requirement that a putative joint                        controlling standard,465 and ‘‘ ‘an                          Even assuming for argument’s sake
                                                 employer must be shown to have                           agency regulation must be declared                        that the final rule does not exceed the
                                                 exercised substantial direct and                         invalid, even though the agency might                     limits established by common-law
                                                 immediate control over the essential                     be able to adopt the regulation in the                    agency principles and therefore is not
                                                 terms and conditions of employment of                    exercise of its discretion, if it was not                 impermissible under the Act, I would
                                                 another entity’s employees, my                           based on the [agency’s] own judgment                      still dissent from my colleagues’
                                                 colleagues have gone beyond the                          but rather on the unjustified assumption                  decision to promulgate the final rule
                                                 boundaries of the common law.464 They                    that it was Congress’ judgment that such                  because the 2020 Rule better promotes
                                                                                                          [a regulation is] desirable’ or required.’’               the Act’s policy of encouraging
                                                    463 Even under the economic-realities standard
                                                                                                          Transitional Hospitals Corp. of La. v.                    collective bargaining as a means to
                                                 applicable under the FLSA, the Third Circuit in          Shalala, 222 F.3d 1019, 1029 (D.C. Cir.
                                                 Enterprise Rent-A-Car held that Enterprise
                                                                                                                                                                    reduce obstacles to the free flow of
                                                 Holdings, Inc. was not a joint employer of the           2000) (quoting Prill v. NLRB, 755 F.2d                    commerce. It bears repeating that the
                                                 employees of its wholly owned subsidiaries (rental-      941, 948 (D.C. Cir. 1985)). Today’s final                 common law sets the outer limit of a
                                                 car facilities), despite its potential impact on their   rule is based on such an unjustified                      permissible joint-employer standard
                                                 essential terms and conditions of employment.            assumption.
                                                 Among other significant actions, the parent
                                                                                                                                                                    under the Act and that the Board may
                                                 corporation recommended salary ranges for the            The Final Rule Is Unsound as a Matter                     adopt a more demanding standard for
                                                 subsidiaries’ branch employees and provided a            of Policy                                                 policy reasons.466 In my view, joint-
                                                 standard performance-review form, job                                                                              employer status under the Act should be
                                                 descriptions, and best practices. Id. at 466. Each          In a couple of paragraphs, my                          imposed only on entities that play a
                                                 subsidiary had discretion to adopt or disregard the      colleagues do very briefly pay lip
                                                 parent’s recommended employment practices. In                                                                      significant, active role in hiring,
                                                 finding that such indirect influence did not render      service to a backup position that, even                   supervising, or directing another
                                                 the parent a joint employer under the FLSA, the          assuming the 2020 Rule is permissible                     employer’s employees, in setting their
                                                 court emphasized that the record failed to show          under the Act, they would rescind it                      wages, benefits, or hours of work, and/
                                                 ‘‘that [the parent’s] actions at any time amounted to    and promulgate their final rule for
                                                 mandatory directions rather than mere                                                                              or in disciplining or discharging them.
                                                 recommendations.’’ Id. at 470.                           policy reasons. In this regard, my                        Only upon such a showing should the
                                                    464 Contrary to my colleagues’ assertion, the final   colleagues assert that the final rule                     Board find joint-employer status and,
                                                 rule’s elimination of the actual-exercise                ‘‘advances the Act’s purposes to ensure                   accordingly, impose on the joint
                                                 requirement finds no support in EEOC v. Global           that, if they choose, all employees have
                                                 Horizons. In that case, it was undisputed that two                                                                 employer a duty to bargain in good faith
                                                 companies operating orchards (the ‘‘Growers’’) were
                                                                                                          the opportunity to bargain with those                     with a union representing the jointly
                                                 joint employers of workers from Thailand supplied        entities that possess the authority to                    employed employees. That approach,
                                                 by Global Horizons under the federal H–2A guest          control or exercise the power to control                  requiring proof of exercise of control, is
                                                 worker program. 915 F.3d at 634 (‘‘All parties agree     the essential conditions of their working
                                                 that the Growers and Global Horizons were joint                                                                    reflected in the 2020 Rule.
                                                 employers of the Thai workers with respect to
                                                                                                          lives,’’ and that the final rule ‘‘may                       In contrast, I believe that today’s final
                                                 orchard-related matters.’’). The only issue presented    particularly benefit vulnerable                           rule, rather than making bargaining
                                                 in EEOC v. Global Horizons was ‘‘whether the             employees who are overrepresented in                      more ‘‘meaningful,’’ will prove
                                                 EEOC plausibly alleged that the Growers were also        workplaces where multiple firms
                                                 joint employers with respect to non-orchard related                                                                detrimental to productive collective
                                                 matters.’’ Id. The court’s analysis of that issue was
                                                                                                          possess or exercise control, including
                                                 shaped, as it had to have been, by federal               immigrants and migrant guestworkers,                        466 See Browning-Ferris Industries of California v.

                                                 regulations governing the H–2A guest worker              disabled employees, and Black                             NLRB, 911 F.3d at 1208 (‘‘The policy expertise that
                                                 program. First, under those regulations, an              employees and other employees of                          the Board brings to bear on applying the National
                                                 ‘‘employer’’ is required to provide H–2A guest                                                                     Labor Relations Act to joint employers is bounded
                                                 workers certain benefits, including housing, meals,
                                                                                                          color.’’ But these are mere conclusory                    by the common-law’s definition of a joint employer.
                                                 and transportation. ‘‘The H–2A program thus              remarks. My colleagues do not support                     The Board’s rulemaking, in other words, must color
                                                 expands the employment relationship between an           their assertions; they dismiss                            within the common-law lines identified by the
                                                 H–2A ‘employer’ and its workers to encompass             commenters’ weighty policy-based                          judiciary.’’). Additionally, the Board has authority
                                                 housing, meals, and transportation, even though                                                                    to define the duty to bargain in good faith under
                                                 those matters would ordinarily fall outside the
                                                                                                          criticisms of the rule as ‘‘misdirected’’;                Sec. 8(a)(5) and 8(d). See Ford Motor Co. v. NLRB,
                                                 realm of the employer’s responsibility.’’ Id. at 640.                                                              441 U.S. 488, 496 (1979) (‘‘It is thus evident that
                                                 Second, H–2A regulations define the term                 Thai workers, even if never exercised, is sufficient      Congress made a conscious decision to continue its
                                                 ‘‘employer’’ as an entity that, among other things,      to render the Growers joint employers as to non-          delegation to the Board of the primary
                                                 ‘‘has an employer relationship with respect to           orchard-related matters.’’ Id. at 641. Importantly,       responsibility of marking out the scope of the
                                                 employees . . . as indicated by the fact that it may     the court did not rely on a contractual reservation       statutory language [of Sec. 8(a)(5) and 8(d)] and of
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                                                 hire, pay, fire, supervise or otherwise control the      of right to control as the basis for its joint-employer   the statutory duty to bargain.’’). This authority
                                                 work of any such employee.’’ Id. (quoting 20 CFR         finding. Rather, the court held that the Growers          includes the authority to define that duty in the
                                                 655.100(b)) (emphasis added). In other words, H–         were joint employers by virtue of their regulatory        joint-employer context—provided, of course, that
                                                 2A regulations define employer status with               obligations, and their ‘‘contractual delegation [of       the Board stays within common-law limits—in such
                                                 reference to authority to control essential terms and    those duties to Global Horizons] did not absolve the      a way as to trigger a joint employer’s bargaining
                                                 conditions of employment. It was in this unique          Growers of their legal obligations as ‘employers’         obligation only upon its actual exercise of
                                                 context that the court stated that ‘‘[t]he power to      under H–2A regulations.’’ Id. at 640.                     substantial direct and immediate control over the
                                                 control the manner in which housing, meals,                 465 See NLRB v. United Insurance Co. of America,       essential terms and conditions of employment of
                                                 transportation, and wages were provided to the           390 U.S. at 256.                                          another entity’s employees.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00054   Fmt 4701    Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                            Document #2025765                              Filed: 11/06/2023                    Page 59 of 78
                                                                     Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                     73999

                                                 bargaining.467 Imagine a scenario in                         It is difficult to imagine a better recipe              Its predictable adverse effect on the
                                                 which an undisputed employer has                          than today’s final rule for injecting                   practice and procedure of collective
                                                 exercised complete control over every                     chaos into the practice and procedure of                bargaining is far from the only policy-
                                                 aspect of its employees’ essential terms                  collective bargaining that the majority                 based objection to the final rule. I am
                                                 and conditions and that a second entity                   claims to promote. Accordingly, the                     also concerned about its impact on
                                                 possesses, but has never exercised, a                     final rule is contrary to the national                  small businesses that, on their own, fall
                                                 contractual reservation of right to                       labor policy Congress established,                      below the Board’s discretionary
                                                 codetermine the employees’ wages.                         which is to ‘‘achiev[e] industrial peace                jurisdiction thresholds. Under extant
                                                 Under the majority’s final rule, that                     by promoting stable collective-                         law, the Board combines the gross
                                                 second entity will be deemed a joint                      bargaining relationships.’’ Auciello Iron               revenues of joint employers when
                                                 employer, but given that it has never                     Works, Inc. v. NLRB, 517 U.S. 781, 790                  applying its discretionary jurisdictional
                                                 exercised its contractually reserved                      (1996) (emphasis added).470 Moreover,                   standards.472 That historic practice was
                                                 authority, it makes little if any sense to                collective bargaining was intended by                   acceptable under the more rigorous
                                                 seat it at the bargaining table. Doing so                 Congress to be a process that could                     joint-employer standard the Board
                                                 will have little if any benefit, while                    conceivably produce agreements. See,                    applied both before and after TLI and
                                                 creating a substantial risk of frustrating                e.g., NLRB v. Insurance Agents’                         Laerco and codified in the 2020 Rule.
                                                 agreement between the undisputed                          International Union, 361 U.S. at 485                    But now that my colleagues have
                                                 employer and the union because the                        (Congress intended collective bargaining                lowered the bar, significantly greater
                                                 interests of the undisputed employer                      to be ‘‘a process that look[s] to the                   numbers of small businesses never
                                                 and the second entity might well be in                    ordering of the parties’ industrial                     before subject to the Board’s jurisdiction
                                                 conflict.468 What if the two employer-                    relationship through the formation of a                 will be swept within it. As a result, they
                                                 side entities were each to insist, in good                contract.’’); H.J. Heinz Co. v. NLRB, 311               will be saddled with costs they can ill
                                                 faith, on different wage rates? What if an                U.S. 514, 523 (1941) (The object of                     afford, particularly the expense of hiring
                                                 agreement were held up by the second                      collective bargaining under the Act is                  an attorney to represent them in
                                                 entity’s refusal to agree to wage                         ‘‘an agreement between employer and                     collective bargaining. I’m concerned
                                                 proposals that were agreeable to the                      employees as to wages, hours and                        that the final rule will impose
                                                 union and the undisputed employer?                        working conditions.’’). There is nothing                significant economic hardships on these
                                                 Would that prevent the formation of a                     stable about the collective-bargaining                  small entities, without any
                                                 collective-bargaining agreement? If not,                  relationships the final rule will                       countervailing benefit to collective
                                                 is the second entity bound by the                         predictably create, and the final rule                  bargaining that would outweigh this
                                                 agreement’s wage terms despite its                        will frustrate rather than facilitate                   burden.
                                                 refusal to agree to them? How will the                    reaching agreements.471                                    Additionally, the final rule
                                                 rules of impasse and implementation                                                                               undermines Section 8(b)(4)’s protection
                                                 upon impasse apply in this scenario?                      employees’ collective bargaining agreement,             of neutral employers against picketing
                                                 My colleagues fail to consider the                        regardless of whether that employer signed the          and boycotts. That provision was
                                                                                                           agreement.’’) (citing Metropolitan Detroit
                                                 implications of their final rule for                      Bricklayers District Council v. J.E. Hoetger & Co.,     designed to ‘‘shield[ ] unoffending
                                                 collective bargaining.469                                 672 F.2d 580, 583 (6th Cir. 1982) (‘‘We recognize       employers and others from pressures in
                                                                                                           that courts have generally held that [Sec. 301]         controversies not their own.’’ NLRB v.
                                                    467 I do not agree that making it more difficult for   creates federal jurisdiction only over parties to the   Denver Building Trades Council, 341
                                                 parties to reach agreement through collective             contract being sued upon. However, since the
                                                                                                           primary issue in this case was whether Hoetger was      U.S. 675, 692 (1951). By expanding the
                                                 bargaining advances the concept of ‘‘meaningful’’
                                                 bargaining.                                               a ‘joint employer’ such that it could be bound by       universe of joint employers to include
                                                    468 See, e.g., Comments of the National Waste and      the collective bargaining agreement, we conclude        entities that exercise an undefined
                                                                                                           that the district court had jurisdiction under
                                                 Recycling Association and the American Hospital
                                                                                                           § 301(a) to decide this claim.’’)).
                                                                                                                                                                   indirect control or that merely possess
                                                 Association.                                                                                                      but have never exercised authority to
                                                    469 Federal courts have indicated that a non-             The possibility that a joint employer could be
                                                 signatory joint employer may be bound by a                bound to a collective-bargaining agreement that it      control, the final rule will convert
                                                 collective-bargaining agreement signed by the direct      neither negotiated nor signed strongly counsels         heretofore neutral employers into
                                                 employer and a labor union representing the               against the majority’s decision to permit a joint-      primary employers, subjecting them to
                                                 jointly-employed workers. See Armogida v. Jobs            employer finding to be made absent any exercise of
                                                                                                           control whatsoever over the covered employees.          lawful picketing. This result will be
                                                 with Justice, Inc., 2022 U.S. Dist. LEXIS 174658 at
                                                 *13 (S.D. Ind. Sept. 26, 2022) (‘‘[A] party may be        Indeed, given that the final rule is to be applied      particularly unjust where the labor
                                                 bound by a labor contract by virtue of its status as      retroactively, it is all but certain that countless     dispute involves an essential term or
                                                 a ‘joint employer’ with a signatory of the                employers—that have never been identified as a          condition of employment over which
                                                 contract.’’); Mason Tenders Dist. Council v. CAC of       joint employer nor exercised any control over
                                                                                                           another employer’s employees—will now be                the joint employer has no control.473
                                                 N.Y., Inc., 46 F. Supp. 3d 432, 438 n.11 (S.D.N.Y.
                                                 2014) (‘‘Since joint employer status functions, in        required to adhere to the terms of other parties’
                                                 cases like the one at bar, to bind a non-signatory        collective-bargaining agreements.                       possibly including litigation in the courts. It is self-
                                                 to the terms of an otherwise-operative collective            470 See also Colgate-Palmolive-Peet Co. v. NLRB,     evident that such delay to the collective-bargaining
                                                 bargaining agreement, the typical scenario would          338 U.S. 355, 362 (1949) (‘‘To achieve stability of     process could be substantial.
                                                 focus on whether that non-signatory . . . could           labor relations was the primary objective of               472 See, e.g., Central Taxi Service, 173 NLRB 826,

                                                 properly be treated as a joint employer.’’) (emphasis     Congress in enacting the National Labor Relations       827 (1968); Checker Cab Co., 141 NLRB 583, 586–
                                                 in original); Newmark & Lewis, Inc. v. Local 814,         Act.’’).                                                587 (1963), enfd. 367 F.2d 692 (6th Cir. 1966); see
                                                 Teamsters, 776 F. Supp. 102, 106 (E.D.N.Y. 1991)             471 It is evident that the final rule is likely to   also CID—SAM Management Corp., 315 NLRB
                                                 (federal court jurisdiction under LMRA Sec. 301           create significant delay for parties as they endeavor   1256, 1256 (1995).
                                                 includes determining whether a non-signatory to a         to reach final collective-bargaining agreements. For       473 My colleagues say that they ‘‘see little risk of

                                                 collective-bargaining agreement is contractually          example, should a labor union insist on the             enmeshing neutral employers in labor disputes’’
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                                                 obligated to arbitrate under joint-employer theory);      participation of a putative joint employer that has     because ‘‘[w]hen more than one entity jointly
                                                 Central States, Southeast & Southwest Areas               never directly exercised any control over any           employs particular employees, those entities are not
                                                 Pension Fund v. International Comfort Products,           essential term and condition of employment of           neutral, and the prohibitions on secondary activity
                                                 LLC, 787 F. Supp. 2d 696, 702 (M.D. Tenn. 2011)           another employer’s employees, and that entity           do not apply, regardless of what joint-employer
                                                 (‘‘J.E. Hoetger makes it clear that § 301 of the LMRA     refuses to bargain based on its conviction that it is   standard is applied.’’ Obviously, however, the point
                                                 binds a joint employer to the terms of a collective       not a joint employer, bargaining between the            I am making and that my colleagues do not dispute
                                                 bargaining agreement signed by a co-joint employer.       undisputed employer and the union will be delayed       is that, by eliminating the actual-exercise
                                                 Phrased another way, § 301 creates an ongoing duty        while the union files an unfair labor practice charge   requirement, the majority’s relaxed standard will
                                                 for a joint employer to abide by the terms of its         and the issue is litigated to a final determination,                                                  Continued




                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00055   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 60 of 78
                                                 74000             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                    The majority’s final rule will also                  employed both the old and new                            What is the majority’s response to
                                                 discourage efforts to rescue failing                    subcontractors’ employees, so the new                 these and other legitimate objections to
                                                 businesses. Suppose a unionized                         subcontractor could not set its own                   their rule? My colleagues brush them
                                                 company that supplies employees to                      initial terms), enfd. 928 F.2d 1426 (5th              aside, stating that ‘‘insofar as the Act
                                                 ‘‘user’’ businesses is going under and                  Cir. 1991). Moreover, it is no answer to              itself requires the Board to conform to
                                                 seeks a buyer to acquire its assets. If that            say that the user business could prevent              common-law agency principles in
                                                 supplier is independent of the user                     this ‘‘bridging’’ by subcontracting the               adopting a joint-employer standard,
                                                 businesses it supplies, the usual rules of              work performed by the supplier’s                      these concerns seem misdirected.’’
                                                 successorship would apply. A                            employees to the employees of a                          The majority similarly disregards the
                                                 prospective buyer would understand                      different supplier because, as the joint              effects of the new rule on businesses in
                                                 that if a majority of its post-acquisition              employer of the employees of its                      specific sectors of the economy.
                                                 workforce consists of former employees                  existing supplier, it would have a duty               Although my colleagues express an
                                                 of the seller, it would have to recognize               to bargain with their union                           awareness of ‘‘commenters’ concerns
                                                 and bargain with the incumbent union                    representative over that subcontracting               that the joint-employer standard we
                                                 (and it would also understand that it                   decision and its effects. See Fibreboard              adopt in this final rule might have
                                                 cannot discriminate in hiring to avoid                  Paper Products Corp. v. NLRB, 379 U.S.                unwanted effects on their businesses,’’
                                                 that duty), but it would not have to                    203 (1964). Accordingly, by making                    they conclude that there is ‘‘no clear
                                                 assume the seller’s collective-bargaining               scenarios like this far more likely than              basis in the text or structure of the Act
                                                 agreement, and it would be free to set                  under the 2020 Rule, the majority’s final             for exempting particular groups or types
                                                 its own initial terms and conditions of                 rule will discourage attempts to rescue               of employers from the final rule.’’ More
                                                 employment unilaterally. See NLRB v.                    failing businesses.                                   decisively, they believe ‘‘that these
                                                 Burns International Security Services,                     In short, policy considerations                    concerns reflect considerations that, as
                                                 Inc., 406 U.S. 272 (1972); Fall River                   militate against the majority’s radical               a statutory matter, may [not] determine
                                                 Dyeing & Finishing Corp. v. NLRB, 482                   expansion of the joint-employer                       the Board’s choice of a joint-employer
                                                 U.S. 27 (1987). The Supreme Court                       doctrine. Any purported benefit of                    standard.’’
                                                 created this framework based in part on                 eliminating the requirement that control                 When the majority dismisses
                                                 the public policy of facilitating the                   actually be directly exercised is nominal             commenters’ objections as ‘‘misplaced’’
                                                 rescue of ‘‘moribund’’ businesses.                      at best and is outweighed by the                      or says that they may not determine the
                                                 Burns, 406 U.S. at 287–288 (‘‘A                         detrimental consequences outlined                     choice of a joint-employer standard ‘‘as
                                                 potential employer may be willing to                    above. In my view, retaining the 2020                 a statutory matter,’’ they mean, of
                                                 take over a moribund business only if he                Rule would better promote the policies                course, that the common law of agency,
                                                 can make changes . . . . Saddling such                  of the Act and public policy generally.               and therefore the Act itself, precludes
                                                 an employer with the terms and                          But in this section of my dissent, I have             the standard the Board implemented in
                                                 conditions of employment contained in                   barely scratched the surface of the                   the 2020 Rule and compels the standard
                                                 the old collective-bargaining contract                  adverse consequences that predictably                 they promulgate today. But as I have
                                                 may make these changes impossible and                   will flow from the final rule,                        shown, they are mistaken: the final rule
                                                 may discourage and inhibit the transfer                 consequences that commenters have                     is not compelled by the common law of
                                                 of capital.’’).                                         brought to the Board’s attention, to no               agency and the Act. Accordingly, the
                                                    All this changes, however, if user                   avail. To these, I turn next.                         majority has no valid basis for refusing
                                                 businesses are deemed joint employers                   The Majority Fails Adequately To                      to respond to the substance of the
                                                 of the supplier’s employees, a scenario                 Respond to Public Comments                            comments and therefore has failed to
                                                 the final rule will make far more                                                                             fulfill its statutory duty under the
                                                 common. For the sake of simplicity,                        My colleagues briefly describe, but
                                                                                                         proceed to disregard as irrelevant, a                 Administrative Procedure Act to
                                                 assume that only one such joint-                                                                              provide a reasoned response to these
                                                 employer user business exists. (In the                  variety of public comments regarding
                                                                                                         the new rule’s likely impact on                       comments.474
                                                 real world, there would likely be                                                                                Moreover, the question here is not
                                                 multiple joint employers, upping the                    businesses generally and on those in
                                                                                                         specific sectors of the economy where                 whether the Board should craft
                                                 complications.) If a user business is a                                                                       industry-specific joint-employer
                                                 joint employer of the supplier’s                        the joint-employer issue frequently
                                                                                                         arises. For example, some commenters                  standards or exceptions.475 Rather, the
                                                 employees, it will likely be a joint                                                                          point is that, in crafting a single,
                                                 employer of the supplier’s successor’s                  predict that the Board’s new joint-
                                                                                                         employer standard will disincentivize                 generally applicable joint-employer
                                                 employees, and its ongoing duty to
                                                 bargain bridging the two supplier                       conduct that tends to improve the
                                                                                                                                                                  474 ‘‘[I]n reviewing rules promulgated under the

                                                 employers would prevent the successor                   workplace, like providing training
                                                                                                                                                               notice and comment rulemaking requirements of
                                                 from setting initial terms and conditions               sessions; undertaking safety and health               the Administrative Procedure Act, 5 U.S.C. 553
                                                 of employment different from those of                   initiatives; and developing corporate                 (‘APA’), courts must assure that the agency has
                                                                                                         social responsibility programs,                       provided a reasoned explanation for its rule. In
                                                 the predecessor. See Whitewood                                                                                particular, a reasoned explanation for agency action
                                                                                                         including diversity, equity, and
                                                 Maintenance Co., 292 NLRB 1159,                                                                               must be based on a consideration of relevant factors
                                                                                                         inclusion initiatives. Others predict that            . . . . [A]n agency decision may not be reasoned if
                                                 1168–1169 (1989) (holding that
                                                                                                         the new rule will discourage larger                   the agency ignores vital comments regarding
                                                 contractor that substituted one
                                                                                                         companies from entering into contracts                relevant factors, rather than providing an adequate
                                                 subcontractor for another jointly                                                                             rebuttal.’’ Western Coal Traffic League v. U.S., 677
                                                                                                         with smaller third parties to perform
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                                                                                                                                                               F.2d 915, 927 (D.C. Cir. 1982) (citations omitted);
                                                 render many more businesses joint employers
                                                                                                         work, which would tend to harm                        see also Alternate Fuels, Inc. v. Lujan, 1992 U.S.
                                                 despite them never having played any role in            business owners from underrepresented                 Dist. LEXIS 15785 (D. Kan. Sept. 22, 1992) (‘‘An
                                                 actually exercising control over any term or            communities. Still others say that the                agency should rebut vital relevant comments. The
                                                 condition of employment of another employer’s           new rule will make it more difficult for              opportunity to comment is meaningless unless the
                                                 employees. By drawing such businesses into labor                                                              agency responds to significant points raised by the
                                                 disputes not their own, the final rule diminishes
                                                                                                         companies to seek temporary employees                 public.’’) (citations omitted).
                                                 Sec. 8(b)(4)’s protection against picketing and         to address labor shortages or deal with                  475 Indeed, the 2020 Rule does not include

                                                 boycotts.                                               fluctuating seasonal demand for labor.                industry-specific carveouts.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00056   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 61 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                74001

                                                 standard within the boundaries of the                   means, methods, techniques, sequences,                respects.479 Unsurprisingly,
                                                 common law, the Board should—                           and procedures utilized.’’ 478                        commenters warn the Board that the
                                                 indeed, must—consider the substance of                     Under the final rule, there is a                   rule’s vast reach creates a significant
                                                 vital comments opposing as well as                      significant risk that these and similar               risk that many franchisors will be held
                                                 supporting the proposed rule. Having                    standard contract provisions will be                  liable as joint employers of their
                                                 dismissed those comments on the                         found to vest in the general contractor               franchisees’ employees. For example,
                                                 erroneous ground that their hands are                   reserved authority to control hiring,                 McDonald’s LLC informs us that all its
                                                 tied by the common law, my colleagues                   supervision, discipline, and discharge of             franchisees have unfettered discretion to
                                                 have conspicuously failed to do that                    its subcontractors’ employees—not to                  hire, assign work, set wages, benefits,
                                                 here. And the legitimate objections to                  mention authority to control ‘‘working                and schedules, and carry out day-to-day
                                                 the proposed rule articulated in                        conditions related to the safety and                  supervision. Yet McDonald’s franchise
                                                 numerous major comments further                         health of employees’’—making the                      system—typical of countless others—
                                                 persuade me that the final rule, in                     general contractor a joint employer of                requires franchisees to adhere to strict
                                                 addition to being statutorily precluded,                every single employee who performs                    brand standards. The majority says that
                                                                                                         work on the project.                                  ‘‘many forms of control that franchisors
                                                 is unsound as a matter of policy.
                                                                                                            This puts the final rule at odds with              reserve to protect their brands or trade
                                                    One illustrative example is the                      the Supreme Court’s decision in NLRB                  or service marks . . . will typically not
                                                 negative impact of the rule on the                      v. Denver Building & Construction                     be indicative of a common-law
                                                 construction industry. As several                       Trades Council, 341 U.S. at 689–690.                  employment relationship,’’ but they
                                                 commenters note, due to the particular                  There, the Court stated that ‘‘the fact
                                                                                                                                                               decline to ‘‘categorically state that all
                                                 nature of this industry, multiple                       that the contractor and subcontractor
                                                                                                                                                               forms of control aimed at protecting a
                                                 employers typically operate on a given                  were engaged on the same construction
                                                                                                                                                               brand are immaterial to the existence of
                                                 project.476 Multi-employer worksites are                project, and that the contractor had
                                                                                                                                                               a common-law employment
                                                 common in the construction industry,                    some supervision over the
                                                                                                                                                               relationship.’’ And it is entirely
                                                 where a general contractor coordinates                  subcontractor’s work, did not eliminate
                                                                                                                                                               foreseeable that franchisors’ monitoring
                                                 the work of multiple subcontractors,                    the status of each as an independent
                                                                                                                                                               of franchisees’ cleanliness and hygiene
                                                 sometimes in multiple tiers. Each of                    contractor or make the employees of one
                                                                                                                                                               protocols to protect brand standards
                                                 these parties typically remains the sole                the employees of the other. The business
                                                                                                                                                               would make franchisors joint employers
                                                 employer of its own employees. But a                    relationship between independent
                                                                                                                                                               of their franchisees’ employees under
                                                 general contractor must exert a degree of               contractors is too well established in the
                                                                                                                                                               either or both of two newly adopted
                                                 control over subcontractors and their                   law to be overridden without clear
                                                                                                                                                               essential employment terms: ‘‘work
                                                 employees to ensure that work on a                      language doing so’’ (emphasis added).
                                                                                                                                                               rules and directions governing the
                                                 given project meets efficiency, quality,                My colleagues address Denver Building
                                                                                                                                                               manner, means, or methods of work
                                                 and safety benchmarks. In fact, project                 Trades by construing it narrowly, but
                                                                                                                                                               performance’’ and/or ‘‘working
                                                 owners routinely require general                        this will not do. The Court held that the
                                                                                                                                                               conditions related to the safety and
                                                 contractors to sign standard-form                       general contractor was not the joint
                                                                                                                                                               health of employees.’’ Commenters
                                                 agreements, which obligate the general                  employer of its subcontractor’s
                                                                                                                                                               predict that franchisors will respond in
                                                 to reserve and exercise some level of                   employees simply because it exercised
                                                                                                                                                               one of two ways. Some will exert much
                                                 control over their subcontractors’                      ‘‘some supervision over the
                                                                                                                                                               greater control over their franchisees,
                                                 employees, arguably impacting essential                 subcontractor’s work,’’ but under the
                                                                                                                                                               effectively turning previously
                                                 terms and conditions of employment.                     final rule, a general contractor will be
                                                                                                                                                               independent owners of franchisees into
                                                 Illustrative are several provisions in two              the joint employer of its subcontractors’
                                                                                                                                                               glorified managers; others will distance
                                                 standard contracts 477 widely used in                   employees where it exercises no
                                                                                                                                                               their franchisees by denying them
                                                 the construction industry:                              supervision over subcontractors’ work
                                                                                                                                                               guidance—particularly with respect to
                                                                                                         but merely possesses a contractually
                                                    • ‘‘The Contractor shall enforce strict                                                                    human resources—previously
                                                                                                         reserved authority to affect
                                                 discipline and good order among the                                                                           furnished, forcing franchisees to incur
                                                                                                         subcontractors’ employees’ terms and
                                                 Contractor’s employees and other                                                                              the expense of obtaining that guidance
                                                                                                         conditions of employment. If Denver
                                                 persons carrying out the [w]ork. The                                                                          from other sources, i.e., labor and
                                                                                                         Building Trades precludes finding a
                                                 Contractor shall not permit employment                                                                        employment attorneys. Both outcomes
                                                                                                         general contractor a joint employer
                                                 of unfit persons or persons not properly                                                                      are bad. Many commenters also
                                                                                                         where it exercises some supervision
                                                 skilled in tasks assigned to them.’’                                                                          highlight the disproportionate impact
                                                                                                         over work performed by employees of
                                                    • ‘‘The Contractor shall be                                                                                that the final rule will have on members
                                                                                                         the subcontractors, it must also preclude
                                                 responsible for initiating, maintaining,                                                                      of minority groups.480
                                                                                                         finding a general contractor a joint
                                                 and supervising all safety precautions                  employer where it exercises no                           Several commenters warn the Board
                                                 and programs in connection with the                     supervision over work performed by                    that the staffing industry will be
                                                 performance of the [c]ontract.’’                        employees of the subcontractors. The
                                                    • ‘‘Unless the Contract Documents                    final rule cannot be reconciled with                    479 See, e.g., Comments of International Franchise

                                                                                                         Denver Building Trades.                               Association; Bicameral Congressional Signatories;
                                                 instruct otherwise, [the general                                                                              Bipartisan Senators; U.S. Chamber of Commerce;
                                                 contractor] shall be responsible for the                   The majority has similarly afforded                U.S. Small Business Administration Office of
                                                 supervision and coordination of the                     insufficient attention to the impact of               Advocacy; McDonald’s USA, LLC; McDonald’s USA
ddrumheller on DSK120RN23PROD with RULES2




                                                 [w]ork, including the construction                      the final rule on the franchise industry.             LLC Reply.
                                                                                                         As numerous commenters note, the                        480 See, e.g., Comment of Bicameral Congressional

                                                                                                         majority’s rule compromises the                       Signatories (citing census data showing that 30.8
                                                   476 See, e.g., Comments of U.S. Chamber of
                                                                                                                                                               percent of franchise businesses are minority owned,
                                                 Commerce; Associated Builders and Contractors;          viability of franchises nationwide in key             compared to 18.8 percent of non-franchise
                                                 Associated General Contractors of America; U.S.                                                               businesses); Comment of International Franchise
                                                 Small Business Administration Office of Advocacy.         478 For additional examples of frequently used      Association (predicting that the proposed rule, if
                                                   477 AIA Document A201–2017 (cited in comment          standard-form provisions, see Comment of              enacted, would be especially harmful to minority,
                                                 of Associated General Contractors of America).          Associated General Contractors of America.            female, and LGBTQ franchise operators).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00057   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 62 of 78
                                                 74002              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 severely impaired by the final rule.481                 As several commenters point out, the                  respectfully disagree. It is true that the
                                                 Staffing firms play a significant role in               rule’s unprecedented elevation of                     text of the final rule does not directly
                                                 the economy by recruiting and hiring                    indirect control and reserved authority               impact bargaining units in any
                                                 employees and placing them in                           to control to dispositive status in the               particular hospital. But a foreseeable
                                                 temporary assignments with a wide                       joint-employer analysis risks                         consequence of the final rule will be a
                                                 range of clients on an as-needed                        encroaching on a host of business                     proliferation of bargaining units in
                                                 basis.482 Under the final rule, virtually               relationships that hospitals rely on to               hospitals, contrary to policy concerns
                                                 every client of a staffing firm                         provide lifesaving patient care.484 For               embedded in the 1974 Health Care
                                                 predictably will be the joint employer of               instance, since the onset of the Covid–               amendments.488
                                                 that firm’s supplied employees. The                     19 pandemic, many hospitals have
                                                 client will at least reserve authority to               utilized contracted labor in the form of                The net benefit of the final rule to
                                                 control and/or indirectly control at least              travel nurses to fill critical staffing               unions in the healthcare sector is also
                                                 one essential employment term, and                      gaps.485 Travel nurses typically sign a               questionable. As I explain above, the
                                                 probably more than one (e.g., hours of                  contract with a staffing agency to                    impact of the rule on collective
                                                 work and scheduling; tenure of                          occupy a temporary position at a                      bargaining is murky at best and
                                                 employment; possibly ‘‘work rules and                   hospital that can range in duration from              disastrous at worst. With increasing
                                                 directions governing . . . the grounds                  several days to a few months.486 Under                regularity, representatives of businesses
                                                 for discipline’’). I have already                       the final rule, a hospital that maintains             that have never exercised control over
                                                 described the deleterious consequences                  (or merely has the authority to maintain)             any essential term or condition of
                                                 the final rule predictably will have in                 work rules and schedules for travel                   employment of other businesses’
                                                 the user employer/supplier employer                     nurses on its premises will be their joint            employees will crowd around the
                                                 setting, and staffing firms are a subset of             employer and duty-bound to bargain                    bargaining table with one another and
                                                 the broader ‘‘supplier employer’’                       with the union that represents nurses                 the direct employer’s representatives,
                                                 category. Those consequences,                           directly employed by the staffing                     and they will have competing interests
                                                 particularly the prospect of getting                    agency. Moreover, travel nurses are                   and motives, complicating the prospects
                                                 trapped in a contractual relationship                   required to comply with the health and
                                                                                                                                                               of securing an agreement. As one
                                                 from which it cannot readily extricate                  safety policies of the hospital where
                                                                                                                                                               commenter observes, ‘‘[c]ollective
                                                 itself, will incentivize user businesses to             they work, which may impose more
                                                 avoid contracting with staffing firms                   stringent requirements than those                     bargaining is difficult enough when just
                                                 altogether, whether or not those firms                  mandated by law. Again, under the final               one employer sits across the table and
                                                 are unionized. Contracting with a firm                  rule, the maintenance of these policies               approaches issues and proposals with a
                                                 whose employees are unrepresented is                    will make the hospital the joint                      unitary perspective. When a union must
                                                 no guarantee of protection, since there’s               employer of those nurses. The                         simultaneously bargain with two, three,
                                                 always the risk that those employees                    problematic consequences are not                      or four employers whose interests and
                                                 will choose representation. Rather than                 difficult to imagine. Among other                     priorities do not align, finalizing an
                                                 run the risk of incurring joint-employer                things, all the adverse consequences                  agreement will be orders of magnitude
                                                 status of a staffing firm’s employees—a                 discussed above with respect to                       more difficult.’’ 489 This observation
                                                 risk that the final rule increases                      businesses in the user employer/                      applies to any industry but is
                                                 dramatically—user businesses might                      supplier employer context apply here as               particularly troubling in the healthcare
                                                 well decide to bring their contracted-out               well, and coming to grips with those                  space. The potential adverse
                                                 work in-house, to the detriment of                      takes time and costs money. As one                    consequences of the final rule on critical
                                                 staffing firms generally and the broader                commenter accurately observes,                        patient care warrant the most serious
                                                 economy. Moreover, where the costs to                   hospitals will be forced ‘‘to spend time              consideration,490 and my colleagues do
                                                 the (former) user business of bringing                  and resources that could be devoted to                not give them that attention because,
                                                 work in-house exceed the costs of                       patient care on administrative and                    they say, it cannot be helped because
                                                 contracting out that work, the impact                   management issues as it works to
                                                                                                                                                               the common law and the Act leave them
                                                 may be felt by the (former) user                        understand the scope of its joint
                                                                                                                                                               no other choice. For reasons already
                                                 businesses’ own employees. As one                       employer liability [and] revises policies,
                                                 commenter cautions, ‘‘[a]s in any case                  practices, and contracts to address that              explained, they are wrong.
                                                 where a business is forced to incur                     liability . . . .’’ 487
                                                 unexpected costs, it will be forced to                     Furthermore, although my colleagues                   488 See the Board’s Second Notice of Proposed

                                                 look for other ways to remain profitable.               assert that the final rule is ‘‘unrelated             Rulemaking on Collective-Bargaining Units in the
                                                                                                         to’’ the Board’s 1989 health care rule, I             Health Care Industry, 53 FR 33900, 33909 (1988):
                                                 Often this leads to reduced headcount
                                                                                                                                                               ‘‘In view of Congressional concern in the health
                                                 or other cost-saving measures that could                                                                      care amendments with the ability of health care
                                                                                                           484 See, e.g., Comments of U.S. Chamber of
                                                 impact workers.’’ 483                                                                                         institutions to deliver uninterrupted health
                                                    In addition, the final rule will                     Commerce; American Hospital Association.
                                                                                                           485 See Bertha Coombs, With travel nurses making    services, it is relevant to consider whether multiple
                                                 negatively impact the healthcare sector.                $150 an hour, hospital systems are forced to          units increase costs to health care institutions so as
                                                                                                         innovate, CNBC (Mar. 28, 2023), https://              to disrupt the stability of the institutions.’’
                                                   481 See, e.g., Comments of American Staffing          www.cnbc.com/2023/03/28/with-travel-nurses-              489 Comment of American Hospital Association.

                                                 Association; U.S. Chamber of Commerce; American         making-150-an-hour-hospital-systems-                     490 The role of increased work stoppages, which
                                                 Hospital Association; FMI—Food Industry                 innovate.html.                                        will likely occur as a result of the rule, is easy to
                                                 Association; National Association of Manufacturers;       486 What Is a Travel Nurse? Job Description and
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                                                                                                                                                               glean from recent events. See, e.g., Nurses end
                                                 Clark Hill PLC.                                         Salary, St. Catherine University, https://
                                                   482 The importance of staffing firms to the health
                                                                                                                                                               nearly 10-month strike at Tenet Healthcare-owned
                                                                                                         www.stkate.edu/academics/women-in-leadership-
                                                                                                                                                               hospital, Dallas Morning News (Jan. 5, 2022),
                                                 of the economy is difficult to overstate. As one        degrees/what-is-a-travel-nurse#:∼:text=
                                                 commenter explains, they are crucial to ensuring        Travel%20nurses%20sign                                https://www.dallasnews.com/business/local-
                                                 that food is delivered to consumers in a timely         %20a%20contract,a%20new                               companies/2022/01/05/nurses-end-nearly-10-
                                                 fashion despite the persistence of significant supply   %20destination%20and%20opportunity (last              month-strike-at-tenet-healthcare-owned-hospital/
                                                 chain disruptions. See Comment of FMI—Food              visited Oct. 19, 2023).                               (noting that a dozen inpatient behavioral health
                                                 Industry Association.                                     487 See Comment of American Hospital                beds were closed due to staffing challenges
                                                   483 See Comment of Clark Hill PLC.                    Association.                                          presented by the strike).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00058   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                                 Filed: 11/06/2023                  Page 63 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                     74003

                                                 The Majority Erroneously, and                            even the employees of another                                 The majority’s decision to make
                                                 Unreasonably, Expands and Modifies                       employer.’’ Universal Construction Co.                     ‘‘working conditions related to the
                                                 the List of ‘‘Essential’’ Terms and                      v. OSHRC, 182 F.3d 726, 728 (10th Cir.                     safety and health of employees’’ an
                                                 Conditions of Employment                                 1999). In short, federal law requires                      essential term and condition of
                                                    The Board should not make ‘‘working                   employers to exert control over the                        employment is also at odds with the
                                                 conditions related to the safety and                     workplace health and safety of workers                     Occupational Safety and Health
                                                 health of employees’’ an essential term                  employed by other employers—and in                         Administration’s guidance on the duties
                                                 and condition of employment.                             complying with its statutory and                           owed by employers on multi-employer
                                                    I disagree with several of the changes                regulatory obligations, an employer                        worksites.494 That guidance does not
                                                 my colleagues make to the list of                        might need to exercise discretion.492                      contemplate that one company is or
                                                 essential terms and conditions of                           Additionally, an employer/property                      becomes the joint employer of another
                                                 employment, but the most problematic                     owner who adopts certain safety rules to                   company’s employees by virtue of the
                                                 of the bunch is their decision to make                   satisfy its general-duty obligation to its                 control it possesses or exercises over
                                                 ‘‘working conditions related to the                      own employees under section 654(a)(1)                      workplace safety measures.
                                                 safety and health of employees’’ a newly                 is also likely to require others on its                       OSHA’s guidance identifies four types
                                                 essential term and condition. Doing so                   premises to abide by these safety rules,                   of employers on a multi-employer
                                                 is not compelled or supported by                         and doing so has been found not to                         worksite: the creating employer, the
                                                 common-law agency principles, and it is                  create joint-employer status. Knitter v.                   exposing employer, the correcting
                                                 unwise as a matter of policy. The                        Corvias Military Living, LLC, 758 F.3d at                  employer, and the controlling employer.
                                                 majority fails to cite a single court case               1230 (finding no joint-employer status                     Id. The creating employer is an
                                                 identifying working conditions related                   despite company’s exercise of control                      employer that caused a hazardous
                                                 to employees’ health and safety as an                    over workplace safety because company                      condition that violates an OSHA
                                                 essential term and condition of                          ‘‘naturally would be concerned about                       standard. The exposing employer is an
                                                 employment.491 Further, in light of the                  [vendor’s employees’] safety, even if                      employer whose own employees have
                                                 significant federal regulatory obligations               only for liability purposes, just as they                  been exposed to the hazard. The
                                                 in the area of workplace safety, cited by                would for any employee or non-                             correcting employer is an employer who
                                                 many commenters, the majority fails to                   employee on premises.’’). Businesses are                   is engaged in a common undertaking, on
                                                 explain why, in their view, an entity’s                  required by law to protect the safety of                   the same worksite, as the exposing
                                                 exercise of control over or reservation of               their own employees, and my colleagues                     employer and is responsible for
                                                 authority to control the workplace                       say that measures required by law will                     correcting the hazard. And the
                                                                                                          not evidence joint-employer status—but                     controlling employer is an employer
                                                 health and safety of another entity’s
                                                                                                          the court’s reasoning in Knitter exposes                   who has general supervisory authority
                                                 employees should create joint-employer
                                                                                                          the inadequacy of that carveout. As the                    over the worksite, including the power
                                                 status.
                                                    The Occupational Safety and Health                    court points out, a business will apply                    to correct safety and health violations
                                                 Act, 29 U.S.C. 654, obligates employers                  its workplace safety measures to                           itself or require others to correct them.
                                                 to protect the safety and health of not                  everyone on its property, for liability                    Each type of employer owes duties to
                                                 only their own employees but also the                    purposes if for no other reason,                           employees. The extent of an employer’s
                                                 employees of other entities in the                       regardless of whether it is compelled to                   duties depends on its proper
                                                                                                          do so by statute or regulation. And by                     categorization, and an employer may
                                                 workplace. Under section 654:
                                                                                                                                                                     have multiple roles. Id.
                                                   (a) Each employer—                                     doing so it will become, under the final
                                                                                                                                                                        In Universal Construction Co. v.
                                                   (1) shall furnish to each of his employees             rule, the joint employer of everyone on
                                                                                                                                                                     OSHRC, 182 F.3d at 726, the court held
                                                 employment and a place of employment                     its property that is employed by another                   that a general contractor in the
                                                 which are free from recognized hazards that              entity.493                                                 construction industry (Universal) was
                                                 are causing or are likely to cause death or
                                                 serious physical harm to his employees;                     492 For example, a number of OSHA standards
                                                                                                                                                                     citable for hazardous conditions created
                                                   (2) shall comply with occupational safety              establish alternative methods by which an employer         by a subcontractor where only the
                                                 and health standards promulgated under this              can satisfy its duties, which, as explained above, are     subcontractor’s employees had been
                                                 chapter.                                                 owed to other entities’ employees on a multi-              exposed to the danger. The court
                                                                                                          employer worksite. See, e.g., 29 CFR 1926.55               explained that under 29 U.S.C.
                                                    To be sure, an employer’s duty under                  (‘‘Gases, vapors, fumes, dusts, and mists. To
                                                 subsection (a)(1)—known as the general                   achieve compliance with paragraph (a) of this              654(a)(2), a general contractor—the
                                                 duty clause—is owed only to its own                      section, administrative or engineering controls must       controlling employer in the foregoing
                                                 employees. However, subsection (a)(2)                    first be implemented whenever feasible. When such          schema—is responsible for safety
                                                                                                          controls are not feasible to achieve full compliance,      violations that it could reasonably have
                                                 ‘‘does not limit its compliance directive                protective equipment or other protective measures
                                                 to the employer’s own employees, but                     shall be used to keep the exposure of employees to
                                                                                                                                                                     been expected to prevent or abate by
                                                 requires employers to implement the                      air contaminants within the limits prescribed in           reason of its supervisory capacity,
                                                                                                          this section.’’); 29 CFR 1926.652(c) (‘‘Design of
                                                 Act’s safety standards for the benefit of                support systems, shield systems, and other                 to them that it owes to its own directly employed
                                                 all employees in a given workplace,                      protective systems. Designs of support systems,            employees under the Occupational Safety and
                                                                                                          shield systems, and other protective systems shall         Health Act and its implementing regulations!
                                                    491 In support of its position, the majority merely   be selected and constructed by the employer or his         However, I doubt that the property owner would be
                                                 cites the general statement in the Restatement           designee and shall be in accordance with the               heard to contend that its joint-employer status is
                                                 (Second) of Agency, section 2, that a servant is an      requirements of paragraph (c)(1); or, in the               negated the very instant it is created by virtue of
                                                 agent employed by a master to perform service in         alternative, paragraph (c)(2); or, in the alternative,     the final rule’s carveout for workplace safety
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                                                 his affairs whose ‘‘physical conduct in the              paragraph (c)(3); or, in the alternative, paragraph        measures compelled by law. Whether or not such
                                                 performance of the service’’ is controlled by the        (c)(4) as follows: . . . .’’). The fact that an employer   an argument, strictly speaking, would be circular,
                                                 master. That citation is insufficient to justify the     has discretion in this regard arguably makes the           it would certainly be given to rotation.
                                                 majority’s decision. And as numerous commenters          majority’s carveout for measures that are legally             494 See Occupational Safety and Health

                                                 point out, a variety of courts have rejected the         required inapplicable.                                     Administration, U.S. Department of Labor, CPL 02–
                                                 notion that an entity’s control over workplace safety       493 Curiously enough, because the property owner        00–124, OSHA Instruction: Multiemployer Citation
                                                 tends to prove a joint-employer relationship. See,       (or lessee) would become an employer of everyone           Policy (Dec. 10, 1999), https://www.osha.gov/
                                                 e.g., Comment of New Civil Liberties Alliance and        on its property directly employed by other                 enforcement/directives/cpl-02-00-124 (last visited
                                                 the Institute for the American Worker (citing cases).    employers, it would arguably incur the same duties         Oct. 19, 2023).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00059    Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM       27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                  Page 64 of 78
                                                 74004              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 regardless of whether it created the                    These comments, which resonate with                      only for the duration of his or her
                                                 hazard or whether its own employees                     me, are not satisfactorily addressed by                  employer’s subcontracted part of the
                                                 had been exposed to the hazard. Id. at                  the majority.                                            project, and is therefore the joint
                                                 732. Under the final rule my colleagues                    Other changes to the list of essential                employer of every single one of those
                                                 promulgate today, which renders                         terms and conditions invite mischief.                    employees.498
                                                 ‘‘working conditions related to the                        I also disagree with the majority’s                     For these reasons, I disagree with the
                                                 safety and health of employees’’ an                     decision to add ‘‘work rules and                         majority’s decision to rescind and revise
                                                 essential term and condition of                         directions governing the manner,                         the 2020 Rule’s appropriate
                                                 employment, a general contractor in                     means, or methods of the performance                     determination of the terms and
                                                 Universal’s shoes would become the                      of duties and the grounds for                            condition of employment that should be
                                                 joint employer of the employees directly                discipline’’ to the list of essential terms              considered ‘‘essential’’ for purposes of
                                                 employed by the ‘‘exposing employer’’                   and conditions of employment. My                         determining joint-employer status.
                                                 subcontractor—and possibly employees                    concern is with the phrase ‘‘work rules                  The Final Rule Is Arbitrary and
                                                 directly employed by every                              . . . governing . . . the grounds for                    Capricious Under the Administrative
                                                 subcontractor on the project—if it                      discipline,’’ which brings to mind the                   Procedure Act
                                                 exercised discretion in responding to                   Board’s history of policy oscillation
                                                 the hazardous condition or went beyond                  regarding the proper analysis of                            The Administrative Procedure Act
                                                 the minimum required by law. This is                    workplace rules that allegedly interfere                 (APA), 5 U.S.C. 551 et seq., establishes
                                                 not consistent with Supreme Court                       with protected activity. See Stericycle,                 standards that federal agencies must
                                                 precedent. See NLRB v. Denver Building                  Inc., 372 NLRB No. 113 (2023) (Member                    follow when engaged in notice-and-
                                                 & Construction Trades Council, 341 U.S.                 Kaplan, dissenting). The final rule’s                    comment rulemaking. Specifically, the
                                                 at 689–690 (‘‘[T]he fact that the                       incorporation of this phrase invites                     APA prohibits administrative agencies
                                                 contractor and subcontractor were                       unions to comb through a putative joint                  from acting arbitrarily and capriciously.
                                                 engaged on the same construction                        employer’s manuals in search of                          In this regard, the Supreme Court has
                                                 project, and that the contractor had                    ambiguous language, argue that workers                   explained that the APA requires the
                                                 some supervision over the                               employed by another entity (i.e.,                        agency to ‘‘provide reasoned
                                                 subcontractor’s work, did not eliminate                 supplied employees performing work                       explanation for its action . . . . And of
                                                 the status of each as an independent                    for a putative-joint-employer user                       course the agency must show that there
                                                 contractor or make the employees of one                 business) ‘‘could’’ reasonably interpret                 are good reasons for the new policy.’’
                                                 the employees of the other’’).495                       the language to interfere with protected                 FCC v. Fox Television Stations, Inc., 556
                                                    Additionally, a number of                            activity, and rely on it to support a joint-             U.S. 502, 515 (2009) (internal citation
                                                 commenters point out that treating                      employer finding. Such an argument                       omitted). More recently, the Supreme
                                                 ‘‘working conditions related to the                                                                              Court succinctly held that ‘‘[t]he APA’s
                                                                                                         would have legs regardless of whether
                                                 safety and health of employees’’ as an                                                                           arbitrary-and-capricious standard
                                                                                                         the user employer actually applied its
                                                 essential term and condition of                                                                                  requires that agency action be
                                                                                                         workplace rules to employees of a
                                                 employment creates a perverse                           supplier employer because even if it did                    498 Contrary to my colleagues’ assertion, my
                                                 incentive for companies to avoid                        not (which seems unlikely), it would                     disagreement here is not ‘‘principally semantic.’’ As
                                                 protecting the employees of other                       possess the authority to do so.                          I explained, the majority’s inclusion of ‘‘the tenure
                                                 employers or to avoid maintaining                          Finally, I believe that my colleagues’                of employment, including hiring and discharge’’
                                                 safety standards or applying safety                     substitution of ‘‘hiring’’ and ‘‘discharge’’             significantly broadens the potential scope of
                                                                                                                                                                  essential terms and conditions of employment
                                                 measures that are any more protective                   as essential terms and conditions of                     compared to the 2020 Rule’s more clearly defined
                                                 than legally-mandated minimums.496 As                   employment under the 2020 Rule with                      set. The majority’s statement that it refers to ‘‘the
                                                 stated by one commenter, ‘‘[p]lacing the                ‘‘the tenure of employment, including                    range of actions that determine or alter an
                                                 regulated community in a position                                                                                individual’s employment status’’ provides no
                                                                                                         hiring and discharge’’ (emphasis added)                  further definition, and does not foreclose the
                                                 where they must choose between robust                   will be used to make general contractors                 possibility that this essential term could be used to
                                                 workplace health and safety standards                   in the construction industry joint                       make general contractors in the construction
                                                 contractually mandated and monitored                    employers per se. As is well known to                    industry the joint employer of every single one of
                                                 on the one hand and, on the other hand,                                                                          its subcontractors’ employees. I leave it to those
                                                                                                         those in the regulated community, a                      more deeply conversant with the workings of the
                                                 a potential joint employer classification               wide variety of unionized businesses in                  construction industry to flesh out the implications
                                                 over individuals whom all involved                      the construction industry employ a                       of such a scenario. I will note, however, that under
                                                 considered to be employees of only one                  comparatively small complement of                        John Deklewa & Sons, 282 NLRB 1375, 1377–1378
                                                 employer, is bad public policy.’’ 497                                                                            (1987), enfd. sub nom. Iron Workers, Local 3 v.
                                                                                                         permanent employees, and then, when                      NLRB, 843 F.2d 770 (3d Cir. 1988), employers that
                                                                                                         they are awarded a subcontract on a                      are party to a Sec. 8(f) collective-bargaining
                                                   495 See Comment of Associated Builders and
                                                                                                         construction site, ‘‘staff up’’ from the                 agreement can withdraw recognition from the union
                                                 Contractors.                                                                                                     and change their employees’ terms and conditions
                                                   496 See, e.g., Comments of American Trucking
                                                                                                         union hiring hall with employees whose
                                                                                                                                                                  of employment upon the expiration of the 8(f)
                                                 Association and National Association of                 employment lasts only for the duration                   agreement. But a general contractor that, by virtue
                                                 Manufacturers.                                          of the project for which they are hired.                 of its indirect control over ‘‘tenure of employment,’’
                                                   497 See Comment of the American Trucking
                                                                                                         It could easily be argued that the general               becomes a joint employer of employees of
                                                 Associations. Indeed, in the 2015 BFI decision, the     contractor, which ultimately determines                  subcontractors that are party to Sec. 8(f) agreements
                                                 Board majority found the presence of a joint-                                                                    is not itself party to a Sec. 8(f) agreement. Would
                                                 employer relationship in part because the user          the duration of each part of the                         it stand in the shoes of its subcontractors? Or would
                                                 employer noticed the supplier’s employees               construction project—every stage from                    the fact that it is not itself signatory to its
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                                                 committing several safety violations. The BFI           excavation through interior finishing                    subcontractors’ 8(f) agreements disrupt the
                                                 official ‘‘witnessed two Leadpoint employees            work—indirectly controls ‘‘the tenure of                 applicability of Deklewa’s rules? Would it be
                                                 passing a pint of whiskey at the jobsite’’ and                                                                   permitted to withdraw recognition when the
                                                 reported it. 362 NLRB at 1602. The facility in          employment’’ of every employee hired                     subcontractor’s 8(f) agreement expires? Could it do
                                                 question used conveyor belts, a type of powered                                                                  so if the subcontractor does not withdraw
                                                 haulage, to move materials to be sorted for             I genuinely wonder whether a potential joint             recognition when the 8(f) agreement expires? I do
                                                 recycling. Id. at 1600. It is obvious that consuming    employer will flag blatant safety violations like this   not envy employers who will need to navigate such
                                                 alcohol near powered haulage is inherently              with as much urgency after their final rule takes        uncharted—and complicated—legal waters in light
                                                 hazardous. With all due respect to my colleagues,       effect.                                                  of my colleagues’ final rule.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00060   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023              Page 65 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                          74005

                                                 reasonable and reasonably explained.’’                  contemplates that joint-employer status                 noted above, the 2020 Rule specified the
                                                 FCC v. Prometheus Radio Project, __U.S.                 will be determined through adjudication                 factors to be considered in making a
                                                 __, 141 S. Ct. 1150, 1158 (2021). The                   under the common law, not under the                     joint-employer determination and
                                                 final rule fails this test.                             provisions of the final rule, in most if                explained how they relate to each other.
                                                    I have already pointed out one respect               not all cases. In this respect, it will also            This permitted parties to determine
                                                 in which the final rule contravenes the                 provide markedly less guidance to                       whether a joint-employer relationship
                                                 APA—namely, that the final rule fails to                parties than did the 2020 Rule.                         would be found based on the text of the
                                                 respond to significant points urged in                    Absent any rule whatsoever, joint-                    rule itself, without any need to resort to
                                                 vital comments. But the reason it fails                 employer status would be determined                     Restatements of Agency, precedent
                                                 to do so portends a more fundamental                    through case-by-case adjudication                       applying the common law, or any other
                                                 problem for my colleagues’ final rule.                  applying the common law of agency.499                   source to make that determination
                                                 The majority has taken the position that                Rather than specify how common-law                      because the 2020 Rule itself reflected
                                                 common-law agency principles, and                       principles will be applied in                           (and remained within) the boundaries
                                                 therefore the NLRA itself, compel the                   determining joint-employer status,                      established by the common law. For all
                                                 Board both to rescind the 2020 Rule and                 however, the final rule simply                          these reasons, the 2020 Rule
                                                 to promulgate a final rule that does not                incorporates the common law of agency                   indisputably provided parties with
                                                 require proof that an entity has                        by reference in no fewer than three                     greater certainty and predictability than
                                                 exercised any control whatsoever before                 places. Section 103.40(a) of the final                  they would have if joint-employer status
                                                 it may be found to be a joint employer                  rule provides that ‘‘an employer, as                    were decided by adjudication. The final
                                                 of another entity’s employees. For                      defined by Section 2(2) of the National                 rule, on the other hand, does not.
                                                 reasons explained at length above, that                 Labor Relations Act (the Act), is an                       Although administrative agencies
                                                 position is legally erroneous, and since                employer of particular employees, as                    have the authority to revise or amend
                                                 it is the very foundation of the final                  defined by Section 2(3) of the Act, if the              previously promulgated rules, the APA
                                                 rule—again, the rule barely mentions                    employer has an employment                              requires the agency to ‘‘provide
                                                 policy grounds—it renders the final rule                relationship with those employees                       reasoned explanation for its action
                                                 arbitrary and capricious in its entirety.               under common-law agency principles.’’                   . . . . [and] show that there are good
                                                 The majority misconstrues common-law                    Section 103.40(e) of the final rule                     reasons for the new policy.’’ FCC v. Fox
                                                 agency principles applied in the joint-                 provides that ‘‘[w]hether an employer                   Television Stations, Inc., 556 U.S. at 515
                                                 employer context, ignores judicial                      possesses the authority to control or                   (internal citation omitted). Here, the
                                                 precedent addressing joint-employer                     exercises the power to control one or                   majority fails to acknowledge that
                                                 status under statutes materially similar                more of the employees’ terms and                        today’s final rule provides less guidance
                                                 to the NLRA—i.e., statutes that, like the               conditions of employment is                             for the regulated community than did
                                                 NLRA, define ‘‘employee’’ in such a                     determined under common-law agency                      the 2020 Rule. Nor have they shown
                                                 manner as to make the common law of                     principles.’’ And Section 103.40(f) of                  that there are ‘‘good reasons’’ for
                                                 agency govern the interpretation—and                    the final rule provides that ‘‘[e]vidence               replacing a clear, well-defined, and
                                                 refuse to acknowledge that the Board,                   of an employer’s control over matters                   comprehensive rule with one that
                                                 for policy reasons unique to the NLRA,                  that are immaterial to the existence of                 simply sets employers, employees, and
                                                 may adopt a joint-employer standard                     an employment relationship under                        unions adrift in a sea of common-law
                                                 that does not extend to the outermost                   common-law agency principles or                         cases, just as if there were no joint-
                                                 limits of the common law. Because the                   control over matters that do not bear on                employer rule at all. Most of all, they
                                                 majority erroneously deems the 2020                     the employees’ essential terms and                      fail to show that there are good reasons
                                                 Rule statutorily precluded and their                    conditions of employment is not                         for the final rule because their primary
                                                 final rule statutorily compelled, they                  relevant to the determination of whether                supporting rationale—that the final rule
                                                 dismiss as ‘‘misdirected’’ the many                     the employer is a joint employer.’’                     is compelled as a matter of law—is
                                                 public comments that point out the                      Determinations of joint-employer status                 wrong, and their alternative supporting
                                                 ways in which the proposed rule—                        under each of these provisions will                     rationale—that the final rule is superior
                                                 implemented with minor changes in the                   require adjudication under the common                   to the 2020 Rule as a matter of policy—
                                                 final rule—would harm businesses and                    law (which the majority has                             is cursory at best and fails to reckon
                                                 destabilize labor relations. For these                  mischaracterized), since the final rule                 with the substance of vital comments
                                                 reasons, the majority’s final rule is                   by its terms provides no other guidance.                that attack the rule on policy grounds.
                                                 neither reasonable nor reasonably                       This is precisely how the                               For all these reasons, the final rule is
                                                 explained.                                              determinations would be made if there                   arbitrary and capricious.
                                                    Further, my colleagues fail adequately               were no rule at all.
                                                 to justify their decision to engage in this               The final rule is a step backward from                The Majority’s Final Regulatory
                                                 rulemaking by claiming that the final                   the 2020 Rule in all these respects. As                 Flexibility Analysis Is Arbitrary and
                                                 rule, among other things, establishes ‘‘a                                                                       Capricious
                                                 definite and readily available standard’’                 499 See NLRB v. United Insurance Co. of America,         My colleagues err in asserting that
                                                 that will assist employers and labor                    390 U.S. at 256 (holding that the Board must ‘‘apply    their final joint-employer rule will not
                                                                                                         general agency principles in distinguishing between
                                                 organizations in complying with the Act                 employees and independent contractors under the
                                                                                                                                                                 have a significant economic impact on
                                                 and ‘‘reduce uncertainty and litigation                 Act’’); Browning-Ferris Industries of California v.     a substantial number of small entities.
                                                 over the basic parameters of joint-                     NLRB, 911 F.3d at 1214–1215 (‘‘[E]mployee-or-           In their view, ‘‘[t]he only direct
                                                                                                         independent-contractor cases can still be instructive   compliance cost for any of the 6.1
ddrumheller on DSK120RN23PROD with RULES2




                                                 employer status’’ compared to
                                                                                                         in the joint-employer inquiry to the extent that they
                                                 determining that status through case-by-                elaborate on the nature and extent of control
                                                                                                                                                                 million American business firms (both
                                                 case adjudication. These claims are                     necessary to establish a common-law employment          large and small) with employees is
                                                 simply untrue. The final rule fails to                  relationship. Beyond that, a rigid focus on             reading and becoming familiar with the
                                                 achieve these things. It offers no greater              independent-contractor analysis omits the vital         text of the new rule.’’ They peg that
                                                                                                         second step in joint-employer cases, which asks,
                                                 certainty or predictability than                        once control over the workers is found, who is
                                                                                                                                                                 familiarization cost at $227.98,
                                                 adjudication, and it will not reduce                    exercising that control, when, and how.’’) (emphasis    representing their estimate of the cost of
                                                 litigation, because it expressly                        in original).                                           an hour-long review of the rule by a


                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00061   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 66 of 78
                                                 74006             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 human resources specialist or labor                     businesses that it will affect.                       colleagues fail to correct the defects
                                                 relations specialist and an hour-long                   Additionally, each FRFA must                          identified by the commenters, and their
                                                 consultation between that specialist and                summarize comments filed in response                  assessment of the rule’s costs is so
                                                 an attorney. As the public comments                     to the agency’s initial regulatory                    unreasonable as to render their FRFA
                                                 make clear, the majority grossly                        flexibility analysis, along with the                  arbitrary and capricious.
                                                 underestimates the actual costs that                    agency’s assessment of those comments.                   In its FRFA, the majority
                                                 small businesses will incur to                          Finally, each FRFA must include ‘‘a                   acknowledges that the Regulatory
                                                 familiarize themselves with the final                   description of the steps the agency has               Flexibility Act requires agencies to
                                                 rule. It is not clear how a human                       taken to minimize the significant                     consider ‘‘direct compliance costs.’’ But
                                                 resources specialist will be able to read               economic impact’’ that its rule will have             the majority asserts that ‘‘the RFA does
                                                 the rule, which nearly 63,000 words in                  on small businesses, ‘‘including a                    not require an agency to consider
                                                 length, in an hour, let alone                           statement of the factual, policy, and                 speculative and wholly discretionary
                                                 comprehend the full ramifications of its                legal reasons for selecting the alternative           responses to the rule, or the indirect
                                                 changed legal standard in this                          adopted in the final rule and why each                impact on every stratum of the
                                                 complicated area of the law.                            one of the other significant alternatives             economy,’’ and it treats bargaining
                                                    More importantly, my colleagues                      to the rule considered by the agency                  expenses as falling into this category.
                                                 erroneously deem irrelevant (for                        which affect the impact on small                      The majority is wrong on this point. The
                                                 purposes of a regulatory flexibility                    entities was rejected.’’ 5 U.S.C.                     final rule will dramatically increase the
                                                 analysis) certain direct costs of                       604(a)(6). An agency is excused from                  number of entities that will be deemed
                                                 compliance that the rule imposes on                     conducting a FRFA only if ‘‘the head of               joint employers by changing the status
                                                 small businesses. The final rule will                   the agency certifies that the rule will               of entities that merely possess an
                                                 transform many small businesses that                    not, if promulgated, have a significant               unexercised contractual right to control
                                                 were not joint employers under the 2020                 economic impact on a substantial                      one or more essential terms and
                                                 Rule into joint employers, with an                      number of small entities.’’ 5 U.S.C.                  conditions of employment of another
                                                 entirely new duty to engage in collective               605(b).                                               company’s employees, as well as
                                                 bargaining. This will impose direct                        Although the requirements of the                   entities that have exercised some
                                                 compliance costs in two ways. First, to                 Regulatory Flexibility Act are ‘‘purely               amorphous ‘‘indirect control,’’ a term
                                                 determine whether they would be                         procedural,’’ National Telephone                      the final rule neither defines nor cabins.
                                                 subject to that duty, small businesses                  Cooperative Assn. v. FCC, 563 F.3d 536,               Such entities, which were not joint
                                                 will have to review their existing                      540 (D.C. Cir. 2009), the Administrative              employers under the 2020 Rule, now
                                                 business contracts and practices to                     Procedure Act, 5 U.S.C. 553, prohibits                will be and, under Section 103.40(h),
                                                 determine whether they possess any                      agency actions that are arbitrary and                 will be obligated to bargain with unions
                                                 reserved authority to control or exercise               capricious, and ‘‘the APA together with               representing their business partners’
                                                 any indirect control over any essential                 the Regulatory Flexibility Act require                employees. Reviewing existing contracts
                                                 term and condition of employment of                     that a rule’s impact on small businesses              and practices is not a ‘‘discretionary
                                                 another business’s employees, neither of                be reasonable and reasonably                          response’’ to the rule because a business
                                                 which could alone establish joint-                      explained.’’ Id. A regulatory flexibility             must determine whether it has a duty to
                                                 employer status under the 2020 Rule but                 analysis is, for APA purposes, part of an             bargain. And for those that have that
                                                 either of which will make an entity a                   agency’s explanation of its rule. Id.                 duty, placing an agent at the bargaining
                                                 joint employer of another business’s                    (citing Small Refiner Lead Phase-Down                 table also will not be a ‘‘discretionary
                                                 employees under the majority’s final                    Task Force v. EPA, 705 F.2d 506, 539                  response’’ to the rule. They will have to
                                                 rule. Second, small businesses whose                    (D.C. Cir. 1983)); see also Thompson v.               participate in collective bargaining as
                                                 joint-employer status has been changed                  Clark, 741 F.2d 401, 405 (D.C. Cir. 1984)             set forth in Section 103.40(h) of the final
                                                 by the final rule and that contract with                (‘‘[I]f data in the regulatory flexibility            rule, on pain of violating Section 8(a)(5)
                                                 an employer whose employees are                         analysis—or data anywhere else in the                 if they fail to do so. Good-faith
                                                 unionized will be required to participate               rulemaking record—demonstrates that                   bargaining for a collective-bargaining
                                                 in collective bargaining, as mandated by                the rule constitutes such an                          agreement can take months, even years,
                                                 new Section 103.40(h).                                  unreasonable assessment of social costs               and can entail hundreds of hours of
                                                    The Regulatory Flexibility Act, as                   and benefits as to be arbitrary and                   negotiations.501 The cost of paying a
                                                 amended by the Small Business                           capricious, the rule cannot stand.’’).                representative to be at the table,
                                                 Regulatory Enforcement Fairness Act of                  Further, the Regulatory Flexibility Act               bargaining in good faith, will be
                                                 1996, 5 U.S.C. 601–612, ‘‘obliges federal               specifically provides for judicial review             substantial. These compliance costs will
                                                 agencies to assess the impact of their                  and authorizes a reviewing court to take              be especially difficult to bear for small
                                                 regulations on small businesses.’’                      corrective action, including remanding                businesses that do not independently
                                                 United States Cellular Corp. v. FCC, 254                the rule to the agency and deferring                  meet the discretionary monetary
                                                 F.3d 78, 88 (D.C. Cir. 2001). Among                     enforcement of the rule against small                 standards for the Board to assert
                                                 other things, the Regulatory Flexibility                entities (unless the court finds that                 jurisdiction but will become subject to
                                                 Act requires that a federal agency                      continued enforcement of the rule is in               its jurisdiction by virtue of the Board’s
                                                 issuing a rule under the Administrative                 the public interest). 5 U.S.C. 611(a)(4).
                                                 Procedure Act publish an initial                           According to numerous commenters,                  Bankers Association, National Federation of
                                                 regulatory flexibility analysis, consider                                                                     Independent Business; National Association of
                                                                                                         the Board’s initial regulatory flexibility            Convenience Stores; McDonald’s USA, LLC, and
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                                                 the comments received in response, and                  analysis ignored significant direct                   The Colorado Bankers Association.
                                                 publish a final regulatory flexibility                  compliance costs and drastically                         501 One study found that it takes an average of 409
                                                 analysis (FRFA) when promulgating its                   underestimated the costs that small                   days for an employer and a union to reach a first
                                                 final rule. See 5 U.S.C. 603, 604. An                   businesses will incur to familiarize                  contract. Robert Combs, ANALYSIS: How Long Does
                                                 agency’s FRFA must meet certain                                                                               It Take Unions to Reach First Contracts?
                                                                                                         themselves with the rule.500 My                       (Bloomberg Law News, June 1, 2021), available at
                                                 statutory requirements. It must state the                                                                     https://news.bloomberglaw.com/bloomberg-law-
                                                 purpose of the final rule and, if possible,              500 See comments of the U.S. Small Business          analysis/analysis-how-long-does-it-take-unions-to-
                                                 the estimated number of small                           Administration Office of Advocacy, Wyoming            reach-first-contracts (last visited Oct. 19, 2023).



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                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                Page 67 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 74007

                                                 practice of combining gross revenues of                 injunction against the Department of                     It is true that the safe harbor rule does not
                                                 joint employers for jurisdictional                      Homeland Security (DHS) based on                      mandate compliance. This Court’s ‘‘concern,
                                                 purposes. My colleagues err in ignoring                 serious concerns that it had violated the             however, is with the practical effect . . . of
                                                                                                                                                               the rule, not its formal characteristics.’’
                                                 these direct compliance costs for                       Regulatory Flexibility Act by failing to              Chamber of Commerce of the United States
                                                 purposes of their FRFA.                                 consider certain costs of compliance                  v. United States DOL, 174 F.3d 206, 209 (D.C.
                                                    In deeming these direct costs of                     imposed on small businesses. As shown                 Cir. 1999). Because failure to comply subjects
                                                 compliance irrelevant, my colleagues                    below, AFL–CIO exposes the inadequacy                 employers to the threat of civil and criminal
                                                 cite a quartet of cases: Mid-Tex Electric               of my colleagues’ FRFA analysis.                      liability, the regulation is ’’the practical
                                                 Cooperative, Inc. v. FERC, 773 F.2d 327                                                                       equivalent of a rule that obliges an employer
                                                                                                            Before the district court was a final
                                                 (D.C. Cir. 1985); White Eagle                                                                                 to comply or to suffer the consequences; the
                                                 Cooperative Assn. v. Conner, 553 F.3d                   rule promulgated by DHS that defined                  voluntary form of the rule is but a veil for
                                                 467 (7th Cir. 2009); Cement Kiln                        ‘‘knowing’’ for purposes of the statutory             the threat it obscures.’’ Id at 210. The rule as
                                                 Recycling Coalition v. EPA, 255 F.3d                    prohibition on knowingly hiring or                    good as mandates costly compliance with a
                                                 855 (D.C. Cir. 2001); and Colorado State                continuing to employ an unauthorized                  new 90-day timeframe for resolving
                                                                                                         alien under the Immigration Reform and                mismatches. Accordingly, there are serious
                                                 Banking Board v. Resolution Trust
                                                                                                         Control Act, 8 U.S.C. 1324a (IRCA). The               questions whether DHS violated the RFA by
                                                 Corp., 926 F.2d 931 (10th Cir. 1991).                                                                         refusing to conduct a final flexibility
                                                 These cases do not support the                          rule provided that ‘‘knowing’’ includes
                                                                                                                                                               analysis.
                                                 majority’s position. In three of them, the              constructive knowledge and that receipt
                                                 court held that under the Regulatory                    of a no-match letter from the Social                  AFL–CIO v. Chertoff, 552 F. Supp. 2d at
                                                 Flexibility Act, an agency must consider                Security Administration could                         1013–1014.
                                                 direct compliance costs imposed by the                  contribute to a finding of constructive                  Here, the compliance costs imposed
                                                 rule on small entities subject to its                   knowledge. However, the rule included                 on small businesses by the majority’s
                                                 regulation but need not consider the                    a safe-harbor provision that precluded                final rule are even more direct than
                                                 costs imposed on unregulated entities.                  DHS from relying on an employer’s                     some of the compliance costs imposed
                                                 See Mid-Tex Electric, 773 F.2d at 342                   receipt of a no-match letter to prove                 by the safe-harbor provision of the final
                                                 (holding that FERC need not consider                    constructive knowledge where the                      rule at issue in AFL–CIO. Under the
                                                 indirect impact of its regulation, which                employer had taken certain steps.                     DHS rule, an employer would not have
                                                 governed electrical utilities, on those                 Specifically, the no-match letter could               to assign human resources staff to deal
                                                 utilities’ small wholesale and retail                   not be used to establish constructive                 with no-match letters within safe-harbor
                                                 customers because the latter were not                   knowledge if the employer checked its                 time limits until it actually received a
                                                 subject to the rule); White Eagle                       records for error within 30 days of                   no-match letter following the effective
                                                 Cooperative Assn., 553 F.3d at 478                      receipt of the letter and, if no error was            date of the rule. Accordingly, the costs
                                                 (holding that USDA need not consider                    found, if it asked the employee to                    of doing so were not imposed by
                                                 the indirect impact that a rule governing               confirm her information and advised the               issuance of the DHS rule without more.
                                                 milk handlers would have on small milk                  employee to resolve the discrepancy                   Under my colleagues’ final rule, in
                                                 producers not subject to the rule);                     with the Social Security Administration               contrast, the compliance costs described
                                                 Cement Kiln Recycling Coalition, 255                    within 90 days of receipt of the letter.              above are imposed by issuance of the
                                                 F.3d at 869 (rule more stringently                      The Secretary of Homeland Security                    rule without more. This is so because
                                                 regulated emissions for hazardous waste                 certified that the rule would not have a              the final rule immediately makes joint
                                                 combustors; no need to consider                         significant economic impact on a                      employers of many small businesses
                                                 indirect impact of the rule on generators               substantial number of small entities,                 that were not joint employers under the
                                                 of hazardous waste not subject to the                   and therefore DHS did not conduct a                   2020 Rule. And these new joint
                                                 rule). In the fourth case, Colorado State               FRFA. Id. at 1012.                                    employers include some that
                                                 Banking Board, the court held that a                                                                          immediately incur a duty to bargain and
                                                                                                            A consortium of unions and business                are immediately exposed to unfair labor
                                                 federal agency had properly certified
                                                 that the rule at issue, which authorized                groups moved for a preliminary                        practice liability if they fail to comply
                                                 banks to operate failed savings and                     injunction, contending among other                    with that duty. The majority is simply
                                                 loans, imposed no direct compliance                     things that the rule was promulgated in               wrong in suggesting that the costs of
                                                 costs on regulated parties. 926 F.2d at                 violation of the Regulatory Flexibility               determining whether that duty exists
                                                 948. Here, in contrast, it is beyond                    Act because DHS had failed to consider                and of complying with it if it does are
                                                 dispute that small businesses subject to                significant compliance costs that the                 the result of discretionary choices.502
                                                 the Board’s jurisdiction are governed by                rule imposed on small businesses. The
                                                 the final rule, unlike the challengers in               court granted the plaintiffs’ motion,                    502 My colleagues unpersuasively attempt to


                                                 Mid-Tex Electric, White Eagle                           finding that small businesses could                   distinguish AFL–CIO v. Chertoff on the ground that
                                                                                                         ‘‘expect to incur significant costs                   the agency in that case made a ‘‘procedural error’’
                                                 Cooperative Association, and Cement                                                                           (emphasis added) by certifying the rule as not
                                                 Kiln Recycling Coalition. And unlike in                 associated [with] complying with the                  having a significant impact on a substantial number
                                                 Colorado State Banking Board, it is                     safe harbor rule.’’ Id. at 1013. Those                of small entities instead of conducting an initial or
                                                                                                         costs included the cost of dedicating                 final regulatory flexibility analysis. My colleagues
                                                 equally beyond dispute that the final                                                                         point out that they have performed that analysis.
                                                 rule, by converting small businesses that               human resources staff to track and                    But they concede that, in AFL–CIO v. Chertoff, the
                                                 were not joint employers under the 2020                 resolve mismatches within the 90-day                  agency’s error was its failure to consider certain
                                                 Rule into joint employers and imposing                  time limit, of hiring ‘‘legal and                     direct compliance costs imposed by the rule at
                                                                                                         consultancy services’’ to help employers              issue, and my colleagues commit the same error.
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                                                 a bargaining obligation on them, will
                                                                                                                                                               They fail to acknowledge that their final rule
                                                 impose direct compliance costs on those                 comply with the safe-harbor provision,                imposes certain direct compliance costs on
                                                 entities as described above.                            and of training in-house counsel and                  regulated entities. My colleagues incorrectly treat
                                                    Unlike the inapposite cases on which                 human resources staff. Id. The court                  the costs of evaluating business contracts and
                                                 the majority relies, AFL–CIO v. Chertoff,               rejected DHS’s claim that the safe-                   practices and the expense of placing a bargaining
                                                                                                                                                               representative at the table as ‘‘indirect costs’’ and
                                                 552 F. Supp. 2d 999 (N.D. Cal. 2007),                   harbor provision would impose no costs                deem them irrelevant to a regulatory flexibility
                                                 speaks directly to the issue at hand. In                on small entities because compliance                  analysis. It is immaterial whether one characterizes
                                                 that case, the court issued a preliminary               was ‘‘voluntary’’:                                                                                Continued




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00063   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                             Document #2025765                               Filed: 11/06/2023                  Page 68 of 78
                                                 74008               Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                    Further, the majority underestimates                     allocates to this complex endeavor. The                 Associate Billing Rates Are Growing
                                                 the final rule’s familiarization costs. In                  final rule and its supplementary                        Faster Than Partner Rates, THE
                                                 its FRFA, the majority estimates that                       information is nearly 63,000 words long                 AMERICAN LAWYER (Feb. 3, 2022),
                                                 small businesses will take ‘‘at most one                    and replete with dense legal analysis                   available at https://
                                                 hour to read the text of the rule and the                   that will challenge all but the most                    www.bloomberglaw.com/document/
                                                 supplementary information published                         experienced specialist in traditional                   X9IS07HG000000?jcsearch=
                                                 in the Federal Register,’’ and they                         labor law, let alone non-specialist                     hdi45mllfg#jcite (last visited Oct. 19,
                                                 unjustifiably assume that all small                         attorneys and small businesspersons.503                 2023) (indicating that as of 2021, the
                                                 businesses have human resources or                          As one commenter wrote in response to                   average rate billed for legal services by
                                                 labor relations personnel to carry out                      the proposed rule:                                      partners was $728 per hour, and for
                                                 this task. The majority also estimates                        The Board claims businesses will only                 legal services by associates, $535 per
                                                 that one hour will suffice for a                            spend one hour reading the rulemaking and               hour). 506
                                                 consultation between a small employer                       one hour speaking with counsel. These
                                                 and an attorney. Citing hourly wage                                                                                    To determine the amount to seek for
                                                                                                             estimates are frankly astounding. The
                                                 figures from the Bureau of Labor                            Proposed Rule is 70 pages long, and a final
                                                                                                                                                                     awards of attorneys’ fees, federal
                                                 Statistics (BLS), the majority assesses                     rule would likely be similar in length.                 agencies—including the Board—refer to
                                                 the total compliance costs to be between                    [Wishful thinking.] Additionally, no legal              the Laffey Matrix, available at http://
                                                 $208.60 and $227.98.                                        counsel would require only one hour to                  www.laffeymatrix.com/see.html, which
                                                    In my view, the majority’s estimate is                   analyze a contractual relationship or business          sets forth hourly rates for attorneys
                                                                                                             operations and provide a legal and/or risk              practicing civil law in the Washington,
                                                 absurdly low. The length of time it                         analysis for a business entity. Such analyses
                                                 would take an employer’s representative                                                                             DC metropolitan area. See, e.g., Newport
                                                                                                             are comprehensive and do not take one hour
                                                 to read the rule and its accompanying                                                                               News Shipbuilding & Dry Dock Co. v.
                                                                                                             whether a business has in-house counsel or
                                                 supplemental information and                                must look to hire a firm. Risk analyses take            Holiday, 591 F.3d 219, 229 (4th Cir.
                                                 adequately absorb it, even with the                         several hours, if not days or weeks, to review          2009) (characterizing the Laffey Matrix
                                                 assistance of an attorney, will surely                      a program, analyze it, and compile a report.            as ‘‘a useful starting point to determine
                                                 exceed the two hours the majority                           Furthermore, program and/or operational                 fees’’); NLRB v. Cobalt Coal, Ltd., 2018
                                                                                                             changes may be needed to protect the                    U.S. Dist. LEXIS 183276, at *2 (W.D. Va.
                                                 that error as ‘‘procedural’’ or ‘‘substantive’’ and         business from any potential liability. This             Oct. 25, 2018) (awarding the Agency
                                                 equally immaterial whether an agency commits that           would involve even more time from counsel.              attorneys’ fees based on a modified
                                                 error when certifying a rule as having no significant       All in all, businesses will assuredly take              version of the Laffey Matrix); Frankl ex
                                                 impact on a substantial number of small entities or         more than one hour to read the standard and
                                                 when, as here, it conducts a FRFA and reaches the           one hour to speak with counsel.504
                                                                                                                                                                     rel. NLRB v. HGH Corp., 2012 U.S. Dist.
                                                 exact same conclusion. Simply put, by                                                                               LEXIS 66761, at *18 (D. Haw. Apr. 23,
                                                 misclassifying direct costs as indirect costs, my              The majority also underestimates the                 2012) (considering the Laffey Matrix but
                                                 colleagues have sidestepped their statutory                 cost to a small business of paying for a                declining to apply it to determine rates
                                                 obligation to give ‘‘a description of the steps the         consultation. Citing the most recent BLS
                                                 agency has taken to minimize the significant                                                                        for out-of-District attorneys). A cursory
                                                 economic impact on small entities’’ imposed by              statistics, my colleagues say that the                  examination of the Laffey Matrix (and
                                                 their rule. 5 U.S.C. 604(a)(6).                             average hourly wage for an attorney is                  the other sources cited above) shows
                                                    There is also no merit to my colleagues’ position        $78.74. But the average hourly wage                     how out of sync the BLS-identified
                                                 that AFL–CIO v. Chertoff is distinguishable on the          earned by a lawyer is not the average
                                                 ground that the rule there exposed regulated parties                                                                average wage rate for lawyers is with
                                                 to civil and criminal liability where here, they say,       rate that a client will be billed for an                actual costs a small employer will incur
                                                 their rule does neither. More specifically, they say        hour of a lawyer’s services. The average                to have an outside lawyer consult on a
                                                 that ‘‘[b]eing a joint employer imposes a duty to           billable rate for an hour of an attorney’s              matter. For the most recent calendar
                                                 bargain in good faith, but it is Sec. 8(a)(5) of the Act,   services—i.e., the rate at which a client
                                                 and not the joint-employer rule, that imposes civil                                                                 year, the Laffey Matrix lists the hourly
                                                 liability for refusing to bargain.’’ That may be, but       is billed—is substantially higher.                      rate for an attorney with one to three
                                                 it misses the point, which is that the final rule           According to Clio’s 2022 Legal Trends                   years of legal experience as $413, and
                                                 dramatically expands the universe of entities that          Report, the national average billable rate              the hourly rate for a paralegal or law
                                                 are exposed to civil liability under Sec. 8(a)(5).
                                                 Moreover, even though Sec. 8(a)(5) is the ultimate
                                                                                                             for a labor and employment attorney is                  clerk as $225. The BLS average wage
                                                 source of potential liability, a statute—the IRCA,          currently $341.505 Various surveys list                 rate the majority relies on is just over
                                                 which makes it unlawful to knowingly employ an              even higher average billable rates                      one-third of the Laffey Matrix average
                                                 unauthorized alien—was similarly the ultimate               nationwide. See, e.g., Andrew Maloney,
                                                 source of liability in AFL–CIO v. Chertoff.
                                                                                                                                                                     billable rate for a paralegal. Even taking
                                                    Further, my colleagues’ position finds no support                                                                into consideration that billable-hour
                                                                                                                503 For two reasons, I am unpersuaded by my
                                                 in the Board’s statement in the 2020 Rule that                                                                      rates for attorneys who practice in the
                                                 ‘‘[u]nfair labor practice liability is the cost of not      colleagues’ attempt to justify their one-hour reading
                                                                                                             estimate by pointing to an estimate contained in the    District of Columbia are higher than in
                                                 complying with the NLRA, not the cost of
                                                 compliance with the Board’s joint-employer rule.’’          2020 Rule’s FRFA for the reading of that rule. First,   many parts of the country, it is all but
                                                 85 FR 11230. The Board made that statement when             the 2020 Rule returned Board law to the familiar        certain that the BLS wage rate of $78.74
                                                 rejecting certain public comments asserting that the        and easy-to-understand pre-BFI standard. In             is far less than small businesses will
                                                 2020 Rule imposed direct costs insofar as ‘‘liability       contrast, the majority’s final rule breaks new legal
                                                                                                             ground—going well beyond even BFI—and injects           have to pay for an hour of legal
                                                 and liability insurance costs may increase for small
                                                 entities [that are undisputed employers of the              significant uncertainty into the joint-employer
                                                 employees at issue] because they may no longer              analysis. Second, in the 2020 rulemaking, the Board        506 Contrary to my colleagues’ assertion, the

                                                 have larger entities [that were joint employers             received no public comments that would have             Maloney article contains an adequate explanation of
                                                 under BFI but would no longer be under the 2020             provided a basis for departing from the estimate        the methodology used: ‘‘ELM [i.e., ELM Solutions,
                                                 Rule] with which to share the cost of any NLRA              contained in the 2018 NPRM’s initial regulatory         a legal analytics company and source of the data
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                                                 backpay remedies ordered in unfair labor practice           flexibility analysis. Here, in contrast, public         used by the author] uses anonymized legal spend
                                                 proceedings.’’ A possible increase in the cost of           comments indicate that my colleagues’ estimate is       data from law firms’ e-billing and time management
                                                 liability insurance for undisputed employers was            unreasonably low.                                       software to compile national average billing rates
                                                                                                                504 See Comment of Modern Economy Project.
                                                 plainly an indirect (not to mention speculative) cost                                                               for partners, associates and paralegals, as well as
                                                 of the 2020 Rule. In contrast, by imposing a duty              505 The full report is available at https://         rate data for specific markets, practices and types
                                                 to bargain on businesses that heretofore have had           www.clio.com/wp-content/uploads/2022/09/2022-           of matters. ELM said all the data in the report is
                                                 no such duty, the majority’s final rule imposes on          Legal-Trends-Report-16-02-23.pdf (last visited Oct.     derived ‘from the actual rates charged by law firm
                                                 those entities, necessarily and therefore directly, the     19, 2023). Billable-hour rates broken down by           professionals as recorded on invoices submitted
                                                 unavoidable costs of collective bargaining.                 practice area appear on page 72 of the report.          and approved for payment.’ ’’



                                            VerDate Sep<11>2014    18:35 Oct 26, 2023   Jkt 262001    PO 00000   Frm 00064    Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 69 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                                 74009

                                                 services.507 And it is also all but certain             regulated. The agency is in the best                   2. Statement of the Significant Issues
                                                 that an attorney will need far more than                position to gauge the small entity                     Raised by the Public Comments in
                                                 one hour to analyze, and help her client                impacts of its regulations.’’ 509 After                Response to the Initial Regulatory
                                                 understand, the impact of the final rule                reviewing the comments, the Board                      Flexibility Analysis, a Statement of the
                                                 on her client’s business.                               continues to believe that the only cost                Assessment of the Agency of Such
                                                   For these reasons, the majority’s                     of compliance with the rule is reviewing               Issues, and a Statement of any Changes
                                                 FRFA is arbitrary and capricious.                       and understanding the substantive                      Made in the Proposed Rule as a Result
                                                                                                         changes to the joint-employer standard.                of Such Comments
                                                 Conclusion
                                                                                                         Given that low cost, detailed below, the               a. Response to Comments Concerning
                                                    For all the above reasons, I dissent
                                                                                                         Board finds that this final rule will not              the Direct Cost of Compliance
                                                 from the majority’s decision to
                                                 promulgate the final rule.                              have a significant economic impact on                     The only direct compliance cost for
                                                                                                         any small entity. Nevertheless, the                    any of the 6.1 million American
                                                 VIII. Other Statutory Requirements                      Board publishes this FRFA to                           business firms (both large and small)
                                                 A. The Regulatory Flexibility Act                       acknowledge and respond to the                         with employees is reading and
                                                                                                         comments received in response to the                   becoming familiar with the text of the
                                                    The Regulatory Flexibility Act of 1980               proposed rule.                                         new rule. That cost is too low to be
                                                 (RFA), as amended by the Small                                                                                 considered ‘‘significant’’ within the
                                                 Business Regulatory Enforcement                         1. Statement of the Need for, and                      meaning of the RFA. NPRM, 87 FR at
                                                 Fairness Act of 1996, 5 U.S.C. 601–612,                 Objectives of, the Rule                                54662 (estimating compliance costs of
                                                 requires an agency promulgating a final                                                                        $151.51 to small employers and $99.64
                                                 rule to prepare a Final Regulatory                         The final rule establishes the standard
                                                                                                         for determining, under the NLRA,                       to small labor unions).510
                                                 Flexibility Analysis (FRFA) when the                                                                              Some commenters address the direct
                                                 regulation will have a significant impact               whether a business is a joint employer                 compliance costs that the Board
                                                 on a substantial number of small                        of a group of employees directly                       estimated in its IRFA. Some of those
                                                 entities. An agency is not required to                  employed by another employer. This                     comments criticize the Board’s
                                                 prepare a FRFA if the Agency head                       rule is necessary to explicitly ground                 assumption that reviewing the rule
                                                 certifies that the rule will not have a                 the joint-employer standard in                         would only require one hour of reading
                                                 significant economic impact on a                        established common-law agency                          time for a human resources specialist
                                                 substantial number of small entities. 5                 principles and provide guidance to                     and that understanding the rule would
                                                 U.S.C. 605(b). Although the Board                       parties covered by the Act regarding                   only require a one-hour consult with an
                                                 believed that this rule would not have                  their rights and responsibilities when                 attorney.511 One comment argues that
                                                 a significant economic impact on a                      more than one statutory employer                       the one hour of reading time does not
                                                 substantial number of small entities, in                possesses the authority to control or                  account for reviewing the materials
                                                 the NPRM the Board issued its Initial                   exercises the power to control                         referenced in the proposed rule, such as
                                                 Regulatory Flexibility Analysis (IRFA)                  employees’ essential terms and                         the Restatement of Agency, which
                                                 to provide the public the fullest                       conditions of employment.                              would be necessary to determine
                                                 opportunity to comment on the                                                                                  whether an entity is a joint employer.512
                                                 proposed rule. See 87 FR 54659. The                        The guidance furnished by the final                 Yet, without any empirical evidence to
                                                 Board solicited comments from the                       rule will enable regulated parties to                  demonstrate that reading the text of the
                                                 public that would shed light on                         determine in advance whether their                     rule or meeting with an attorney to gain
                                                 potential compliance costs that may                     actions are likely to result in a joint-               greater understanding of the rule would
                                                 result from the rule that it had not                    employer finding, which may result in                  require more than one hour, the Board
                                                 identified or anticipated.                              a duty to bargain collectively, exposure               declines to change its estimates of the
                                                    The RFA does not define either                       to what would otherwise be unlawful                    length of time it will take to do so. To
                                                 ‘‘significant economic impact’’ or                      secondary union activity, and unfair                   the extent that comments are arguing
                                                 ‘‘substantial number of small                           labor practice liability. Accordingly, a               that it will take longer than one hour for
                                                 entities.’’ 508 Additionally, ‘‘[i]n the                final rule setting forth a comprehensive               an attorney to analyze the application of
                                                 absence of statutory specificity, what is               and detailed standard is important to
                                                 ‘significant’ will vary depending on the                businesses covered by the NLRA,                           510 As stated in the Board’s IRFA, this minimal

                                                 economics of the industry or sector to be                                                                      compliance cost does not increase for the small
                                                                                                         employees of those businesses, and                     number of businesses that are alleged to be joint
                                                                                                         labor organizations that represent or                  employers in Board proceedings. 87 FR 54661. Such
                                                    507 The Laffey Matrix is a useful but imperfect
                                                                                                         seek to represent those employees. The                 allegations are not a consequence of the rule, but
                                                 guide as it primarily focuses on the costs of civil                                                            a consequence of members of the public filing
                                                 rights and environmental litigation in the              final rule accomplishes these objectives               charges that initiate Board investigations. In any
                                                 Washington, DC metropolitan area, not labor and         by defining critical elements of the                   event, they are rare. Between 2018 and 2021, only
                                                 employment counseling nationwide. Nevertheless,         joint-employer standard and by                         0.15% of all 6.1 million American businesses were
                                                 this database and others like it (including the                                                                alleged to be joint employers in Board proceedings.
                                                 Fitzpatrick Matrix, which the Department of Justice     enumerating the factors that will                         511 Comments of Independent Bakers Association;
                                                 uses to calculate attorneys’ fees and is available at   determine whether an entity is a joint                 Job Creators Network; Modern Economy Project;
                                                 https://www.justice.gov/usao-dc/page/file/1189846/      employer.                                              National Association of Convenience Stores; U.S.
                                                 download) provide useful data points illustrating                                                              Chamber of Commerce. The U.S. Chamber of
                                                 the inadequacy of the majority’s estimates.                                                                    Commerce also asserts that large business firms will
                                                 Relatedly, the majority notes that ‘‘[w]hile some                                                              need even more time to read and review the rule
ddrumheller on DSK120RN23PROD with RULES2




                                                 commenters asserted that the wage rates for an                                                                 and that a larger number of managers and
                                                 attorney were at least $300/hour, none of the                                                                  professionals will be involved in the review, but the
                                                 comments provided any evidence to which the               509 U.S. Small Business Administration (SBA)
                                                                                                                                                                comment does not explain why this is so, which
                                                 Board could cite.’’ I believe that by identifying                                                              additional job classifications would be involved in
                                                 relevant sources of average billable rates              Office of Advocacy, A Guide for Government             reviewing the rule, how much more time would be
                                                 nationwide, I have refuted my colleagues’               Agencies: How to Comply with the Regulatory            required, or how many additional employees would
                                                 contention that small businesses will be able to        Flexibility Act (SBA Guide) 18 (Aug. 2017), https://   have to read the rule. See comments of U.S.
                                                 secure a lawyer for about $78.74 per hour.              www.sba.gov/sites/default/files/advocacy/How-to-       Chamber of Commerce.
                                                    508 5 U.S.C. 601.                                    Comply-with-the-RFA-WEB.pdf.                              512 Comments of Freedom Foundation.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00065   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023               Page 70 of 78
                                                 74010              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 the rule to an employer’s workforce,513                 private sector employees. The average                 could require hiring a dedicated staffer,
                                                 that is an issue of indirect cost, which                hourly wage for a labor relations                     who would cost thousands of dollars
                                                 is not considered under the RFA but                     specialist was last reported at $42.05;               per year.519 Other commenters fault the
                                                 will be discussed below.                                the average hourly wage for a private                 Board for undervaluing a small business
                                                    The dissent also disagrees with our                  industry employee was last reported at                owner’s time at just $151.51 per hour
                                                 estimate of one hour to read the rule,                  $41.03.516                                            and for not taking into account the ‘‘full
                                                 but it does not support its assertion that                 Some commenters argue, without any                 opportunity cost of lost overhead and
                                                 such a determination is arbitrary or                    evidence, that the cost of legal counsel              profit contribution entailed by the
                                                 unreasoned. The estimate is consistent                  is at least $300 per hour.517 The dissent             diversion of labor from normal
                                                 with the familiarization time estimated                 attempts to buoy this argument,                       productive activity’’ to reading the
                                                 in prior Board rules. In 2018, the                      criticizing the Board for using the most              rule.520
                                                 Board’s IRFA estimated that a labor                     recent data from the BLS. For each of                   None of these comments justify
                                                 compliance employee at a small                          the alternative methods that the dissent              changes to the Board’s initial
                                                 employer could review the rule—                         suggests, it does not explain why those               assumptions regarding the job
                                                 approximately 60,185 words—in ‘‘at                      sources are so superior to the BLS as to              classifications that would be involved in
                                                 most one hour.’’ 83 FR 46695. Receiving                 render the majority’s analysis arbitrary              reading the final rule or the cost of that
                                                 no evidence contradicting this estimate,                and capricious. The Bloomberg article                 time. None of the comments provide
                                                 the Board’s FRFA contained the same                     claims to have compiled national                      evidence that the Board could use to
                                                 estimate. 85 FR 11234. No public                        average billing rates but only cites rates            reevaluate its estimated costs, which are
                                                 comments have provided any empirical                    in atypically expensive markets—New                   derived from wage and benefit figures
                                                 basis for an assertion that one hour                    York, Washington, DC, Chicago, and                    provided by the Department of Labor’s
                                                 would be insufficient to read this final                San Francisco—and provides little                     BLS.
                                                 rule (including preamble), which is                     information on its survey subjects and                  Comments regarding the ‘‘full
                                                 approximately 61,476 words. Moreover,                   research methodology. The Clio Legal                  opportunity cost of lost overhead and
                                                 one hour is an average estimated                        Trends Report claims that the 1,168                   profit contribution entailed by the
                                                 amount of reading time for the                          consumers surveyed are representative                 diversion of labor from normal
                                                 approximately 6,119,657 entities the                    of the U.S. population but does not                   productive activity’’ misunderstand the
                                                 Board assumes would be subject to the                   provide any evidence of that or make                  Board’s calculus. The Board does not
                                                 rule. As discussed below, the Board has                 the same claim for the 1,134 legal                    assume that these job functions are
                                                 reason to believe that many small                       professionals who responded to the
                                                                                                                                                               already being performed by a small
                                                 employers will not read the rule at all                 survey. In fact, in its detailed
                                                                                                                                                               business’s owner or employees. That is
                                                 because they do not have any business                   methodology, it acknowledges that the
                                                                                                                                                               why the Board identifies the time spent
                                                 relationships that would make this rule                 only customers included were paid
                                                                                                                                                               reading and consulting about the rule as
                                                 applicable to them, and others with a                   subscribers to Clio, not those using a
                                                                                                                                                               an additional cost of compliance rather
                                                 history of joint-employment                             free trial or the Academic Access
                                                                                                                                                               than assuming that keeping abreast of
                                                 relationships may spend more time                       Program. Further, the report excluded
                                                                                                                                                               changes in employment and labor law is
                                                 reviewing the rule. One hour is simply                  data from customers who opted out of
                                                                                                                                                               already a part of a human resources
                                                 a reasonable average.                                   aggregate reporting. Finally, even
                                                                                                                                                               specialist’s or in-house counsel’s job
                                                    In addition to criticizing the amount                though the dissent references the Laffey
                                                                                                         Matrix, which is guided by ‘‘the                      function. However, these comments
                                                 of time the Board estimates it will take                                                                      have persuaded the Board to add to its
                                                 to read and understand the rule, several                reasonably hourly rate prevailing in the
                                                                                                         community for similar work,’’ it also                 assessment of direct compliance costs
                                                 commenters assert that the Board’s                                                                            an additional hour of time for a human
                                                 estimate of the cost of a human                         acknowledges that the rate is only
                                                                                                         applicable to attorneys in the D.C. area.             resources or labor relations specialist to
                                                 resources specialist and an attorney are                                                                      meet with the attorney, rather than
                                                 too low.514 These commenters, however,                  Laffey v. Nw. Airlines, Inc., 572 F. Supp.
                                                                                                         354, 371 (D.D.C. 1983), aff’d in part,                assuming that the one-hour consult is
                                                 provide no cost estimates for a human                                                                         already part of that human resources or
                                                 resources specialist.515 The current rule               rev’d in part, 746 F.2d 4 (D.C. Cir. 1984).
                                                                                                         It is not arbitrary or capricious for the             labor relations specialist’s job function.
                                                 uses the figure from the Department of                                                                        That addition is reflected in Section
                                                 Labor’s Bureau of Labor Statistics (BLS)                Board to rely on the national average
                                                                                                         attorney wage rates calculated by a                   VI.A.5 below.
                                                 for a labor relations specialist, even                                                                          Other comments generally assert that
                                                 though some small businesses may not                    federal agency with responsibility for
                                                                                                         compiling data on national labor costs.               the Board’s estimated compliance costs
                                                 have such a credentialed and                                                                                  are inaccurate, and a new assessment of
                                                                                                            Another commenter argues that the
                                                 experienced employee, because the                                                                             costs is required.521 They provide no
                                                                                                         Board should have included the cost of
                                                 national average wage rate for that                                                                           detail or evidence to support their
                                                                                                         hiring an unknown number of
                                                 position is comparable to that of all                                                                         assertions.
                                                                                                         management consultants in order to
                                                   513 Comments of Modern Economy Project;
                                                                                                         comply with the rule.518 And yet                      b. Response to Comments Concerning
                                                 National Association of Convenience Stores; Rachel      another comment presumes that                         Indirect or Speculative Cost of
                                                 Greszler.                                               compliance with the proposed rule                     Compliance
                                                   514 Comments of Independent Bakers Association;

                                                 Job Creators Network Foundation; Modern                   516 Compare Occupational Employment and               The remaining comments regarding
                                                 Economy Project; National Association of                Wages, May 2022, 13–1075 Labor Relations              the Board’s estimated compliance costs
ddrumheller on DSK120RN23PROD with RULES2




                                                 Convenience Stores; U.S. Chamber of Commerce.           Specialists, found at https://www.bls.gov/oes/
                                                   515 The dissent calls the assumption that all small   current/oes131075.htm (last visited Oct. 19, 2023),
                                                                                                                                                                 519 Comment of SBA Office of Advocacy.
                                                 businesses have human resources or labor relations      with Employer Costs for Employee Compensation—
                                                 personnel to read the rule ‘‘unjustifiable.’’ This is   June 2023, found at https://www.bls.gov/                520 Comments of National Association of

                                                 the same assumption, however, that the Board made       news.release/pdf/ecec.pdf (last visited Oct. 19,      Convenience Stores; U.S. Chamber of Commerce.
                                                 in its 2018 IRFA and reaffirmed in its 2020 FRFA.       2023).                                                  521 Comments of Colorado Bankers Association;
                                                                                                           517 Comments of Independent Bakers Association;
                                                 Compare 83 FR 46695 with 85 FR 11234. The Board                                                               National Association of Insurance and Financial
                                                 has received no public comments suggesting that         Rachel Greszler; U.S. Chamber of Commerce.            Advisors; RaceTrac, Inc.; Restaurant Law Center;
                                                 the assumption is unreasonable.                           518 Comments of U.S. Chamber of Commerce.           Rio Grande Foundation; U.S. Black Chambers, Inc.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00066   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023              Page 71 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                              74011

                                                 concern indirect or speculative costs                   general contractors would supplant the                and resources to collective bargaining
                                                 that are not direct costs of the rule.                  work of smaller ones and no longer                    and other costs associated with
                                                    Avoidance Costs. The majority of the                 focus on their core competencies.529                  unionization efforts and elections, some
                                                 remaining comments focus on the cost                       Conversely, one commenter notes, the               commenters assert.537 The dissent also
                                                 associated with avoiding a joint-                       proposed rule could result in a                       contemplates reviewing existing
                                                 employer relationship.522 For example,                  franchisor seeking to exert more control              business contracts and participating in
                                                 two commenters argue that the                           over its franchises. For example, in                  collective bargaining as direct
                                                 proposed rule increases the ‘‘price’’ for               response to a single franchisee                       compliance costs. Another commenter
                                                 an employer to avoid joint-employer                     unionizing or engaging in collective                  adds that unions will seek to exploit
                                                 status because businesses that                          bargaining, the franchisor could impose               collective bargaining with franchisors to
                                                 structured their relationships to avoid                 a standardized minimum wage at all its                impose higher wages on small business
                                                 joint-employer liability under the 2020                 franchise locations.530                               franchisees.538 Yet another comment
                                                 rule will have to change existing                          Potential Legal Expenses.                          states that the Board failed to consider
                                                 policies, procedures, and contracts to                  Commenters also assert that the                       costs associated with revising or
                                                 achieve the same end under this final                   proposed rule will increase an                        outsourcing training materials, such as
                                                 rule.523 Some commenters fear that the                  employer’s exposure to allegations of                 training regarding operational best
                                                 proposed rule will cause larger                         unfair labor practices, which will in                 practices, guidance on employee
                                                 businesses to cancel contracts with                     turn increase insurance and legal costs               handbooks or other personnel policies,
                                                 smaller entities to avoid joint-employer                for small businesses.531 Some                         and sample policies or best practices
                                                 status and the liability that comes with                commenters believe the costs will come                regarding workplace civil rights
                                                 it.524 Other commenters count as                        from new or increased liability under                 issues.539
                                                 compliance costs the cost of regularly                  the new rule.532 Other comments focus                    Respectfully, neither the dissent nor
                                                 hiring legal counsel to ensure that any                 on the supposed vagueness of the                      the foregoing comments raises direct
                                                 change in supplier or contracts does not                proposed rule, arguing that it increases              economic impacts under the RFA. How
                                                 inadvertently create a joint-employer                   the likelihood of litigation over whether             a small entity structures its business
                                                 relationship.525 In the building industry,              a business is a joint employer.                       relationships is discretionary. The rule
                                                 one commenter notes, there are several                  Accordingly, these comments argue that                sets forth no requirement that employers
                                                 potential joint-employment                              the Board should have included as a                   embrace or avoid joint-employer status.
                                                 relationships between builders and a                    compliance cost the cost of participating             It merely brings the Board’s test for
                                                 multitude of subcontracted businesses                   in a Board case.533 In support of this                determining joint-employer status back
                                                 that vary by jobsite.526 The increased                  position, two comments note that, after               in line with the common law, as
                                                 number of business relationships at                     Browning-Ferris issued, some                          interpreted by the District of Columbia
                                                 play, the commenter states, will make it                franchisors claimed to experience a                   Circuit in Browning-Ferris Industries of
                                                 more costly to obtain legal counsel to                  significant increase in joint-employer                California, Inc. v. NLRB, 911 F.3d 1195
                                                 determine which entities will be                        claims across all spectrums of the law                (D.C. Cir. 2018). If a regulated entity
                                                 classified as joint employers under the                 and some franchisees incur increased                  chooses to reevaluate its contractual or
                                                 final rule.                                             costs because they were compelled to                  business relationships in light of the
                                                    Other comments focus on the                                                                                rule’s return to the common-law
                                                                                                         seek outside guidance through attorneys
                                                 possibility that larger companies and                                                                         standard, that is a choice within its
                                                                                                         or other consultants on matters in which
                                                 franchisors will provide less support to                                                                      discretion, but it is not a direct
                                                                                                         the franchisor used to assist.534 Some
                                                 smaller companies, subcontractors, and                                                                        compliance cost of the rule. Similarly, if
                                                 franchisees to avoid liability for the                  commenters also note that every
                                                                                                         contract their companies enter into will              an entity chooses to accept or dispute an
                                                 smaller entities’ labor violations.527                                                                        allegation of joint-employer status in
                                                 These commenters predict that the                       need additional legal scrutiny for its
                                                                                                         possible exposure to a joint-employer                 litigation or elsewhere, that is a
                                                 proposed rule will result in a decrease                                                                       discretionary choice. It is not required
                                                 in entrepreneurial opportunities for                    finding 535 or to determine whether they
                                                                                                         are required to be a party to another                 to do so under the rule. Moreover, the
                                                 small businesses and contractors,528                                                                          implications of that choice are entirely
                                                 which would result in economic                          business’s collective-bargaining
                                                                                                         process.536                                           speculative. No commenter provided
                                                 inefficiencies as larger businesses and                                                                       any quantifiable evidence
                                                                                                            Potential Costs If Entities Are Joint
                                                   522 Comments of Elizabeth Boynton; Job Creators       Employers Under the New Rule. If a                    demonstrating that a joint-employer
                                                 Network Foundation; Modern Economy Project;             party is determined to be a joint                     finding inevitably increases costs on
                                                 National Association of Convenience Stores.             employer, it will have to allocate time               small businesses.
                                                   523 Comments of Colorado Bankers Association;                                                                  Our conclusion that the RFA requires
                                                 U.S. Chamber of Commerce.                                 529 Comments of NFIB; SBA Office of Advocacy.       agencies to consider only direct
                                                   524 Comments of Modern Economy Project; Rio
                                                                                                           530 Comments of U.S. Black Chambers, Inc.           compliance costs finds support in the
                                                 Grande Foundation; SBA Office of Advocacy; U.S.
                                                 Chamber of Commerce.
                                                                                                           531 Comments of Job Creators Network                RFA, its caselaw, and guidance from the
                                                   525 Comments of Elizabeth Boynton; Goldwater          Foundation; National Association of Convenience       SBA’s Office of Advocacy. The RFA
                                                                                                         Stores; NFIB; SBA Office of Advocacy; U.S.
                                                 Institute; Independent Electrical Contractors; One
                                                                                                         Chamber of Commerce.
                                                                                                                                                               does not require an agency to consider
                                                 Energy; Reid Stores, Inc. d/b/a Crosby’s.                                                                     speculative and wholly discretionary
                                                                                                           532 Comments of Colorado Bankers Association;
                                                   526 Comments of NAHB.
                                                   527 Comments of IFA; Job Creators Network             Rio Grande Foundation; SBA Office of Advocacy.        responses to the rule, or the indirect
                                                 Foundation; McDonald’s USA, LLC; National
                                                                                                           533 Comments of Goldwater Institute;                impact on every stratum of the
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                                                 Association of Convenience Stores; NFIB; Rachel         Independent Electrical Contractors; Independent       economy. Section 603(a) of the RFA
                                                                                                         Lubricant Manufacturers Association; Modern
                                                 Greszler; SBA Office of Advocacy; U.S. Black
                                                                                                         Economy Project; One Energy; Reid Stores Inc. d/
                                                                                                                                                               states that if an IRFA is required, it
                                                 Chambers, Inc.                                                                                                ‘‘shall describe the impact of the
                                                   528 Comments of IFA; Independent Bakers               b/a Crosby’s; U.S. Chamber of Commerce.
                                                                                                           534 Comments of IFA; Rachel Greszler.
                                                 Association; Job Creators Network Foundation;
                                                                                                           535 Comments of Independent Lubricant                 537 Comments of Elizabeth Boynton; Rachel
                                                 McDonald’s USA, LLC; Modern Economy Project;
                                                 National Association of Convenience Stores; NFIB;       Manufacturers Association; Modern Economy             Greszler.
                                                 Rachel Greszler; SBA Office of Advocacy; U.S.           Project.                                                538 Comments of NFIB.

                                                 Black Chambers, Inc.                                      536 Comments of Elizabeth Boynton.                    539 Comments of Modern Economy Project.




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00067   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 72 of 78
                                                 74012             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 proposed rule on small entities.’’ 5                    same is true of the final rule. The final             Banking Board, and instead suggests
                                                 U.S.C. 603(a). Although the term                        rule imposes no mandatory capital costs               that AFL–CIO v. Chertoff, 552 F. Supp.
                                                 ‘‘impact’’ is undefined, its meaning can                or mandatory costs of modifying                       2d 999 (N.D. Cal. 2007) is more
                                                 be gleaned from Section 603(b), which                   existing processes, results in no lost                instructive. The problem with the
                                                 recites the required elements of an                     sales or profits, and creates no                      dissent’s objection to these cases is
                                                 IRFA. One such element is ‘‘a                           appreciable changes in market                         twofold. First, it mischaracterizes their
                                                 description of the projected reporting,                 competition. See SBA Guide at 37.                     use: the rule cites these cases because
                                                 recordkeeping and other compliance                      Lastly, there are no costs associated                 they hold that the RFA only requires an
                                                 requirements of the proposed rule,                      with taxes or fees and no costs for                   agency to consider the direct burden
                                                 including an estimate of the classes of                 additional employees dedicated to                     that compliance imposes on small
                                                 small entities which will be subject to                 compliance, as no compliance                          entities, not every indirect effect that
                                                 the requirement and the type of                         requirements exist. See id.                           regulation might have on any other
                                                 professional skills necessary for                          Consistent with these principles, the              business, regardless of size and whether
                                                 preparation of the report or record.’’ 5                Board rejects the view that it must                   the entity is directly regulated by the
                                                 U.S.C. 603(b)(4) (emphasis added).                      include as direct compliance costs                    rule. Compare 83 FR 46695 and 85 FR
                                                 Section 604 further corroborates the                    employers’ discretionary responses to                 11229 with 87 FR 54662.
                                                 Board’s conclusion, as it contains an                   the rule, as suggested by the comments                   Second, the dissent’s reliance on
                                                 identical list of requirements for a FRFA               discussed above. See Mid-Tex Electric                 Chertoff is misplaced because, in that
                                                 (if one is required). 5 U.S.C. 604(b)(4).               Cooperative, 773 F.2d at 343 (‘‘Congress              case, the agency made a procedural
                                                    The courts, too, have recognized that                did not intend to require that every                  error by certifying the rule instead of
                                                 the statute only requires that the                      agency consider every indirect effect                 conducting an initial or final regulatory
                                                 regulatory agency consider the direct                   that any regulation might have on small               flexibility analysis. 552 F. Supp. 2d at
                                                 burden that compliance with a new                       businesses in any stratum of the                      1013.540 The agency’s rationale was that
                                                 regulation will likely impose on small                  national economy.’’). ‘‘[R]equir[ing] an              the rule did not place any new burdens
                                                 entities. See Mid-Tex Electric                          agency to assess the impact on all of the             on the employer or impose any new or
                                                 Cooperative, Inc. v. FERC, 773 F.2d 327,                nation’s small businesses possibly                    additional costs because its new safe
                                                 342 (D.C. Cir. 1985) (‘‘[I]t is clear that              affected by a rule would be to convert                harbor procedure was voluntary. Id. But
                                                 Congress envisioned that the relevant                   every rulemaking process into a massive               the court took exception with the
                                                 ‘economic impact’ was the impact of                     exercise in economic modeling, an                     agency’s refusal to consider the direct
                                                 compliance with the proposed rule on                    approach we have already rejected.’’                  compliance costs raised by the
                                                 regulated small entities.’’); accord White              Cement Kiln Recycling Coalition v. EPA,               plaintiffs. Id. Here, no such procedural
                                                 Eagle Cooperative Assn. v. Conner, 553                  255 F.3d 855, 869 (D.C. Cir. 2001)                    error exists because the Board has
                                                 F.3d 467, 478 (7th Cir. 2009); Colorado                 (citing Mid-Tex Electric Cooperative,                 conducted an initial and final regulatory
                                                 State Banking Board v. Resolution Trust                 773 F.2d at 343). The rule does not                   flexibility analysis, considered and
                                                 Corp., 926 F.2d 931, 948 (10th Cir.                     require contracting parties to alter their            engaged with all comments regarding
                                                 1991).                                                  arrangements now or in the future. It                 the rule’s direct compliance costs, and
                                                    Additional support for confining the                 therefore cannot be said that actions                 found no evidence, only unsupported
                                                 regulatory analysis to direct compliance                taken by employers to avoid a joint-                  argument, contradicts its findings.541
                                                 costs is found in an authoritative guide                employer relationship, or any costs
                                                 published by the SBA Office of                          associated with those actions or passed               c. Response to Comments Concerning
                                                 Advocacy. The SBA Guide explains that                   on to other entities because of that                  Potential Conflicts With Other Federal
                                                 ‘‘other compliance requirements’’ under                 attempt at avoidance, is a direct cost of             Laws
                                                 section 603 include the following                       compliance with the rule.                                Some comments contend that the
                                                 examples:                                                  Commenters also ask the Board to                   Board has failed to identify all relevant
                                                                                                         count as a direct compliance cost of the
                                                   (a) capital costs for equipment needed to             rule the cost of actions that other                      540 Contrary to the dissent, it is material, if not
                                                 meet the regulatory requirements; (b) costs of          entities might take in response to the                dispositive, that Chertoff’s holding is limited to
                                                 modifying existing processes and procedures
                                                                                                         rule without any indication that those                finding procedural error in DHS’s failure to conduct
                                                 to comply with the proposed rule; (c) lost                                                                    a regulatory flexibility analysis. In the context of a
                                                 sales and profits resulting from the proposed           actions are required for compliance with
                                                                                                                                                               motion for a preliminary injunction, the court in
                                                 rule; (d) changes in market competition as a            the rule. These comments about what                   Chertoff held only that, ‘‘there are serious questions
                                                 result of the proposed rule and its impact on           larger companies or franchisors might                 whether DHS violated the RFA’’ by failing ‘‘to
                                                 small entities or specific submarkets of small          do to avoid joint-employer liability are              conduct a final flexibility analysis’’ that evaluated
                                                 entities; (e) extra costs associated with the           speculative and too attenuated to be                  possible direct costs. 552 F. Supp. 2d at 1013. The
                                                 payment of taxes or fees associated with the                                                                  Court never decided whether the proffered costs
                                                                                                         incorporated into the Board’s analysis of             were actually direct costs under the Regulatory
                                                 proposed rule; and (f) hiring employees                 compliance costs with the rule. Many of               Flexibility Act.
                                                 dedicated to compliance with regulatory                 these concerns are not even specific to                  541 Moreover, the agency’s argument in Chertoff
                                                 requirements.                                           joint-employer relationships. For                     that there were no compliance costs because the
                                                 SBA Guide at 37. These are all direct,                  example, the costs associated with                    rule was voluntary is distinct from the voluntary
                                                                                                                                                               nature of the joint employer rule. In that case, an
                                                 compliance-based costs.                                 opposing unionization efforts,                        employer’s failure to voluntarily comply with the
                                                   In the IRFA, the Board noted that the                 participating in Board elections, and                 regulation’s safe harbor procedure could have
                                                 only identifiable compliance cost                       bargaining with employees’ duly elected               exposed the employer to criminal and civil liability.
                                                 imposed by the proposed rule is                                                                               But the Board has no authority to impose criminal
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                                                                                                         representatives can exist even where no
                                                                                                                                                               liability, and the joint-employer rule imposes no
                                                 reviewing and understanding the                         joint-employer relationship does.                     civil liability. Being a joint employer imposes a
                                                 substantive changes to the joint-                          The dissent takes issue with our                   duty to bargain in good faith, but it is Sec. 8(a)(5)
                                                 employer standard. 87 FR at 54659.                      citations to four cases, which were also              of the Act, and not the joint-employer rule, that
                                                 Otherwise, there will be no ‘‘reporting,                cited in the FRFA of the 2020 rule: Mid-              imposes civil liability for refusing to bargain. As the
                                                                                                                                                               Board noted in the 2020 joint-employer rule,
                                                 recordkeeping and other compliance                      Tex Electric Cooperative, White Eagle                 ‘‘[u]nfair labor practice liability is the cost of not
                                                 requirements’’ for these small entities.                Cooperative Assn., Cement Kiln                        complying with the NLRA, not a cost of compliance
                                                 See 5 U.S.C. 603(b)(4), 604(b)(4). The                  Recycling Coalition, and Colorado State               with the Board’s joint-employer rule.’’ 85 FR 11230.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00068   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023               Page 73 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                              74013

                                                 rules and regulations that may ‘‘conflict                the rule applies only to the NLRA,548                rule does not contain any conflicts with
                                                 with the proposed rule,’’ as section                     and commenters have not shown that, to               existing federal requirements. The SBA
                                                 603(b)(5) of the RFA requires, but those                 the extent they exist, any dissimilar                Office of Advocacy’s first asserted
                                                 comments do not specifically identify                    requirements would not be workable.                  conflict is with federal requirements
                                                 any potential conflicts.542 One                          Finally, because the final rule does not             that require prime contractors to have
                                                 commenter argues that the proposed                       mandate that employers structure their               indirect and reserved control over their
                                                 rule directly undermines the Lanham                      business relationships in any particular             subcontractor’s terms and conditions of
                                                 Act’s requirements that franchisors                      manner, the final rule does not directly             employment, such as wages, safety,
                                                 maintain control over the use of their                   expose regulated entities to conflicting             hiring, and firing, which is discussed in
                                                 marks and would penalize franchisors                     obligations. While entities may choose               Section VI.A.2.c. above. The SBA Office
                                                 who maintain that control by labeling                    to rearrange their business relationships            of Advocacy’s second asserted conflict
                                                 them joint employers.543 Another                         to avoid joint-employer status, that is              is that the proposed rule may conflict
                                                 asserts that businesses will now need to                 distinct from a regulation obligating                with a recent Presidential initiative to
                                                 reconcile the differences between how                    entities to engage in a particular                   bolster the ranks of underserved small
                                                 the Board and the Internal Revenue                       business relationship.                               business contractors by discouraging
                                                 Service view employer relationships.544                  3. Response of the Agency to any                     mentorship and guidance from larger
                                                 And other comments argue that the                        Comments Filed by the Chief Counsel                  prime contractors.549 The NLRB
                                                 proposed rule conflicts with the federal                 for Advocacy of the Small Business                   strongly supports efforts to increase
                                                 law requiring prime contractors to have                  Administration in Response to the                    diversity and inclusion in federal
                                                 indirect and reserved control over their                 Proposed Rule, and a Detailed                        contracting. The SBA Office of
                                                 subcontractors’ compliance with federal                  Statement of any Change Made to the                  Advocacy’s comment, however, does
                                                 laws such as the Occupational Safety                     Proposed Rule in the Final Rule as a                 not identify any way in which the final
                                                 and Health Act, the Fair Labor                           Result of the Comments                               rule would prohibit larger contractors
                                                 Standards Act, the Davis-Bacon Act, and                                                                       from offering mentorship and guidance
                                                 the prohibition of discrimination in                        The SBA Office of Advocacy                        to smaller contractors from underserved
                                                 hiring administered by the Department                    submitted a comment that expresses                   populations. Nor does its comment
                                                 of Labor’s Office of Federal Contract                    four main concerns: that the proposed                explain, as it implicitly suggests, how a
                                                 Compliance Programs.545 These                            rule is so ambiguous and broad that it               larger contractor’s provision of
                                                 comments further argue that these                        does not provide guidance on how to                  mentorship and guidance to a smaller
                                                                                                          comply or avoid joint-employer
                                                 required terms, which are also present                                                                        contractor could create a joint-employer
                                                                                                          liability, and that the Board should
                                                 in many third-party contracts, should be                                                                      relationship under the rule.
                                                                                                          resolve purported conflicts with existing
                                                 considered routine and not indicative of                                                                         The SBA Office of Advocacy’s
                                                                                                          federal requirements, reassess the cost
                                                 a joint-employer relationship.                                                                                comment also asserts that the Board has
                                                                                                          of compliance with the proposed rule,
                                                    According to the SBA Guide, at 40,                    and consider significant alternatives                underestimated the compliance costs of
                                                 rules are conflicting when they impose                   that would accomplish the objectives of              the final rule. However, the comment
                                                 two conflicting regulatory requirements                  the NLRA while minimizing the                        did not identify any direct compliance
                                                 on the same classes of industry.546 None                 economic impacts to small entities as                costs that the Board has overlooked and
                                                 of the comments demonstrate a conflict                   required by the RFA.                                 only mentioned indirect or speculative
                                                 under this definition. The comments do                      As discussed in Section II.B above,               costs, which were raised by other
                                                 not cite the purportedly conflicting                     the final rule heeds the SBA Office of               commenters and addressed by the Board
                                                 authorities (such as the Federal                         Advocacy’s request for more specific                 in Section VI.A.2.b above.
                                                 Acquisition Regulation or the Internal                   guidance in three ways: (1) § 103.40(d)                 Finally, the comment twice
                                                 Revenue Code). In any event, it is                       of the final rule provides an exhaustive             encourages the Board to consider
                                                 axiomatic that the same term may have                    list of the seven categories of terms and            significant alternatives that would
                                                 different meanings in different statutes,                conditions of employment that will be                accomplish the objectives of the statute
                                                 based on each law’s text, purpose, and                   considered essential for the joint-                  while minimizing the economic impacts
                                                 legislative history.547 As we state above,               employer inquiry; (2) § 103.40(e) of the             on small entities, as required by the
                                                                                                          final rule clarifies that, to establish              RFA, but provides no suggestions to that
                                                    542 Comments of Goldwater Institute; IFA;             joint-employer status, the common-law                end. Consistent with the RFA’s
                                                 National Association of Insurance and Financial          employer must possess exercised or
                                                 Advisors; SBA Office of Advocacy.                                                                             mandate, the Board has considered such
                                                    543 Comments of IFA.
                                                                                                          unexercised authority to control, or                 alternatives in Section VI.6 below.
                                                    544 Comments of Elizabeth Boynton.                    exercise the power to control indirectly,
                                                    545 Comments of Goldwater Institute; SBA Office       such as through an intermediary, an                  4. Description and Estimate of Number
                                                 of Advocacy.                                             essential term or condition of                       of Small Entities to Which the Rule
                                                    546 SBA Guide, at 40.                                 employment; and (3) § 103.40(f) of the               Applies
                                                    547 Yates v. United States, 574 U.S. 528, 537
                                                                                                          final rule clarifies that evidence of an
                                                 (2015) (‘‘Ordinarily, a word’s usage accords with its    entity’s control over matters that are                 In order to evaluate the impact of the
                                                 dictionary definition. In law as in life, however, the
                                                                                                          immaterial to the existence of an                    proposed rule, the Board first identified
                                                 same words, placed in different contexts,                                                                     the entire universe of businesses that
                                                 sometimes mean different things.’’); Environmental       employment relationship under
                                                 Defense v. Duke Energy Corp., 549 U.S. 561, 574          common-law agency principles and that                could be impacted by a change in the
                                                 (2007) (‘‘We also understand that ‘[m]ost words                                                               joint-employer standard. According to
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                          do not bear on the employees’ essential
                                                 have different shades of meaning and consequently
                                                                                                          terms and conditions of employment is                the United States Census Bureau, there
                                                 may be variously construed, not only when they                                                                were 6,140,612 business firms with
                                                 occur in different statutes, but when used more          not relevant to the determination of
                                                 than once in the same statute or even in the same        joint-employer status.
                                                 section.’ ’’) (quoting Atlantic Cleaners & Dyers, Inc.                                                          549 Press Release, The White House, Statements
                                                                                                             Contrary to the SBA Office of
                                                 v. United States, 286 U.S. 427, 433 (1932)). For                                                              and Releases, FACT SHEET: Biden-Harris
                                                 example, the term ‘‘employee’’ has different             Advocacy’s second criticism, the final               Administration Announces Reforms to Increase
                                                 meanings under the NLRA and the Fair Labor                                                                    Equity and Level the Playing Field for Underserved
                                                 Standards Act. See supra fn. 338.                         548 See supra fn. 340.                              Small Business Owners, (Dec. 2, 2021).



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00069   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                               Filed: 11/06/2023                   Page 74 of 78
                                                 74014              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 employees in 2020.550 Of those, the                         The final rule will only be applied as                2021 that were determined by
                                                 Census Bureau estimates that about                       a matter of law when businesses are                      contractually reserved or indirectly
                                                 6,119,657 were firms with fewer than                     alleged to be joint employers in a Board                 exercised control, and no public
                                                 500 employees.551 While this final rule                  proceeding. Therefore, the frequency                     comments have directed us to one.
                                                 does not apply to employers that do not                  with which the issue comes before the                       This data belies the dissent’s assertion
                                                 meet the Board’s jurisdictional                          Board is indicative of the number of                     that this rule will make ‘‘many’’ small
                                                 requirements, the Board does not have                    entities of any size most directly                       businesses joint employers for the first
                                                 the data to determine the number of                      impacted by the final rule. A review of                  time or ‘‘dramatically increase’’ the
                                                 excluded entities (nor were data or                      the Board’s representation petitions and                 number of entities deemed joint
                                                 comments received on this particular                     unfair labor practice charges provides a                 employer since the new standard is so
                                                 issue).552                                               basis for estimating the frequency with                  closely aligned with the pre-rulemaking
                                                                                                          which the joint-employer issue comes                     standard, under which a similar number
                                                    550 U.S. Department of Commerce, Bureau of            before the Agency. Between January 1,                    of employers were alleged as joint
                                                 Census, 2020 Statistics of U.S. Businesses (‘‘SUSB’’)    2013, and December 31, 2017, the five-                   employers. In fact, since a large share of
                                                 Annual Data Tables by Enterprise Employment
                                                 Size, https://www.census.gov/data/tables/2020/
                                                                                                          year period before the Board began                       our joint-employer cases involve two
                                                 econ/susb/2020-susb-annual.html (from                    rulemaking on this issue, joint-employer                 large employers, the Board expects that
                                                 downloaded Excel Table entitled ‘‘U.S. & States, 6-      relationships were only alleged in                       an even lower percentage of small
                                                 digit NAICS’’ found at https://www2.census.gov/          1.39% of the Board’s cases. 83 FR                        businesses have been and will be most
                                                 programs-surveys/susb/tables/2020/us_state_
                                                 6digitnaics_2020.xlsx. ‘‘Establishments’’ refer to       46693; 85 FR 11232. Accounting for                       directly impacted by the Board’s
                                                 single location entities—an individual ‘‘firm’’ can      repetitively alleged joint-employer                      application of the rule.
                                                 have one or more establishments in its network.          relationships in these cases, the Board                     As discussed in the NPRM,
                                                 The Board has used firm-level data for this IRFA         identified 823 separate joint-employer                   irrespective of an Agency proceeding,
                                                 because establishment data is not available for                                                                   the rule may be more relevant to certain
                                                 certain types of employers discussed below. Census       relationships involving an estimated
                                                 Bureau definitions of ‘‘establishment’’ and ‘‘firm’’     1,646 employers, .028% of all 5.9                        types of small employers because their
                                                 can be found at https://www.census.gov/programs-         million business firms, large and small,                 business relationships involve the
                                                 surveys/susb/about/glossary.html (last visited June      83 FR 46693, which the Board deemed                      exchange of employees or operational
                                                 2, 2023).                                                                                                         control.555 87 FR at 54660. In addition,
                                                    The proposed rule references the Census Bureau’s
                                                                                                          ‘‘very few employers,’’ 83 FR 46695.
                                                 2019 Statistics of U.S. Businesses (‘‘SUSB’’) data          Using the same methodology, the                       labor unions, as organizations
                                                 tables, the most recent data available at the time of    current majority found that, during the                  representing or seeking to represent
                                                 publication. Because the 2020 SUSB data tables are       four-year period between January 1,                      employees, will be impacted by the
                                                 now available, the FRFA uses that updated data.          2018 and December 31, 2021, a total of                   Board’s change in its joint-employer
                                                 However, the changes are not statistically
                                                 significant, as the joint-employer standard will         75,343 representation and unfair labor                   standard. Thus, the Board identified the
                                                 continue to most directly impact the same                practice cases were initiated with the                   following five types of small businesses
                                                 percentage of businesses large and small.                Agency. In 772 of those filings, the                     or entities as those most likely to be
                                                    551 The Census Bureau does not specifically
                                                                                                          representation petition or unfair labor                  impacted by the rule: contractors/
                                                 define small business but does break down its data                                                                subcontractors; temporary help service
                                                 into firms with 500 or more employees and those
                                                                                                          practice charge asserted a joint-
                                                 with fewer than 500 employees. See U.S                   employer relationship between at least                   suppliers; temporary help service users;
                                                 Department of Commerce, Bureau of Census, 2020           two employers, which accounts for                        franchisees; and labor unions.556
                                                 SUSB Annual Data Tables by Enterprise                    1.02% of the Board’s cases.553                              (1) Businesses commonly contract
                                                 Employment Size, https://www.census.gov/data/            Accounting for repetitively alleged                      with vendors to receive a wide range of
                                                 tables/2020/econ/susb/2020-susb-annual.html
                                                 (from downloaded Excel Table entitled ‘‘U.S. &           joint-employer relationships in these                    services that may satisfy their primary
                                                 States, 6-digit NAICS’’), found at https://              filings, the Board has identified 467                    business objectives or solve discrete
                                                 www2.census.gov/programs-surveys/susb/tables/            separate alleged joint-employer                          problems they are not qualified to
                                                 2020/us_state_6digitnaics_2020.xlsx. Consequently,       relationships involving an estimated                     address. And there are seemingly
                                                 the 500-employee threshold is commonly used to
                                                 describe the universe of small employers. For            934 employers.554 Accordingly, the                       unlimited types of vendors that provide
                                                 defining small businesses among specific                 joint-employer standard most directly                    these types of contract services.
                                                 industries, the standards are defined by the North       impacted approximately .015% of all                      Businesses may also subcontract work
                                                 American Industry Classification System (NAICS),         6,140,612 business firms (including                      to vendors to satisfy their own
                                                 which we set forth below.                                                                                         contractual obligations—an arrangement
                                                    552 Pursuant to 29 U.S.C. 152(6) and (7), the Board
                                                                                                          both large and small businesses) over
                                                 has statutory jurisdiction over private sector           the four-year period. And, the Board is                  common to the construction industry.
                                                 employers whose activity in interstate commerce          unaware of any cases between 2018 and                    Businesses that contract to receive or
                                                 exceeds a minimal level. NLRB v. Fainblatt, 306                                                                   provide services often share workspaces
                                                 U.S. 601, 606–607 (1939). To this end, the Board         152(2); employers that employ only agricultural          and sometimes share control over
                                                 has adopted monetary standards for the assertion of
                                                 jurisdiction that are based on the volume and
                                                                                                          laborers, those engaged in farming operations that       workers, rendering their relationships
                                                                                                          cultivate or harvest agricultural commodities or         subject to application of the Board’s
                                                 character of the business of the employer. In            prepare commodities for delivery, 29 U.S.C. 152(3);
                                                 general, the Board asserts jurisdiction over             and employers subject to the Railway Labor Act,
                                                 employers in the retail business industry if they        such as interstate railroads and airlines, 29 U.S.C.        555 The Board acknowledges that there are other
                                                 have a gross annual volume of business of $500,000       152(2).                                                  types of entities and/or relationships between
                                                 or more. Carolina Supplies Cement Co., 122 NLRB             553 This includes initial representation case         entities that may be affected by this change in the
                                                 88 (1959). But shopping center and office building       petitions (RC petitions) and unfair labor practice       joint-employer rule. Such relationships include but
                                                 retailers have a lower threshold of $100,000 per         charges (CA cases) filed against employers.              are not limited to lessor/lessee and parent/
                                                 year. Carol Management Corp., 133 NLRB 1126                 554 Since a joint-employer relationship requires at   subsidiary. However, the Board does not believe
                                                 (1961). The Board asserts jurisdiction over                                                                       that entities involved in these relationships would
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                          least two employers, we have estimated the number
                                                 nonretailers generally where the value of goods and      of employers by multiplying the number of asserted       be impacted more than the entities discussed
                                                 services purchased from entities in other states is      joint-employer relationships by two. Some of these       below.
                                                 at least $50,000. Siemons Mailing Service, 122           filings assert more than two joint employers, but,          556 Comments received in response to the 2022
                                                 NLRB 81 (1959). See also supra fn. 104.                  on the other hand, some of the same employers are        IRFA did not reveal any other categories of small
                                                    The following employers are excluded from the         named multiple times in these filings. Additionally,     entities that would likely take a special interest in
                                                 NLRB’s jurisdiction by statute: federal, state and       this number is certainly inflated because the data       a change in the standard for determining joint-
                                                 local governments, including public schools,             do not reveal those cases where a joint-employer         employer status under the Act or indicate that there
                                                 libraries, and parks; Federal Reserve banks, and         relationship exists but the parties’ joint-employer      is a unique burden for entities in these categories.
                                                 wholly owned government corporations, 29 U.S.C.          status is not in dispute.                                85 FR 11234.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00070   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM      27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                  Page 75 of 78
                                                                    Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                              74015

                                                 joint-employer standard. The Board                      temporary help services, and the Board                $16.5 million in annual receipts.564 In
                                                 does not have the means to identify                     is without the means to estimate what                 2017, there were 13,137 labor union
                                                 precisely how many businesses are                       portion of those are small businesses as              firms in the U.S.565 Of these firms, at
                                                 impacted by contracting and                             defined by the NAICS. For that reason,                least 12,964 labor union firms (98.6% of
                                                 subcontracting within the United States                 and because no other comments were                    total) had receipts of under $15 million
                                                 or how many contractors and                             received on this topic, the Board                     and are definitely small businesses
                                                 subcontractors would be small                           assumes for purposes of this FRFA that                according to SBA standards. Since the
                                                 businesses as defined by the SBA.557                    all users of temporary services are small             Board cannot determine how many of
                                                    (2) Temporary help service suppliers                 businesses.                                           the 49 labor union firms with receipts
                                                 (NAICS #561320) are primarily engaged                      (4) Franchising is a method of                     between $15 million and $19,999,999
                                                 in supplying workers to supplement a                    distributing products or services in
                                                 client employer’s workforce. To be                                                                            fall below the $16.5 million annual
                                                                                                         which a franchisor lends its trademark                receipt threshold, it assumes that these
                                                 defined as a small business temporary                   or trade name and a business system to
                                                 help service supplier by the SBA, the                                                                         are all small businesses as defined by
                                                                                                         a franchisee, which pays a royalty and
                                                 entity must generate receipts of less                                                                         the SBA. For the purposes of the IRFA,
                                                                                                         often an initial fee for the right to
                                                 than $34 million annually.558 In 2017,                  conduct business under the franchisor’s               the Board assumes that 13,013 labor
                                                 there were 14,343 temporary service                     name and system.561 Franchisors                       union firms (99% of total) are small
                                                 supplier firms in the United States.559                 generally exercise some operational                   businesses.
                                                 Of these temporary service supplier                     control over their franchisees, which                    Based on the foregoing, the Board
                                                 firms, 13,384 had receipts of                           potentially renders the relationship                  assumes that 13,501 temporary help
                                                 $29,999,999 or less. Since the Board                    subject to application of the Board’s                 supplier firms, 125,989 franchise firms,
                                                 cannot determine how many of the 117                    joint-employer standard. The Board                    and 13,013 union firms are small
                                                 firms with receipts between $30 million                 explained in the NPRM that it does not                businesses; and it further assumes that
                                                 and $34,999,000 fall below the $34                      have the means to identify precisely                  all 94,930 temporary help user firms are
                                                 million annual receipt threshold, it                    how many franchisees operate within                   small businesses. Therefore, among
                                                 assumes that these are all small                        the United States or how many are small
                                                 businesses as defined by the SBA.                                                                             these four categories of employers that
                                                                                                         businesses as defined by the SBA. The                 are most interested in the final rule,
                                                 Therefore, for purposes of this FRFA,                   Census Bureau’s 2020 Annual Business
                                                 the Board assumes that 13,501                                                                                 247,433 business firms are assumed to
                                                                                                         Survey revealed that, of the 130,492                  be small businesses as defined by the
                                                 temporary help service supplier firms                   firms that operated a portion of their
                                                 (94.1% of total) are small businesses.                                                                        SBA. The Board believes that all these
                                                                                                         business as a franchise, 125,989 had                  small businesses, and also those
                                                    (3) Entities that use temporary help                 fewer than 500 paid employees.562
                                                 services to staff their businesses are                                                                        businesses regularly engaged in
                                                                                                         Based on this available data and the fact
                                                 widespread throughout many                                                                                    contracting/subcontracting, have a
                                                                                                         that the 500-employee threshold is
                                                 industries. The Census Bureau’s 2020                                                                          general interest in the rule and would be
                                                                                                         commonly used to describe the universe
                                                 Annual Business Survey revealed that of                                                                       impacted by the compliance costs,
                                                                                                         of small employers, we assume that
                                                 the 2,687,205 respondent firms with                                                                           discussed below, related to reviewing
                                                                                                         125,989 (96.5% of total) are small
                                                 paid employees, 94,930 of those firms                                                                         and understanding the rule. But, as
                                                                                                         businesses.
                                                 obtained staffing from temporary help                                                                         previously noted, employers will only
                                                                                                            (5) Labor unions, as defined by the
                                                 services in that calendar year.560 This                                                                       be most directly impacted when they
                                                                                                         NLRA, are entities ‘‘in which employees
                                                 survey provides the only gauge of                                                                             are alleged to be a joint employer in a
                                                                                                         participate and which exist for the
                                                 employers that obtain staffing from                                                                           Board proceeding. Given the Board’s
                                                                                                         purpose . . . of dealing with employers
                                                    557 Though the Board has previously solicited        concerning grievances, labor disputes,                historic filing data, this number is very
                                                 input on the number of contractors and                  wages, rates of pay, hours of                         small relative to the number of small
                                                 subcontractors that qualify as small businesses, 83     employment, or conditions of work.’’ 563              employers in these five categories.
                                                 FR 46694 fn. 56, 85 FR 11234, 87 FR 54660, it has       By defining which employers are joint
                                                 received no responsive comments.                                                                                 Throughout the IRFA, the Board
                                                    558 13 CFR 121.201. Between the publication of
                                                                                                         employers under the NLRA, the final                   requested comments or data that might
                                                 the NPRM and the final rule, changes in the Small       rule impacts labor unions generally, and              improve its analysis, 87 FR at 54659–61,
                                                 Business Size Regulations increased the total           more directly impacts those labor                     but no additional data was received
                                                 number of potentially affected entities by 166 firms    unions that organize in the specific
                                                 across all five categories. Though that change is                                                             regarding the number of small entities to
                                                                                                         business sectors discussed above. The
                                                 statistically insignificant, the Board chose to                                                               which the rule will apply.566
                                                 include the most updated figures in this FRFA.          SBA’s small business standard for
                                                    559 The Census Bureau only provides data about       ‘‘Labor Unions and Similar Labor
                                                 receipts in years ending in 2 or 7, so the 2017 data    Organizations’’ (NAICS #813930) is                      564 13 CFR 121.201.

                                                 is the most recent available information regarding                                                              565 See U.S Department of Commerce, Bureau of
                                                 receipts. See U.S Department of Commerce, Bureau                                                              Census, 2017 SUSB Annual Data Tables by
                                                                                                           561 See International Franchising Establishments
                                                 of Census, 2017 SUSB Annual Data Tables by
                                                                                                         FAQs, found at https://www.franchise.org/faqs-        Establishment Industry, NAICS classification
                                                 Establishment Industry, NAICS classification
                                                 #561320, https://www2.census.gov/programs-              about-franchising.                                    #722513, https://www2.census.gov/programs-
                                                 surveys/susb/tables/2017/us_6digitnaics_rcptsize_         562 U.S. Department of Commerce, Bureau of          surveys/susb/tables/2017/us_6digitnaics_rcptsize_
                                                 2017.xlsx.                                              Census, 2020 Annual Business Survey—                  2017.xlsx.
                                                    560 U.S. Department of Commerce, Bureau of           Characteristics of Businesses, https://                 566 Job Creators Network Foundation argues that
                                                                                                         www.census.gov/data/tables/2020/econ/abs/2020-
ddrumheller on DSK120RN23PROD with RULES2




                                                 Census, 2020 Annual Business Survey—                                                                          the proposed rule is so vague and amorphous that
                                                 Characteristics of Businesses, https://                 abs-characteristics-of-businesses.html (from          the Board could not possibly identify all business
                                                 www.census.gov/data/tables/2020/econ/abs/2020-          downloaded Excel Table entitled ‘‘Businesses
                                                                                                                                                               that would be impacted. Rachel Greszler objects to
                                                 abs-characteristics-of-businesses.html (from            Operated as a Franchise by Sex, Ethnicity, Race,
                                                                                                         Veteran Status, and Employment Size of Firm,’’        the Board’s determination that the issue of whether
                                                 downloaded Excel Table entitled ‘‘Type(s) of
                                                                                                         found at https://data.census.gov/cedsci/              two entities were joint employers only involved 934
                                                 Workers Employed by Sector, Sex, Ethnicity, Race,
                                                 and Veteran Status,’’ found at https://                 table?q=ab1900%2a&tid=ABSCB2019.                      employers, or 0.15% of all business firms, over the
                                                 data.census.gov/cedsci/table?q=ab1900%2a&               AB1900CSCB04&hidePreview=true                         four-year period. However, neither commenter
                                                 tid=ABSCB2019.AB1900CSCB01&hidePreview=                 &nkd=QDESC∼B06).                                      provided any concrete data for the Board to
                                                 true&nkd=QDESC∼B20).                                      563 29 U.S.C. 152(5).                               consider.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00071   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023                 Page 76 of 78
                                                 74016              Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                 5. Description of the Projected                          possible that a small employer may                         The Board does not find the estimated
                                                 Reporting, Recordkeeping and Other                       wish to consult with an attorney, which                 $227.98 cost to small employers and the
                                                 Compliance Requirements of the Rule,                     we estimated to require one hour as                     estimated $169.11 cost to unions to
                                                 Including an Estimate of the Classes of                  well.572 Using the Bureau of Labor                      review and understand the rule to be
                                                 Small Entities That Will be Subject to                   Statistics’ estimated wage and benefit                  significant within the meaning of the
                                                 the Requirement and the Type of                          costs, we have assessed these labor costs               RFA. In making this finding, one
                                                 Professional Skills Necessary for                        to be between $208.60 and $227.98.573                   important indicator is the cost of
                                                 Preparation of the Report or Record                         As to the impact on unions, the Board                compliance in relation to the revenue of
                                                    The RFA requires an agency to                         anticipates they may also incur costs                   the entity or the percentage of profits
                                                 consider the direct burden that                          from reviewing the rule. The Board                      affected.575 Other criteria to be
                                                 compliance with a new regulation will                    believes a union would consult with an                  considered are the following:
                                                 likely impose on small entities.567 Thus,                attorney, which is estimated to require                 —Whether the rule will cause long-term
                                                 the RFA requires the Agency to                           no more than one hour of attorney time                   insolvency, i.e., regulatory costs that may
                                                 determine the amount of ‘‘reporting,                     costing $169.11 because, like labor                      reduce the ability of the firm to make
                                                                                                          compliance professionals or employer                     future capital investment, thereby severely
                                                 recordkeeping and other compliance                                                                                harming its competitive ability,
                                                 requirements’’ imposed on small                          labor-management attorneys, union
                                                                                                                                                                   particularly against larger firms;
                                                 entities.568 In providing its FRFA, an                   counsels would already be familiar with                 —Whether the cost of the proposed
                                                 agency may provide either a                              the pre-2020 standard for determining                    regulation will (a) eliminate more than 10
                                                 quantifiable or numerical description of                 joint-employer status under the Act and                  percent of the businesses’ profits; (b)
                                                 the effects of a rule or alternatives to the             common-law principles.574                                exceed one percent of the gross revenues
                                                 rule, or ‘‘more general descriptive                                                                               of the entities in a particular sector, or (c)
                                                 statements if quantification is not                      Employment and Wages, May 2022, 13–1075 Labor            exceed five percent of the labor costs of the
                                                                                                          Relations Specialists, found at https://www.bls.gov/     entities in the sector.576
                                                 practicable or reliable.’’ 569
                                                                                                          oes/current/oes131075.htm, with Occupational              The minimal cost to read and
                                                    The Board concludes that the final                    Employment and Wages, May 2022, 13–1071
                                                 rule imposes no capital costs for                        Human Resources Specialists, found at https://          understand the rule, $227.98 for small
                                                 equipment needed to meet the                             www.bls.gov/oes/current/oes131071.htm (last             employers and $169.11 for small
                                                 regulatory requirements; no direct costs                 accessed July 3, 2023).                                 unions, will not generate any such
                                                 of modifying existing processes and
                                                                                                             572 In the NPRM, the Board asserted that an
                                                                                                                                                                  significant economic impacts.
                                                                                                          experienced labor relations specialist or labor           In the NPRM, the Board requested
                                                 procedures to comply with the final                      relations attorney would not expend more than an
                                                 rule; no lost sales and profits resulting                hour to read and understand the rule, which returns
                                                                                                                                                                  comments from the public that would
                                                 from the final rule; no changes in                       to the pre-2020 rule standard and incorporates the      shed light on any potential compliance
                                                 market competition as a result of the                    common-law definition of ‘‘employer’’ that already      costs, 87 FR 54659, and considered
                                                                                                          applies in most jurisdictions throughout the nation.    those responses in the comments
                                                 final rule and its impact on small                       Therefore, the Board’s initial direct compliance
                                                 entities or specific submarkets of small                 costs were one hour of time for the human
                                                                                                                                                                  section above.
                                                 entities; no extra costs associated with                 resources or labor relations specialist to read the     6. Description of the Steps the Agency
                                                 the payment of taxes or fees associated                  rule and one hour of an attorney’s time for a
                                                                                                          consultation. The Board did not receive any             Has Taken To Minimize the Significant
                                                 with the final rule; and no direct costs                 comments that provided evidence or support for the      Economic Impact on Small Entities
                                                 of hiring employees dedicated to                         assertion that employers or labor relations attorneys   Consistent With the Stated Objectives of
                                                 compliance with regulatory                               would need any additional time to read and              Applicable Statutes, Including a
                                                 requirements.570 The final rule also does                understand the final rule. However, the comments
                                                                                                          persuaded the Board to add an additional hour of
                                                                                                                                                                  Statement of the Factual, Policy, and
                                                 not impose any new information                           time for an employer’s human resources or labor         Legal Reasons for Selecting the
                                                 collection or reporting requirements on                  relations specialist to attend the attorney’s           Alternative Adopted in the Final Rule
                                                 small entities.                                          consultation.                                           and Why Each One of the Other
                                                    Small entities, with a particular                        573 For wage figures, see May 2021 National
                                                                                                                                                                  Significant Alternatives to the Rule
                                                 emphasis on those small entities in the                  Occupancy Employment and Wage Estimates,
                                                                                                          found at https://www.bls.gov/oes/current/oes_           Considered by the Agency Which Affect
                                                 five categories with special interest in                 nat.htm. The Board has been administratively            the Impact on Small Entities was
                                                 the final rule, will be interested in                    informed that BLS estimates that fringe benefits are    Rejected
                                                 reviewing the rule to understand the                     approximately equal to 40 percent of hourly wages.
                                                                                                          Thus, to calculate total average hourly earnings,          Pursuant to 5 U.S.C. 604(a)(6),
                                                 restored common-law joint-employer
                                                                                                          BLS multiplies average hourly wages by 1.4. In May      agencies are directed to examine ‘‘why
                                                 standard. We estimate that a human                       2021, average hourly wages for labor relations          each one of the other significant
                                                 resources or labor relations specialist at               specialists (BLS #13–1075) were $42.05. The same
                                                                                                                                                                  alternatives to the rule considered by
                                                 a small employer who undertook to                        figure for a lawyer (BLS #23–1011) is $78.74.
                                                                                                          Accordingly, the Board multiplied each of those         the agency which affect the impact on
                                                 become generally familiar with the
                                                                                                          wage figures by 1.4 and added two hours for the         small entities was rejected.’’ In the
                                                 proposed changes may take at most one                    labor relations specialist and one hour for the         NPRM, the Board requested comments
                                                 hour to read the text of the rule and the                lawyer to arrive at its estimate.
                                                                                                                                                                  identifying any other issues and
                                                 supplementary information published                         These average hourly wages, which are based on
                                                                                                          the BLS’s May 2022 figures released on April 25,        alternatives that it had not considered.
                                                 in the Federal Register.571 It is also
                                                                                                          2023, are $5 to $7 higher than those reported in the    See 87 FR 54651, 54662. Two
                                                   567 See Mid-Tex Electric Cooperative, 773 F.2d at
                                                                                                          IRFA when the most updated BLS figures were from        commenters suggest that the Board
                                                                                                          May 2020. See 83 FR 54662. The increase is not
                                                 342 (‘‘[I]t is clear that Congress envisioned that the   statistically significant. While some commenters
                                                                                                                                                                  consider alternatives but do not provide
                                                 relevant ‘economic impact’ was the impact of             asserted that the wage rates for an attorney were at    any suggestions.577 Several comments
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                                                 compliance with the proposed rule on regulated           least $300/hour, none of the comments provided          suggest that the Board withdraw the
                                                 small entities.’’).                                      any evidence to which the Board could cite.
                                                   568 See 5 U.S.C. 604(a)(4).
                                                                                                                                                                  proposed rule and leave in place the
                                                                                                          Therefore, the Board continues to rely on the BLS
                                                   569 5 U.S.C. 607.
                                                                                                          wage figures.
                                                                                                                                                                  2020 rule, an alternative that the Board
                                                   570 See SBA Guide at 37.                                  574 The Board’s revised compliance cost for
                                                   571 Data from the BLS indicates that employers                                                                  575 See SBA Guide at 18.
                                                                                                          unions covers the cost of a one-hour consultation
                                                                                                                                                                   576 Id. at 19.
                                                 are more likely to have a human resources specialist     between the union’s labor relations specialist and
                                                 (BLS #13–1071) than to have a labor relations            legal counsel, which totals $169.11 per the formula       577 Comments of McDonald’s USA, LLC; SBA

                                                 specialist (BLS #13–1075). Compare Occupational          described in fn. 573 above.                             Office of Advocacy.



                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00072   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM     27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023             Page 77 of 78
                                                                   Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations                                            74017

                                                 considered and rejected for reasons                     legislation, administered by a national               Final Rule
                                                 stated in the NPRM and reiterated                       agency, intended to solve a national                    This rule is published as a final rule.
                                                 above.578 One comment suggests simply                   problem on a national scale.’’ 584 As
                                                 modifying the 2020 rule by, for                         such, this alternative is contrary to the             List of Subjects in 29 CFR Part 103
                                                 example, broadening the list of terms                   objectives of this rulemaking and of the                Jurisdictional standards, Election
                                                 and conditions of employment that may                   NLRA.                                                 procedures, Appropriate bargaining
                                                 demonstrate joint-employer status.579                      The purpose of considering                         units, Joint Employers, Remedial
                                                 Or, in the alternative, the comment                     alternatives is to determine whether                  Orders.
                                                 suggests that the Board could leave the                 they could minimize the compliance                      For the reasons stated in the
                                                 rule untouched and examine its                          burdens on small businesses. SBA                      preamble, the National Labor Relations
                                                 application through subsequent                          Guide at 36. But an agency may select                 Board amends 29 CFR part 103 as
                                                 caselaw, which would reveal any                         a course that is more economically                    follows:
                                                 deficiencies in the standard.580 As                     burdensome than a proposed alternative
                                                 discussed in Section IV.K above, the                    if there is evidence that the proposed                PART 103—OTHER RULES
                                                 Board has considered each of these                      alternative would not accomplish the
                                                 alternatives, and several others, and has               objectives of the statute. See AML                    ■ 1. The authority citation for part 103
                                                 provided a detailed rationale for                       International v. Daley, 107 F. Supp. 2d               continues to read as follows:
                                                 rejecting the status quo and revising the               90, 105 (D. Mass. 2000). None of the                    Authority: 29 U.S.C. 156, in accordance
                                                 joint-employer standard through the                     alternatives proffered and considered                 with the procedure set forth in 5 U.S.C. 553.
                                                 rulemaking process.                                     accomplish the objectives of issuing this
                                                    In the NPRM, the Board considered                    rule while minimizing the                             Subpart D—[Removed and Reserved]
                                                 exempting certain small entities and                    familiarization cost on small businesses.             ■ 2. Remove and reserve subpart D,
                                                 explained why such an exemption                         Accordingly, the Board believes that
                                                 would be contrary to judicial precedent                                                                       consisting of § 103.40.
                                                                                                         promulgating this final rule is the best              ■ 3. Add subpart E, consisting of
                                                 and impracticable.581 Two commenters                    regulatory course of action.
                                                 suggested that the Board reconsider an                                                                        § 103.40, to read as follows:
                                                 exemption but did not address the                       B. Paperwork Reduction Act
                                                 Board’s previously stated concerns with                                                                       Subpart E—Joint Employers
                                                                                                           In the NPRM, the Board explained
                                                 such an exemption or provide any                        that the proposed rule would not                      § 103.40   Joint employers.
                                                 further detail on how such an                           impose any information collection                        (a) An employer, as defined by section
                                                 exemption would function.582                            requirements. Accordingly, the                        2(2) of the National Labor Relations Act
                                                 Accordingly, the Board again rejects this               proposed rule is not subject to the                   (the Act), is an employer of particular
                                                 exemption as impractical because such                   Paperwork Reduction Act (PRA), 44                     employees, as defined by section 2(3) of
                                                 a large percentage of employers and                     U.S.C. 3501–3521. See 87 FR 54662–63.                 the Act, if the employer has an
                                                 unions would be exempt under the SBA                    No substantive comments were received                 employment relationship with those
                                                 definitions, thereby substantially                      relevant to the Board’s analysis of its               employees under common-law agency
                                                 undermining the purpose of the final                    obligations under the PRA.                            principles.
                                                 rule. Moreover, as this rule often applies                                                                       (b) For all purposes under the Act,
                                                 to relationships involving a small entity               C. Congressional Review Act                           two or more employers of the same
                                                 (such as a franchisee) and a large                         The provisions of this rule are                    particular employees are joint
                                                 enterprise (such as a franchisor),                      substantive. Therefore, the Board will                employers of those employees if the
                                                 exemptions for small businesses would                   submit this rule and required                         employers share or codetermine those
                                                 decrease the application of the rule to                 accompanying information to the                       matters governing employees’ essential
                                                 larger businesses as well, potentially                  Senate, the House of Representatives,                 terms and conditions of employment.
                                                 undermining the policy behind this                      and the Comptroller General as required                  (c) To ‘‘share or codetermine those
                                                 rule. Additionally, given the very small                by the Small Business Regulatory                      matters governing employees’ essential
                                                 direct cost of compliance, it is likely                 Enforcement Fairness Act                              terms and conditions of employment’’
                                                 that the burden on a small business of                  (Congressional Review Act or CRA), 5                  means for an employer to possess the
                                                 determining whether it fell within a                    U.S.C. 801–808.585                                    authority to control (whether directly,
                                                 particular exempt category would                           Pursuant to the CRA, the Office of                 indirectly, or both), or to exercise the
                                                 exceed the burden of compliance.                        Information and Regulatory Affairs will               power to control (whether directly,
                                                 Further, Congress gave the Board very                   designate this rule as a ‘‘major rule’’               indirectly, or both), one or more of the
                                                 broad jurisdiction, with no suggestion                  because it will have an effect on the                 employees’ essential terms and
                                                 that it wanted to limit coverage of any                 economy of more than $100 million                     conditions of employment.
                                                 part of the Act to only larger                          during the year it takes effect. 5 U.S.C.                (d) ‘‘Essential terms and conditions of
                                                 employers.583 As the Supreme Court has                  804(2)(A). Accordingly, the rule will                 employment’’ are
                                                 noted, ‘‘[t]he [NLRA] is federal                        become effective no earlier than 60 days                 (1) Wages, benefits, and other
                                                                                                         after its publication in the Federal                  compensation;
                                                   578 See, e.g., comments of U.S. Chamber of
                                                                                                         Register.                                                (2) Hours of work and scheduling;
                                                 Commerce.                                                                                                        (3) The assignment of duties to be
                                                   579 Comments of U.S. Chamber of Commerce.
                                                   580 Id.                                                 584 NLRB v. National Gas Utility District of
                                                                                                                                                               performed;
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                                                   581 87 FR 54662.                                      Hawkins County, Tennessee, 402 U.S. 600, 603–604         (4) The supervision of the
                                                   582 Comments of IFA; Rachel Greszler.                 (1971) (quotation omitted).                           performance of duties;
                                                   583 However, as mentioned above, there are              585 Several comments note that the proposed rule       (5) Work rules and directions
                                                 standards that prevent the Board from asserting         did not include a CRA analysis. See comments of       governing the manner, means, and
                                                 authority over entities that fall below certain         Colorado Bankers Association; Elizabeth Boynton;      methods of the performance of duties
                                                 jurisdictional thresholds. This means that extremely    National Association of Convenience Stores; U.S.
                                                 small entities outside of the Board’s jurisdiction      Chamber of Commerce. Such an analysis is              and the grounds for discipline;
                                                 will not be affected by the final rule. See 29 CFR      included in final rules rather than in proposed          (6) The tenure of employment,
                                                 104.204.                                                ones. See 5 U.S.C. 801–808.                           including hiring and discharge; and


                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00073   Fmt 4701   Sfmt 4700   E:\FR\FM\27OCR2.SGM   27OCR2
                                                        USCA Case #23-1309                           Document #2025765                              Filed: 11/06/2023              Page 78 of 78
                                                 74018             Federal Register / Vol. 88, No. 207 / Friday, October 27, 2023 / Rules and Regulations

                                                   (7) Working conditions related to the                    (f) Evidence of an entity’s control over           that term or condition is deemed to be
                                                 safety and health of employees.                         matters that are immaterial to the                    an essential term and condition of
                                                   (e) Whether an employer possesses                     existence of an employment                            employment under this section for the
                                                 the authority to control or exercises the               relationship under common-law agency                  purposes of establishing joint-employer
                                                 power to control one or more of the                     principles and that do not bear on the                status; but
                                                 employees’ essential terms and                          employees’ essential terms and                          (2) Is not required to bargain with
                                                 conditions of employment is                             conditions of employment is not                       respect to any term and condition of
                                                 determined under common-law agency                      relevant to the determination of whether              employment that it does not possess the
                                                 principles. For the purposes of this                    the entity is a joint employer.                       authority to control or exercise the
                                                 section:                                                   (g) A party asserting that an employer             power to control.
                                                                                                         is a joint employer of particular                       (i) The provisions of this section are
                                                   (1) Possessing the authority to control               employees has the burden of
                                                 one or more essential terms and                                                                               intended to be severable. If any
                                                                                                         establishing, by a preponderance of the               paragraph of this section is held to be
                                                 conditions of employment is sufficient                  evidence, that the entity meets the
                                                 to establish status as a joint employer,                                                                      unlawful, the remaining paragraphs of
                                                                                                         requirements set forth in paragraphs (a)              this section not deemed unlawful are
                                                 regardless of whether control is                        through (f) of this section.
                                                 exercised.                                                                                                    intended to remain in effect to the
                                                                                                            (h) A joint employer of particular                 fullest extent permitted by law.
                                                   (2) Exercising the power to control                   employees
                                                 indirectly (including through an                           (1) Must bargain collectively with the               Dated: October 20, 2023.
                                                 intermediary) one or more essential                     representative of those employees with                Roxanne L. Rothschild,
                                                 terms and conditions of employment is                   respect to any term and condition of                  Executive Secretary, National Labor Relations
                                                 sufficient to establish status as a joint               employment that it possesses the                      Board.
                                                 employer, regardless of whether the                     authority to control or exercises the                 [FR Doc. 2023–23573 Filed 10–26–23; 8:45 am]
                                                 power is exercised directly.                            power to control, regardless of whether               BILLING CODE 7545–01–P
ddrumheller on DSK120RN23PROD with RULES2




                                            VerDate Sep<11>2014   18:35 Oct 26, 2023   Jkt 262001   PO 00000   Frm 00074   Fmt 4701   Sfmt 9990   E:\FR\FM\27OCR2.SGM   27OCR2
